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               EMERGENCY RELIEF REQUESTED

                               No. 24-2351

          In the United States Court of Appeals
                  for the Federal Circuit
            REGENERON PHARMACEUTICALS, INC.,
                              Plaintiff-Appellant,
                                   v.
 MYLAN PHARMACEUTICALS INC., AMGEN USA, INC., BIOCON
 BIOLOGICS INC., CELLTRION, INC., FORMYCON AG, SAMSUNG
                    BIOEPIS CO., LTD.,
                                  Defendants,
                            AMGEN INC.,
                                     Defendant-Appellee,

Appeal from the United States District Court for the Northern District of
 West Virginia in No. 1:24-md-3103-TSK, Chief Judge Thomas S. Kleeh

   APPELLANT REGENERON PHARMACEUTICALS, INC.’S
  NONCONFIDENTIAL REPLY IN SUPPORT OF EMERGENCY
     MOTION FOR AN INJUNCTION PENDING APPEAL

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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number
   Short Case Caption
   Filing Party/Entity Regeneron Pharmaceuticals, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


               4                            Signature:    /s/ David I. Berl

                                            Name:         David I. Berl
               Case: 24-2351      Document: 29      Page: 4       Filed: 10/04/2024



FORM 9. Certificate of Interest                                                       Form 9 (p. 2)
                                                                                       March 2023


     1. Represented                   2. Real Party in             3. Parent Corporations
         Entities.                        Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of        Provide the full names of
 all entities represented by      all real parties in interest     all parent corporations for
 undersigned counsel in           for the entities. Do not list    the entities and all
 this case.                       the real parties if they are     publicly held companies
                                  the same as the entities.        that own 10% or more
                                                                   stock in the entities.

                                     None/Not Applicable              None/Not Applicable

Regeneron Pharmaceuticals, Inc.




                                     Additional pages attached
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FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable                    Additional pages attached

 See Exhibit A




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
       Yes (file separate notice; see below)      No        N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
          None/Not Applicable                    Additional pages attached
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                                        Exhibit A


4. Legal Representatives. List all law firms, partners, and associates that
(a) appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already entered an
appearance in this court. Fed. Cir. R. 47.4(a)(4).



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                                   Confidential Material Omitted

 Pursuant to Fed. Cir. R. 25.1(e)(1)(B), the material omitted on pages 13-15
 relates generally to Amgen’s forecasts for its proposed biosimilar product,
 which Amgen has maintained as confidential.




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      Amgen’s Opposition doubles down on the district court’s manifest error

and confirms the propriety of an injunction pending appeal. The district court

previously construed “buffer” to include “proteins like aflibercept.” Amgen

neither refutes that construction nor contends the district court subsequently

displaced it. Rather, Amgen asserts that the court’s conclusion below that

aflibercept “VEGF antagonist” and “buffer” are not overlapping—the sole

basis for denying injunctive relief—is “logically distinct” from the claim

construction question of what “buffer” means and whether it includes proteins

like aflibercept. Dkt. 22 (“Opp.”) at 12.

      The law forecloses Amgen’s approach. Whether claim limitations are

“separate” or “overlapping” is not based superficially on the claim’s use of

different words or separate lines; what matters is whether the claim

limitations have meanings that are overlapping. In a prior finding Amgen

does not now dispute, Opp. 12-13, the district court applied the Phillips

framework, concluding that the claim terms “VEGF antagonist” aflibercept

and “buffer” do in fact overlap. In re Aflibercept, 2024 WL 3423047, at *15-17

(N.D.W. Va. July 9, 2024) (“Formycon”); Dkt. 6 (“Mot.”) at 10-15. But in its

subsequent, conflicting decision, the court bypassed the most fundamental

requirement of claim construction: actually construing the claim language.



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Neither Becton nor logic permitted the court to ignore its precedentially

mandated, unchallenged construction. Legal errors are rarely so self-evident.

      Solely due to that profound legal error, Amgen is poised to enter the

market. Amgen agrees that its launch during this appeal would alter the

Eylea® market immediately and irreversibly.           The status quo would be

shattered, causing irreparable injury to Regeneron’s sales, pricing,

relationships with payors, and reputation. This Court should preserve the

status quo pending appeal.

I.    Regeneron Is Likely To Succeed on the Merits

      A.    The District Court Legally Erred by Ignoring Its Existing
            Construction

      The first step in an infringement analysis is to construe the meaning of

disputed claim terms. CommScope v. Dali Wireless, 10 F.4th 1289, 1295 (Fed.

Cir. 2021). The district court failed out of the gate. Regeneron advanced the

court’s Formycon construction of “buffer.”            Add646, Add698.       Amgen

disagreed and offered a competing construction to exclude proteins. Add698.

The court shirked its obligation to resolve that dispute, see O2 Micro v. Beyond

Innovation, 521 F.3d 1351, 1362 (Fed. Cir. 2008), concluding summarily that

it “need not address the proper construction of the term ‘buffer.’” Add698-

699. But the court already had “address[ed] the proper construction of the


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term ‘buffer’”—in the same consolidated proceeding—interpreting “buffer” to

include “proteins like aflibercept.”

        Amgen barely attempts to defend these indefensible errors. It suggests

(Opp. 12-13) that the court in Formycon did not really construe “buffer” to

include proteins. Not so. Formycon recognized that including histidine-

containing proteins like aflibercept within the meaning of “buffer” rises and

falls with including histidine generally, whether in free form (as in Formycon’s

product) or within a protein (as in Amgen’s). Amgen’s expert conceded this

point, depicting both forms of histidine with the identical pentagonal imidazole

ring:




Supp.Add140-141 (¶ 230, Fig. 14).




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       Formycon accordingly had every “incentive to vigorously contest” (Opp.

13),   and     actually    “disputed,”   “that    proteins      like     aflibercept”   are

buffers. Formycon, 2024 WL 3423047, at *17 (citing Formycon’s expert

testimony). But the court expressly rejected Formycon’s expert’s opinion that

“buffer” excludes proteins like aflibercept, agreeing instead with Regeneron’s

expert’s “persuasive analysis.” Id. The inclusion of “proteins like aflibercept”

was no mere afterthought.

       Amgen’s aspersion that Regeneron “slipped [in] that language” (Opp.

13) only after learning Amgen’s formulation is demonstrably false. In the

Mylan case, long before Amgen disclosed its formulation, both sides’ experts

expressly agreed that “buffers” included proteins:                 Regeneron’s expert

explained “that proteins themselves have some buffering capacity,” and

Mylan’s expert opined that “the protein itself can act as a buffer.” Add695

(quoting Reply.Add446 (¶ 381)); Add586 (235:2-236:21); Reply.Add499 (¶ 54);

Add592-594 (260:19-265:22). Regeneron’s Formycon construction reflected

this common understanding.

       Amgen was not a party to the Formycon preliminary-injunction

proceedings,      having     declined    Regeneron’s        invitation    to   participate.

Reply.Add654-655. Regardless, Regeneron sent Amgen the sealed Formycon



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decision immediately upon obtaining permission. Reply.Add669. Amgen’s

preliminary-injunction submissions extensively attacked the Formycon

construction and urged the court instead to limit “buffer” to “excipient

buffers.” Reply.Add628-629; Supp.Add106-107. Amgen’s assertion that it

“had no opportunity to object” (Opp. 13) is baseless. Amgen objected; the

court declined to adopt Amgen’s alternative “buffer” construction. Add698-

699.

       Amgen insists that courts’ prior constructions are irrelevant.      The

Supreme Court disagrees: it advises “consolidat[ing] for discovery different

cases that involve construction of the same claims” precisely to avoid

“divergent claim construction[s].” Teva Pharm. v. Sandoz, 574 U.S. 318, 329

(2015). To head off that impermissible result, courts “afford[] stare decisis

deference” to their “prior construction of claim terms,” Capella Photonics v.

Ciena, 546 F. Supp. 3d 977, 983 (N.D. Cal. 2021)—not “zero weight,” as Amgen

suggests (Opp. 14). Consistency was especially important here, where the

JPML consolidated specifically to “prevent inconsistent rulings as to claim

construction.” In re Aflibercept, 2024 WL 1597512, at *1 (J.P.M.L. Apr. 11,

2024). Yet the court did not even consider—much less apply—its existing

construction of “buffer.” That was error.



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      B.    The District Court Misapplied Becton

      1.    Like the district court, Amgen assumes (Opp. 7-8) that the Becton

presumption “foreclose[s]” (id.) the possibility that one substance can satisfy

separately listed claim limitations, and thereby mandates non-infringement.

This Court repeatedly has rejected that faulty assumption, holding that

different claim terms may be construed to encompass overlapping structures

without having to overcome any “presumption” of separateness. See, e.g., L.A.

Biomed. Rsch. Inst. v. Eli Lilly, 849 F.3d 1049, 1063 (Fed. Cir. 2017); Google

v. Personal Audio, 743 F. App’x 978, 985 (Fed. Cir. 2018); Powell v. Home

Depot, 663 F.3d 1221, 1231-32 (Fed. Cir. 2011); Retractable Techs. v. Becton,

Dickinson, 653 F.3d 1296, 1304 (Fed. Cir. 2011); Cannon Rubber v. First

Years, 163 F. App’x 870, 876 (Fed. Cir. 2005). That claim limitations are

separately recited does not displace the “principle that in infringement or

obviousness analysis, a single element … can ordinarily satisfy multiple claim

limitations.” Personal Audio, 743 F. App’x at 985. Nor does such overlap

“compel [a court] to adopt an otherwise unsupported construction.” L.A.

Biomed., 849 F.3d at 1063. But that is exactly what the court did below and

what Amgen urges here.




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      Amgen argues, remarkably, that where claims list separate elements,

Becton extirpates the entire Phillips claim construction analysis, so that “even

if proteins like aflibercept could be buffers,” the “buffer” and aflibercept

“VEGF antagonist” limitations must be separate, not overlapping. Opp. 12.

No authority supports that breathtaking assertion. Indeed, Becton and its

progeny explicitly direct courts to consider the “claim language” in assessing

whether limitations are separate or overlapping. Google v. EcoFactor, 92

F.4th 1049, 1058 (Fed. Cir. 2024) (“the claim language supports a broader

reading” permitting overlapping structures); Linear v. ITC, 566 F.3d 1049,

1055 (Fed. Cir. 2009).

      Under this Court’s precedent, if the claim recited:

      (1) “a VEGF antagonist” [aflibercept]; and

      (2) “a buffer within an optimal pH range, including proteins
      like aflibercept”;

then aflibercept unquestionably would satisfy both limitations. Retractable,

653 F.3d at 1304; Linear, 566 F.3d at 1055. The same result necessarily

obtains where, as here, the claim recites:

      (1) “a VEGF antagonist” [aflibercept]; and

      (2) “a buffer”;




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where “buffer” is construed as “including … proteins like aflibercept”

containing histidine “within an optimal pH range.” That conclusion follows

ineluctably from the rule that courts must apply the “properly construed

claims” to assess infringement, not simply ignore the first step of the inquiry.

CommScope, 10 F.4th at 1295. No case, including Becton, permits a contrary

result.   Rather, because the claim language here contemplates that a

substance can “perform ‘double duty,” Cannon, 163 F. App’x at 876, the

Becton presumption is simply inapplicable or immediately refuted.           Id.;

Google, 92 F.4th at 1058.

      Had the court construed “buffer,” as the law requires, it would have

reaffirmed its Formycon construction, under which Amgen undisputedly

infringes.     As that construction reflects, “buffer” encompasses a genus

“including … proteins like aflibercept” that contain histidine residues.

Formycon, 2024 WL 3423047, at *16. Amgen’s own expert candidly agreed

that aflibercept at the claimed concentration “does serve as a buffer in

Amgen’s formulation.” Add692 (quoting Add606 (316:10-12)); see Add309.

      Implausibly, Amgen (Opp. 9-10) blames Regeneron for the court’s

manifest error. Amgen is wrong. Regeneron disputed below that the Becton

presumption applied, arguing consistently that nothing in the claims says



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“that one ingredient can’t meet multiple claim limitations or that aflibercept

cannot be a buffer.”       Reply.Add543.   Amgen also references (Opp. 10)

Regeneron’s statement during the Mylan trial that “buffer” is a “structure[]

that limit[s] what formulations are in the claim.” That statement remains true;

the court’s construction limits “buffer” structurally to a known set of

structures that have “proton-donating and/or proton-accepting groups.” Mot.

12-14. “Proteins like aflibercept” are among those structures.

      2.    In any event, the Becton presumption is just that—a presumption,

not an ironclad rule. Google, 92 F.4th at 1058. It is overcome where the claim

language or other relevant evidence dictates that result. Id. The court’s

failure to apply its construction of “buffer” as overlapping with the aflibercept

VEGF antagonist limitation—a dispositive construction Amgen does not

refute—renders its remaining analysis (and Amgen’s defense of it) irrelevant.

Id.; Linear, 566 F.3d at 1055.

      Even setting aside that fatal error, any presumption manifestly was

overcome here. Unlike Becton, the claims here set forth no relationship,

structural or otherwise, between “buffer” and “VEGF antagonist.” Mot. 17-

18. The claims simply recite an “ophthalmic formulation” “that comprises” a

“[VEGF] antagonist” and “a buffer.” Add914 (claim 1). Also unlike in Becton,



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the “buffer” does not distinguish the prior art; “buffers” were “known

structures.” Regeneron Pharm. v. Mylan Pharm., 2024 WL 382495, at *67

(N.D.W. Va. Jan. 31, 2024).

      Amgen’s efforts to shoehorn the claims into Becton fail. Notably, Amgen

abandons core aspects of the district court’s Becton analysis. The court’s

demonstrably wrong conclusion that “buffer” would be nonsensical if it

overlapped in scope with “VEGF antagonist” (Mot. 18) is reduced to the status

of unnecessary dicta, “an alternative holding.” Opp. 15. And Amgen mounts

no defense of the erroneous analysis (see Add661-663) that interpreting

“buffer” to include proteins like aflibercept would render “buffer” superfluous;

it would not.    L.A. Biomed., 849 F.3d at 1063 (rejecting argument that

construction permitting “overlap” “impermissibly renders [limitation]

superfluous”).

      The arguments that Amgen does make fare no better. Amgen notes

(Opp. 10) that certain specification embodiments and one unasserted

dependent claim refer to concentration ranges of buffer in “mM” (millimolar)

units, but disclose different VEGF antagonist concentrations in “mg/ml”

(milligrams/milliliter). Amgen omits a critical fact: The asserted claims recite

no concentration range for “a buffer,” in mM or otherwise. That a buffer is



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present at a lower concentration than the specification’s preferred

embodiments does not “limit a claim term beyond its ordinary meaning,”

Aventis Pharma v. Hospira, 675 F.3d 1324, 1330 (Fed. Cir. 2012), or render

those claims the kind of nonsensical physical impossibility discussed in

Becton.

      Amgen also downplays the extrinsic evidence. Like its expert, Amgen

concedes that prior art taught that proteins could act as buffers, but it asserts

(Opp. 19) that no reference disclosed using proteins as buffers in a formulation.

Amgen disregards its own Gokarn publication, §102(e) art predating the ’865

patent’s priority date. Contra Opp. 19; Mot. 14-15 (explaining Gokarn’s prior-

art status). Amgen’s expert agreed that “Gokarn demonstrates that the

buffering capacity of proteins can be used to control pH in formulations” and

“discloses protein formulations in which the protein is substantially the only

buffer.” Add587, Add590 (240:15-18, 250:1-7).

II.   The Equities Overwhelmingly Favor an Injunction

      Amgen argues (Opp. 21-22) that an injunction will undercut its

investment in ABP938. Such garden-variety considerations carry little or no

weight in the balance-of-hardships analysis, where, as here, they are “the

result of its own calculated risk” in launching before adjudication of an



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innovator’s patent rights. Sanofi-Synthelabo v. Apotex, 470 F.3d 1368, 1383

(Fed. Cir. 2006). In any event, Amgen inflates its alleged harms, arguing

without citation that doctors will not switch patients from Eylea HD to

ABP938. The record indicates otherwise. Add919-920, Add922; Reply.Add37.

      Any harms from Amgen’s delayed plans cannot outweigh the profound,

irreparable harm that Regeneron will incur absent injunctive relief. If Amgen

ultimately prevails, Regeneron’s bond can make Amgen whole. See infra III.

An injunction pending appeal will defer, not destroy, anticipated profits. And

if Amgen prevails, the injunction will be short-lived. The parties agree this

appeal should be set for argument by January. See Dkt. 20 at 1-2.

     Amgen also claims “Regeneron itself” is causing “Eylea’s dwindling

market share” by selling Eylea HD. Opp. 21. The district court rejected that

argument repeatedly in enjoining other biosimilars, and for good reason. The

relevant questions are whether Amgen’s launch would harm Regeneron, and

whether that harm is readily calculable and redressable by monetary

damages. That Regeneron also offers another aflibercept-containing product

makes no difference in that analysis. And it certainly does not erase that

ABP938’s launch will drain a large, unquantifiable share of sales from Eylea,

irreversibly alter Regeneron’s pricing, and affect Regeneron’s relationships



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                          Confidential Material Redacted


with payors. Those harms are not “self-inflicted,” contra Opp. 21— Amgen’s

launch will inflict them. To conclude otherwise effectively would permit

infringers to escape injunctions whenever the patentee also offers other

products.

III.    Amgen’s Unsupported, Unreasonable Bond Request Should Be
        Rejected

        The record below contained Amgen’s January 2024 projections for its

2024 and 2025 sales. Amgen’s model assumed it would launch its product

       time         of other biosimilars. Reply.Add9. Amgen’s revenue forecasts

ranged from dollar amount for 2024 and dollar amount for 2025. Applying Amgen’s

alleged             profit margin (Supp.Add436), its highest forecasted profit
          percent




through the end of 2025 is approximately                 dollar
                                                        amount    . The merits decision likely

will issue in early 2025; Regeneron thus proposes a                   dollar
                                                                     amount    bond as a generous

estimate of Amgen’s potential harm, and                       for the brief administrative stay.
                                              dollar amount




        Amgen instead seeks dollar amount —to counsel’s knowledge, the largest

in this Court’s history and among the largest ever in American jurisprudence.

Opp. 23. Amgen’s exorbitant demand would require a syndicate of multiple

underwriters that may be infeasible to assemble. Reply.Add670-671.

        Amgen cites no record evidence to support this demand, instead

proffering two new declarations. Amgen’s declarants “cited no documents”


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and provided “no underlying data” or model, making scrutiny impossible.

EcoFactor v. Google, 104 F.4th 243, 259 (Fed. Cir. 2024) (Prost, J., dissenting

in part). Even so, some flaws are plain. The expert’s daily pro-rating directly

contravenes Amgen’s January 2024 projections, showing         rate
                                                                     uptake in 2024

followed by    amount   uptake in 2025.     The employee’s model assumed a

  month       2024 launch, Supp.Add434, but nowhere refutes Mr. Clark’s

testimony that Amgen advised customers it would not begin selling until

October. Add716. To the extent this Court must choose between Amgen’s

ordinary-course forecasts or its declarants’ new, untested, litigation-driven

estimates, the former are far more reliable. Cf. Palmer v. Hoffman, 318 U.S.

109, 113-14 (1943). Amgen previously agreed on this point in obtaining an

injunction pending appeal against a biosimilar competitor. Amgen v. Sandoz,

No. 15-1499, Dkt. 110 at 1, 5 (Fed. Cir. May 19, 2015) (criticizing $179M bond

request as “wildly overstat[ed]” and arguing bond “should track [biosimilar’s]

internal forecasts” showing that “uptake will grow over time”).

      The Court should not let Amgen use its bond demand to deny, de facto,

the injunctive relief to which Regeneron is entitled. Regardless, the Court

need not resolve this dispute; if this Court ultimately affirms, it can remand to




                                       14
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                          Confidential Material Redacted


assess Amgen’s actual harm, if any. The Court otherwise should order a
  dollar
 amount     bond to support an injunction until the merits decision.

                                  CONCLUSION
           For the foregoing reasons, Regeneron respectfully requests an

injunction pending appeal.

OCTOBER 4, 2024                                  Respectfully submitted,

                                                 /s/ David I. Berl

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                          16
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                               No. 24-2351

          In the United States Court of Appeals
                  for the Federal Circuit
            REGENERON PHARMACEUTICALS, INC.,
                                             Plaintiff-Appellant,

                                   v.

MYLAN PHARMACEUTICALS INC., AMGEN USA, INC., BIOCON
BIOLOGICS INC., CELLTRION, INC., FORMYCON AG, SAMSUNG
                   BIOEPIS CO., LTD.,
                                             Defendants,

                            AMGEN INC.,
                                             Defendant-Appellee,


Appeal from the United States District Court for the Northern District of
 West Virginia in No. 1:24-md-3103-TSK, Chief Judge Thomas S. Kleeh

                   NONCONFIDENTIAL ADDENDUM
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(CONTAINS CONFIDENTIAL MATERIAL)                         Reply.Add030
Clark Ex. 3 (King 2024) (Dkt. 180-24)                    Reply.Add031 -
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RESERVED                                                 Reply.Add042 -
                                                         Reply.Add285
Chamow Ex. C-22 (Responsive Expert Report of             Reply.Add286 -
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Dkt. 206-7)
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of Gregory MacMichael Ph.D. in Case No. 1:22-cv-         Reply.Add526
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CONFIDENTIAL MATERIAL)
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            CONFIDENTIAL INFORMATION STATEMENT

The nonconfidential version of this appendix redacts material filed under seal
pursuant to the protective order issued by the district court, as well as material
containing confidential Amgen business information. As required by Federal
Circuit Rule 25.1(e)(1)(B), the table below notes the specific pages with
redacted material in the nonconfidential addendum and the general nature of
that material.

         Description               Page Range               Description
 Argall Ex. 5 (AMG-AFL-           Reply.Add001 -      Contains Amgen’s
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                                                      information related to
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                                                      business and product
                                                      information related to
                                                      ABP 938 and Eylea®.
 Amgen’s Brief Opposing           Reply.Add619 -      Contains Amgen’s and
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                                                      information related to
                                                      ABP 938 and Eylea®.
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 Amgen sent January 10, 2024                          information related to
                                                      ABP 938.
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   P1,ys1c1;:w Viel' s Poll Rt1Sulls

   Physician Views Poll Results: Appetite for biosim Eylea
   healthy, but high-dose adoption could limit brand erosion
   Simon King

   PUBLISHED: JUNE 03, 2024




  Three-quarters of US ophthalmologists recently snap-polled by FirstWord assert that they will be
   comfortable prescribing biosimilar versions of Regeneron's Eylea (aflibercept).

       • Whilst 56% of respondents said they are comfortable with the prospect of prescribing a
           biosimilar, 21% described themselves as being "extremely" comfortable


       • Three-in-four ophthalmologists polled also agree that use of the "buy and bill" model to
           purchase Eylea will potentially accelerate adoption of biosimilar versions when they launch in
           the US




                                                             Reply.Add32
                                                                                         RGN-EYLEA-B1OS1M-AMG-00000478
                Case: 24-2351       Document: 29      Page: 32     Filed: 10/04/2024
   • A third of prescribers say they are adopting Regeneron's new higher-dose (HD) version of
     Eylea at a "moderate" pace, whilst a quarter of respondents suggest their uptake is occurring
     at a faster pace


   • Feedback suggests that physicians will be less willing to switch patients from this HD version
     to biosimilar equivalents, putting onus on the continued launch of Regeneron 's newer
     therapy

The backstory

The FDA recentlY..J1RRrDVed two biosimilar versions of Eylea with interchangeabili!Y. status,
although it remains unclear when they will launch in the US market, owing to ongoing litigation
initiated by Regeneron.

Poll results

We fielded the following questions to 34 US-based ophthalmologists, all of whom were screened
as physicians who routinely prescribe injectable biologic therapies for the treatment of age-related
macular degeneration (AMO) and other ophthalmologic conditions.




                                           Reply.Add33
                                                                      RGN-EYLEA-BIOSI M-AMG-000004 79
                       Case: 24-2351   Document: 29        Page: 33      Filed: 10/04/2024
From a clinical standpoint would you be comfortable prescribing a biosimilar version of
Eylea (aflibercept)?




Notcomfortableat ,II   I
      Uncomfortable




        Comfortable




    Very comfortable




                   0                   20                       40                  60
                                             % of respondents




      FirstWord GROUP




                                               Reply.Add34
                                                                            RGN-EYLEA-BIOSIM-AMG-00000480
                   Case: 24-2351         Document: 29         Page: 34      Filed: 10/04/2024
Do you anticipate that 'buy and bill' purchasing of Eylea (aflibercept) will accelerate use
of biosimilar versions once available on the market?




                                                                                    Share
     FirstWord GROUP




                                                 Reply.Add35
                                                                                RGN-EYLEA-BIOSIM-AMG-00000481
                    Case: 24-2351     Document: 29           Page: 35   Filed: 10/04/2024
How would you best describe your current/anticipated near-term adoption of high-dose
Eylea (aflibercept 8mg)?




      No adoption




    Slow adoption




Moderate adoption




    Fast adoption



                0             10               20                 30              40

                                          % of respondents



                                                                              Sl1&re
      FirstWord GROUP




                                             Reply.Add36
                                                                           RGN-EYLEA-BIOSIM-AM G-00000482
                         Case: 24-2351   Document: 29            Page: 36        Filed: 10/04/2024
In the future would you consider switching patients from high-dose Eylea (aflibercept
8mg) to biosimilar versions of Eylea (aflibercept)?




          lf1 no cases




Switch In some cases




Switch in many cases




   Switch in all cases




                     0           10        20               30              40            50
                                                % of respondents




      FirstWord GROUP




Analysis

Feedback from this sample of ophthalmologists suggests that the overall level of comfort towards
future use of Eylea biosimilars is relatively high, with just one physician suggesting that they are
completely uncomfortable with the idea of prescribing a biosimilar aflibercept product. Furthermore,
financial considerations associated with use of the "buy and bill" model to procure Eylea could
feasibly accelerate biosimilar adoption, poll feedback indicates. This echoes the view of analysts at
Wolfe Research who argue that due to "buy and bill" dynamics, erosion of branded Eylea sales
could occur at a faster rate than Wall Street and investors anticipate.

In addition, this could slow the performance of HD Eylea, they argue. Sales of the new formulation
product were nominally higher than consensus forecasts in the first quarter of 2024 and uptake is
expected to accelerate following the issue of a permanent J code, which will support
reimbursement. In the meantime, however, it could be a concern that four in 10 physicians polled
continue to anticipate no or only slow adoption of Eylea HD. Whilst this may reflect typical barriers
to use associated with a new drug launch, it could also reflect the availability of Roche's Vabysmo
(faricimab) as a new and disruptive treatment option for AMO, diabetic macular oedema and
macular oedema following retinal vein occlusion.


                                                 Reply.Add37
                                                                                    RGN-EYLEA-B1OS1 M-AMG-00000483
                   Case: 24-2351       Document: 29    Page: 37   Filed: 10/04/2024
On a positive note for Regeneron, there appears to be recognition among a cohort of
ophthalmologists that less-frequent dosing associated with Eylea HD represents a meaningful
advantage over the original form ulation. Whilst we would agree that biosimilar Eylea uptake could
slow new patient starts on Eylea HD, many physicians are clearly unsure about moving patients
from the latter to a biosimilar. Onus therefore remains on how quickly Regeneron can establish
Eylea HD as a new standard of care.

Related analysis:

PhY.sician Views Results: Regeneron's EY.lea comes out tog against Roche's VabY.smo in
QQhthalmologist goll

~gotlight On: Wet AMO treatments look towards longer treatment durations




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 0 Marketing & Sales            ✓   Regeneron         Roche        Samsung Group


 0 Vabysmo




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Vision and Ophthalmology (ARVO) Annual Meeting
APRIL 25, 2023



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First Eylea biosimilars approved in US, but litigation blurs launch
optics

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Samsung Bioepis to Present New Data for S815, a proposed
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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                             CLARKSBURG DIVISION


   REGENERON PHARMACEUTICALS, INC.,
                                                        Case No. 1:22-cv-00061-TSK
                Plaintiff,
         v.                                             JURY TRIAL DEMANDED

   MYLAN PHARMACEUTICALS INC.,                          HIGHLY CONFIDENTIAL –
                                                        OUTSIDE COUNSEL’S EYES ONLY
                Defendant.



                              RESPONSIVE EXPERT REPORT
                             OF BERNHARDT L. TROUT, PH.D.

        I declare that the following is, to the best of my knowledge and belief, true and correct.


  Dated: March 2, 2023
                                                  Bernhardt L. Trout, Ph.D.




                                         Reply.Add287
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  I.     INTRODUCTION

         1.      I have been asked by counsel for Plaintiff Regeneron Pharmaceuticals, Inc.

  (“Regeneron” or “Plaintiff”) to serve as an expert and provide my professional opinions

  regarding certain issues relating to U.S. Patent Nos. 11,084,865 (the “’865 patent”) and

  11,253,572 (the “’572 patent”).

         2.      I understand Defendant Mylan Pharmaceuticals Inc. (“Mylan” or “Defendant”)

  seeks FDA approval of Biologics License Application (“BLA”) No. 761274 to manufacture and

  sell a biosimilar version of Regeneron’s EYLEA® (aflibercept) product (“M710”).

         3.      On February 2, 2023, I submitted an expert report in which I explained the bases

  for my opinion that Mylan infringes claims 4, 7, 9, 11, and 14-18 (i.e., the asserted claims of the

  ’865 patent, the “’865 Asserted Claims”) of the ’865 patent, and that Mylan’s biosimilar product

  (“M710”) meets the limitations that “aflibercept is formulated as an isotonic solution” (as recited

  in claims 6, 12, 18, and 22 of the’572 patent) and “aflibercept is formulated with a nonionic

  surfactant” (as recited in claims 7, 13, 19, and 23 of the ’572 patent).

         4.      I have been asked to offer opinions regarding the novelty, non-obviousness,

  written description, definiteness, and enablement of the ’865 Asserted Claims, as well as the

  validity of claims 6, 7, 12, 13, 18, 19, 22, and 23 of the ’572 patent (the “’572 Claims”). This

  report explains my opinions that the ’865 Asserted Claims are not invalid due to anticipation,

  obviousness, lack of written description, lack of enablement, or indefiniteness.

         5.      This report also explains my opinions that the ’572 Claims are also not invalid.

         6.      I reserve the right to respond to any additional arguments from Mylan regarding

  the validity of the claims above, if any, in a subsequent report, at deposition and/or at a hearing.

         7.      I reserve the right to provide testimony—including at a hearing, in deposition, or

  through declaration—that explains, elaborates upon, or provides background and context
                                                    1


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  regarding: (a) the opinions and information set forth in this report; (b) the testimony that I might

  give in deposition or through declaration; (c) the testimony that other fact witnesses or expert

  witnesses may give or have given at a hearing, in deposition, or through declaration; (d)

  additional opinions that I form in response to opening expert reports, rebuttal expert reports,

  briefs, arguments, or other materials submitted by or on behalf of any party to this litigation; (e)

  additional opinions relating to facts that come to light through discovery after the date of this

  expert report; and (f) additional opinions in response to any arguments that Mylan or their

  expert(s) may assert.

  II.    SCOPE OF OPINIONS

         8.       I have reviewed the Opening Expert Reports of Dr. Barrett E. Rabinow and Dr.

  Gregory MacMichael, dated February 2, 2023. Dr. Rabinow and Dr. MacMichael each filed two

  reports, one assuming that the Court accepts Regeneron’s claim construction of the claim terms

  “organic co-solvent” and “native conformation” and the other assuming that the Court accepts

  Mylan’s claim construction of those same terms. I reviewed all four reports and the substance of

  my analysis applies equally to both of each expert’s reports unless otherwise specified. For

  simplicity, however, my citations to “Rabinow” or “Rabinow Report” refer to Dr. Rabinow’s

  report applying Regeneron’s construction, and my citations to “MacMichael” or “MacMichael

  Report” refer to Dr. MacMichael’s report applying Regeneron’s claim construction. I designate

  the reports applying Mylan’s claim constructions as “Rabinow-M” and “MacMichael-M,”

  respectively.

         9.       The scope of this report is to respond to the Rabinow Report and MacMichael

  Report relating to the validity of the ’865 Asserted Claims and the ’572 Claims. I understand

  that Regeneron has asked other individuals to also offer their opinions regarding the validity of

  the ’572 Claims. Accordingly, the reasons why the particular limitations set forth in the ’572
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   Claims are not invalid that I discuss in this report are not intended to be an exclusive list of all

   reasons that may be applicable.

   III.   EXPERIENCE AND QUALIFICATIONS

          10.     I described my experience and qualifications in Section II of my Opening Expert

   Report. A copy of my curriculum vitae, which describes my qualifications in greater detail, is

   attached as Exhibit A to my Opening Expert Report. Section II of my Opening Report also states

   my rate of compensation for my work in this case.

   IV.    MATERIALS CONSIDERED

          11.     In providing this report, I have considered the materials referenced in this report

   and listed in Exhibit A to this report, including the Rabinow Report, the MacMichael Report, and

   the materials and exhibits referenced therein, and my Opening Report and the materials and

   exhibits referenced therein.

          12.     I have further relied upon my education and my knowledge and experience from

   decades of practicing, researching, and teaching in the area of protein formulations.

          13.     My opinions are informed by the collection of materials I have considered. In

   setting forth my opinions, I have discussed in particular a number of these documents. In the

   body of my report, I have specified illustrative documents. In doing so, I have not provided an

   exhaustive discussion of all documents in the materials I have considered, which may further

   support my opinions and which I may be asked to testify on throughout this litigation. I further

   understand that expert discovery is ongoing, and that I may be asked to testify regarding other

   materials that further support my opinions but have not yet been provided to me or to

   Regeneron’s counsel.

          14.     I reserve the right to modify and/or supplement any of my opinions as needed, in

   response to (a) new information and evidence I receive, (b) further scientific analysis

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   demonstrating a need to supplement, (c) new issues that may arise, (d) any additional discovery,

   arguments, evidence, or testimony presented in this case, and (e) any decisions or orders by the

   Court.

            15.   In response to any assertions made by any party or its experts in any submissions

   or during discovery, I expect to respond as appropriate or to provide additional evidence or

   testimony.

            16.   If asked to testify, I may be required to explain the opinions and analyses

   described in the body of this report. I reserve the right to use demonstratives in support of my

   testimony.

   V.       LEGAL STANDARDS

            A.    Validity

                  1.      Presumption of Validity, Burden of Proof

            17.   I have been informed that a patent is presumed to be valid and that the party

   challenging the validity of a patent has the burden to prove invalidity by clear and convincing

   evidence.

                  2.      Anticipation

            18.   I have been informed that a claim is anticipated if each and every limitation is

   taught in a single prior art reference, either expressly or inherently. Furthermore, I understand

   that every element of the claimed invention must be present and arranged as in the claim. I

   understand that it is not enough that the prior art reference includes multiple, distinct teachings

   that a person of ordinary skill in the art (a “POSA”) might somehow combine to achieve the

   claimed invention to show anticipation.

            19.   I further understand that anticipation by inherent disclosure requires that the

   disclosure must necessarily and inevitably include the unstated limitation.

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          20.     I have been informed that disclosure of a genus does not generally anticipate a

   species, and disclosure of a genus in the prior art is not generally a disclosure of every species

   within the genus. However, I understand that a very small genus may anticipate a species. I also

   understand that anticipation may be shown if the POSA reading the reference would “at once

   envisage” the claimed invention. Whether the POSA can “at once envisage” the claimed

   invention depends on whether the genus of combinations is too large or undefined, and whether

   the reference contemplates or suggests combinability of the components from different parts of

   the reference. I understand that the POSA is not permitted to fill in any missing limitations, even

   if the POSA can immediately envisage them.

          21.     Although anticipation requires that the teachings be within the four corners of a

   single prior art reference, I understand that in certain circumstances a reference may also include

   material that it expressly incorporates by reference. I understand that to incorporate matter by

   reference, a host document must contain language clearly identifying the subject matter which is

   incorporated and where it is to be found. I understand that merely referring to another patent or

   publication is not an incorporation of anything therein.

                  3.      Obviousness

          22.     I have been informed that a patent claim is considered obvious if the subject

   matter of the claimed invention, including all elements, would have been obvious to a person of

   ordinary skill in the art (a “POSA”) on the date of the invention in view of one prior art reference

   or combination of multiple prior art references.

          23.     I have been informed that references that were publicly available prior to March

   21, 2006, or alternatively June 16, 2006, qualify as prior art to the Asserted Claims.




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           24.     I have been informed that certain references do not qualify as prior art. I

   understand that if the reference would qualify as prior art only under 35 U.S.C. § 102(e) 1 and the

   prior art is a patent owned by the same person who owns the patent at issue or subject to an

   obligation of assignment to the same person, then the reference may not be considered as an

   obviousness reference.

           25.     I have been informed that an analysis of obviousness requires a factual inquiry

   into (1) the scope and content of the prior art; (2) the differences between the prior art and the

   claims at issue; (3) the level of ordinary skill in the art; and (4) objective indicia of non-

   obviousness. Thus, a claim is not rendered obvious by the mere fact that it has different elements

   that independently existed in the prior art.

           26.     I have been informed that if obviousness is based on a combination of prior art

   references, a patent claim is not obvious unless a POSA would have been motivated to combine

   or modify prior art elements to obtain the invention as set forth in the claim with a reasonable

   expectation of success. I have also been informed that a POSA should consider each prior art

   reference in its entirety as well as the prior art as a whole, for all of what it would have disclosed

   to a POSA at the time of the invention. Thus, while a POSA may make reasonable inferences

   from the prior art, obviousness may not be based on hindsight or on selective picking of

   references that only support an obviousness argument.



   1
     I understand that 35 U.S.C. § 102(e) states: “A person shall be entitled to a patent unless — . . .
   (e) the invention was described in — (1) an application for patent, published under section
   122(b), by another filed in the United States before the invention by the applicant for patent or
   (2) a patent granted on an application for patent by another filed in the United States before the
   invention by the applicant for patent, except that an international application filed under the
   treaty defined in section 351(a) shall have the effects for the purposes of this subsection of an
   application filed in the United States only if the international application designated the United
   States and was published under Article 21(2) of such treaty in the English language.”

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          27.       I have been informed that a claimed invention may have been “obvious to try” if

   there were a limited number of already identified and predictable solutions to a known problem.

   By contrast, an invention would not have been “obvious to try” where, among other things, there

   were many possible choices and the prior art gave no direction as to which option was likely to

   be successful.

          28.       I have been informed that the Court considers objective considerations of

   nonobviousness of challenged claims when determining whether the claims would have been

   obvious to a person of ordinary skill in the art. Such objective considerations, or objective

   indicia, may include, for example, unexpected results, praise, failures of others, industry

   skepticism and teaching away, satisfaction of a long-felt need, commercial success, licensing,

   and copying.

          29.       Nexus. I have been informed that there should exist a nexus between the merits

   of the claimed invention and the objective considerations of nonobviousness. This nexus may be

   shown, for example, by a demonstration that a certain product to which objective indicia are

   attributed, such as EYLEA, are embodiments of the claims. Accordingly, unexpected benefits or

   praise, for example, that is directed to EYLEA may be attributed to the nonobviousness of the

   Asserted Claims.

          30.       Teaching Away. I have been informed that when the prior art “teaches away”

   from combining certain known elements, successful combination of those elements is more

   likely to be nonobvious. I have been informed that a reference teaches away when a POSA,

   upon reading the reference, would be discouraged from following the path set out in the

   reference or the path taken by the inventor.




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          31.     Long-felt but unmet need. I understand that a finding of non-obviousness is

   supported when the invention solves a long-felt but unmet need. I have been informed that

   evidence showing a long-felt but unsatisfied need includes evidence demonstrating that a

   demand existed for the claimed invention.

          32.     Failure of others. I further understand that the failure of others to develop a

   solution to this long-felt but unmet need is additional evidence of non-obviousness. I understand

   evidence of such failure can be shown by evidence that the inventors or others in the industry

   tried and failed to develop inventions similar to the claimed invention.

          33.     Skepticism. I further understand that the skepticism of experts regarding whether

   the invention could be accomplished also supports nonobviousness. I understand that evidence

   of such skepticism may be shown by evidence that skilled artisans doubted whether the claimed

   invention would work as intended.

          34.     Praise. I further understand that praise of the invention by others also supports

   nonobviousness. I understand that evidence of praise may be shown by evidence of industry

   acceptance and positive commentary of the invention. I have been further informed that it is

   appropriate to consider praise and recognition of the invention in determining non-obviousness

   where the patented product embodies the claimed invention.

          35.     Copying. I understand that copying of the invention by competitors is additional

   evidence of nonobviousness. I understand that evidence of copying may be shown by evidence

   of a competitor substantially replicating the patented invention. I understand that an accused

   infringer’s copying of the claimed invention has an even greater indicia of nonobviousness if that

   copying was done after the accused infringer had failed in its own attempts to solve the problem

   the claimed invention solved.



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                  4.      Obviousness-Type Double Patenting

          36.     I have been informed that a patent claim is invalid for obviousness-type double

   patenting if the POSA would have concluded that the invention defined by that claim is not

   patentably distinct from an earlier claim in a commonly owned patent. I have been informed that

   a patent claim is not patentably distinct from an earlier claim if the later claim is obvious over or

   anticipated by the earlier claim. I further have been informed that the analysis of whether a later

   claim is obvious over an earlier claim is similar to an ordinary obviousness analysis, including

   the consideration of objective indicia of non-obviousness. In addition, I understand that the

   specification of the double patenting reference is not to be used as prior art in an obviousness-

   type double patenting analysis because obviousness-type double patenting involves a comparison

   of claims. However, I have been informed that an obviousness-type double patenting analysis

   may rely on the specification of the double patenting reference in interpreting the scope of the

   reference claim or understanding the utility of the reference claim.

                  5.      Section 112

                          a.      Enablement

          37.     I understand that the specification of a patent must contain sufficient information

   that, when coupled with the knowledge of a person of ordinary skill in the art at the time of the

   invention, would allow that person to make and use the claimed invention without undue

   experimentation. I understand that the test for enablement is whether any undue experimentation

   is necessary (i.e., not just whether or not any experimentation is necessary). I understand that

   this inquiry is conducted from the perspective of one of ordinary skill and that the fact that

   experimentation may be complex does not necessarily make it undue, if persons skilled in the art

   would typically engage in such experimentation.



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          38.       I have been informed that, because patent descriptions are addressed to those

   skilled in the art to which the invention pertains, the patent need not expressly set forth subject

   matter which is commonly understood by a POSA.

          39.       I understand that in determining whether undue experimentation would be

   required, several factors should be considered, including, but not necessarily limited to:

          x     the breadth of the claims;

          x     the nature of the invention;

          x     the state of the prior art;

          x     the level of one of ordinary skill in the art;

          x     the level of predictability in the art;

          x     the amount of direction provided in the specification;

          x     the existence of working examples in the specification; and

          x     the quantity of experimentation needed to make or use the invention based on the

                content of the disclosure.

          40.       I understand that the test for undue experimentation is not merely quantitative,

   since a considerable amount of experimentation is permissible, if it is merely routine, or if the

   specification in question provides a reasonable amount of guidance with respect to the direction

   in which the experimentation should proceed to enable the determination of how to practice a

   desired embodiment of the claimed invention. I understand that a patent need not teach the

   POSA how to make every composition comprising the invention, nor every possible

   permutation, form, or mixture. I understand that the enablement requirement is met if the

   description enables any mode of making and using the invention.




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                           b.      Written Description

           41.     I understand that the test for sufficiency of a written description is whether the

   disclosure clearly allows a person of ordinary skill in the art at the time to recognize that the

   inventor invented what is claimed. I understand that the test is whether the disclosure reasonably

   conveys to those skilled in the art that the inventor had possession of the claimed subject matter

   as of the priority date of the patent, and that it is not necessary to disclose information that is

   already known and available to a POSA.

           42.     I understand that the specification does not have to provide word-for-word

   support for the claimed subject matter, or describe every conceivable and possible future

   embodiment. Rather, I understand that it must disclose either a representative number of species

   falling within the scope of the genus or structural features common to the members of the genus

   so that the POSA can visualize or recognize the members of the genus. I understand that

   reduction to practice and physical possession are not required.

           43.     Furthermore, I understand that a patent does not need to contain specific examples

   to satisfy written description. Instead, I understand that exemplary formulations within the scope

   of the claims are sufficient.

           44.     I understand that original claims are part of the specification and in many cases

   will satisfy the written description requirement on that basis alone.

                           c.      Indefiniteness

           45.     I have been informed that, although the definiteness requirement mandates clarity,

   it recognizes that absolute precision is unattainable. Accordingly, I have been informed that a

   claim is not indefinite if the claim may be given a reasonable meaning with enough particularity

   to inform a POSA as to the scope of the claims with reasonable certainty, even if the ultimate

   conclusion is one over which reasonable persons will disagree.

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                  6.      Dependent Claims

          46.     I understand that the claims at issue are dependent claims. I am informed that a

   dependent claim includes all of the limitations of the claim or claims from which it depends, as

   well as the additional limitation or limitations stated in the dependent claim itself.

          47.     I understand that in order for a dependent claim to be obvious, the claim or claims

   from which it depends must be obvious. I understand that each added limitation of the

   dependent claim must be further disclosed in the prior art or otherwise known to one of ordinary

   skill in the art. I further understand that a claim reciting a method of treatment using a particular

   composition can be patentable even if the composition was known in the art.

   VI.    LEVEL OF ORDINARY SKILL

          48.     My opinions concerning the infringement of the Asserted Claims of the ’865

   patent are from the perspective of the person of ordinary skill in the art (“POSA”), which I am

   informed is considered as of the priority date, which is no later than June 16, 2006. In my

   opinion and as explained in my Opening Report, based on my review of the ’865 patent, its

   prosecution history, and my research experience, the POSA would have held an advanced

   degree, such as a Master’s in a biopharmaceutical science, or a related discipline, such as

   chemical engineering, and several years of experience in the development of biologics products.

   Alternatively, the POSA could have a Ph.D. in such discipline and less experience. The POSA

   may collaborate with others, including a medical doctor with experience treating ophthalmic

   diseases.

          49.     My opinions concerning the limitations that “aflibercept is formulated as an

   isotonic solution” and “formulated with a nonionic surfactant” as recited in claims of the ’572

   patent are as of the priority date of those patents, which I understand to be no later than January

   13, 2011. As with the ’865 patent, my opinions are from the perspective of the POSA with an

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   advanced degree, such as a Master’s in a biopharmaceutical science, or a related discipline, such

   as chemical engineering, and several years of experience in the development of biologics

   products. Alternatively, the POSA could have a Ph.D. in such discipline and less experience.

   The POSA may collaborate with others, including a medical doctor with experience treating

   ophthalmic diseases.

          50.     I understand that Dr. MacMichael and Dr. Rabinow have articulated a slightly

   different view as to the level of skill of the POSA. They argue that a POSA would “have at least

   a Ph.D. in chemistry, chemical engineering, biochemistry, pharmacology, or a related field,

   along with one to two years of experience in the development and manufacture of formulations

   of therapeutic proteins (or a lower degree with more practical industrial experience). The POSA

   would have access to biologists, biochemists, physicians, pharmaceutical formulators, and the

   like, with knowledge and experience in fields such as drug discovery and development and the

   treatment of ophthalmic conditions.” MacMichael ¶ 39; Rabinow ¶ 63. In my view, Dr.

   MacMichael’s and Dr. Rabinow’s depiction of the POSA does not differ meaningfully from the

   one I have set forth. If their definition were applied, my opinions set forth below would not

   change.

   VII.   CLAIM CONSTRUCTION

          51.     I understand that the parties disagree as to the construction of two claim terms in

   the ’865 patent: (1) “organic co-solvent” and (2) “[present in] native conformation.”

          52.     With respect to “organic co-solvent,” I understand that Regeneron has proposed

   that the term be construed according to its plain and ordinary meaning in view of the claims and

   specification, and to include the substances polysorbate 20, polysorbate 80, polyethylene glycol,

   propylene glycol, or a combination thereof, as disclosed in the ’865 patent. ’865 patent, 2:39-43,

   2:33-38, 2:49-52, 3:11-16, 3:28-31, 4:11-17, 7:2-7. I understand that Mylan has proposed that
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   the term be construed as “an organic substance added to a primary solvent to increase the

   solubility of said VEGF antagonist.”

           53.     With respect to “[present in] native conformation,” I understand that Regeneron

   has proposed that the term be given its plain and ordinary meaning in view of the claims and

   specification and the full context in which the term appears, i.e., “wherein at least 98% of the

   VEGF antagonist is present in native conformation following storage at 5°C. for two months as

   measured by size exclusion chromatography.” I understand that Mylan has proposed that the

   term be construed as “[present in] a form that does not exhibit chemical or physical instability.”

           54.     I have applied each proposed construction in my analysis of M710 and the ’865

   Asserted Claims.

   VIII. STATE OF THE ART

           55.     The ’865 patent is directed to ophthalmic formulations of glycosylated VEGF

   antagonist fusion proteins having a particular amino acid sequence. I review the pertinent state

   of the art as of the priority date below.

           A.      Antibodies

           56.     Antibodies, also known as immunoglobulins, are naturally occurring proteins that

   make up a central part of the human immune system. They circulate in the bloodstream, binding

   to foreign antigens and tagging them for destruction. See, e.g., Winter & Millstein, Man-made

   Antibodies, 349 Nature 293 (1991) (“Winter 1991”). Antibodies are Y-shaped molecules made

   up of multiple chains of amino acids, as shown in the diagram below.




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                                                   Antibody
                                                                    Antigen-binding site




                         Fab region




                                      Disulfide bond                              C = constant domain
                                                                                  V = variable domain
                                                                 Fe region
                                                                                  H = heavy chain
                                                                                  L = light chain




   The terminal ends of the arms of the Y (shown in dark red and blue) are called the “variable

   region” of the antibody. This region is responsible for antigen binding. The rest of the Y is

   known as the antibody’s “constant” region; it is responsible for maintaining prolonged blood

   circulation and interacting with effector cells. Id. The stem of the Y (shown below the disulfide

   bond in dark gray) is known as the “Fc” (fragment crystallizable) region, which is connected to

   the arms of the Y (the Fab region) with “hinge” regions. The amino acid chains are held together

   by intermolecular interactions, including inter-chain disulfide bonds and inter-domain stabilizing

   interactions.

          57.      Despite antibodies’ complexity, their ability to form intermolecular interactions

   confers remarkable stability. Bogard et al., Practical Considerations in the Production,

   Purification, and Formulation of Monoclonal Antibodies for Immunoscintigraphy and

   Immunotherapy, 19 Seminars in Nuclear Medicine 202, 203 (1989) (“Bogard 1989”)

   (“Molecular integrity [in antibodies] is maintained both by specific covalent bonding mediated

   through disulfide bridging and by strong non-covalent interactions[.]”); Wang et al., Antibody

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   Structure, Instability, and Formulation, 96 J. Pharm. Sci. 1, 7 (2007) (“Wang 2007”) (“Through

   noncovalent interactions, a less stable domain becomes more stable, and thus, the whole

   molecule can be stabilized.”). The relative stability of naturally occurring antibodies is a result

   of their having evolved over millennia to achieve molecular structures capable of conferring such

   stability.

           58.    Recognizing that antibodies can possess desirable biological selectivity and

   stability relative to other proteins, researchers have been developing antibody-based therapies for

   decades. The first monoclonal antibody (“mAb”) product, OKT-3, was approved in 1986; and at

   least 22 mAb therapeutic products were available as of 2006. See Wang 2007 at 2-4 (Table 1).

   Antibody-based therapeutics were available for indications such as non-Hodgkins lymphoma

   (Bexxar® and Rituxin®), breast cancer (Herceptin®), rheumatoid arthritis (Humira® and

   Remicade®), and asthma (Xolair®), among others. Id.

           59.    One monoclonal antibody therapeutic product approved for use prior to 2006 was

   bevacizumab, sold under the brand name Avastin®. Approved in 2004 for the treatment of

   metastatic colorectal cancer, bevacizumab is a recombinant humanized monoclonal IgG1

   antibody that binds to and inhibits the biologic activity of vascular endothelial growth factor, or

   VEGF. VEGF is a naturally occurring protein that binds to receptors on the surfaces of

   endothelial cells, causing new blood vessel formation and endothelial cell proliferation. By

   inhibiting VEGF, bevacizumab reduces cellular microvascular growth. Avastin was sold as a

   liquid formulation containing 25 mg/mL bevacizumab for intravenous infusion. See Wang 2007

   at 2; Avastin® Prescribing Information (2004) (“Avastin PI”).

           60.    Another monoclonal antibody-based therapeutic under investigation at the time

   (and first approved for use after June 16, 2006) was ranibizumab. Formulated as a 10 mg/mL



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   solution, ranibizumab is a recombinant humanized IgG1 kappa isotype monoclonal antibody

   fragment that binds to and inhibits VEGF. Ranibizumab is the active ingredient in Lucentis®,

   which was first approved for intravitreal injection in patients with neovascular (wet) age-related

   macular degeneration. Wang 2007 at 2; Lucentis® Prescribing Information (2006) (“Lucentis PI

   2006”).

          B.      Fusion Proteins

          61.     Unlike antibodies, fusion proteins are not naturally occurring structures and have

   not evolved to possess features that confer stability. Rather, fusion proteins are created by fusing

   two or more domains from different proteins to make up a single, non-naturally-occurring

   protein molecule. Fusion proteins may include portions of antibodies. So-called

   “immunoglobulin fusion proteins,” for example, may include the constant region of a human or

   mouse antibody fused to an unrelated protein or protein fragment. Aruffo, Immunoglobulin

   Fusion Proteins, in Antibody Fusion Proteins 221, 221 (Chamow & Ashkenazi eds., 1999)

   (“Aruffo 1999”). The synthesis of fusion proteins may be accomplished by genetic engineering,

   i.e., by altering the genes of cells so that they express the desired unnatural sequence of amino

   acids. Id. at 222.

          62.     As of 1999, immunoglobulin fusion proteins had not yet been approved for use in

   a clinical setting, although several were being studied at that time. Id. at 236. By 2005, fusion

   proteins were starting to emerge as therapeutics, but only three fusion proteins had been

   approved by that time—Enbrel (1998), Amevive (2003), and Orencia (2005). Shukla et al.,

   Downstream Processing of Fc-fusion Proteins, in Therapeutic Fc-Fusion Proteins 97, 98 & Table

   4.1 (Chamow et al. eds., 2014) (“Shukla 2014”).

          63.     Aflibercept, which was approved for use by the FDA in 2011, is an example of an

   immunoglobulin fusion protein. As shown in the diagram below, aflibercept involves the fusion
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   of domain 2 of VEGF receptor 1, domain 3 of VEGF receptor 2, and a portion of the Fc region

   from a human IgG1 antibody. Moroney et al., Aflibercept in Epithelial Ovarian Carcinoma, 5

   Future Oncol. 591, 4 & Fig. 2 (2009) (author manuscript); Eylea® Prescribing Information at 11

   (2011) (“Eylea Prescribing Information 2011”) (RGN-EYLEA-MYLAN-00051043-53).




                             figure 2. •..\.flibercept/YI Gf R1R1 5trurrure
                             Domain 2 ofVEGFRl and domain 3 o f VEGFR2 complexed. l.vith the Fe portion of hum.an
                             lgGL



          C.      Protein aggregation

          64.     Therapeutic proteins can exhibit various forms of instability. As Wang explained

   in 2005, “protein aggregation is arguably the most common and troubling manifestation of

   protein instability, encountered in almost all stages of protein drug development” and is “one of

   the major road barriers hindering rapid commercialization of potential protein drug candidates.”

   Wang, Protein Aggregation and Its Inhibition in Biopharmaceutics, 289 Int. J. Pharm. 1, 1

   (2005) (“Wang 2005”). Protein aggregation could occur during a variety of steps in the

   biopharmaceutical development process, including upon shearing, shaking, and storage. Id. at 3.

   Potential mechanisms of physical and chemical protein aggregation were known. Id. at 3-7.


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          65.     Protein molecules may aggregate through physical association with one another,

   without any changes in primary structure (physical aggregation) or may aggregate by forming

   covalent bond(s) that affect protein aggregation (chemical aggregation). Id. at 3; Chi et al.,

   Physical Stability of Proteins in Aqueous Solution: Mechanism and Driving Forces in Nonnative

   Protein Aggregation, 20 Pharm. Res. 1325, 1325 (2003) (MYL-AFL0004776-4787) (“Chi”).

   The formation of soluble or insoluble aggregates can depend on the protein itself and its

   environmental conditions. Wang 2005 at 7. At a molecular level, physical aggregation can

   occur, for example, through associations among partially unfolded regions of a protein, such as

   hydrophobic regions. Id. at 3. In some cases, initial protein aggregates can be soluble and then

   gradually become insoluble as they exceed certain size and solubility limits. Id. at 8.

          66.     As of 2006, it was generally understood that the primary structure of a protein—

   i.e., its amino acid sequence—ultimately determines the propensity for protein aggregation,

   along with environmental conditions. Wang 2005 at 7. As Chi explained, “[e]ach protein is

   unique both chemically and physically and therefore will exhibit unique stability behavior.” Chi

   at 1326. As stated in Wang 1999, “the structural differences among different proteins are so

   significant that generalization of universal stabilization strategies has not been successful. Very

   often, proteins have to be evaluated individually and stabilized on a trial-and-error basis.”

   Wang, Instability, Stabilization, and Formulation of liquid protein pharmaceuticals, 185 Int. J.

   Pharm. 129, 130 (1999) (“Wang 1999”). Indeed, changing even a single amino acid in a peptide

   or protein could dramatically alter its aggregation propensity. Wang 2005 at 7; see also Wang

   1999 at 138 (“a change of one amino acid in a protein may substantially change its aggregation

   behavior”). Similarly, changing the hydrophobicity of a protein can also drastically change its




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   aggregation behavior. Wang 2005 at 7. Other aspects of the structure of a protein can also play

   a role in aggregation. Id.

          67.     Various external conditions also may affect the possibility of protein aggregation.

   See Wang 2005 at 7-9 & Table 1; see also Wang 1999 at 145-153 (describing factors that may

   affect protein stability). Temperature has been described as “[t]he most important factor

   affecting protein stability.” Wang 1999 at 145; see Wang 2005 at 9. A given protein may unfold

   above a certain temperature and begin to aggregate, e.g., due to interactions among its

   hydrophobic regions. Wang 2005 at 9. Protein concentration is an important factor affecting

   protein aggregation. As Wang 2005 explained, “[p]rotein concentration is another important

   factor in protein aggregation.” Id. at 9. “Increasing protein concentration generally increases

   protein aggregation.” Id. Higher protein concentrations can result in greater aggregation

   “because proteins may need a critical concentration to form the initial nucleus for initiation of

   the aggregation process.” Id. Exceptions do exist, however, due to the formation of multimers

   less prone to aggregation. Id. Other factors affecting a protein’s propensity for aggregation may

   include the pH of the solution, the type of container, and other process parameters. Id. at 9 &

   Table 1; see also Chi at 1326-1328 (describing the mechanisms by which different solution

   conditions may influence protein stability).

          68.     As noted above, antibodies are natural substances that have evolved over

   millennia to possess features that confer characteristic stability, including resistance to

   aggregation. Fusion proteins, by contrast, are unnatural substances; as a result, they may not

   possess the inherent stability that is characteristic of naturally occurring antibodies. As a general

   matter, therefore, fusion proteins may be more susceptible than antibodies to instability,

   including aggregation. For example, Wurm et al. noted in 1999 that “[a]ggregated product is



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   often of concern with immunoadhesins [i.e., immunoglobulin fusion proteins], since these

   proteins are nonnatural and so it is difficult to predict their solution behavior.” Wurm et al.,

   Optimizing Production and Recovery of Immunoadhesins, in Antibody Fusion Proteins 281, 299

   (Chamow & Ashkenazi eds., 1999) (“Wurm 1999”). As Fast et al. explained, “[i]n comparison

   with native IgG proteins [i.e., antibodies], wherein interdomain interactions presumably have

   evolved to provide mutual stabilization, fusion proteins may lack such stabilizing interdomain

   stabilization.” Fast et al., Physical Instability of a Therapeutic Fc Fusion Protein: Domain

   Contributions to Conformation and Colloidal Stability, 48 Biochem. 11724, 15 (2009) (author

   manuscript) (“Fast 2009”). As Fast 2009 noted, the instability of “artificial fusion proteins” was

   demonstrated in 2005 by Souillac. Id. at 15.

          69.     In 2005, Souillac et al. published the results of stability studies involving a

   “recombinant human homodimer fusion glycoprotein” consisting of “the first extracellular

   domain of a human protein (later referred to as the fused domain) fused to the hinge, C H2, and

   CH3 sequences of a human immunoglobulin G1 (IgG1).” Souillac et al., Biophysical

   Characterization of Insoluble Aggregates of s Multi-Domain Protein: An Insight Into the Role Of

   the Various Domains, 94 J. Pharm. Sci. 2069, 2070 (2005) (“Souillac 2005”). Souillac 2005

   compared differential scanning calorimetry (DSC) thermograms of the intact fusion protein

   against that of the cleaved Fc fragment of the fusion protein (i.e., the hinge, C H2, and CH3

   domains). Id. The data showed that although the unfolding transition of the C H3 domain

   occurred at approximately the same temperature in both the fusion protein and the Fc fragment,

   by contrast, there was a “significant difference in the melting temperature of the C H2 domains

   between the Fc fragment (71.8 ± 0.3°C) and the reference fusion protein (68.0 ± 0.1°C).”

   Souillac 2005 at 2072-2073 & Fig. 1. This data, Souillac 2005 explained, indicated



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   “destabilization of the CH2 domains by the fused domains.” Id. at 2073. In other words, the

   interaction between the fused extracellular domain of a human protein with the antibody C H2

   domain destabilized the CH2 domain relative to a version of the protein that lacked the fused

   domain. Accordingly, the Souillac 2005 study demonstrated that interactions between the

   domains of fusion proteins could serve to destabilize these molecules relative to naturally

   occurring proteins that do not contain such unnatural fused domains.

           70.    Nevertheless, despite the potential for protein aggregation—including the

   enhanced aggregation propensity of fusion proteins—researchers were aware of strategies for

   attempting to stabilize therapeutic proteins against aggregation. For example, as Chi explained,

   although protein aggregation can be problematic, researchers may nonetheless “successfully

   stabilize protein against aggregation” by choosing solution conditions that stabilize the protein’s

   native conformation and stabilize the protein against attractive intermolecular forces. Chi at

   1333.

           D.     Lyophilization

           71.    Lyophilization is a process where a protein product is freeze-dried into a solid

   cake, and later is reconstituted into a liquid form by the end user. Lyophilization was not a

   preferred method for protein formulations; “[f]or ease of preparation and cost containment by the

   manufacturer, and ease of handling by the end user, an aqueous therapeutic protein formulation

   usually is preferred.” J.F. Carpenter et al., Rational Design of Stable Lyophilized Protein

   Formulations: Theory and Practice, in Rational Design of Stable Protein Formulations 109, 109

   (J.F. Carpenter & M.C. Manning eds., 2002) (“Carpenter”); see Int’l Patent Publication No. WO

   2006/047325 at 25:2-4 (“Shams”). Lyophilized formulations are more difficult to prepare

   because they require freeze-drying the protein product, which requires specialized (and costly)

   equipment and procedures. Furthermore, the “freezing and drying stresses . . . can denature
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   proteins to various degrees,” so lyophilization itself can be a source of instability for protein

   formulations. E.N. Lee et al., Stabilizing Peptide Fusion for Solving the Stability and Solubility

   Problems of Therapeutic Proteins, 22 Pharm. Res. 1735, 1745 (2005). In addition, lyophilized

   formulations are more difficult to handle by the end user because they require the end user to

   perform additional steps before the drug may be administered, i.e., reconstituting the solid,

   lyophilized formulation into a liquid form that may be administered to a patient. Id. at 1745

   (“[L]yophilized formulations have disadvantages of complex processing, more manipulation, and

   inconvenient application for patients.”). Notably, no intravitreal drug products were developed

   as a lyophilized formulation before the invention of the ’865 patent, nor has a lyophilized

   intravitreal drug product been developed since.

           72.    Notwithstanding the disadvantages of lyophilized formulations, drug developers

   may develop lyophilized formulations in parallel to their development of liquid formulations. As

   Carpenter explained, “with many proteins it is not possible—especially considering the time

   constraints for product development—to develop sufficiently stable aqueous formulations.”

   Carpenter at 109. In some circumstances, a lyophilized formulation can maintain stability over

   time.

           E.     Glycosylation

           73.    Glycosylation also affects the properties of a protein. Glycosylation refers to the

   attachment of carbohydrate groups (known as “glycans”) to certain amino acid residues of a

   protein. As Wang 1999 explained, “[g]lycosylation can affect protein activity, antigenicity,

   solubility, proteolytic resistance, and stability. Different glycoforms frequently have different

   physical and chemical properties. Therefore, proteins can be properly glycosylated to increase

   their stability.” Wang 1999 at 173.



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          74.     Wang explained possible mechanisms by which glycosylation affected protein

   stability. “Several stabilization mechanisms of protein glycosylation have been proposed. These

   include formation of hydrogen bonds with the polypeptide backbone or surface hydrophilic

   amino acids, and steric interaction with adjacent peptide residues.” Wang 1999 at 173.

          75.     Glycosylation requires specific molecular machinery to attach glycans to the

   protein. Importantly, only eukaryotic cells possess this machinery; unicellular organisms such as

   E. coli cannot glycosylate proteins. Thus, even if an amino acid sequence contains residues that

   may be glycosylated, a protein having that sequence will not be glycosylated if it is expressed in

   E. coli. See U.S. Patent Application Publication No. US2006/0058234 ¶ 43 (“Daly”).

          76.     Glycosylation was also understood to affect the pharmacokinetic properties of a

   protein. For example, Sinclair & Elliott described how a “hyperglycosylated analogue of

   erythropoietin that contains two additional N-linked carbohydrates [led to] a threefold increase in

   serum half-life.” A.M. Sinclair & S. Elliott, Glycoengineering: The Effect of Glycosylation on

   the Properties of Therapeutic Proteins, 94 J. Pharm. Sci. 1626 (2005) (“Sinclair & Elliott”); see

   also J.A. Marinaro et al., O-glycosylation Delays the Clearance of Human IGF-binding protein-6

   from the Circulation, 142 Eur. J. Endocrinology 512 (2000) (“Marinaro”) (finding increased half

   life of recombinant human insulin-like growth factor binding protein 6 due to O-linked

   glycosylation). “The sialic acid component of the carbohydrate in particular, can extend the half-

   life of protein therapeutics.” Sinclair & Elliott at 1626. For example, isoforms of follicle

   stimulating hormone (FSH) “with high sialic acid content were found to have reduced renal

   clearance and increased in vivo bioactivity.” Id. at 1630. Glycosylation may also result in a

   protein being “trapped by the extracellular matrix (ECM) and slowly released into the

   circulation.” Id. at 1627.



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          77.     Sinclair & Elliott concluded that introducing N-linked glycosylation sites to a

   protein could increase serum half-life. Id. at 1632. The authors found that altering a protein

   sequence to introduce glycosylation sites could also increase the potential for generating

   neutralizing antibodies, but found that “the likelihood of immune reactions can be minimized by

   taking advantage of the beneficial properties that carbohydrates add to the molecule (antibody

   repulsion and shielding, increased solubility and reduced aggregation).” Id. at 1632.

          F.      Pharmacokinetics

          78.     Pharmacokinetics refer to the rate at which a protein is cleared through the body.

   When a protein is cleared quickly, both its desired and undesired effects will be limited. For

   example, Holash explained that a VEGFR1-Fc protein construct was “efficacious at

   approximately 500-fold lower concentration than a similar VEGFR-2 construct,” but “[d]espite

   its high affinity, the VEGFR1-FC is not a feasible clinical candidate because of its poor

   pharmacokinetic profile; in rodent studies, this protein has to be administered frequently and at

   very high levels to achieve efficacious levels.” J. Holash et al., VEGF-Trap: A VEGF blocker

   with Potent Antitumor Effects, 99 Proc. Nat’l Sci. Acad. 11393, 11393 (2002) (“Holash”).

   Notably, Holash was directed at systemic delivery of therapeutic agents. For that application, an

   important benefit of the VEGF Traps disclosed in Holash was that they remained in the

   bloodstream longer. Id. at 11395 (“VEGF-TrapR1R2 had an AUC [area under the curve] that was

   almost 1,000-fold higher than that of the parental VEGF-Trap, raising the possibility that it might

   be a far superior pharmacologic agent, assuming it retained its ability to bind and block

   VEGF.”). Furthermore, Holash found that the VEGF Traps had reduced adhesion to the

   extracellular matrix. Id. at 11395.

          79.     On the other hand, where the desired application for a therapeutic is local rather

   than systemic, prolonged systemic exposure may be undesirable. More specifically, the POSA
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   would have understood that systemic VEGF inhibition may cause harmful side effects.

   Bevacizumab (Avastin) is a VEGF inhibitor that was approved to treat cancer at the time of the

   invention of the ’865 patent. In clinical trials, “the most common toxicities” of bevacizumab

   were “diarrhea, leukopenia, fever, and stomatitis.” N.H. Fernando & H.I. Hurwitz, Targeted

   Therapy of Colorectal Cancer: Clinical Experience with Bevacizumab, 9 The Oncologist 11, 14

   (2004); see also J. Gaudreault et al., Preclinical Pharmacokinetics of Ranibizumab (rhuFabV2)

   After a Single Intravitreal Administration, 46 Investigational Ophthalmology & Visual Sci. 726,

   731 (2005) (“Gaudreault 2005”) (“VEGF is necessary for normal physiological functions such as

   tissue repair and reproduction. Furthermore, VEGF is believed to be involved in attenuating

   ischemia in the brain, myocardium, and skeletal muscle, maintenance of adequate VEGF

   systemic concentration is particularly important in the elderly, who constitute most of the AMD

   patient population.”). Furthermore, patients taking bevacizumab also experienced “hemorrhagic

   complications,” including one that was fatal and others that required treatment for hypertension.

   Id. Thus, Daly explained that a smaller VEGF Trap (or “mini-Trap”) had “optimized

   characteristics for local/intra-vitreal delivery, ie. a shorter serum half life for faster clearance and

   minimizing unwanted systemic exposure.” Daly ¶ 43.




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          G.         Intravitreal Administration

          80.        Intravitreal administration is a method of drug delivery in which the substance is

   injected into the vitreous humor of the eye, that is, the chamber between the lens and the retina

   (pictured below as the orange space in the center, comprising most of the eye).




   S. Duvvuri et al., Drug Delivery to the Retina: Challenges and Opportunities, 3 Expert Opinion

   Biological Therapy 45, 46 (2003) (“Duvvuri 2003”). While drug delivery to the eye’s posterior

   can pose challenges, researchers have developed several techniques to accomplish this task.

   Intravitreal administration is one such method. D. Ghate & H.F. Edelhauser, Ocular Drug

   Delivery, 3 Expert Opinion Biological Therapy 275, 280 (2006) (“Ghate 2006”). Ghate 2006

   describes other methods including topical delivery, systemic administration, and periocular

   injections. Id.

          81.        Two anti-angiogenic compounds formulated for intravitreal administration are

   Macugen® (pegaptanib sodium) and Lucentis® (ranibizumab). Int’l Patent Publication No.

   WO2005/102303 at 35:3-24 (“Peyman”); R.P.A. Manzano et al., Testing Intravitreal Toxicity of

   Bevacizumab (Avastin), 26 Retina 257, 260 (2006) (“Manzano 2006”). Macugen® “consists of a

   synthetic fragment of genetic material [i.e., an aptamer] that specifically binds to the VEGF


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   molecule and blocks it from stimulating the receptor on the surface of endothelial cells.”

   Peyman at 35:18-20. It is specifically indicated for ophthalmic intravitreal injection only and is

   formulated with a sodium phosphate buffer. Macugen Prescribing Information at 9 (2004)

   (“Macugen PI 2004”) (MYL-AFL0007349). Macugen was approved as of the earliest priority

   date of the ’865 patent. That said, Macugen® “has led a peripatetic existence,” with its sales

   sharply declining by 2010. C.A. Stein & D. Castanotto, FDA-Approved Oligonucleotide

   Therapies in 2017, 25 Molecular Therapy 1069, 1070 (2017) (“Stein”). Pegaptanib sodium

   targets only the 165 isoform of VEGF, and results only in near-stabilization of vision rather than

   visual improvement. M. Nagpal et al., A Comparative Debate on the Various Anti-Vascular

   Edothelial Growth Factor Drugs, 55 Indian J. Ophthalmology 437, 437-38 (2007) (“Nagpal”).

          82.     Lucentis® (ranibizumab) is a humanized monoclonal antibody antigen-binding

   fragment directed against human VEGF-A that was “designed to bind all forms of VEGF,

   thereby blocking vessel permeability and angiogenesis in neovascular age-related macular

   degeneration.” Gaudreault 2005 at 726. Testing of ranibizumab on rabbits represented “the first

   demonstration of retinal penetration of an anti-VEGF therapy intended for AMD.” Id. at 726.

   By administering Lucentis® intravitreally, researchers aimed “to maximize the VEGF inhibitory

   effect in the retina, while limiting systemic VEGF inhibition,” thereby “minimiz[ing]

   interference with the normal extraocular roles of VEGF.” Id. Lucentis was not approved as of

   June 16, 2006, the latest possible priority date for the ’865 patent. See Rabinow ¶ 282 n.18.

          83.     The POSA would understand that there were a limited set of formulation

   excipients that would be suitable for intravitreal administration. In rare cases, new excipients

   could be proposed, but those would require significant regulatory risk and would not generally

   be preferred by the POSA. Chang 2002 teaches that it is preferable to use excipients “with



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   similar frequency of dosing, history of chronic use and similar patient populations” to ensure

   approval and safety. Chang et al., Practical Approaches to Protein Formulation Development,

   in Rational Design of Stable Protein Formulations 1, 14 (J.F. Carpenter & M.C. Manning eds.,

   2002) (“Chang 2002”). It is also known that “[t]he use of excipients derived from animals (e.g.,

   Tweens) or humans (e.g., human serum albumin) should be avoided if possible due to the risk

   associated with transmissible diseases like bovine spongiform encephalopathy, Creutzfeldt-Jakob

   Disease, hepatitis virus and HIY,” and regulators “discourage the use of animal/human-derived

   excipients.” Id. at 15.

          H.      Size-Exclusion Chromatography (SEC)

          84.     As Wang 2005 detailed, available analytical techniques for characterizing protein

   aggregation were numerous and varied. See Wang 2005 at 11-13 & Table 2. Among the

   available techniques, Wang 2005 explained, “size exclusion HPLC (SEC-HPLC) is a commonly

   used technique for quantitative assessment of aggregate size and content.” Id. at 12. Size-

   exclusion chromatography separates molecules or aggregates of molecules of different sizes

   using a liquid chromatographic column made up of a stationary phase. Larger molecules or

   aggregates elute first, and smaller species elute later due to their interactions with the pores of

   the stationary phase. Allen 1999 provided an overview of this concept in Chapter 18 of the

   Column Handbook for Size Exclusion Chromatography:

                  The mode of SE-HPLC separation is an equilibrium distribution of
                  molecular species between the mobile phase and the porous
                  stationary phase. The resolution of SE-HPLC is the relationship of
                  the molecule’s hydrodynamic volume relative to the pore size of
                  the stationary phase. Hydrodynamic volume refers to the
                  combined physical properties of size and shape. Molecules of
                  larger volume have a limited ability to enter the pores and elute the
                  fastest. A molecule larger than the stationary phase pore volume
                  elutes first and defines the column’s void volume (V0). In contrast,
                  intermediate and smaller volume molecules may enter the pores
                  and therefore elute later.
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   Allen, Application of Size Exclusion High Performance Liquid Chromatography for

   Biopharmaceutical Protein and Peptide Therapeutics, in Column Handbook for Size Exclusion

   Chromatography 531, 532 (1999) (“Allen 1999”).

           85.    Allen 1999 further explained that SEC is capable of quantitatively determining

   the purity or molecular heterogeneity of a protein sample by comparing the peak area for the

   species of interest compared to the summed peak area for all species:

                  The primary application of analytical SE-HPLC is to quantitatively
                  determine the apparent molecular heterogeneity of samples. As a
                  purity method, resolved molecular species are quantitated by
                  comparing the individual areas to the summed areas of all species.
                  Data are typically reported as a percentage of the resolved species.

   Id. at 532.

           86.    Allen 1999 also summarized the routine process of developing and validating an

   SEC assay for use with therapeutic proteins. Id. at 534-535. As Allen 1999 explained, the

   development and validation of SEC assays for protein therapeutics was aided by available

   “industrial guidelines that describe assay validation include compendia and regulatory

   documents.” Id. at 535. Such guidelines included International Conference on Harmonization

   initiatives and protocols published in the United States Pharmacopoeia. See id. As Allen noted,

   by “[f]ollowing these guidance documents, assay validation protocols for SE-HPLC analysis for

   purity and protein concentration are easily developed.” Id.

           87.    Barth et al. published review articles on size-exclusion chromatography in 1996

   and in 1998. Barth et al., Size Exclusion Chromatography, 68 Analytical Chem. 445R (1996)

   (“Barth 1996”); Barth et al., Size Exclusion Chromatography and Related Separation

   Techniques, 70 Analytical Chem. 251R (1998) (“Barth 1998”). Barth 1996 explained that “SEC

   has become a mature and well-accepted technique for characterizing both synthetic polymers and


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   biopolymers” and that, “[w]ith the proper choice of mobile phase and packing type, most

   polymers and biopolymers can be characterized by SEC on a routine basis.” Barth 1996 at

   445R-446R. With respect to proteins in particular, Barth 1996 noted that “[p]rotein chemists

   continue to make heavy use of SEC for preparative separations, as well as for an analytical tool

   to monitor protein purification regimes and to study formulation stability.” Id. at 459R. Barth

   1998 similarly observed that “SEC remains a mainstay technique in protein chemistry, for both

   preparative and analytical separations.” Barth 1998 at 269R. Indeed, Barth 1998 commented on

   the “vast number of reports of the use of SEC for the isolation or characterization of

   recombinantly expressed proteins.” Id. As the article explained, “[d]evelopment of useful

   protein biopharmaceuticals requires attention in developing appropriate formulations, due to the

   potential for both physical and chemical alterations of proteins on storage[, and] SEC methods

   are generally used for determining the formation of protein oligomers during storage and

   formulation.” Id.

          88.     As of June 2006, size-exclusion chromatography was regularly used to determine

   the degree of protein aggregation. As Varley 1997 remarked, “[t]he aggregation of protein based

   pharmaceuticals is routinely monitored by size exclusion chromatography (SEC),” and

   “[t]raditionally SEC is the technique of choice for the analysis of the association properties of

   protein based pharmaceutical products. This is particularly true in the screening for unwanted

   aggregation and the relative quantitation of association states e.g. dimer vs. monomer.” Varley

   et al., A Case Study and Use of Sedimentation Equilibrium Analytical Ultracentrifugation as a

   Tool for Biopharmaceutical Development, 25 Eur. Biophys. J. 437, 437, 442 (1997) (“Varley

   1997”).




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          89.     As the literature illustrates, as of 2006 SEC was a common and routine analytical

   technique for assessing therapeutic protein aggregation.

          I.      Container Systems

          90.     Several container/closure systems, including vials/stoppers and prefilled syringes,

   were available for protein-based therapeutics as of June 2006. Chang 2002 at 4, Table 2 (listing

   “Vial/stoppers” and “prefilled syringes” as options for “Container/closure” systems). Between

   vials and prefilled syringes, it was generally understood that prefilled syringes offered superior

   convenience for administration by a physician, as they obviated the step of withdrawing the

   liquid from a vial into the syringe prior to administration. Nayar 2002 explained that the “most

   preferred” dosage form for a therapeutic protein product was “a solution formulation that is

   typically stored in the refrigerator and preferably in a pre-filled syringe.” Nayar et al., High

   Throughput Formulation: Strategies for Rapid Development of Stable Protein Products, in

   Rational Design of Stable Protein Formulations 177, 183 (J.F. Carpenter & M.C. Manning eds.,

   2002) (“Nayar 2002”). As Nayar 2002 explained, however, each dosage form “offers various

   advantages and disadvantages, in the speed of development, manufacturing, packaging and

   shipment logistics, and in administration of the product to the patient.” Id.

          91.     Indeed, although prefilled syringes offered the prospect of convenience to the

   administering physician, they were also accompanied by potential downsides. As compared to a

   vial/stopper container system, a prefilled syringe—which includes a barrel and a movable

   plunger/stopper—is a more complicated device with greater and more varied surfaces for

   potential interaction with a protein formulation. As Randolph 2002 explained, “orientation and

   surface adsorption can also occur at solid/water interfaces such as those found in vials, syringes,

   and other containers. Protein molecules also exhibit surface activity … and as such will also

   tend to adsorb to and orient at these interfaces.” Randolph et al., Surfactant-protein Interactions,
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   in Rational Design of Stable Protein Formulations 159, 161 (J.F. Carpenter & M.C. Manning

   eds., 2002) (“Randolph 2002”). The FDA likewise acknowledged that the multicomponent

   nature of syringes carried an increased risk of undesirable drug product interaction as compared

   to a container consisting of a single material: “A disposable syringe may be made of plastic,

   glass, rubber, and metal components, and such multicomponent construction provides a potential

   for interaction that is greater than when a container consists of a single material.” U.S. Dep’t of

   Health & Human Services et al., Guidance for Industry: Container Closure Systems for

   Packaging Human Drugs and Biologics, at 24 (1999),

   https://www.fda.gov/media/70788/download.

          J.      Scope of the References Cited by Dr. Rabinow

                  1.      Fraser

          92.     Fraser is an article by Hamish M. Fraser et al. entitled “Single Injections of

   Vascular Endothelial Growth Factor Trap Block Ovulation in the Macaque and Produce a

   Prolonged, Dose-Related Suppression of Ovarian Function,” published in the Journal of Clinical

   Endocrinology & Metabolism. The article states that it was “First Published Online November

   23, 2004.” MYL-AFL0005862 (“Fraser”). Fraser discloses that the “aim of the present study

   was to evaluate the effects of transient inhibition of VEGF on pituitary-ovarian function in the

   macaque.” Id. Fraser did not involve intravitreal administration of any VEGF Trap or testing of

   the effect on the ocular system, but rather used intravenous administration in macaque monkeys

   to study ovarian function. MYL-AFL0005862, at -869.

          93.     As Fraser was directed to the biological function of VEGF in the ovary but not

   storage or shelf-life, it did not address the stability of aflibercept. Unlike the VEGF antagonist

   claimed in the ’865 patent, which is identified by its amino acid sequence (i.e., amino acids 27-



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   457 of SEQ ID NO:4), Fraser identifies the VEGF Trap used in its study (“VEGF Trap R1R2”)

   only by protein domain. Fraser discloses that:

                   Endogenous VEGF was inhibited by administration of VEGF
                   TrapR1R2, a recombinant, chimeric protein comprising Ig domain 2
                   of human VEGF-Rl and Ig domain 3 of human VEGF-R2,
                   expressed in sequence with the human Fc.

   MYLAFL0005862, at -863. Fraser cites to another article, Holash (discussed below), regarding

   the properties of VEGF TrapR1R2 (id.) but does not discuss or comment on Holash; Holash is

   identified only in the list of references at the end of the paper.

           94.     Fraser further discloses that VEGF TrapR1R2 “was provided at a concentration of

   24.3 mg/ml in 2-ml aliquots in buffer composed of 5 mM phosphate, 5 mM citrate, 100 mM

   NaCI (pH 6.0), and 0.1% wt/vol Tween 20, with either 20% glycerol or 20% sucrose.”

   MYLAFL0005862, at -863. Fraser discloses that VEGF TrapR1R2 was administered to monkeys

   using “iv injection.” Id. Fraser also discloses administering a “control” that was formulated

   differently from the VEGF TrapR1R2. In particular, it discloses using “Human Fc, for control

   treatments,” which “was provided at a concentration of 19.7 mg/ml in buffer composed of 40

   mM phosphate and 20 mM NaCl (pH 7.4).” MYLAFL0005862, at -863. Fraser does not

   disclose any testing of the stability of either of these compositions, nor does the article even

   comment on stability. However, Fraser does disclose that “[t]he compounds were stored at -20 C

   until required, at which time they were thawed. Any compound remaining was stored at 4 C and

   used within 2 wk.”

                   2.      Holash

           95.     Holash is an article by Jocelyn Holash and co-authors—19 scientists in total, all

   from Regeneron—entitled “VEGF-Trap: A VEGF blocker with potent antitumor effects,”

   published in the Proceedings of the National Academy of Sciences in 2002. MYL-AFL0006459.


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   Holash described a collection of various molecules called “VEGF-Traps” that could be used to

   block VEGF. As Holash explained,

                 The VEGF pathway is initiated when VEGF binds to its receptors
                 on endothelial cells. The two best characterized VEGF receptors
                 are termed VEGF receptor 1 (VEGFR1) and VEGF receptor 2
                 (VEGFR2). VEGFR1 and VEGFR2 are highly related
                 transmembrane tyrosine kinases that use their ectodomains to bind
                 VEGF; this binding in turn activates the intrinsic tyrosine kinase
                 activity of their cytodomains, initiating intracellular signaling.

   Id.

          96.    Holash described the creation of various VEGF-Traps (MYL-AFL0006459, at

   -459-460), as summarized below.

    Parental VEGF-Trap          “The parental VEGF-Trap was created by fusing the first three
                                Ig domains of VEGFR1 to the constant region (Fc) of human
                                IgG1.”

    VEGF-TrapǻB1                “VEGF-TrapǻB1 was created by removing a highly basic 10-aa
                                stretch from the third Ig domain of the parental VEGF-Trap.”
    VEGF-TrapǻB2                “VEGF-TrapǻB2 was created by removing the entire first Ig
                                domain from VEGF-TrapǻB1.”
    VEGF TrapR1R2               “VEGF TrapR1R2 was created by fusing the second Ig domain of
                                VEGFR1 with the third Ig domain of VEGFR2.”


   Holash illustrated the VEGF-Traps below, along with native VEGFR1 and VEGFR2. However,

   Holash did not disclose the amino acid sequence of any of these VEGF-Traps, nor did it disclose

   any stability data regarding VEGF-Traps.




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                                    010)




                                MYL-AFL0006459, at -460 (Fig. 1A)


          97.    Holash evaluated the VEGF-Traps for their in vivo activity against tumors in

   mice, and described subcutaneously administering the VEGF-Traps to mice. Holash did not

   disclose or suggest administering any VEGF-Trap intravitreally. Holash found that

   pharmacokinetic properties of the VEGF-Traps varied with their pI (isoelectric point); “[e]very

   reduction in pI was accompanied by a corresponding improvement in Cmax and AUC,” which

   means that the VEGF-Traps remained in the bloodstream for a longer period of time, which

   Holash considered desirable in the context of potential cancer treatments. MYL-AFL0006459, at

   -461. According to Holash, VEGF-TrapR1R2 had the best pharmacokinetic profile with respect to

   its prospects as an anti-tumor agent. MYL-AFL0006459, at -461-462.

                 3.      Daly

          98.    Daly is U.S. Patent Application Publication No. U.S. 2006/0058234, dated March

   16, 2006 and entitled “VEGF Traps and Therapeutic Uses Thereof.” Daly does not disclose

   stability data of aflibercept formulations. Daly described Regeneron’s work creating additional

   VEGF-Traps. In particular, Daly disclosed that “[a] VEGF trap composed of two fusion

   polypeptides having at least one truncated multimerizing component is termed a ‘truncated
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   mini-trap.’” The multimeric VEGF-binding protein of the invention is capable of binding VEGF

   with an affinity (Kd) of at least 1×10í10 M, preferably at least 1×11í10 M, even more preferably

   at least 1×10í12 M, as measured by Biacore-based assays.” Daly ¶ 10 (emphasis added).

   Furthermore, Daly taught that “mini-traps” were particularly well-suited for intravitreal

   administration. Daly explained:

                  A smaller, non-glycosylated mini-trap expressed in E. coli
                  (Example 4), a glycosylated mini-trap expressed in CHO cells
                  (Example 5), or a receptor-based monomeric trap (Example 6) has
                  optimized characteristics for local/intra-vitreal delivery, ie. a
                  shorter serum half life for faster clearance and minimizing
                  unwanted systemic exposure. In addition due to its smaller size,
                  the mini-trap has the ability to penetrate through the inner-
                  limiting membrane (ILM) in the eye, and diffuse through the
                  vitreous to the retina/retinal pigment epithelial (RPE) layer
                  which will help to treat retinal disease. Additionally, the mini-
                  trap can be used for local administration for the treatment of ocular
                  disease such as choroidal neovascularization, diabetic macular
                  edema, proliferative diabetic retinopathy, corneal
                  neovascularization/transplant rejection.

   Daly ¶ 43 (emphasis added). Daly disclosed that “[t]he molecular weight of purified mini-trap

   was estimated to be about 46 kD by SDS-PAGE” when expressed in E. Coli, Daly ¶ 74, and

   “approximately 64 kDa” when expressed in CHO cells. Daly ¶ 79.

          99.     Daly further explained that “[i]n one exemplification of the mini-traps of the

   invention, a smaller VEGF trap was generated by directed cleavage of a dimerized VEGF trap

   having a cleavage region (C-region) generated in a Fc domain (Example 2). The truncated trap

   exhibited comparable affinity for VEGF and half-life as the full-sized parent trap.” Daly ¶ 63.

   Furthermore, “[a]ffinity measurements showed that the non-glycosylated fusion polypeptides

   expressed in E. coli or the glycosylated polypeptides expressed in CHO cells had comparable

   binding affinity for VEGF as the full-sized parent trap.” Daly ¶ 63.




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          100.   Daly described one VEGF mini-trap as having SEQ ID NO:21. The comparison

   of this sequence to SEQ ID NO:4 from the ’865 patent is shown below.

    CLUSTAL O(1.2.4) multiple sequence alignment


    SEQIDNO:4         MVSYWDTGVLLCALLSCLLLTGSSSGSDTGRPFVEMYSEIPEIIHMTEGRELVIPCRVTS           60
    SEQIDNO:21        MVSYWDTGVLLCALLSCLLLTGSSSGSDTGRPFVEMYSEIPEIIHMTEGRELVIPCRVTS           60
                      ************************************************************

    SEQIDNO:4         PNITVTLKKFPLDTLIPDGKRIIWDSRKGFIISNATYKEIGLLTCEATVNGHLYKTNYLT           120
    SEQIDNO:21        PNITVTLKKFPLDTLIPDGKRIIWDSRKGFIISNATYKEIGLLTCEATVNGHLYKTNYLT           120
                      ************************************************************

    SEQIDNO:4         HRQTNTIIDVVLSPSHGIELSVGEKLVLNCTARTELNVGIDFNWEYPSSKHQHKKLVNRD           180
    SEQIDNO:21        HRQTNTIIDVVLSPSHGIELSVGEKLVLNCTARTELNVGIDFNWEYPSSKHQHKKLVNRD           180
                      ************************************************************

    SEQIDNO:4         LKTQSGSEMKKFLSTLTIDGVTRSDQGLYTCAASSGLMTKKNSTFVRVHEKDKTHTCPPC           240
    SEQIDNO:21        LKTQSGSEMKKFLSTLTIDGVTRSDQGLYTCAASSGLMTKKNSTFVRVHEKDKTHTCPPC           240
                      ************************************************************

    SEQIDNO:4         PAPELLGGPSVFLFPPKPKDTLMISRTPEVTCVVVDVSHEDPEVKFNWYVDGVEVHNAKT           300
    SEQIDNO:21        ------------------------------------------------------------           240


    SEQIDNO:4         KPREEQYNSTYRVVSVLTVLHQDWLNGKEYKCKVSNKALPAPIEKTISKAKGQPREPQVY           360
    SEQIDNO:21        ------------------------------------------------------------           240


    SEQIDNO:4         TLPPSRDELTKNQVSLTCLVKGFYPSDIAVEWESNGQPENNYKTTPPVLDSDGSFFLYSK           420
    SEQIDNO:21        ------------------------------------------------------------           240


    SEQIDNO:4         LTVDKSRWQQGNVFSCSVMHEALHNHYTQKSLSLSPGK           458
    SEQIDNO:21        --------------------------------------           240


   As the alignment illustrates, the mini-trap having SEQ ID NO:21 in Daly contains only the first

   240 amino acid residues of SEQ ID NO:4 from the ’865 patent (shown by asterisks denoting

   common residues); residues 241-457 of SEQ ID NO:4 are not present (shown by dashed lines).

   Thus, the mini-trap having SEQ ID NO:21 is approximately half the size of the protein having

   amino acids 27-457 of SEQ ID NO:4 from the ’865 patent.

          101.   The inventors also created a VEGF mini-trap that “did not require a

   multimerization domain (SEQ ID NO:19). This mini-trap was constructed by direct fusion of one

   Flt1D2.Flk1D3 domain (R1R2) (amino acids 30-231 of SEQ ID NO:19) to a second



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   Flt1D2.Flk1D3 domain (R1R2) (amino acids 234-435 of SEQ ID NO:19) with a Gly-Pro linker

   between the tandem receptor domains (amino acids 232-233 of SEQ ID NO:19).” Daly ¶ 77.

                  4.     Wulff

          102.    Wulff is an article by Christine Wulff et al. entitled “Prevention of Thecal

   Angiogenesis, Antral Follicular Growth, and Ovulation in the Primate by Treatment with

   Vascular Endothelial Growth Factor Trap R1R2” published in the journal Endocrinology in

   2002. Wulff “was designed to investigate the effects of inhibition of thecal angiogenesis on

   follicular development in the marmoset monkey (Callithrix jacchus).” MYL-AFL0009609.

   Wulff disclosed that VEGF TrapR1R2 used in the study was expressed in CHO cells and “was

   purified by protein A affinity chromatography followed by size-exclusion chromatography.”

   MYL-AFL0009609, at -610. Like Fraser, Wulff did not identify the amino acid sequence of

   VEGF TrapR1R2, did not disclose or suggest VEGF TrapR1R2 for intravitreal administration, and

   did not disclose or evaluate the stability of any formulation of VEGF Trap R1R2. Wulff did

   disclose that the marmoset monkeys were injected intravenously with “VEGF Trap” at 25 mg/kg,

   and disclosed a “vehicle” used to treat “control animals containing 5 mM phosphate, 5 mM

   citrate, 100 mM sodium chloride, 0.1% (wt/vol) Tween 20, and 20% (wt/vol) sucrose.” MYL-

   AFL0009609, at -610. Wulff did not disclose any information about the possible formulation of

   “VEGF Trap” and did not suggest that the “VEGF Trap” was formulated similarly to the

   “vehicle.”

                  5.     Rudge

          103.    Rudge is an article by J.S. Rudge et al. entitled “VEGF Trap as a Novel

   Antiangiogenic Treatment Currently in Clinical Trials for Cancer and Eye Diseases, and

   VelociGene®-based Discovery of the Next Generation of Angiogenesis Targets” and published

   in Cold Spring Harbor Laboratory Press. Rudge reviewed the biology of VEGF and VEGF

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   receptors, VEGF’s role in tumor angiogenesis, and the development of VEGF Traps. Rudge

   referred to the “chimeric fusion protein containing a modified domain 2 of VEGFR1 and the

   third Ig domain of VEGFR2 fused to the Fc region of human IgG1” as “VEGF Trap.” MYL-

   AFL0008178, at -180. Rudge summarized the ongoing work to develop “VEGF Trap” as a

   cancer treatment and also noted efforts “for local delivery of the VEGF Trap, in multiple

   vascular eye diseases ranging from AMD and diabetic eye diseases to corneal injury and

   transplantation.” MYL-AFL0008178, at -181. These included clinical trials for vascular eye

   diseases; Rudge noted that “VEGF Trap is now entering more advanced clinical trials in vascular

   eye diseases.” Id. Rudge did not identify the amino acid sequence of any VEGF Trap protein.

          104.    In addition, Rudge identified two additional “antiangiogenesis targets”:

   Angiopoietin-2, and Delta-like ligand 4 (Dll4). MYL-AFL0008178, at -182. Rudge suggested

   that these targets could be among the “next generation of antiangiogenesis targets, which may

   work either alone or in combination with the VEGF Trap, or in settings of relative resistance to

   anti-VEGF therapies.” MYL-AFL0008178, at -182.

                  6.     Papadopoulos

          105.    Papadopoulos is International Patent Application Publication No. WO00/75319

   entitled “Modified Chimeric Polypeptides with Improved Pharmacokinetic Properties,” which

   was published December 14, 2000 and named the inventors Nicholas J. Papadopoulos, Samuel

   Davis, and George Yancopoulos, all from Regeneron. Papadopoulos does not disclose stability

   data regarding aflibercept formulations. Papadopoulos is directed to VEGF antagonists and

   discloses numerous embodiments of VEGF receptor fusion proteins. These include:

          x   “a fusion polypeptide comprising an amino acid sequence of a modified Flt1 receptor,

              wherein the amino acid sequence selected from the group consisting of (a) the amino

              acid sequence set forth in Figure 13A-13D; (b) the amino acid sequence set forth in
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              Figure 14A-14C; (c) the amino acid sequence set forth in Figure 15A-15C; (d) the

              amino acid sequence set forth in Figure 16A-16D; (e) the amino acid sequence set

              forth in Figure 21A-21C; (f) the amino acid sequence set forth in Figure 22A-220;

              and (g) the amino acid sequence set forth in Figure 24A-24C.” (Papadopoulos at

              15:19-27.)

   Papadopoulos identifies these fusion proteins, along with others disclosed in the patent

   application, as follows (Papadopoulos at 19:11-22:3):

    Papadopoulos Figure                              Fusion Protein Name

    Fig. 10A-10D                                     Flt1(1-3)-Fc

    Fig. 13A-13D                                     Flt1(1-3ǻB)-Fc

    Fig. 14-14C                                      Flt1(2-3ǻB)-Fc

    Fig. 15A-15C                                     Flt1(2-3)-Fc

    Fig. 16A-16D                                     Flt1(1-3R->N)-Fc

    Fig. 21A-21C                                     Flt1D2.Flk1D3.FcǻC1(a)

    Fig. 22A-22C                                     Flt1D2.VEGFR3D3.FcǻC1(a)

    Fig. 24A-24C                                     VEGFR1R2-FcǻC1(a)



          106.    Papadopoulos characterized the molecular weight of Flt1D2.Flk1D3.FcǻC1(a),

   which had a molecular weight of 113,300 Daltons. Papadopoulos at 25:10-16.

          107.    Papadopoulos disclosed a number of studies on the fusion protein

   Flt1D2.Flk1D3.FcǻC1(a). That fusion protein is different from SEQ ID NO:4, a portion of

   which is claimed in the formulations recited in the ’865 patent. The alignment of the sequences

   is shown below, where the “query” sequence is SEQ ID NO:4 from the ’865 patent and the


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   “Sbjct” sequence is Flt1D2.Flk1D3.FcǻC1(a) from Papadopoulos. As the alignment illustrates,

   the two sequences are different and diverge at multiple residues.

    Query    1     MVSYWDTGVLLCALLSCLLLTGSSSGSDTGRPFVEMYSEIPEIIHMTEGRELVIPCRVTS       60
    Sbjct    1     ..........................---...............................       57

    Query    61    PNITVTLKKFPLDTLIPDGKRIIWDSRKGFIISNATYKEIGLLTCEATVNGHLYKTNYLT       120
    Sbjct    58    ............................................................       117

    Query    121   HRQTNTIIDVVLSPSHGIELSVGEKLVLNCTARTELNVGIDFNWEYPSSKHQHKKLVNRD       180
    Sbjct    118   ............................................................       177

    Query    181   LKTQSGSEMKKFLSTLTIDGVTRSDQGLYTCAASSGLMTKKNSTFVRVHEK---DKTHTC       237
    Sbjct    178   ...................................................GPG......       237

    Query    238   PPCPAPELLGGPSVFLFPPKPKDTLMISRTPEVTCVVVDVSHEDPEVKFNWYVDGVEVHN       297
    Sbjct    238   ............................................................       297

    Query    298   AKTKPREEQYNSTYRVVSVLTVLHQDWLNGKEYKCKVSNKALPAPIEKTISKAKGQPREP       357
    Sbjct    298   ............................................................       357

    Query    358   QVYTLPPSRDELTKNQVSLTCLVKGFYPSDIAVEWESNGQPENNYKTTPPVLDSDGSFFL       417
    Sbjct    358   ....................................E.................E.....       417

    Query    418   YSKLTVDKSRWQQGNVFSCSVMHEALHNHYTQKSLSLSPGK      458
    Sbjct    418   ......E...................E..........E...      458




            108.   Papadopoulos later provides other names for these “chimeric molecules,” and

   explains that they were “denoted R1R2 (F1t1.D2.Flk1D3.FcǻC1(a) and VEGFR1R2-FcǻC1(a)

   and R1R3 (F1t1D2.VEGFR3D3-FcǻC1(a) and VEGFR1R3-FcǻC1(a) respectively, wherein R1

   and Flt1D2 = Ig domain 2 of Flt1 (VEGFR1); R2 and Flk1D3 = Ig domain 3 of Flk1 (VEGFR2);

   and R3 and VEGFR3D3 = Ig domain 3 of FIt4 (VEGFR3)).” Papadopoulos at 59:4-8.

   Papadopoulos described that these chimeric molecules “were much less sticky to ECM, as

   judged by an in vitro ECM binding assay as described infra, had 10 greatly improved PK as

   described infra.” Papadopoulos 59:8-10.

            109.   The “ECM binding assay” refers to binding to the extracellular matrix. Example

   18 of Papadopoulos evaluated the ECM binding of Flt1D2.Flk1D3.FcǻC1(a) and

   Flt1D2.VEGFR3D3.FcǻC1(a) and found that they were “considerably less sticky to the ECM as

   compared to the Flt(1-3)-Fc protein.” Papadopoulos at 65:1-18.

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          110.    Papadopoulos also reports results from a phosphorylation assay that detects the

   efficacy of the fusion proteins on VEGF inhibition. Papadopoulos at 71:7-73:5. Papadopoulos

   reports the following results:

          x   “As is seen in Figure 25A, at a 1.5 molar excess of either Flt1(1-3)-Fc, Flt1(1-3)-Fc

              (A40) or transient Flt1D2F1k1D3.FcǻC1(a) there is complete blockage of receptor

              stimulation by these three modified Flt1 receptors as compared to control media

              challenge.” Papadopoulos at 72:6-9.

          x   “In contrast, transient Flt1D2VEGFR3D3.FcǻC1(a) does not show significant

              blockage at this molar excess, as compared with VEGF positive control challenge.”

              Papadopoulos at 72:9-11.

          x   “Similar results are seen in Figure 25B, where the modified Flt receptors are in a 3-

              fold molar excess to VEGF165 ligand. In Figure 25C, where the modified Flt1

              receptors are in a 6-fold molar excess to VEGF165 ligand, transient Flt1

              D2VEGFR3D3.FcǻC1 (a) can now be shown to be partially blocking VEGF165-

              induced stimulation of cell-surface receptors.” Papadopoulos at 72:12-17.

          x   “Figure 26A-26B. Phosphorylation assay. Detection by Western blot of tyrosine

              phosphorylated VEGFR2(Flk1) by VEGF165 ligand stimulation shows that cell-

              surface receptors are not phosphorylated by challenge samples which have VEGF165

              preincubated with 1 and 2 fold molar excess (Figure 26A) or 3 and 4 fold molar

              excess (Figure 26B) of either transient Flt1 D2Flk1 D3.FcǻC1 (a), stable Flt1 D2Flk1

              D3.FcǻC1 (a), or transient VEGFR1R2-FcǻC1 (a). At all modified Flt1 receptor

              concentrations tested there is complete binding of VEGF165 ligand during the

              preincubation, resulting in no detectable stimulation of cell- surface receptors by


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              unbound VEGF165 as compared to control media challenge.” Papadopoulos at

              72:19-72:4.

          111.    Likewise, Papadopoulos also describes results from an ELISA assay used to

   detect the affinity of several of the fusion proteins: “Flt1(1- 3)-Fc, Flt1(1-3)-Fc (A40),

   transiently expressed Flt1D2Flk1D3.FcǻC1(a), transiently expressed Flt1D2VEFGFR3D3-

   FcǻC1(a), Flt1-(1-3NAS)-Fc, Flt1(1-3R_>C)-Fc and Tie2-Fc. Flt1 (1-3 NAS)-Fc is a modified

   version of Flt1(1-3)-Fc in which the highly basic amino acid sequence KNKRASVRRR is

   replaced by NASVNGSR, resulting in the incorporation of two new glycosylation sites and a net

   reduction of five positive charges, both with the purpose of reducing the unfavorable effects of

   this sequence on PK.” Papadopoulos at 89:15-90:2. Papadopoulos found that “the modified Fltl

   receptor variant with the highest affinity for VEGF165 (determined as the lowest amount of free

   VEGF165) was Flt1 D2Flk1 D3.FcǻC1 (a), followed by Flt1 (1-3)-Fc and Flt1(1-3)-Fc (A40)

   and then by Flt1(1-3R->C)-Fc, Flt1 (1-3NAS)-Fc and Flt1 D2VEFGFR3D3-FcǻC1(a). Tie2Fc has

   no affinity for VEGF165.” Papadopoulos at 90:5-10.

          112.    The above results demonstrate that multiple of the fusion proteins tested bound to

   VEGF and blocked VEGF binding.

          113.    Papadopoulos additionally evaluated several of the fusion proteins using a cell

   proliferation bioassay. Papadopoulos found:

          x   “The negative control receptor Tie2-Fc does not block VEGF165-induced cell

              proliferation at any concentration whereas Flt1 D2.Flk1 D3.FcǻC1 (a) blocks 1.56nM

              VEGF165 with a half maximal dose of 0.8nM. Fit1 (1-3)- Fc and Flt1

              D2.VEGFR3D3.FcǻC1 (a) are less effective in blocking VEGF165 in this assay with




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              a half maximal dose of ~ 2nM. VEGF165 alone gives a reading of 1.2 absorbance

              units and the background is 0.38 absorbance units.” Papadopoulos at 73:22-74:13.

          114.   Papadopoulos also evaluated the binding stoichiometry of two of the fusion

   proteins, Flt1D2Flk1D3.FcǻC1 and VEGFR1R2-FcǻC1. Papadopoulos found that the

   stoichiometry was approximately one VEGF molecule per molecule of either fusion protein.

   Papadopoulos at 75:12-76:10. For Flt1D2Flk1D3.FcǻC1, Papadopoulos also used size

   exclusion chromatography to evaluate stoichiometry, and similarly found the ratio of VEGF165

   to Flt1D2Flk1D3.FcǻC1(a) to be 1:1. Papadopoulos at 76:24-77:4.

          115.   Papadopoulos also conducted peptide mapping of one fusion protein,

   Flt1D2.Flk1D3.FcǻC1(a). Papadopoulos identified ten cysteine residues and disclosed that:

          x   “There are a total of ten cysteines in Flt1D2.Flk1D3.FcǻC1 (a); six of them belong to

              the Fc region. Cys27 is disulfide bonded to Cys76. Cys121 is disulfide bonded to Cys

              182. The first two cysteines in the Fc region (Cys211 and Cys214) form an

              intermolecular disulfide bond with the same two cysteines in another Fc chain.

              However, it can not be determined whether disulfide bonding is occurring between

              same cysteines (Cys211 to Cys211, for example) or between Cys211 and Cys214.

              Cys216 is disulfide bonded to Cys306. Cys 352 is disulfide bonded to Cys410.”

              Papadopoulos at 81:8-18.

          116.   With respect to Flt1D2.Flk1D3.FcǻC1(a), Papadopoulos further disclosed that the

   fusion protein was glycosylated. Specifically, Papadopoulos disclosed:

          x   “There are five possible N-linked glycosylation sites in Flt1D2.Flk1D3.FcǻC1(a) and

              are found to be glycosylated to varying degrees. Complete glycosylation is observed

              at Asn33, Asn193, and Asn282. Partial glycosylation is observed on Asn65 and


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              Asn120. Sites of glycosylation are highlighted by underline in the Figure.”

              Papadopoulos at 81:20-82:2.

          Papadopoulos did not disclose the glycosylation status of any other fusion protein.

          117.    Papadopoulos also disclosed pharmacokinetic data for several of the fusion

   proteins. For, Flt1(1-3)-Fc (A40), Flt1D2.Flk1D3.FcǻC1(a), and VEGFR1R2-FcǻC1(a).

   Papadopoulos found:

          x   “The Tmax for Flt1(1-3)-Fc (A40) was at 6 hrs while the Tmax for the transient and

              stable Flt1D2.Flk1D3.FcǻC1(a) and the transient VEGFR1R2-FcǻC1(a) was 24hrs.

              The Cmax for Flt1(1-3)-Fc (A40) was 8ȝg/ml. For both transients

              (Flt1D2.Flk1D3.FcǻC1(a) and VEGFR1R2-FcǻC1(a)) the C max was 18ȝg/ml and the

              Cmax for the stable VEGFR1R2-FcǻC1(a) was 30ȝg/ml.” Papadopoulos at 82:20-

              83:2.

          118.     Papadopoulos also investigated the pharmacokinetics of Flt1(1-3)-Fc (A40),

   Flt1D2.Flk1D3.FcǻC1(a), and Flt1D2.VEGFR3D3.FcǻC1(a). Papadopoulos disclosed that

   “Flt1(1-3)- Fc (A40) could no longer be detected in the serum after day 5 whereas,

   Flt1D2.Flk1D3.FcǻC1(a) and Flt1D2.VEGFR3D3.FcǻC1(a) were detectable for 15 days or

   more.” Papadopoulos at 83:7-19.

                  7.      Chi

          119.    Chi is a review article by Eva Chi et al. published in 2003 in Pharmaceutical

   Research entitled “Physical Stability of Proteins in Aqueous Solution: Mechanism and Driving

   Forces in Nonnative Protein Aggregation.” Chi explains the importance of protein stability and

   provides that “if a therapeutic protein cannot be stabilized adequately, its benefits to human

   health will not be realized.” Chi at 1325. Chi explained that protein aggregation “is particularly

   problematic” and that, in general, “proteins are only marginally stable and are highly susceptible
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   to degradation, both chemical and physical.” Chi at 1325. Chi also acknowledged that “[e]ach

   protein is unique both chemically and physically and therefore will exhibit unique stability

   behavior.” Chi at 1326. Chi does not discuss any fusion proteins and thus does not disclose any

   stability data on aflibercept formulations.

                  8.      ’226 Patent

          120.    U.S. Patent 10,406,226 (the “’226 Patent”) is entitled “Method of manufacturing

   VEGF antagonist fusion proteins,” names as inventors Daniel B. Dix, Kelly Frye, and Susan

   Kautz, and is assigned to Regeneron. The ’226 Patent was filed on August 31, 2017 and claims

   priority to a provisional application dated March 25, 2005. The ’226 Patent discloses several

   example formulations, none of which have 40 mg/ml aflibercept. ’226 Patent at 7:60-12:30. The

   ’226 Patent also discloses formulations with concentration ranges of excipients and amounts of a

   generic “fusion protein.” The ’226 Patent discloses some formulations with “10-50 mg/ml of the

   fusion protein,” and others with “50-100 mg/ml of the fusion protein.” ’226 Patent at 2:20-49.

                  9.      Dix

          121.    U.S. Patent 8,110,546 (“Dix”) is a parent patent of the ’226 Patent, and shares the

   same specification and inventors as the ’226 Patent. Dix is also assigned to Regeneron. Dix is

   entitled “VEGF antagonist formulations.”

                  10.     ’747 Patent

          122.    U.S. Patent 7,303,747 (the “’747 patent”) is entitled “Use of VEGF Inhibitors for

   Treatment of Eye Disorders” and names as inventors Stanley J. Weigand, Nicholas J.

   Papadopoulos, George D. Yancopoulos, James P. Fandl, and Thomas J. Daly. The ’747 patent

   was filed on September 1, 2005, issued on December 4, 2007, and is assigned to Regeneron. The

   ’747 patent does not disclose any stability data on aflibercept formulations.



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          123.    The ’747 patent is directed to treating eye disorders by using VEGF inhibitors.

   The ’747 patent discloses several such inhibitors, and explains:

          x   In specific embodiments, the VEGF inhibitor is a fusion polypeptide “VEGF trap”

              selected from the group consisting of SEQ ID NO:2 (Flt1D2.Flk1D3FcǻC1(a)), SEQ

              ID NO:4 (Flt1D2.VEGFR3D3.FcǻC1(a)), SEQ ID NO:6 (VEGFR1R2 FcǻC1(a)),

              and SEQ ID NO:23. ’747 patent at 1:64-2:2.

          124.    The ’747 patent discloses treating eye disorders through both intravenous and

   intravitreal delivery of VEGF antagonists. The ’747 patent disclosed a clinical trial using

   intravenous delivery of a VEGF antagonist to treat patients with neovascular age-related macular

   degeneration (AMD). ’747 patent at 21:1-12. The ’747 patent disclosed that: “A dose-

   dependent improvement in ERT as evaluated by OCT was suggested in this small number of

   patients, with a longer initial duration in improvement at the 3.0 mg/kg as compared to the 1.0

   mg/kg dose level. A trend towards a dose-related improvement in BCVA was also suggested.”

   ’747 patent at 22:35-42.

          125.    The ’747 patent also discloses an example where a patient with “age-related

   macular degeneration is treated with an intravitreal injection of the VEGF trap protein of SEQ ID

   NO:6 or 23.” ’747 patent 20:20-22. I understand that the use of the present verb tense (“is

   treated”) indicates that this injection was not actually performed and is instead a “prophetic

   example.” This is further supported by statements in the Example such as “the patient is to

   receive a full ophthalmic examination . . . ,” “[i]f both eyes are affected, they may be treated

   separately,” and “[a]fter treatment, the patients’ eyes are to be examined . . . .” ’747 patent at

   20:34-37, 44-45, and 49-51. Accordingly, unlike the example using intravenous delivery that




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   disclosed actual clinical results, this example does not provide data indicating whether

   intravitreal administration of either VEGF trap protein would have been successful in patients.

          126.    Notably, SEQ ID NO:23 is a much shorter protein with only 240 amino acids, as

   compared to the over 400 amino acid residues that comprise amino acids 27-457 of SEQ ID

   NO:4. The ’747 patent discloses that SEQ ID NO:23 is a “truncated version termed a ‘mini-

   VEGF trap’ lacking the human Fc component.” ’747 patent at 18:31-34. The ’747 disclosed a

   pharmacokinetic study comparing a full-length VEGF trap with the mini-VEGF Trap. The ’747

   patent teaches as follows:

              “The results of this study demonstrate that both full-length VEGF trap and mini-

              VEGF trap can be injected intravitreally and that the proteins penetrate to the desired

              site of action, i.e. retina or related structure. The results show that the protein is

              present in the eye tissue for up to 672 hrs, thus allowing for monthly treatment

              paradigms. Further, once the mini-VEGF trap moves out of the eye tissue into the

              systemic circulation, it is cleared more quickly from the body than the full-length

              VEGF trap, thus reducing unwanted systemic action.” ’747 patent at 20:4-14.

                  11.     Liu

          127.    Liu is a patent application publication (U.S. 2004/0197324) dated October 7, 2004

   entitled “High Concentration Antibody and Protein Formulations.” Liu is directed to

   formulations of antibody molecules and does not disclose any fusion protein formulations (or

   stability data on aflibercept formulations). Liu explains that “[a]ntibodies tend to form viscous

   solutions at high concentration because of their macromolecular nature and potential for

   intermolecular interactions. Moreover, pharmaceutically acceptable sugars are often used in large

   amounts as stabilizers. Such sugars can enhance the intermolecular interactions, thereby

   increasing the viscosity of the formulation. Highly viscous formulations are difficult to
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   manufacture, draw into a syringe and inject subcutaneously. The use of force in manipulating the

   viscous formulations leads to excessive frothing, which can lead to denaturation and inactivation

   of active biologics. Satisfactory solution of this problem is lacking.” Liu ¶ 6.

          128.    Liu also discloses size exclusion chromatography data for antibody formulations.

   Liu ¶ 280; Rabinow Report ¶ 136. Because it does not disclose any fusion protein formulations,

   it discloses no size exclusion chromatography data for them.

                  12.     Shams

          129.    Shams is an International Patent Application Publication (WO 2006/047325)

   published May 4, 2006 and entitled “Method for Treating Intraocular Neovascular Diseases.”

   Shams discloses “[a]nti-VEGF antagonistic antibodies includ[ing], but not limited to, antibodies

   A4.6.1, rhuMab VEGF (bevacizumab), Y0317 (ranibizumab), G6, B20, 2C3, and others as

   described in, for example, WO98/45331 , US2003/0190317, U.S. Patents 6,582,959 and

   6,703,020; WO98/45332; WO 96/30046; WO94/10202; WO2005/044853; EP 0666868B1; and

   Popkov et al., 288 Journal of Immunological Methods 149 (2004). More preferably, the anti-

   VEGF antagonistic antibody of the invention is ranibizumab, which is a humanized, affinity

   matured anti-human VEGF antibody Fab fragment having the light and heavy chain variable

   domain sequences of Y0317 as described in WO98/45331 and Chen et al J Mol Biol 293:865-

   881 (1999).” Shams at 7:5-16. Shams does not disclose aflibercept or other VEGF Trap

   molecules, or formulations thereof.

          130.    WO98/45331 identifies “Y0317” as having a “CDRHl comprising the amino acid

   sequence: GYDFTHYGMN (SEQ ID NO: 126) and a CDRH3 comprising the amino acid

   sequence: YPYYYGTSHWYFDV (SEQ ID NO: 127).” Neither of those sequences is related to

   SEQ ID NO:4 as disclosed in the ’865 patent.



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          131.    Shams taught that ranibizumab is produced in E. coli, is not glycosylated, and has

   a molecular mass of 48,000 Daltons. Shams at 31:20-25. For intravitreal administration, Shams

   taught that vials of ranibizumab contain either 6 mg/ml or 10 mg/ml of ranibizumab. Shams at

   31:27-32. Shams does not describe any other concentration of ranibizumab.

          132.    Shams further taught that “[p]referably, therapeutic peptides and proteins are

   stored as aqueous solutions, although lyophilized formulations for reconstitution are acceptable.”

   Shams at 25:2-4.

                  13.       Gaudreault 2005

          133.    Gaudreault 2005 is an article by Jacques Gaudreault et al. entitled “Preclinical

   Pharmacokinetics of Ranibizumab (rhuFabV2) after a Single Intravitreal Administration,”

   published in February 2005 in the journal Investigative Ophthalmology & Visual Science.

   Gaudreault does not disclose aflibercept or stability data on aflibercept formulations. Gaudreault

   disclosed a study in which monkeys received intravitreal doses of the experimental antibody

   drug ranibizumab at varying dosages and formulated with 10 mM sodium succinate, 10%

   trehalose, and 0.05% Tween-20 (pH 5.0). Gaudreault 2005 at 726-27. The dosages delivered to

   the monkeys are set forth below:

        TABLE l. Treatment Groups Assignment

                  Number                                                       Dose
                 per G-ronp                .Day                           Conce:n.ttations    Dose
        Group       {M/F)      Route    Administered         Dose            (mg/mL)         Volume

          1           3/3       ITV            1         500 µ.g/cyc            10           50 µUcyc
          2           3/3       ITV            1        2000 p.g/C)'C           40           ;o µI/eye
          3           Z/2       IV             1        1000 µg/animal            l           l mL
                      2/2       IV             1        4000 µ.g/animal           4           1 mL




          134.      Gaudreault 2005 found that “ranibizumab cleared in parallel from all ocular

   compartments, with a terminal half-life of approximately 3 days. It distributed rapidly to the
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   retina (6-24 hours), and concentrations were approximately one third that in the vitreous. After

   ITV injection, bioavailability (F) was 50% to 60%. Serum concentrations were very low,

   reflecting wider distribution and faster clearance when ranibizumab reached the serum. After IV

   administration, the terminal half-life was approximately 0.5 day.” Gaudreault 2005 at 726.

          135.    Gaudreault 2005 disclosed that “[a]fter ITV administration, transient ocular

   inflammation, primarily vitreous cloudiness, ranged from absent to moderate (500 ȝg/eye) and

   moderate to severe (2000 ȝg/eye).” As shown in the table above, 2000 ȝg/eye corresponds to the

   40 mg/ml concentration of ranibizumab.

                  14.     Lucentis PI 2006

          136.    Lucentis PI 2006 is the approved label for Lucentis, which was first approved

   after the latest priority date of the ’865 patent of June 16, 2006. Lucentis PI 2006 does not

   disclose aflibercept or stability data on aflibercept formulations. As the publicly available FDA

   website reflects, Lucentis was first approved on June 30, 2006, and Dr. Rabinow has not pointed

   to any evidence that the approved label for Lucentis was publicly available before that date.

   (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=1

   25156).

          137.    Lucentis PI 2006 discloses that Lucentis contains 10 mg/ml ranibizumab and is

   indicated for patients with wet age-related macular degeneration. MYL-AFL0092511. Lucentis

   is provided as “a sterile, colorless to pale yellow solution in a single-use glass vial.” MYL-

   AFL0092514. Lucentis contains the excipients 10 mM histidine HCl, 10% trehalose dihydrate,

   and 0.01% polysorbate 20, at pH 5.5.

                  15.     Lam

          138.    Lam is a U.S. Patent (No. 6,171,586) entitled “Antibody Formulation” that issued

   January 9, 2001. Lam does not disclose any formulations of aflibercept, any formulations of a

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   VEGF antagonist, or any fusion protein formulations. Lam also does not disclose any

   formulations intended for intravitreal use. Rather, Lam was directed to antibody formulations,

   and disclosed size exclusion chromatography data for certain antibody formulations, reporting

   the native conformation of antibody as the “percent monomer.” Lam at 5:34-43.

                    16.    ’959 Petition for PTE

          139.      I understand that the ’959 Petition for PTE is Regeneron’s application for patent

   term extension for U.S. Patent 7,070,959. As evident from the date stamp on the document, the

   ’959 Petition for PTE is dated December 22, 2011, over five years after the June 2006 priority

   date for the ’865 patent. MYL-AFL0004056. Accordingly, I understand that the ’959 Petition

   for PTE is not prior art to the ’865 patent. The ’959 Petition for PTE identifies Figures 24A-C as

   including the amino acid sequence of aflibercept. MYL-AFL0004056, at -061.

                    17.    ’546 Patent Response to July 13, 2011 Office Action

          140.      The ’546 Patent Response to the July 13, 2011 Office Action is a submission of

   remarks and papers from Daniel Dix and other inventors regarding their Application No.

   12/835,065, dated November 10, 2011, responding to an action by the U.S. Patent and

   Trademark Office on July 13, 2011. The July 13 Office Action contended that claims 1, 3, 4,

   and 6 of Application No. 12/835,065 were anticipated by Fraser because limitations regarding

   the properties after storage were intrinsic to the composition. Additionally, the Office Action

   stated that the difference in the fusion protein concentration between the claimed composition

   (50 mg/mL) and the Fraser composition (24.3 mg/mL) was due to “routine optimization.” Office

   Action at 3-5.

          141.      In the ’546 Patent Response, the inventors presented evidence to demonstrate that

   the formulations claimed in Application No. 12/835,065 were made prior to the date of

   publication of Fraser on November 23, 2004. ’546 Patent Response at 2-3. Specifically, the

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   inventors showed completion of a 25 mg/mL VEGF Trap formulation containing 5 mM

   phosphate, 5 mM citrate, 5% sucrose, 50 mM NaCl, and 0.1% polysorbate-20; the completion of

   a 35.4 mg/mL VEGF Trap protein formulation containing 5 mM phosphate, 5 mM citrate, 100

   mM NaCl, and 0.04% polysorbate-20, pH 6.17; and the completion of a 24.3 mg/mL VEGF Trap

   protein formulation containing 5 mM phosphate, 5 mM citrate, 100 mM NaCl, 20% sucrose, and

   0.1% polysorbate-20, pH 6.05, before the Fraser publication date. Id. Therefore, the ’546 Patent

   Response requested that the Office withdraw its rejection of the asserted claims in Application

   No. 12/835,065 based on Fraser and allow the patent to grant. Id. at 3-5.

                  18.     Kaisheva ’417

          142.    Kaisheva ’417 is a publication of a U.S. Patent application (US2003/0138417)

   dated July 24, 2003 and entitled “Stable Liquid Pharmaceutical Formulation of IGG Antibodies.”

   It described “a stable liquid pharmaceutical formulation comprising a high concentration, e.g. 50

   mg/ml or more, of antibody in about 20-60 mM succinate buffer or 30-70 mM histidine buffer,

   having pH from about pH 5.5 to about pH 6.5, about 0.01-0.1% polysorbate, and a tonicity

   modifier that contributes to the isotonicity of the formulation.” Kaisheva ’417 ¶ 14. Kaisheva

   ’417 specified “preferred antibodies” including “Daclizumab, a humanized anti-IL-2 receptor

   monoclonal antibody; HAIL-12, a humanized anti-IL-12 monoclonal antibody; HuEP5C7, a

   humanized anti-L selectin monoclonal anti-body; and Flintozumab, a humanized anti-gamma

   interferon monoclonal antibody.” Id. Kaisheva ’417 did not disclose any fusion protein

   formulations and does not disclose aflibercept or stability data on aflibercept formulations.

          143.    Kaisheva ’417 noted in its background section the “need for a stable liquid

   antibody preparation, wherein the antibody concentration is 50 mg/ml or greater; such

   preparation is suitable for parenteral administration, including intravenous, intramuscular,

   intraperitoneal, or subcutaneous injection to a human.” Id. ¶ 13. The formulation in Kaisheva
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   ’417 is stable at 2-8° C for at least 1 year and stable at 23-27° C for at least six months, and is

   suitable for subcutaneous injection. Id. ¶ 14.

                  19.     Kaisheva ’316

          144.    Kaisheva ’316 is a publication of a U.S. Patent application (US2003/0113316)

   dated June 19, 2003 and entitled “Stable Lyophilized Pharmaceutical Formulation of IGG

   Antibodies.” It described “a stable lyophilized pharmaceutical formulation prepared by

   lyophilizing an aqueous formulation comprising a high concentration, e.g. 50 mg/ml or more, of

   an IgG antibody in about 5-25 mM histidine buffer having pH from about 5.5 to about 6.5, about

   0.005%-0.03% polysorbate, sucrose, and optionally serine, and/or mannitol.” Kaisheva ’316 ¶ 2.

   Kaisheva ’316 does not disclose aflibercept or stability data on aflibercept formulations.

          145.    The formulation described in Kaisheva ’316 “is stable at room temperature for at

   least 6 months, “and is suitable for parenteral administration such as intravenous, intramuscular,

   intraperitoneal, or subcutaneous injection.” Id. It names the anti-IL2 receptor antibody as an

   exemplar. Id. Kaisheva ’316 is not directed to fusion proteins or intravitreal administration of

   fusion protein formulations. Kaisheva ’316 taught a formulation development process consisting

   of “selecting the optimum solution pH, selecting buffer type and concentration, evaluating the

   effect of various excipients of the liquid and lyophilized stability, and optimizing the

   concentration of the screened excipients using an I-optimal experimental design.” Id. ¶ 54. It

   identified a monoclonal IgG antibody as the preferred antibody and used a buffer of pH 5.5-6.5

   in the composition. Id. ¶¶ 57-58.

          146.    Kaisheva ’316 listed “examples of buffers that control the pH in this range,” such

   as “succinate (such as sodium succinate), gluconate, histidine, citrate and other organic acid

   buffers,” and noted that excipient concentrations may have to be decreased to maintain the

   desired osmolarity depending on the buffer used. For its formulation, a “preferred buffer
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   contains about 5-25 mM histidine. A more preferred buffer contains about 10-20 mM histidine.”

   Id. ¶ 58.

                  20.     Andya ’801

           147.   Andya ’801 is an international patent application (WO97/04801) entitled “Stable

   Isotonic Lyophilized Protein Formulation,” which was published February 13, 1997. Andya

   ’801 is directed to generating a stable reconstituted formulation suitable for subcutaneous

   administration. Andya ’801 at 1:4-6. It teaches that “a stable lyophilized protein formulation

   can be prepared using a lyoprotectant (preferably a sugar such as sucrose or trehalose), which

   lyophilized formulation can be reconstituted to generate a stable reconstituted formulation

   having a protein concentration which is significantly higher (e.g. from about 2-40 times higher,

   preferably 3-10 times higher and most preferably 3-6 times higher) than the protein

   concentration in the pre-lyophilized formulation.” Id. at 1:32-36. Andya ’801 does not disclose

   any fusion protein formulations and instead lists only examples of antibodies (Andya ’801 at

   7:10-16) and native proteins, Andya ’801 at 6:20-7:4. Andya ’801 does not disclose aflibercept

   or stability data on aflibercept formulations.

           148.   Andya ’801 describes a reconstituted formulation with a protein concentration of

   generally 50 mg/mL or more that remains stable at 2-8°C for at least about 30 days, and notes

   that “[s]uch high protein concentrations in the reconstituted formulation are considered to be

   particularly useful where the formulation is intended for subcutaneous administration.” Id. at

   1:37-2:3. Some embodiments of the reconstituted formulation are isotonic, while others are not.

   Id. at 2:3-5. Andya ’801 does not disclose any formulations intended for intravitreal

   administration, nor does Andya ’801 even mention intravitreal formulations.

           149.   Andya ’801 also disclosed a process for developing a lyophilized formulation, in

   which “excipients and buffers are initially screened by measuring the stability of the protein after
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   lyophilization and reconstitution. The lyophilized protein in each formulation is also subjected

   to accelerated stability studies to determine the potential stability of the protein over its shelf-

   life.” Id. at 19:3-6.

                   21.     Andya ’326

           150.    Andya ’326 is a patent application publication (US2001/0014326) dated August

   16, 2001 and entitled “Protein formulation.” Andya ’326 has a substantially identical disclosure

   to Andya ’801.

                   22.     Parkins

           151.    Parkins is an article by Dave A. Parkins and Ulla T. Lashmar entitled “The

   Formulation of Biopharmaceutical Products,” published in Pharmaceutical Science &

   Technology Today in April 2000. Parkins “focuses on approaches to the formulation of

   macromolecules into biopharmaceutical products, and provides examples of studies that have

   been undertaken within the authors’ laboratories.” Parkins at 129. Parkins describes a number

   of techniques to evaluate degradation. Id. at 130. SEC-HPLC is one such technique. Id. As

   Parkins explains, “SEC-HPLC is commonly used to determine soluble covalent protein

   aggregation.” Id. at 131. Parkins does not disclose aflibercept or stability data on aflibercept

   formulations.

           152.    Parkins additionally discloses formulation strategies to improve the bioavailability

   and stability of macromolecules. Id. at 132. Parkins lists a “wide range of formulation

   components” that have to be considered,” including “buffer type and strength, use of ionic

   compounds, sugars, polyols and certain amino acids, the incorporation of surfactants, inclusion

   of antioxidants, chelating agents and other substances.” Id.




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                    23.    Routier

             153.   Routier is an article by Francoise H. Routier et al. entitled “The Glycosylation

   Pattern of a Humanized IgG1 antibody (D1.3) expressed in CHO cells,” published in the

   Glycoconjugate Journal in 1997. Routier describes the expression in CHO-DUKX cells of a

   humanized IgG antibody that retains murine complementarity regions specific for the antigen

   lysozyme. It teaches that “the expressed protein has only one consensus N-linked glycosylation

   site at Asn 297 thus all the oligosaccharides isolated are located in the CH 2 domain.” Routier at

   202. Routier used multiple chromatography techniques to analyze the expression. Id. Routier

   does not disclose aflibercept or stability data on aflibercept formulations.

                    24.    Frokjaer

             154.   Frokjaer is a book entitled Pharmaceutical Formulation Development of Peptides

   and Proteins,” edited by Sven Frokjaer and Lars Hovgaard, that was published in 2000. Chapter

   8, written by Michael J. Akers and Michael R. Defelippis, discusses “the basics of chemical

   stabilization, physical stabilization, and microbiological quality of proteins and peptides in

   solution.” Frokjaer at 145. Frokjaer teaches that the “effect of solution pH on stability is a very

   important factor to study in early protein solution development.” Id. at 147. It also describes

   multiple approaches for minimizing hydrolytic stability of peptides and proteins, including

   formulation at optimal solution pH. Id. at 150. Frokjaer does not disclose aflibercept or stability

   data on aflibercept formulations.

                    25.    ’261 Patent

             155.   The ’261 patent is related to the ’865 patent and shares a common specification,

   which I describe further below. The ’261 patent claims priority to the same provisional

   application as the ’865 patent, and I understand that the ’261 patent is not prior art to the ’865

   patent.

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                    26.    ’842 Patent

             156.   U.S. Patent 8,647,842 (“the ’842 Patent”), which has a publication date of

   February 11, 2014, contains substantially the same specification as Papadopoulos, described

   above.

                    27.    ’594 Patent

             157.   The ’594 patent is related to the ’865 patent and shares a common specification,

   which I describe further below. The ’594 patent claims priority to the same provisional

   application as the ’865 patent, and I understand that the ’594 patent is not prior art to the ’865

   patent.

                    28.    ’489 Patent

             158.   The ’489 patent is related to the ’865 patent and shares a common specification,

   which I describe further below. The ’489 patent claims priority to the same provisional

   application as the ’865 patent, and I understand that the ’489 patent is not prior art to the ’865

   patent.

                    29.    ’763 Patent

             159.   The ’763 patent is related to the ’865 patent and shares a common specification,

   which I describe further below. The ’763 patent claims priority to the same provisional

   application as the ’865 patent, and I understand that the ’763 patent is not prior art to the ’865

   patent.

                    30.    ’992 Patent

             160.   The ’992 patent is related to the ’865 patent and shares a common specification,

   which I describe further below. The ’992 patent claims priority to the same provisional

   application as the ’865 patent, and I understand that the ’992 patent is not prior art to the ’865

   patent.

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                  31.     Arvinte

          161.    Arvinte is a publication of a U.S. patent application (US2004/0170623) dated

   September 2, 2004 and entitled “Stable Liquid Formulations of Antibodies.” It describes “a

   stable aqueous solution comprising an antibody at a concentration of at least 50 mg/ml, and

   further comprising at least one acidic component.” Arvinte ¶ 9. Arvinte teaches that the

   “solutions of the invention are stable not only with regard to aggregation but also with regard to

   the chemical stability of the antibody” and notes that multiple methods are “suitable to measure

   the stability of the solutions of the invention,” including hydrophobic interaction

   chromatography and capillary electrophoresis. Arvinte ¶¶ 32-33. Arvinte does not disclose

   aflibercept or stability data on aflibercept formulations.

                  32.     Fyfe

          162.    Fyfe is an international patent application entitled “Treatment with Anti-VEGF

   Antibodies,” which was published January 6, 2005 (WO2005/000900). It teaches “methods of

   using anti-VEGF antibody for treating diseases and pathological conditions” and specifically

   describes “an effective approach for treating cancers, partially based on the unexpected results

   that adding anti-VEGF antibody to a standard chemotherapy results in statistically significant

   and clinically meaningful improvements among cancer patients.” Fyfe at 4:16-20. Fyfe does not

   disclose aflibercept or other VEGF Trap molecules, or formulations thereof.

          163.    Fyfe uses the term VEGF to refer to the 165-amino acid vascular endothelial cell

   growth factor and related 121-, 189-, and 206- amino acid vascular endothelial cell growth

   factors, as well as to truncated forms of the polypeptide comprising amino acids 8 to 109 or 1 to

   019 of the 165-amino acid human vascular endothelial cell growth factor. Id. at 8:9-18.




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          164.    The anti-VEGF antibody described in Fyfe “can be produced recombinantly using

   techniques and materials readily available.” Id. at 39:2-3. “Intravenous of subcutaneous

   administration of the antibody is preferred.” Id. at 53:2.

                  33.     Amersham

          165.    Amersham is a book entitled “Antibody Purification Handbook,” published by

   Amersham Biosciences in 2002. Amersham notes “the potential to create an infinite number of

   combinations between immunoglobulins, immunoglobulin fragments, tags and selected

   proteins.” Amersham at 5. Amersham does not disclose aflibercept or stability data on

   aflibercept formulations.

          166.    Chapter 5 of Amersham is entitled “Multi-step Purification Strategies.” Id. at 55.

   It teaches that “a single, rapid purification step using affinity chromatography is often sufficient

   to achieve the level of purity and quantity of product required for research purposes.” Id.

   Amersham further describes how “alternative techniques need to be combined effectively into a

   multi-step purification strategy” when a higher degree of purity is required. Id.

                  34.     Amersham Application Note

          167.    Amersham Application Note is an article entitled “Rapid Optimisation And

   Development of An Automated Two-Step Purification Procedure For Monoclonal IgG

   Antibodies,” published by Amersham Biosciences in 1998. Amersham Application Note teaches

   a “[c]onvenient and rapid standard purification protocol for monoclonal IgG antibodies in the 1-

   10 mg range” in the form of an “automated two-step purification procedure using affinity and gel

   filtration chromatography.” Amersham Application Note at 1. Amersham Application Note

   does not disclose aflibercept or stability data on aflibercept formulations.

          168.    Amersham Application Note describes the use of cell culture supernatants

   containing monoclonal IgG1 as a model system. Id. Amersham Application Note used a capture

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   step and a polishing step in its purification method, and captured the antibodies by affinity

   chromatography on HiTrap rProtein A. Id. The method described in Amersham Application

   Note “was developed for MAbs.” Id. at 2.

                  35.     Eylea Prescribing Information 2011

          169.    Eylea Prescribing Information 2011 is the label for Eylea® (aflibercept) Injection,

   issued in November 2011. It describes Eylea’s indication, intravitreal administration, dosage

   forms and strengths, contraindications, and more. Eylea Prescribing Information 2011 at 1-5.

   Eylea Prescribing Information 2011 also provides a description stating that Eylea is “a

   recombinant fusion protein consisting of portions of human VEGF receptors 1 and 2

   extracellular domains fused to the Fc portion of human IgG1 formulated as an iso-osmotic

   solution for intravitreal administration.” Id. at 9.

                  36.     Avery

          170.    Avery is an article by Robert L. Avery et al. entitled “Intravitreal Bevacizumab

   (Avastin) for Neovascular Age-Related Macular Degeneration,” published in the journal

   Ophthalmology. Dr. Rabinow fails to establish that Avery was published before the invention of

   the ’865 patent (no later than March 21, 2006) or the filing of the provisional patent on June 16,

   2006, see infra Section X. Avery describes a study performed to report the short-term safety,

   biologic effect, and a possible mechanism of action of intravitreal bevacizumab in patients with

   neovascular age-related macular degeneration. Avery at 363. In the study, participants received

   intravitreal bevacizumab (1.25 mg) on a monthly basis until macular edema, subretinal fluid,

   and/or pigment epithelial detachment resolved. The participants were evaluated using

   nonstandardized Snellen visual acuity, complete ophthalmic examination, fluorescein

   angiography, and optical coherence tomography. Id. Avery does not disclose aflibercept or

   stability data on aflibercept formulations.

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          171.    Avery “acknowledge[d] the shortcomings of this study: retrospective design,

   limited number of patients, nonstandard visions, and limited follow-up,” and noted that “the

   visual results of this study are difficult to interpret.” Id. at 368. But Avery stated that

   bevacizumab was “well tolerated in this short series,” as no cases of uveitis, endophthalmitis,

   ocular toxicity, hypertension, or thromboembolic events after injection,” were identified, “a

   finding consistent with that of other investigators.” Id.

                  37.     Avastin PI

          172.    Avastin PI is labeling text for the drug Avastin (bevacizumab), published in

   February 2004. Avastin PI specifies that Avastin, “a recombinant humanized monoclonal IgG1

   antibody that binds to and inhibits the biologic activity of human vascular endothelial growth

   factor (VEGF) in in vitro and in vivo assay systems,” is for intravenous use to treat certain

   cancers. Avastin PI at 1-2. Avastin PI does not disclose aflibercept or stability data on

   aflibercept formulations.

          173.    Avastin PI describes the production and formulations of Avastin in both 100 mg

   and 400 mg vials. “The 100 mg product is formulated in 240 mg Į,Į-trehalose dihydrate, 23.2

   mg sodium phosphate (monobasic, monohydrate), 4.8 mg sodium phosphate (dibasic,

   anhydrous), 1.6 mg polysorbate 20, and Water for Injection, USP. The 400 mg product is

   formulated in 960 mg Į,Į-trehalose dihydrate, 92.8 mg sodium phosphate (monobasic,

   monohydrate), 19.2 mg sodium phosphate (dibasic, anhydrous), 6.4 mg polysorbate 20, and

   Water for Injection, USP.” Id. at 2.

                  38.     Daly II

          174.    Daly II contains substantially the same specification as Daly, described above.




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                  39.     Peyman

          175.    Peyman is an international patent application entitled “Antiprostaglandins for the

   Treatment of Ocular Pathologies,” which was published November 3, 2005. Peyman lists

   Gholam Peyman as the inventor. Peyman discloses formulations and methods useful to treat

   ocular neovascularization, in particular “a formulation suitable for the treatment of ocular

   neovascularization comprising antiprostaglandins in a concentration and dose suitable for

   treating ocular neovascularization, characterized in that said compound is in a pharmaceutically

   acceptable form suitable for delivery to the eye.” Peyman at 3:22-28. Peyman does not disclose

   aflibercept or other VEGF Trap molecules, or formulations thereof.

          176.    Peyman states that the pharmaceutically acceptable formulations can be “prepared

   for topical ocular application, ocular injection, or ocular implantation, and may be contained in

   liposomes or slow release capsules.” Id. at 4:9-11. Peyman also teaches that “formulations of

   the invention may be injected with anti-angiogenic agents designed to block the actions of VEGF

   on endothelial cells,” naming Lucentis and Macugen as “potent anti-angiogenic compounds” that

   can be used. Id. at 34:29-35:4.

          177.    Additionally, Peyman discloses that the formulation may also include “buffers,

   diluents, carriers, adjuvants or excipients,” with a list of many possible vehicles. Id. at 25:23-24.

   Peyman teaches that “[t]hese agents may be present in individual amounts of from about 0.001%

   to about 5% by weight and preferably about 0.01% to about 2%.” Id. at 25:11-12.

                  40.     Wiegand

          178.    Wiegand is an international patent application (WO2006/088650) entitled

   “Method of Treating Eye Injury with Local Administration of a VEGF Inhibitor,” which was

   published on August 24, 2006. It discloses “the finding that local administration of an agent

   capable of blocking, inhibiting, or reducing the activity of vascular endothelial growth factor

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   (VEGF) is useful in treating of angiogenesis and inflammation associated with eye injuries or

   infection.” Wiegand ¶ 4. Wiegand does not disclose aflibercept formulations or stability data on

   such formulations.

          179.    Wiegand discloses a method of treating an eye injury via local administration of

   “an effective amount of a first agent capable of blocking or inhibiting vascular endothelial

   growth factor (VEGF)-mediated activity to a subject in need thereof, such that the eye injury is

   ameliorated or improved.” Id. ¶ 5. Disclosed local administration methods in one aspect include

   “liquid, gel, ointment, salve, or sustained release formulation, for example, in eye drop or by

   subconjunctival injection.” Id. ¶ 18.

          180.    Wiegand teaches various embodiments in which “the VEGF antagonist (‘trap’) is

   selected from the group consisting of acetylated Flt-1 (1-3)-Fc, Flt-1 (1-3R->N)-Fc, Flt-1 (1-

   3L\8)-Fc, Flt-1 (2-3L\8)-Fc, Flt-1 (2-3)-Fc, Flt-1 D2-VEGFR3D3-Fc~C1 (a), Flt-1 D2-Flk-1 D3-

   Fc~C1 (a), and VEGFR1 R2-Fc~C1 (a).” Id. ¶ 36.

          181.    Wiegand states that the liquid composition is preferably aqueous but can

   alternatively take the form of an ointment. Id. ¶ 46. It discloses that the composition can also

   “comprise an ophthalmic depot formulation comprising an active agent for subconjunctival

   administration,” or may “comprise a solid article that can be inserted in a suitable location in the

   eye.” Id. ¶ 48-49.

                  41.     Daly III

          182.    Daly III contains substantially the same specification as Daly, described above.

                  42.     Baffert

          183.    Baffert is an article by Fabienne Baffert et al. entitled “Age-Related Changes in

   Vascular Endothelial Growth Factor Dependency and Angiopoietin-1-Induced Plasticity of Adult

   Blood Vessels,” published in the Circulation Research journal on April 16, 2004. Baffert

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   discloses the results of a study in which 4-, 8-, and 16-week-old mice were treated with VEGF-

   Trap systemically over 10 days, leading to a reduction in the number of capillaries in the tracheal

   mucosa by 39%, 28%, and 14% for each respective group of mice. Baffert at 984. Baffert does

   not disclose SEQ ID NO:4 disclosed in the ’865 patent or evaluate the stability of any VEGF

   Trap formulation.

          184.    Baffert stated that the mice were treated with VEGF-Trap (25 mg/kg, IP) or its

   vehicle (5 mmol/L phosphate, 5 mmol/L citrate, pH 6.0, 100 mmol/L NaCl, 20% glycerol, and

   0.1% Tween-20) and studied on day 10. Id. at 985. Baffert disclosed that “VEGF-Trap

   treatment significantly reduced the number of capillary branch points at all ages, with the largest

   change at 4 weeks.” Id. at 986.

                  43.     Marra

          185.    Marra is an article by Michelle T. Marra et al entitled “Solution Formulation

   Development of a VEGF Inhibitor for Intravitreal Injection,” published in the journal AAPS

   PharmSciTech in March 2011. Marra is not prior art to the ’865 patent. It discloses the

   development of ophthalmic solution formulation of PF-00337210, a selective small molecule

   inhibitor of VEGFRs, for intravitreal injection. Marra at 362. Marra does not disclose

   aflibercept or stability data on aflibercept formulations.

          186.    Marra states that extensive buffer studies were conducted. Id. at 363. After

   safety studies, “10 mM citrate was selected as the preferred buffer for the formulation over

   phosphate.” Id. at 367.

                  44.     Avery 2006

          187.    Avery 2006 is an article by Robert L. Avery et al. entitled “Intravitreal

   Bevacizumab (Avastin) in the Treatment of Proliferative Diabetic Retinopathy,” published in the

   journal Ophthalmology in October 2006. It disclosed the results of a study on “the biologic

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   effect of intravitreal bevacizumab in patients with retinal and iris neovascularization secondary

   to diabetes mellitus.” Avery 2006 at 1695. Avery 2006 stated that the short-term results

   suggested “that intravitreal bevacizumab is well tolerated and associated with a rapid regression

   of retinal and iris neovascularization secondary to PDR.” Id. Avery 2006 does not disclose

   aflibercept or stability data on aflibercept formulations.

          188.     Avery 2006 also discussed the development and studies of VEGF inhibitors

   including pegaptanib, bevacizumab, and ranibizumab. Id. at 1697.

                   45.    Duvvuri 2003

          189.     Duvvuri 2003 is an article by Sridhar Duvvuri entitled “Drug Delivery to the

   Retina: Challenges and Opportunities,” published in the journal Expert Opinion Biological

   Therapy in 2003. It discusses systems for retinal drug delivery. Duvvuri 2003 states that

   conventional ophthalmic dosage forms including solutions, ointments and creams, are not

   sufficiently effective but that newer forms, such as intravitreal injections, implants, and

   subconjunctival implants had had only limited success to date. Duvvuri 2003 at 45-46. Duvvuri

   further explains that although intravitreal injections can offer advantages over systemic and

   topical routes for drug delivery to the retina and vitreous, “[i]ntravitreal injections suffer from

   several major deficiencies, such as patient non-compliance, need for repeated injections (once a

   week), injection-associated infections like endophthalmitis and retinal detachment, and so on.”

   Duvvuri 2003, at 49. Duvvuri 2003 does not disclose aflibercept or stability data on aflibercept

   formulations.

                   46.    Ghate 2006

          190.     Ghate 2006 is an article by Deepta Ghate and Henry F. Edelhauser entitled

   “Ocular Drug Delivery,” published in the journal Expert Opinion Biological Therapy in 2006. It

   discloses “the major routes of ocular drug delivery, the science behind drug delivery by these

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   routes, and the newer techniques developed to enhance drug delivery to the eye.” Ghate 2006 at

   275. Ghate 2006 does not disclose aflibercept or stability data on aflibercept formulations.

           191.    Ghate 2006 explains that, as a method of drug delivery to the posterior segment of

   the eye, intravitreal injection is “the most invasive and the route with the most serious

   complications.” Ghate 2006, at 281. Furthermore, Ghate 2006 explains that “[t]he internal

   limiting membrane is impermeable to linear molecules > 40 kDa and globular molecules > 70

   kDa [99]. Thus, larger macromolecules will have a longer retention time, possibly weeks, but

   their effect on the retina after an intravitreal injection is limited.” Id. at 281-282.

   IX.     ASSERTED PATENTS

           A.      The ’865 Patent

           192.    The ’865 patent generally discloses stable ophthalmic formulations of a VEGF-

   specific fusion protein antagonist for intravitreal administration. The ’865 patent discloses

   several “VEGF trap” fusion proteins and states that in a specific embodiment “the fusion protein

   comprises amino acids 27-457 of SEQ ID NO:4 and is glycosylated at Asn residues 62, 94, 149,

   222 and 308.” ’865 patent, 6:35-37.

           193.    The ’865 patent discloses various ophthalmic formulations. For example, it

   teaches a stable liquid ophthalmic formulation that comprises 1-100 mg/ml VEGF-specific

   fusion protein antagonist, 0.01-5% of one or more organic cosolvent(s), 30-150 mM of one or

   more tonicity agent(s), 5-40 mM of a buffering agent, and optionally, 1.0-7.5% of a stabilizing

   agent, pH between about 5.8-7.0. ’865 patent at 2:33-38. The specification also provides

   substantial guidance to the POSA about excipients that may be used in the stable ophthalmic

   formulations, for example:




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                        In one or more specific embodiments, the organic co-
                  40 solvent may be polysorbate, for example, polysorbate 20 or
                     polysorbate 80, polyethylene glycol (PEG), for example,
                     PEG 3350, or propylene glycol, or a combination thereof;
                     the tonicity agent may be, for example, sodium chloride or
                     potassium chloride; the stabilizing agent may be sucrose,
                  45 sorbitol, glycerol, trehalose, or mannitol; and the buffering
                     agent may be, for example, phosphate buffer. In a specific
                     embodiment, the phosphate buffer is a sodium phosphate
                     buffer.
                        In various embodiments, the organic co-solvent is poly-
                  so sorbate and/or PEG, the stabilizing agent is sucrose, the
                     buffering agent is phosphate buffer, and the tonicity agent is
                     sodium chloride.



   ’865 patent at 2:39-52; see also 3:25-33. The specification further discloses numerous specific

   embodiments of stable liquid ophthalmic formulations. ’865 patent at 2:53–4:6.

          194.    In one embodiment, the ’865 Patent discloses a composition of about 50 mg/ml of

   the VEGF antagonist, 10 mM sodium phosphate buffer, 50 mM sodium chloride, 0.1%

   polysorbate, and 5% sucrose, with a pH of about 6.2-6.3. Id. at 2:69-62. This formulation

   provided a turbidity of 0.01 or lower at OD405 and more than 98% of VEGF antagonist fusion

   protein present in native conformation (denoted with the synonymous term “native

   configuration” below):




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                                 Exampl I . Stability f 50 mg/ml V ◄ F Trap
                                Liquid Formulati n tored at 5° . in 3 ml G]a
                                                     Vial
                    3

                           An ophthalmic liquid 1onnulation containing 50 m ml
                          E i:. Trap E ID          :4 , 10 mNl ph ·phat , 50 mM
                        Na !, O.l % poly rbate 20 % ucnse, and pH 6.25, was
                    4   'tot d at O ~. in 3 ml glas vial and m ple . t s d at 3 6,
                        9. 12, 18 and 24 months. Stability \;\'a determined by
                        S ~-HPLC Tue result are ·ho" n in Table l. Turbidity as
                        measured at OD.m 5 nm: and percellt recovered prot.ein and
                        purity by sjze exchl'ioo HPLC.

                                                        I B E1
                                   tahililv of 50 mg/ml, VEGF l'rnp Pl'o ein (VGFl:


                                                                                          . llli\'e
                                                                                      C o11figur:11io u

                                                                         100
                                                                         l01
                            6                                            100
                           9           Pass                              101
                           12          Pass                              ]
                           18          Pass                                  96
                                       Pass                              Hl5




   ’865 patent at 8:32-59 (annotated).

          195.    In another embodiment, the stable liquid ophthalmic formulation is comprised of

   about 50 mg/ml of the VEGF antagonist, 10 mM sodium phosphate buffer, 50 mM sodium

   chloride, 3% polyethylene glycol, and 5% sucrose, with a pH of about 6.2-6.3. Id. at 63-67. Its

   stability results appear in the table below and were (like each of the liquid formulations

   disclosed) evaluated using the same methods as Example 1:




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                                                  tability ,o f 50 m · ml
                                      iquid Fonmdation Stored at 5° . .                .
                                                             1aJs

                             , liquid ··ommfation co11tniDiog 50 mgl1nl VEG Trap
                          ( EQ ID 0 :4 ), ]O mM phosphate, 50 :mM .i l, 3%
                          po]y thylcn !!l o.l 3350. 5% su ros" and pH 6.25, i,:
                          stored a1 5° . ir1 3 oiJ glas ial and sa.atples tested at 3, 6,
                          9 l 2, l 8 and 24 mon1l1 . tabi.li.1y resuh are h wn in 1~ ble-
                          2. Turbidity, percent rccoveroo pro1cin and puri1y w dc1cr-
                          oooed., d'e cribed above.



                                                                           %VEGF            % VE F
                                           Visual                            Trap          Tri N ive
                               Mondlt     Ap ~          1\ubidil)'   pH    Reem· rod       , onf\gJlnuion

                                 0           P3ss         0.00       6.2      LOO
                                 3           p            0.00       6.l      l
                                 (i          P:lllS       0.()1      6.l       99
                                 9           p            0.00       6.       !02
                                 12          Pass         0.01       6.l      103
                                             p            0.00       6.l      113
                                14           f;)!_        o.oo       6.2      106




   ’865 patent at 8:60-9:17.

          196.    The ’865 patent discloses that another liquid ophthalmic formulation, comprised

   of about 40 mg/ml VEGF Trap, 10 mM phosphate, 40 mM sodium chloride, 0.03% polysorbate

   20, and 5% sucrose, with a pH of 6.3, resulted in a turbidity of 0.01 or less and more than 99% of

   VEGF antagonist fusion protein present in native conformation:




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                             Example 3. Stability of 40 mg/ml VEGF Trap                          20
                            Liquid Formulation Stored at 5° C. in 3 ml Glass
                                                 Vials

                        A liquid formulation containing 40 ms'm1 VEGF Trap
                     (SEQ ID NO:4), 10 mM phosphate, 40 mM NaCl, 0.03% 25
                     polysorbate 20, 5% sucrose, and pH 6.3 , was stored at 5° C.
                     in 3 ml glass vials and samples tested at 0.5, 1 2, 3, and 4
                     months. Stability results are shown in Table 3. Turbidity,
                     percent recovered protein and purity was determined as
                     described above.                                             30


                                                  TABLE 3
                              Stability of 40 mg/m l VEGF Trap Protein (VGFT-SS207)
                                                                                                 35
                                                                     ¾VEGF        % V EGF
                                    Visual                             Trnp      Trap Nati,•c
                      Months      Appearance     Turbidity     pH    Recovered   Configuration

                        0            Pass          0.00        6.3      100          99.5
                        0.5          Pass          0.00        6.3       99          99.4
                                     Pass          0.00        6.2      98           99.5        4()
                        2            Pass          0.00        6.2      95           99-2
                        3            Pass          0.01        6.4
                        4            Pass          0.01        6.3




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   ’865 patent at 9:19-44. Similar stability results were achieved for this formulation in different

   storage conditions as well:

                                     Example 4. Stability of 40 mg/ml VEGF Trap
                                    Liquid Formulation Stored at 5° C. in Pre-Fil1ed
                                                    Glass Syringe

                              A liquid formulation containing 40 mg/mJ VEGF trap 50
                            (SEQ ID NO:4), 10 ntlvf phosphate, 40 mM NaCl, 0.03 %
                            polysorbate 20, 5% sucrose, and pH 6.3, was stored at 5° C.
                            in I ml prefilJed luer glass syringe with 4023/50 FluroTec
                            coated plunger and samples tested at 0.5, 1, 2, 3, and 4
                            months. Stability results are shown in Table 4. Turbidity 55
                            percent recovered protein and purjty was determined as
                            described above.

                                                          TABLE 4
                                                                                                        60
                                      Stqbility of 40 mg/ml VEGF Tmp Protein (YGFT-SS207}
                                                                            %VEGF        %VEGF
                                            Visua l                          Trnp       Trnp Native
                             Months       Appearance    1\U'bidity    pH    Recovered   Configuration

                                0            Pass         0.00        6.3      100          99.4        65
                                0.5          Pass         0.00        6.3      JOO          99.3

                                      Stabilitv of 40 mg/ml VEGF Trap Protein (VGFT-SS207l

                                                                            % VEGF        %VEGF
                       5                    Visual                           Trnp        Trnp Native
                             Months      Appe11.rance   1\ubidity     pH    Recovered   Configuration

                                             Pass         0.00        6.3      100          99.4
                                2            Pass         0.00        6.3       97          99.l
                                3            Pass         0.01        6.4
                       10       4            Pass         O.Ol        6.3

   ’865 patent at 9:46-10:11.

          197.    An additional liquid formulation disclosed in the ’865 patent contains 40 mg/ml

   VEGF Trap, 10 mM phosphate, 135 mM sodium chloride, 0.03% polysorbate 20, and 5%

   sucrose, with a pH of 6.3. It, too, achieved turbidity of 0.01 or less and more than 98% of VEGF

   Trap present in native conformation in two different storage conditions:




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                                        Ex.ample 5 - Stabiljty of 40 mg/ml VEGF Trap
                         15
                                       Liquid Formulation Stored at 5° C. in 3 ml Gia s
                                                                1als

                                 liquid fon.m1fatjoo containing 40 mg/ml VEGF trarp
                            ( BQ ID 0 :4), 10 mM phosphate, 13 mM NaCl 0.03%
                         20 polysorbate 20, and pH 6.3 was stored at 5° C. in 3 ml glas
                               vials and samples lested at 0.5 ] 2 3 and 4 months.
                               Stability result are sbown in Table 5. Turbidity, percent
                               recovered p:rotein and purity was determined a descril>ed
                               above.
                         25
                                                                TABLE 5
                                         su,hllity of 4Q mgllnl VEGF Tup Protein fYGFT-SS203)
                                                                                    %VEGF           %VEGF
                         30                       15Ltal                               Trap        Trap:ithoo
                                Mo.ntl.ls-      pp ara.nce    1'.1tbidity   pH      Recovered     Cotlfii,\fil\tio.n
                                  0               PIISs           .00       6.3        JOO              99'.3
                                  0.5             Pass          0.00        6,1         81              99'.2
                                   1              Pass           0.00       62          88              99'.I
                         3S       l               Pa.s.s         o.oo       6..3       JOJ              99-2
                                  3               Pa,'lS         0.00       6.3                         99.(1
                                  4               Puss           0,00       6.l         M•              9 9
                                                  PllS~          0.00       6.3         84              99'.(I



                         4()
                                        Example 6. Stability of 40 .mg/ml VEGF Trap
                                         Liquid Fonnulatfon Stored at 5° C. in 1 ml
                                                  Pre-Filled Gla s Syringe

                         45    A liquid fonnulat1011 contai111ing 40 mg/ml VEG F trap
                               ( EQ ID  0 :4), 10 m.Ivi phosph.ite, 135 mM: Na J 0.03%
                            poly rbate 20, and pH 6 .3 was tored at 5° C. in 1 ml
                            prefm d glass lue.r s.. ringe with 4023/50 FJuroTec ooarted
                            plunger and samples tested at 0.:5 , l , 2 3, 4 and 5 n101.1ths.
                          - Stabi]ity result are shown i.n 'fable 6. Turbidity, per-cent
                            recovered protein and purity was detem1 ined a described
                            above.

                                                                TABL 6
                                             bili~ of '10 ms/ml VEGF Tl\'l[! Protein {VGFT-       203}

                                                                                    %VEGF           %VEGF
                                                 Yisua.J                             Tr.ap         Tnp Nath•o
                                Mmrths        Appeai=         Turbidity     pH      R.coovCiled   Co□ figut-atii>n

                         60
                                  0               Pass           0.         6.}        JOO              99.2
                                  0.5             Pa.s-s         Ml         6J.        101              9l).2
                                  1               Pass           0.00       !SJ        101              99'.2
                                  2               PilSS          0.00       oJ
                                  J.              Pil!l          0.01       (i..J      101              9~.I
                                  4               Puss           0.01       6r).       103-             9 " 8-
                         65       .s              Pn.ss            00       6.3         ':S             98-.9'



   ’865 patent at 10:13-66.

                                                                74


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                198.         In two other embodiments described in the ’865 patent, formulations containing

   20 mg/ml VEGF trap that was reconstituted to a final concentration of 40 mg/ml VEGF Trap

   likewise resulted in turbidity of 0.01 or less and at least 98% of VEGF Trap present in native

   conformation:

             Example 7. tabiJjty of LyophiJized 20 mg/ml                                              Example 8. Stability of Lyophihzed 20 mg/ml
            VEG F Trop Formllfotion Stored at 5° C. in 3 ml                                          VEGF Trap FormuJation Stored at 5° C. in 3 m]
              Glass ials Md Reconstituted to 40 mg/ml                                                                             Glass ViaJs

        0.8 ml oh liquid formufatioo containing 20 mglmJ VEGF
                                                                       0.8 m1 ofa liquid formulation containing 20 mg/ ml VEGF'
    trap (SEQ ID N0:4), 5 mM phosphate, 20 mM aa,
                                                                    trap (SEQ rD N0:4) , 5 mM phosphate, fil.5 mM NaCl.
    0.0 15% polysorbate 20, 2.5% sucrose, and pH 6.3, wet'e
    lyophilized in 3 ntl glass vials. Samples wet"e slored at 5° C. 0.015% polysorbate 20 aud pH 6.3, we.re Jyoph.ilized in 3 ml
    and tested at I, and 2 months . VEGF trap was reconstituted     glass vials. Samples were stored at 5° C. and tested at I, 2,
    to a final concentration of 40 mg/ml VEGF Trap (.final to and 3 months. VEGF trap was reconstituted to a fina l
    volume of 0.4 ml). tability a:.s.t1Jts are sh.own in Table 7    concentration of 40 mg/ml VEGF rrup (final olnme of 0.4
    (t=time in montlts; *=visual appe..9!llnce; "'*=reconstitution  ml). Stability resutrs are shown in lable 8 (t=time in n1ontlt.';;
    t ime). Turbidity, percent recovered protein and purity was     *- isual appea!"ance; *"' =recoas1in1tio11 lime).
    determined as described above.
                                                                                         15                                       TABL E 8
                                       TABLE 7
                                                                                                  ··1.11bili1Y of Lyop.hilizoo 20 m{efrttl VEGF Tny, Proreln (
        S'tsblLi!:i:· of LI2tlJihzed 20 mSi'ml VEGF TJajl Protein C);' G!'T-SS2 115°l
                                                                                                              Rcco.n.   Vis. App.               ~/4 VEOF    %VEOF
            Reoo,~ Vj &:. () j), •     %VEGF                            %VEGF                        v,,., Tune-"-"     Rm:mst'd      Tur-         Tm~        Tr11p
       Vis, Tune•• Re,;011.r'd Tur-      Trnp                             Tmp            20
                                                                                              l     App ,•    (minl      Liquid      bidi!y pH RO)C()vered N~ve onfig.
    i App.* {miJ1J   Llq,dd b,dity pH R.ccov.,,.,,.J                   aa,'CC.mfi:g,

    0    Pass      0.6        Pass       0.0 0   6.3      100              99.5               0      Pass      0.7        Pass        0.00   6J      100         99.0
    1 :rus         0.6        P=         0.Ql    6.3      106              99.4               1      PiL'SS    0.7        :rass       om     6,2     10~         9i .9
    2 l'us         0.4        Pl!SS      0.01    6.2      103              99, }              2      P=        0.4        h.          om     6.2     103         98.9




   ’872 patent at 11:1-26, 12:1-26.

                199.         Therefore, each of the formulations disclosed in the ’865 patent’s Examples,

   summarized below, resulted in turbidity of 0.01 or less and at least 98% of VEGF Trap present in

   native conformation.

                              Example 1                    Example 2                    Examples                        Examples                   Examples
                              (vial)                       (vial)                       3 (vial) & 4                    5 (vial) & 6               7 (vial) & 8
                                                                                        (pre-filled                     (pre-filled                (vial)
                                                                                        syringe)                        syringe)
    VEGF       50 mg/ml                                    50 mg/ml                     40 mg/ml                        40 mg/ml                   20 mg/ml
    Antagonist VEGF Trap,                                  VEGF Trap,                   VEGF Trap,                      VEGF Trap,                 VEGF Trap,
               SEQ ID NO:4                                 SEQ ID NO:4                  SEQ ID NO:4                     SEQ ID NO:4                reconstituted
                                                                                                                                                   to 40 mg/ml,
                                                                                                                                                   SEQ ID NO:4



                                                                                        75


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    Organic       0.1%             3%               0.03%            0.03%            0.015%
    co-solvent    polysorbate      polyethylene     polysorbate      polysorbate      polysorbate
                  20               glycol 3350      20               20               20

    Tonicity      50 mM NaCl       50 mM NaCl       40 mM NaCl       135 mM           20 mM NaCl
    agent                                                            NaCl
    Buffering     10 mM            10 mM            10 mM            10 mM            5 mM
    agent         phosphate        phosphate        phosphate        phosphate        phosphate
    Stabilizing   5% sucrose       5% sucrose       5% sucrose       None             2.5% sucrose
    agent
    pH            6.25             6.25             6.3              6.3              6.3


          B.      The ’572 Patent

          200.    The ’572 patent discloses methods for treating angiogenic eye disorders by

   sequentially administering multiple doses of a VEGF antagonist to a patient over time. ’572

   patent at 2:14-17. It further discloses that a formulation that contains the VEGF antagonist and

   is administered by injection “may be prepared by dissolving, suspending or emulsifying a VEGF

   antagonist in a sterile aqueous medium or an oily medium conventionally used for injections.”

   ’572 patent at 6:18-22. It discloses physiological saline, “an isotonic solution containing glucose

   and other auxiliary agents, etc.,” as an example of an aqueous medium that may be used for

   injections in combination with an appropriate solubilizing agent such as an alcohol, a

   polyalcohol, and “a nonionic surfactant” such as “polysorbate 80” or “HCO-50 (polyoxyethylene

   (50 mol) adduct of hydrogenated castor oil).” ’572 patent at 6:22-30.

          C.      Asserted Claims of the ’865 and ’572 Patents

          201.    As noted above, I have been informed that Regeneron is currently asserting

   claims 4, 7, 9, 11, and 14-18 of the ’865 patent. I have reproduced those claims, and those from

   which they depend, below.

                  1. A vial comprising an ophthalmic formulation suitable for
                  intravitreal administration that comprises:

                                                   76


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               a vascular endothelial growth factor (VEGF) antagonist

               an organic co-solvent,

               a buffer, and

               a stabilizing agent,

               wherein said VEGF antagonist fusion protein is glycosylated and
               comprises amino acids 27-457 of SEQ ID NO:4; and

               wherein at least 98% of the VEGF antagonist is present in native
               conformation following storage at 5° C. for two months as
               measured by size exclusion chromatography.

               2. The vial of claim 1, wherein the concentration of said VEGF
               antagonist fusion protein is 40 mg/ml, and wherein said organic
               co-solvent comprises polysorbate.

               4. The vial of claim 2, wherein said organic co-solvent comprises
               about 0.03% to about 0.1% polysorbate 20.

               7. The vial of claim 5, wherein said buffer comprises 5-25 mM
               buffer.

               9. The vial of claim 5, wherein said buffer comprises a pH about
               6.2-6.3.

               10. The vial of claim 5, wherein said stabilizing agent comprises a
               sugar.

               11. The vial of claim 10, wherein said sugar is selected from the
               group consisting of sucrose, sorbitol, glycerol, trehalose, and
               mannitol.

               14. The vial of claim 5, wherein said VEGF antagonist fusion
               protein is glycosylated at asparagine residues corresponding to
               asparagine residues 62, 94, 149, 222 and 308 of SEQ ID NO: 4.

               15. The vial of claim 5, wherein said formulation is capable of
               providing a turbidity of 0.01 or lower at OD405 after 2 month
               storage at 5° C.

               16. The vial of claim 5, wherein at least 99% of said VEGF
               antagonist fusion protein is present in native conformation after 2
               month storage at 5° C. as measured by size exclusion
               chromatography.


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                  17. The vial of claim 5, wherein at least 98% of said VEGF
                  antagonist fusion protein is present in native conformation
                  following storage at 5° C. for 24 months as measured by size
                  exclusion chromatography.

                  18. The vial of claim 5, wherein said formulation does not contain
                  phosphate.

          202.    I have been informed that Regeneron is currently asserting claims 1-23 and 25-30

   of the ’572 patent. I have been asked to respond to the MacMichael Report’s assertions

   regarding the validity of claims 6, 7, 12, 13, 18, 19, 22, and 23 of the ’572 patent, and I

   understand Regeneron has asked other individuals to offer their opinions regarding the validity

   of these and other asserted claims of the ’572 patent. Claims 6, 12, 18, and 22 of the’572 patent

   recite that “aflibercept is formulated as an isotonic solution.” Claims 7, 13, 19, and 23 of the

   ’572 patent recite that “aflibercept is formulated with a non-ionic surfactant.”

   X.     PRIORITY DATE

          203.    As explained in my Opening Report (¶ 32), I understand that the priority date of

   the ’865 patent is no later than June 16, 2006, the filing date of the provisional application from

   which the ’865 patent claims priority. Dr. Rabinow applies this priority date. Rabinow ¶ 198.

   Dr. MacMichael does as well. MacMichael ¶ 97. My opinions would not change if the claims of

   the ’865 patent had a later priority date, including June 14, 2007, the filing date of U.S.

   Application No. 11/818,463.

          204.    I further understand that the priority date can be the date on which the inventions

   were conceived and reduced to practice, even if that is earlier than the filing date of the earliest

   application to which the applicants claim priority. Based on my review of internal Regeneron

   development documents, it is my opinion that Drs. Furfine, Dix, Graham, and Frye conceived of

   the inventions recited in the ’865 claims and reduced these inventions to practice no later than

   March 21, 2006. This is evidenced by Regeneron’s internal development documents and lab

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   notebooks. See RGN-EYLEA-MYLAN-00475679 (pull schedule for SS207, with 2 month pull

   Mar. 21, 2006); RGN-EYLEA-MYLAN-00710718 (additional technical documents regarding

   SS207); RGN-EYLEA-MYLAN-00710562 (technical documents regarding SS203, including 2-

   month pull February 9, 2006); RGN-EYLEA-MYLAN-00477257, at -290 (Notebook 5946 to K.

   Frye, Protocol for SS065 dated December 4, 2003); RGN-EYLEA-MYLAN-00471343 (SS065

   pull schedule, with 3-month pull February 24, 2004). Specifically, these development

   documents establish that the inventors made on or before March 21, 2006 the formulations

   described and claimed in the ’865 patent, which references the stability studies above in the

   Examples.

         VALIDITY OPINIONS UNDER REGENERON’S PROPOSED CONSTRUCTIONS

   XI.     SUMMARY OF OPINIONS

           A.       The ’865 Asserted Claims Are Not Anticipated

           205.     As I will discuss in further detail below, my opinion is that the ’865 Asserted

   Claims were not anticipated by the prior art cited by Dr. Rabinow. None of the references—

   Fraser, Wulff, or the ’226 Patent—teach every limitation of the ’865 Asserted Claims expressly

   or inherently.

           B.       The ’865 Asserted Claims Would Not Have Been Obvious

           206.     Dr. Rabinow relies on the same references (along with two references related to

   ranibizumab) to argue obviousness. I again disagree, because the prior art cited by Dr. Rabinow

   does not teach or suggest the inventions claimed. To the contrary, the prior art taught away from

   the claims, and objective evidence including skepticism of others, unexpected results, and

   copying further support nonobviousness.




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             C.     The ’865 Asserted Claims Are Not Invalid Under Section 112

             207.   As I discuss in further detail below, the ’865 Asserted Claims are not invalid for

   lack of enablement, written description, or indefiniteness. Guided by the ’865 patent’s disclosure

   and several examples, the POSA could practice the ’865 Asserted Claims without undue

   experimentation, and the POSA would recognize that the specification described what is

   claimed.

             D.     The ’572 Claims Are Not Invalid

             208.   As discussed further below, I also disagree with Dr. Rabinow’s and Dr.

   MacMichael’s opinions that the ’572 Claims are invalid. Neither Dr. Rabinow nor Dr.

   MacMichael demonstrate that the ’572 Claims are obvious over the prior art, or invalid for lack

   of written description.

   XII.      The ’865 Asserted Claims Are Not Anticipated

             A.     Fraser Does Not Anticipate the ’865 Asserted Claims

             209.   Dr. Rabinow first argues that the ’865 Asserted Claims are anticipated by Fraser.

   Because Fraser does not teach numerous limitations from these claims, I disagree with Dr.

   Rabinow’s opinion.

                    1.       Claim 4

             210.   Claim 4 depends from claim 2, which depends from claim 1. Claims 1, 2, and 4

   recite:

                    1. A vial comprising an ophthalmic formulation suitable for
                    intravitreal administration that comprises:

                    a vascular endothelial growth factor (VEGF) antagonist

                    an organic co-solvent,

                    a buffer, and

                    a stabilizing agent,

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                  wherein said VEGF antagonist fusion protein is glycosylated and
                  comprises amino acids 27-457 of SEQ ID NO:4; and

                  wherein at least 98% of the VEGF antagonist is present in native
                  conformation following storage at 5° C. for two months as
                  measured by size exclusion chromatography.

                  2. The vial of claim 1, wherein the concentration of said VEGF
                  antagonist fusion protein is 40 mg/ml, and wherein said organic
                  co-solvent comprises polysorbate.

                  4. The vial of claim 2, wherein said organic co-solvent comprises
                  about 0.03% to about 0.1% polysorbate 20.

                          a.      Fraser does not teach a “vial comprising an ophthalmic
                                  formulation suitable for intravitreal administration”

          211.    Dr. Rabinow argues that Fraser expressly teaches a “vial comprising an

   ophthalmic formulation suitable for intravitreal administration.” Rabinow ¶ 203. I disagree. As

   Dr. Rabinow acknowledges, Fraser was a study of “pituitary-ovarian function” in macaque

   monkeys. Rabinow ¶ 203. First, Fraser nowhere discloses or suggests to the POSA that the

   product it used was an “ophthalmic formulation”; Fraser contains no indication that its authors

   were studying any ophthalmic application. Second, Fraser also does not teach that its product

   was “suitable for intravitreal administration.” Again, as Fraser does not disclose any ophthalmic

   application (its composition was administered intravenously, Fraser at 1121), it does not teach

   that the product it uses is suitable for intravitreal administration. Notably, the product used in

   Fraser contains citrate buffer and “either 20% glycerol or 20% sucrose.” Fraser at 1115. Dr.

   Rabinow has not presented any evidence to support his assertion that formulations containing

   either citrate or glycerol would be suitable for intravitreal injection, nor has he pointed to any

   examples of any intravitreal formulations that contain either citrate or glycerol. Third, Dr.

   Rabinow does not point to any evidence that the product in Fraser was a “vial.” Fraser discloses




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   only that the VEGF TrapR1R2 was provided “in 2-ml aliquots” and does not teach the use of a

   vial. Fraser at 1115.

                           b.     Fraser does not teach “a vascular endothelial growth factor
                                  (VEGF) antagonist . . . wherein said VEGF antagonist fusion
                                  protein is glycosylated and comprises amino acids 27-457 of
                                  SEQ ID NO:4”

          212.    Dr. Rabinow does not point to any teaching in Fraser of the claimed amino acid

   sequence recited in the ’865 Asserted Claims, i.e., amino acids 27-457 of SEQ ID NO:4. That is

   because Fraser does not teach any amino acid sequence for VEGF TrapR1R2. Instead, Fraser

   teaches that VEGF TrapR1R2 is “a recombinant, chimeric protein comprising Ig domain 2 of

   human VEGF-R1 and Ig domain 3 of human VEGF-R2, expressed in sequence with the human

   Fc.” Fraser at 1115. I understand that to anticipate a claim, a single reference must disclose

   each and every limitation of the claim. Dr. Rabinow acknowledges this principle (Rabinow ¶ 39)

   but does not apply it. Dr. Rabinow instead argues that the POSA “would look at reference 21,

   Holash, to obtain further information about Fraser’s VEGF TrapR1R2.” Rabinow ¶ 204.

   However, I understand that the POSA’s motivation to consider a different reference is not a

   relevant consideration for anticipation.

          213.    Dr. Rabinow elsewhere asserts that Fraser “incorporates by reference . . . Holash

   for its VEGF antagonist fusion protein, ‘VEGF TrapR1R2.’” Rabinow ¶ 206. But Fraser does not

   state that it incorporates Holash by reference. Rather, Fraser simply cites Holash in an endnote

   (along with 29 other references). I understand that merely citing a reference is not sufficient to

   incorporate it by reference, let alone incorporate the reference in its entirety, and in my opinion

   the POSA would not have understood Fraser as having incorporated the disclosure of Holash by

   listing it as one of many references in the endnotes.




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          214.    Regardless, even if Fraser did incorporate Holash by reference (it did not), Holash

   does not teach the claimed amino acid sequence either. Rather, as Dr. Rabinow’s citations

   illustrate (¶ 205), Holash describes VEGF TrapR1R2 at the same level of detail as Fraser,

   explaining that “VEGF-TrapR1R2 possesses the second Ig domain of VEGFR1 and the third Ig

   domain of VEGFR2 fused to the Fc portion of human IgG1.” Holash at 11394. Dr. Rabinow

   fails to offer any support or explanation for his inference that either the disclosure in Fraser or

   the disclosure in Holash teaches the specific amino acid sequence recited in the ’865 Claims.

   Rabinow ¶ 205.

          215.    Last, Dr. Rabinow argues that Regeneron conceded during prosecution of a

   different patent (related to Dix) that Fraser disclosed the claimed ophthalmic formulations.

   Rabinow ¶ 209. I disagree. Regeneron never identified Fraser’s formulation as any specific

   formulation tested in the Dix patent disclosure, or as the specific formulation tested in Table 9 of

   Dix. Rather, in the prosecution history cited by Dr. Rabinow (RGN-EYLEA-MYLAN-

   00015706-709), Regeneron noted that Fraser was not prior art to the Dix patent at issue by

   pointing to the completion of several VEGF Trap formulations to demonstrate that the “claimed

   invention was made before the Fraser publication date.” RGN-EYLEA-MYLAN-00015707. In

   so doing, Regeneron stated that it made “the actual lot and formulation used in Fraser” before

   Fraser’s publication date. Id. Contrary to Dr. Rabinow’s suggestion (Rabinow ¶ 209 & n.9),

   Regeneron did not represent that the Fraser formulation was the same lot or formulation used in

   Table 9 (Example 5) of the Dix patent. In fact, the data on which Regeneron relied is from a

   stability study labeled “VEGF-SS017,” RGN-EYLEA-MYLAN-00015711, whereas the stability

   study reported in Table 9 of the Dix patent, upon which Dr. Rabinow relies, is titled “VGT-

   FS405.” Furthermore, the formulation in the Dix patent has 25 mg/ml of the VEGF Trap, while



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   the composition in Fraser has only 24.3 mg/ml of VEGF TrapR1R2. Accordingly, Dr. Rabinow is

   wrong to conclude that the Fraser formulation corresponded to the same lot or formulation in the

   Dix specification.

           216.    The ’865 Asserted Claims further require that the VEGF antagonist fusion protein

   “is glycosylated.” Fraser nowhere teaches or suggests that VEGF TrapR1R2 is glycosylated, and

   Dr. Rabinow offers no opinion that the disclosure of Fraser itself teaches glycosylated VEGF

   TrapR1R2. Rather, Dr. Rabinow argues that other articles that Fraser “incorporates by reference”

   teach glycosylation. But the articles relied upon by Dr. Rabinow are not incorporated by

   reference into Fraser, let alone in their entirety or with respect to this particular disclosure, and

   regardless, they do not teach that the specific amino acid sequence claimed in the ’865 Asserted

   Claims is glycosylated.

           217.    First, Dr. Rabinow asserts that Fraser, through its citation to Holash, discloses that

   VEGF TrapR1R2 is glycosylated. Again, as above, I disagree that Fraser incorporates Holash by

   reference. And regardless, Holash does not teach that VEGF TrapR1R2 is glycosylated. Dr.

   Rabinow relies on Holash’s disclosure that “[a]ll of the VEGF-Trap variants were produced and

   purified from Chinese hamster ovary cells.” Rabinow ¶ 206 (citing Holash at 11394). Dr.

   Rabinow argues that Holash’s disclosure of expression in CHO cells is tantamount to a

   disclosure that Fraser’s “VEGF-TrapR1R2” is glycosylated, but he cites no evidence in support.

   To the contrary, the POSA would not have understood that every protein produced in a CHO cell

   is glycosylated. Glycosylation only occurs at specific amino acid residues, supra Section VIII.E,

   and because Holash does not disclose the sequence of VEGF-Trap R1R2, the POSA would not

   have known whether it was glycosylated. Furthermore, simply because the VEGF-Trap variants

   in Holash were produced in CHO cells does not mean that Fraser’s “VEGF-Trap R1R2” necessarily



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   was produced in CHO cells. Fraser does not specify how the product used in its study was

   produced, and prior art at the time described that VEGF Trap molecules could also be produced

   in E. Coli, which would result in nonglycosylated proteins. Daly ¶ 43.

          218.    Second, Dr. Rabinow also attempts to rely on Fraser’s citations to Wulff

   (reference 17 in Fraser), which are in three places in Fraser:

          x   “In subsequent studies a successor molecule, VEGF TrapR1R2, was employed to

              evaluate the effects of inhibition of VEGF throughout the follicular phase. These

              studies confirmed that selective inhibition of VEGF markedly attenuated thecal

              angiogenesis and restricted follicular growth in the marmoset (17).” Fraser at 1114.

          x   “The present findings in macaques confirm and extend our previous observations on

              effects of VEGF inhibition on ovarian structure and function in the marmoset, which

              focused on molecular and cellular changes (16, 17). In marmosets, VEGF inhibition

              throughout the follicular phase severely inhibits thecal angiogenesis and inhibits the

              growth of secondary follicles beyond the early antral stage (17).” Fraser at 1119.

          219.    Dr. Rabinow advances a theory that attempts to chain together Fraser’s citation to

   Wulff (not referring to glycosylation), and Wulff’s citation to Papadopoulos (which does not

   disclose that the claimed fusion protein is glycosylated), effectively asserting a three-reference

   anticipation argument that still does not disclose that the VEGF antagonist fusion protein of the

   ’865 Asserted Claims is glycosylated. Dr. Rabinow asserts that “Fraser expressly cites to, and

   incorporates by reference, Wulff for its VEGF antagonist fusion protean [sic] (VEGF-Trap R1R2),

   and Wulff further cites to, and incorporates by reference, Papadopoulos.” Rabinow ¶ 207. As he

   did with Holash, Dr. Rabinow provides no support or explanation for his assertion that Fraser

   incorporates Wulff by reference. Again, I understand that simply referencing an article does not


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   incorporate the article by reference in its entirety or with respect to a particular disclosure, and in

   my opinion the POSA would not have understood Fraser as having incorporated the disclosure of

   Wulff. Next, Dr. Rabinow’s assertion that Wulff incorporates by reference Papadopoulos is also

   unfounded. Rabinow ¶ 207. Dr. Rabinow provides no support or explanation for his assertion

   that Wulff “incorporates by reference” Papadopoulos. Id. Dr. Rabinow likewise provides no

   support for or explanation of how Fraser could have incorporated by reference Papadopoulos,

   which Fraser does not even cite or mention.

            220.   Regardless, Papadopoulos does not teach that the specific amino acid sequence in

   the ’865 Asserted Claims (amino acids 27-457 of SEQ ID NO:4) is glycosylated. Papadopoulos

   teaches that a different protein is glycosylated, i.e., Flt1D2.Flk1D3.FcǻC1(a). The sequence of

   that protein is not the same as amino acids 27-457 of SEQ ID NO:4, as the alignment below

   illustrates (where the “query” sequence is SEQ ID NO:4 from the ’865 patent and the “Sbjct”

   sequence is Flt1D2.Flk1D3.FcǻC1(a) from Papadopoulos):

    Query    1     MVSYWDTGVLLCALLSCLLLTGSSSGSDTGRPFVEMYSEIPEIIHMTEGRELVIPCRVTS             60
    Sbjct    1     ..........................---...............................             57

    Query    61    PNITVTLKKFPLDTLIPDGKRIIWDSRKGFIISNATYKEIGLLTCEATVNGHLYKTNYLT             120
    Sbjct    58    ............................................................             117

    Query    121   HRQTNTIIDVVLSPSHGIELSVGEKLVLNCTARTELNVGIDFNWEYPSSKHQHKKLVNRD             180
    Sbjct    118   ............................................................             177

    Query    181   LKTQSGSEMKKFLSTLTIDGVTRSDQGLYTCAASSGLMTKKNSTFVRVHEK---DKTHTC             237
    Sbjct    178   ...................................................GPG......             237

    Query    238   PPCPAPELLGGPSVFLFPPKPKDTLMISRTPEVTCVVVDVSHEDPEVKFNWYVDGVEVHN             297
    Sbjct    238   ............................................................             297

    Query    298   AKTKPREEQYNSTYRVVSVLTVLHQDWLNGKEYKCKVSNKALPAPIEKTISKAKGQPREP             357
    Sbjct    298   ............................................................             357

    Query    358   QVYTLPPSRDELTKNQVSLTCLVKGFYPSDIAVEWESNGQPENNYKTTPPVLDSDGSFFL             417
    Sbjct    358   ....................................E.................E.....             417

    Query    418   YSKLTVDKSRWQQGNVFSCSVMHEALHNHYTQKSLSLSPGK         458
    Sbjct    418   ......E...................E..........E...         458




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          221.    The POSA would have understood that different protein sequences may result in

   different glycosylation or no glycosylation. The sites identified in Papadopoulos are all N-linked

   glycosylation sites. Papadopoulos at 81:20-82:2; Rabinow ¶ 207. As Sinclair & Elliott

   explained, despite the presence of potential glycosylation sites, “[m]ost naturally occurring

   consensus sequences in secreted proteins are not glycosylated. Consensus sequences are

   therefore necessary but not sufficient for N-linked carbohydrate addition.” Sinclair & Elliott at

   1627. Thus, the POSA could not deduce from the glycosylation of a different protein whether

   amino acids 27-457 of SEQ ID NO:4 would be glycosylated.

                          c.      Fraser does not teach “wherein the concentration of said
                                  VEGF antagonist fusion protein is 40 mg/ml”

          222.    Claim 2 of the ’865 patent recites that “the concentration of said VEGF antagonist

   fusion protein is 40 mg/ml.” Fraser teaches that the concentration of VEGF Trap R1R2 used in its

   study was 24.3 mg/ml, not 40 mg/ml. Fraser at 1115. Indeed, Dr. Rabinow acknowledges that

   “the Fraser formulation’s VEGF Trap concentration was 24.3 mg/ml.” Rabinow ¶ 215 n.10.

   The claimed concentration of 40 mg/ml is approximately 65% greater than the 24.3 mg/ml

   concentration used in Fraser. Thus, Fraser does not teach the claimed concentration.

          223.     Dr. Rabinow nevertheless argues that “the 40 mg/ml limitation does not

   distinguish Claim 2 from the prior art that renders Claim 1 anticipated.” Rabinow ¶ 215. Again,

   I understand that anticipation requires disclosure, either expressly or inherently, of every

   limitation. Dr. Rabinow points to no prior-art teaching of 40 mg/ml of the specific protein

   claimed in the ’865 Asserted Claims. Instead, for purposes of his anticipation theory (and only

   his anticipation theory), Dr. Rabinow points to disclosures in references that purportedly show

   that proteins could be lyophilized and reconstituted at higher concentrations. Rabinow ¶ 215

   (citing Andya ’326; Wiegand). But Fraser does not teach or suggest lyophilizing or


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   reconstituting VEGF TrapR1R2, or even mention lyophilization or reconstitution at all; rather,

   Fraser teaches that the compositions were provided in “2-ml aliquots,” which refers to a liquid

   composition. To the extent Dr. Rabinow argues that the possibility of lyophilizing and

   reconstituting a formulation means that Fraser inherently discloses any concentration of VEGF

   TrapR1R2, I disagree. Dr. Rabinow does not explain why the POSA would have to reconstitute at

   the higher concentration of 40 mg/ml as compared to Fraser; the POSA could, for example,

   instead reconstitute at a lower concentration. Simply because, in Dr. Rabinow’s view, the POSA

   could modify Fraser in a certain way that could result in a fusion protein concentration of 40

   mg/ml, fails to show that Fraser anticipates the limitation of claim 2 that the concentration of the

   VEGF antagonist fusion protein be 40 mg/ml.

          224.    In a footnote, Dr. Rabinow argues that the POSA “would have been motivated to

   generate a stable formulation having a significantly higher protein concentration” than what was

   taught in Fraser. Rabinow ¶ 215 n.10. Dr. Rabinow raises this argument solely with respect to

   his anticipation position. I understand that arguments that the POSA would be motivated to

   modify a reference are not relevant to anticipation, because anticipation requires that each

   limitation must be disclosed within the four corners of a single prior art reference.

          225.    I note that Dr. Rabinow’s opinion is contradicted by Mylan’s own expert, Dr.

   MacMichael. According to Dr. MacMichael, only one formulation (Example 3) falls within the

   scope of the ’865 Asserted Claims. For example, Dr. MacMichael contends that Example 7 of

   the ’865 patent does not fall within claim 2 because it does not meet the 40 mg/ml limitation.

   MacMichael ¶¶ 88, 91. In other words, contrary to Dr. Rabinow’s view that disclosure of

   lyophilization effectively discloses multiple concentrations, Dr. MacMichael contends that a




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   lyophilized formulation (even one that is then reconstituted to 40 mg/ml) does not meet the ’865

   Asserted Claims.

                          d.     Fraser does not teach “wherein at least 98% of the VEGF
                                 antagonist is present in native conformation following storage
                                 at 5° C. for two months as measured by size exclusion
                                 chromatography”

          226.    Dr. Rabinow does not argue that Fraser expressly teaches the claim limitation “at

   least 98% of the VEGF antagonist is present in native conformation following storage at 5° C.

   for two months as measured by size exclusion chromatography.” Rabinow ¶ 211. Nor could he;

   Fraser does not teach this limitation and does not perform any evaluation of whether “at least

   98% of the VEGF antagonist is present in native conformation following storage at 5° C. for two

   months as measured by size exclusion chromatography.” Dr. Rabinow nevertheless argues that

   this limitation “is inherent in Fraser’s” composition. Rabinow ¶ 211. Dr. Rabinow asserts that

   Fraser’s formulation “is identical to the Dix formulation.” As I explained above, supra Section

   XII.A.1.b, the formulation in Fraser is not identical to any formulation in Dix because (at a

   minimum) Dix does not disclose any formulation with 24.3 mg/ml, and Regeneron did not argue

   to the USPTO that Dix disclosed a formulation with “the identical formulation and . . . stability

   properties as Fraser.” Rabinow ¶ 211.

          227.    More fundamentally, Dr. Rabinow’s inherency argument ignores that the asserted

   claims of the ’865 patent all require that the concentration of the VEGF antagonist fusion protein

   is 40 mg/ml. Neither Fraser nor Dix assessed the native conformation of a 40 mg/ml

   formulation—accordingly, neither taught whether a formulation within the claims would have

   98% native conformation after two months storage at 5°C as measured by size exclusion

   chromatography. Dr. Rabinow’s cited disclosures of Fraser and Dix involved formulations with

   24.3 or 25 mg/ml of a VEGF antagonist, respectively. Even if the composition in Fraser had the


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   same native conformation as the formulation shown in Table 9 of Dix—a proposition for which

   Dr. Rabinow provides no support—the POSA would not have understood that a formulation with

   a 65% higher protein concentration (i.e., increasing from 24.3 mg/ml to 40 mg/ml) necessarily

   and always would have the same native conformation after two months storage. To the contrary,

   the POSA would have understood that the substantial increase in protein concentration

   potentially could lead to increased aggregation, and thus a smaller percent native conformation.

   See Wang 2005, at 9 (“Increasing protein concentration generally increases protein

   aggregation.”); supra VIII.C.

                  2.      Claim 7

          228.    Claim 7 depends from claim 5, which depends from claim 2. In my opinion,

   Fraser does not anticipate claim 7 for at least the same reasons that it does not anticipate claim 4

   (which also depends from claim 2).

                  3.      Claim 9

          229.    Claim 9 depends from claim 5, which depends from claim 2. In my opinion,

   Fraser does not anticipate claim 9 for at least the same reasons that it does not anticipate claim 4

   (which also depends from claim 2).

                  4.      Claim 11

          230.    Claim 11 depends from claim 10, which depends from claim 5, which depends

   from claim 2. In my opinion, Fraser does not anticipate claim 11 for at least the same reasons

   that it does not anticipate claim 4 (which also depends from claim 2).

                  5.      Claim 14

          231.    Claim 14 depends from claim 5, which depends from claim 2. In my opinion,

   Fraser does not anticipate claim 14 for at least the same reasons that it does not anticipate claim 4

   (which also depends from claim 2).

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          232.    Claim 14 recites that “said VEGF antagonist fusion protein is glycosylated at

   asparagine residues corresponding to asparagine residues 62, 94, 149, 222 and 308 of SEQ ID

   NO: 4.” As explained above, supra Section XII.A.1.b, Fraser does not teach the amino acid

   sequence of VEGF TrapR1R2 or whether it is glycosylated. Accordingly, Fraser also does not

   teach the specific residues that are glycosylated according to the limitation of claim 14.

          233.    As explained above, I disagree with Dr. Rabinow’s anticipation theory that

   considers Wulff and Papadopoulos as somehow incorporated within Fraser. Supra XII.A.1.b.

   And regardless, as explained above, id., Papadopoulos does not disclose whether any particular

   sites are glycosylated within amino acids 27-457 of SEQ ID NO:4—it discloses only the

   glycosylation of Flt1D2.Flk1D3.FcǻC1(a), which is a different protein from amino acids 27-457

   of SEQ ID NO:4.

                  6.      Claim 15

          234.    Claim 15 depends from claim 5, which depends from claim 2. In my opinion,

   Fraser does not anticipate claim 15 for at least the same reasons that it does not anticipate claim 4

   (which also depends from claim 2).

          235.    Claim 15 recites that “said formulation is capable of providing a turbidity of 0.01

   or lower at OD405 after 2 month storage at 5° C.” A formulation’s turbidity generally results

   from the formation of insoluble aggregates. As with native conformation, Dr. Rabinow relies

   exclusively on data from Dix, which (as I explain above, supra Section XII.A.1.d) is not part of

   Fraser and discloses a different formulation from the formulations of Fraser and the formulations

   of the asserted claims. In addition, the data from Dix on which Dr. Rabinow relies does not

   include any turbidity data. The data cited by Dr. Rabinow comes from Table 9 of Dix, which is

   reproduced below:



                                                    91


                                            Reply.Add383
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                                                                   T .BLE 9

                                         tAbility and ActiviJy of Liquid FOlffl 11:alion


                                             %    ''3.li,re                                       Protein Contenl
                               Monlks:      oofisuraiion        Bioasi.1:y   Bi11rling.1    'JI       mglml


                                  0              99,1              l06               12                LO
                          20
                                   1             99,9              119          4.4 pM•                25.2
                                   2             99.6              102           .'lpM'                2 .'I
                                                 99.6               97                                 2 J
                                  6              99,6              l01             WIS                 ?S.O
                          2       9              99.4               g<)            lli5
                                 12              99,                 s              9
                                                 99.4               00                  1
                                 '1'4            99.)               1S              9                  r.6
                                 ~                                 l09              1')                ? .6
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          236.    Dix Table 9 reports data for native conformation, bioassay, binding assay, and

   protein content, but does not report turbidity. Dr. Rabinow asserts that the turbidity level recited

   in claim 15 is “inherent” based on the native conformation data in Table 9. But these are

   different measurements measuring different phenomena, and Dr. Rabinow does not offer

   evidence that a given formulation turbidity (measured at OD405) could be predicted with

   certainty from a size exclusion chromatography measurement. Thus, the POSA could not

   conclude based on data about a formulation’s native conformation measured by size exclusion

   chromatography what the formulation’s turbidity will be. Dr. Rabinow simply ignores the

   difference between the two measurements and asserts they would be the same, and cites no

   evidence in support.

          237.    Moreover, and as explained above, the data in Dix on which Dr. Rabinow relies

   involved a much lower concentration of a VEGF antagonist (25 mg/ml) than the concentration

   claimed in the ’865 patent (40 mg/ml), and the POSA would not assume that the levels of


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  insoluble aggregates would remain unchanged despite an increase in protein concentration of

  60%. To the contrary, the POSA would have understood that the substantial increase in protein

  concentration potentially could lead to increased aggregation, and thus a smaller percent native

  conformation and greater turbidity. Thus, even if the Dix disclosure were considered part of

  Fraser, and even if Dix did disclose turbidity data for the formulation on which Dr. Rabinow

  relies (it does not), Fraser still could not anticipate the claims, for this reason and those set forth

  above. See Wang 2005, at 9 (“Increasing protein concentration generally increases protein

  aggregation.”); supra Section VIII.C.

                  7.      Claim 16

          238.    Claim 16 depends from claim 5, which depends from claim 2. In my opinion,

  Fraser does not anticipate claim 16 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

                  8.      Claim 17

          239.    Claim 17 depends from claim 5, which depends from claim 2. In my opinion,

  Fraser does not anticipate claim 17 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

                  9.      Claim 18

          240.    Claim 18 depends from claim 5, which depends from claim 2. In my opinion,

  Fraser does not anticipate claim 18 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

          241.    Claim 18 recites that “said formulation does not contain phosphate.” Fraser

  expressly discloses that its composition contains phosphate, i.e., VEGF Trap R1R2 “was provided

  at a concentration of 24.3 mg/ml in 2-ml aliquots in buffer composed of 5 mM phosphate,”

  among other substances. Fraser at 1115. Thus, Fraser does not teach a formulation that “does

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  not contain phosphate” as recited in claim 18. Dr. Rabinow does not offer any contrary evidence

  and instead only cites to Dr. MacMichael’s report addressing written description and enablement

  (which I address below). Rabinow ¶ 224.

          B.      Wulff Does Not Anticipate the ’865 Asserted Claims

          242.    Dr. Rabinow also argues that the ’865 Asserted Claims are anticipated by Wulff.

  Because Wulff does not teach numerous limitations from these claims, I disagree with Dr.

  Rabinow’s opinion.

                  1.      Claim 4

          243.    Claim 4 depends from claim 2, which depends from claim 1. Wulff does not

  teach multiple limitations of claim 4 and thus does not anticipate it, contrary to Dr. Rabinow’s

  opinion.

                          a.      Wulff does not teach a “vial comprising an ophthalmic
                                  formulation suitable for intravitreal administration”

          244.    Dr. Rabinow contends that Wulff expressly teaches a “vial comprising an

  ophthalmic formulation suitable for intravitreal administration.” Rabinow ¶ 226. I disagree. As

  Dr. Rabinow acknowledges, Wulff was a study of “Thecal Angiogenesis, Antral Follicular

  Growth, and Ovulation” in marmoset monkeys. Rabinow ¶ 226. First, Wulff nowhere suggests

  to the POSA that the product it used was an “ophthalmic formulation”; Wulff contains no

  indication that its authors were studying any ophthalmic application. Second, Wulff also does

  not teach that its product was “suitable for intravitreal administration.” Again, as Wulff does not

  disclose any ophthalmic application (its composition was delivered subcutaneously, Rabinow

  ¶ 226 (citing Wulff at 2797)), it does not teach that the product it uses is suitable for intravitreal

  administration. Notably, Wulff does not even disclose any formulation for “VEGF Trap R1R2”

  used in the study. Wulff does disclose an unspecified “vehicle” composition used as a control.


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  Wulff at 2798. The POSA would not presume that the “vehicle” composition is the same as the

  formulation (if any) used for VEGF Trap R1R2. Notably, in Fraser (sharing multiple authors

  with Wulff) the formulations used for the VEGF Trap and the control were different. Fraser at

  1115. Even if the “vehicle” composition were the one used for Wulff’s VEGF Trap R1R2, that

  composition contains citrate buffer. Wulff at 2798. Dr. Rabinow has not presented any evidence

  to support his assertion that formulations containing citrate were suitable for intravitreal

  injection, nor has he pointed to any examples of any intravitreal formulations that contain citrate.

  Rabinow ¶ 226. Third, Dr. Rabinow does not point to any evidence that the product in Wulff

  was a “vial,” and ignores this limitation of the ’865 Asserted Claims.

                         b.      Wulff does not teach “a vascular endothelial growth factor
                                 (VEGF) antagonist . . . wherein said VEGF antagonist fusion
                                 protein is glycosylated and comprises amino acids 27-457 of
                                 SEQ ID NO:4”

         245.    Dr. Rabinow does not point to any teaching in Wulff of the claimed amino acid

  sequence recited in the ’865 Asserted Claims, i.e., amino acids 27-457 of SEQ ID NO:4.

  Rabinow ¶¶ 227-32. That is because Wulff does not teach any amino acid sequence for VEGF

  Trap R1R2; instead, Wulff teaches that VEGF Trap R1R2 is “a recombinant chimeric protein

  comprising portions of the extracellular, ligand binding domains of the human VEGF receptors

  Flt-1 (VEGF-R1, Ig domain 2) and KDR (VEGF-R2, Ig domain 3) expressed in sequence with

  the Fc portion of human IgG.” Wulff at 2798. I understand that to anticipate a claim, a single

  reference must disclose each and every limitation of the claim. Dr. Rabinow acknowledges this

  principle (Rabinow ¶ 39) but does not apply it. Dr. Rabinow instead argues that the POSA

  would consider Wulff as a “starting point for a [POSA] to formulate” a VEGF antagonist.

  Rabinow ¶ 229. However, I understand that anticipation requires more than a “starting point,”

  from which different undisclosed formulations are prepared, and instead requires that each


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  limitation be disclosed in a single reference as arranged in the claim. In any event, I disagree

  with Dr. Rabinow that Wulff would serve as a “starting point” to develop a VEGF antagonist

  ophthalmic formulation, since Wulff did not disclose any formulation for VEGF Trap R1R2 and

  was not directed to developing a formulation that achieves the function recited in the ’865

  Asserted Claims, i.e., 98% native conformation following storage at 5°C for two months as

  measured by SEC.

         246.    Dr. Rabinow elsewhere asserts that Wulff incorporates by reference Papadopoulos

  Rabinow ¶ 230. But Wulff does not state that it incorporates Papadopoulos by reference. Wulff

  at 2798 n.1. I understand that merely citing a reference is not sufficient to incorporate it by

  reference, and Dr. Rabinow has not explained how Wulff’s citation to Papadopoulos meets the

  standard for incorporation by reference. In my opinion the POSA would not have understood

  Wulff as having incorporated the disclosure of Papadopoulos.

         247.    Even if Wulff incorporated Papadopoulos by reference, it would still fail to

  disclose the specific amino acid sequence claimed. As described above, Papadopoulos describes

  multiple VEGF antagonists having different amino acid sequences, and Wulff does not identify

  any specific sequence for VEGF Trap R1R2. Supra Section VIII.J.6. For example, as Dr.

  Rabinow notes, Papadopoulos describes the protein Flt1D2.Flk1D3.FcǻC1(a), which falls within

  the class of structures described in Wulff (“a recombinant chimeric protein comprising portions

  of the extracellular, ligand binding domains of the human VEGF receptors Flt-1 (VEGF-R1, Ig

  domain 2) and KDR (VEGF-R2, Ig domain 3) expressed in sequence with the Fc portion of

  human IgG,” Wulff at 2798), but does not have the same sequence as amino acids 27-457 of

  SEQ ID NO:4 of the ’865 Patent. See Rabinow ¶ 232 (contending that Flt1D2.Flk1D3.FcǻC1(a)

  corresponds to SEQ ID NO:2 of the ’865 patent). Dr. Rabinow asserts that SEQ ID NO:2 would



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  “fall within the scope of claim 1,” but that is incorrect because SEQ ID NO:2 does not comprise

  amino acids 27-457 of SEQ ID NO:4. The sequence of that protein is not the same as amino

  acids 27-457 of SEQ ID NO:4, as the alignment below illustrates (where the “query” sequence is

  SEQ ID NO:4 from the ’865 patent and the “Sbjct” sequence is Flt1D2.Flk1D3.FcǻC1(a) from

  Papadopoulos):

   Query    1     MVSYWDTGVLLCALLSCLLLTGSSSGSDTGRPFVEMYSEIPEIIHMTEGRELVIPCRVTS          60
   Sbjct    1     ..........................---...............................          57

   Query    61    PNITVTLKKFPLDTLIPDGKRIIWDSRKGFIISNATYKEIGLLTCEATVNGHLYKTNYLT          120
   Sbjct    58    ............................................................          117

   Query    121   HRQTNTIIDVVLSPSHGIELSVGEKLVLNCTARTELNVGIDFNWEYPSSKHQHKKLVNRD          180
   Sbjct    118   ............................................................          177

   Query    181   LKTQSGSEMKKFLSTLTIDGVTRSDQGLYTCAASSGLMTKKNSTFVRVHEK---DKTHTC          237
   Sbjct    178   ...................................................GPG......          237

   Query    238   PPCPAPELLGGPSVFLFPPKPKDTLMISRTPEVTCVVVDVSHEDPEVKFNWYVDGVEVHN          297
   Sbjct    238   ............................................................          297

   Query    298   AKTKPREEQYNSTYRVVSVLTVLHQDWLNGKEYKCKVSNKALPAPIEKTISKAKGQPREP          357
   Sbjct    298   ............................................................          357

   Query    358   QVYTLPPSRDELTKNQVSLTCLVKGFYPSDIAVEWESNGQPENNYKTTPPVLDSDGSFFL          417
   Sbjct    358   ....................................E.................E.....          417

   Query    418   YSKLTVDKSRWQQGNVFSCSVMHEALHNHYTQKSLSLSPGK       458
   Sbjct    418   ......E...................E..........E...       458




           248.   The ’865 Asserted Claims further require that the VEGF antagonist fusion protein

  “is glycosylated.” Wulff nowhere teaches or suggests that VEGF Trap R1R2 is glycosylated,

  and Dr. Rabinow offers no opinion that the disclosure of Wulff itself teaches glycosylated VEGF

  Trap R1R2. Rather, Dr. Rabinow argues that Wulff “incorporates by reference Papadopoulos,”

  which teaches glycosylation. Rabinow ¶ 230. But as I explained above Wulff does not

  incorporate Papadopoulos, and regardless, Papadopoulos does not teach that the specific amino

  acid sequence claimed in the ’865 patent (i.e., 27-457 of SEQ ID NO:4 of the ’865 patent) is

  glycosylated. Instead, Papadopoulos teaches that a different protein is glycosylated, i.e.,



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  Flt1D2.Flk1D3.FcǻC1(a). The sequence of that protein is not the same as amino acids 27-457 of

  SEQ ID NO:4, described above.

         249.    The POSA would have understood that different protein sequences may result in

  different glycosylation or no glycosylation. The sites identified in Papadopoulos are all N-linked

  glycosylation sites. Papadopoulos at 81:20-82:2; Rabinow ¶ 207. As Sinclair & Elliott

  explained, despite the presence of potential glycosylation sites, “[m]ost naturally occurring

  consensus sequences in secreted proteins are not glycosylated. Consensus sequences are

  therefore necessary but not sufficient for N-linked carbohydrate addition.” Sinclair & Elliott at

  1627. Thus, the POSA could not deduce from the glycosylation of a different protein whether

  amino acids 27-457 of SEQ ID NO:4 would be glycosylated.

                         c.     Wulff does not teach “wherein the concentration of said VEGF
                                antagonist fusion protein is 40 mg/ml”

         250.    Claim 2 of the ’865 patent recites that “the concentration of said VEGF antagonist

  fusion protein is 40 mg/ml.” Wulff does not disclose the concentration of VEGF Trap R1R2

  used in its study. Thus, Wulff does not teach the claimed concentration.

         251.    Dr. Rabinow does not contend that Wulff expressly discloses the 40 mg/ml

  limitation. Dr. Rabinow instead argues that the 40 mg/ml limitation is inherently disclosed by

  Wulff. Rabinow ¶ 236. But Dr. Rabinow points to no prior-art teaching, in Wulff or any other

  reference, of 40 mg/ml of the specific protein claimed in the ’865 Asserted Claims. Instead, for

  purposes of his anticipation theory (and only his anticipation theory), Dr. Rabinow points to

  disclosures in references that purportedly show that a protein could be lyophilized and

  reconstituted at a higher concentration. Rabinow ¶ 236 (citing Andya ’326; Wiegand). But

  Wulff does not teach or suggest lyophilizing or reconstituting VEGF Trap R1R2, or even

  mention lyophilization or reconstitution at all. To the extent Dr. Rabinow argues that the


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  possibility of lyophilizing and reconstituting a formulation means that Wulff inherently discloses

  any concentration of VEGF Trap R1R2, I disagree. Simply because, in Dr. Rabinow’s view, the

  POSA could modify Wulff in a certain way, fails to show that Wulff anticipates the limitation of

  claim 2 that the concentration of the VEGF antagonist fusion protein be 40 mg/ml.

                        d.      Wulff does not teach “wherein at least 98% of the VEGF
                                antagonist is present in native conformation following storage
                                at 5° C. for two months as measured by size exclusion
                                chromatography”

         252.    Dr. Rabinow does not argue that Wulff expressly teaches the claim limitation “at

  least 98% of the VEGF antagonist is present in native conformation following storage at 5° C.

  for two months as measured by size exclusion chromatography.” Rabinow ¶ 234. Nor could he;

  Wulff does not teach this limitation and does not perform any evaluation of whether “at least

  98% of the VEGF antagonist is present in native conformation following storage at 5° C. for two

  months as measured by size exclusion chromatography.” Dr. Rabinow nevertheless argues that

  this limitation “is inherent in Wulff’s” composition. Rabinow ¶ 234. But as I explained above,

  Wulff does not specify a formulation for VEGF Trap R1R2. Dr. Rabinow attempts to rely on a

  formulation disclosed in Dix. Rabinow ¶ 234. But even assuming Wulff’s “vehicle” was used to

  formulate Wulff’s VEGF Trap R1R2 (a conclusion Wulff does not support), Wulff fails to

  disclose any concentration of VEGF Trap R1R2 in such “formulation.” Dr. Rabinow can thus

  cite no evidence that any “formulation” in Wulff is identical to the 25 mg/ml formulation in Dix

  Table 9. Rabinow ¶ 234.

         253.    More fundamentally, Dr. Rabinow’s inherency argument ignores that the asserted

  claims of the ’865 patent all require that the concentration of the VEGF antagonist fusion protein

  is 40 mg/ml. Neither Wulff nor Dix assessed the native conformation of a 40 mg/ml

  formulation—accordingly, neither taught whether a formulation within the claims would have


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  98% native conformation after two months storage at 5°C as measured by size exclusion

  chromatography. Dr. Rabinow’s cited disclosures of Wulff and Dix involved compositions with

  either an unspecified amount of VEGF Trap R1R2 (Wulff) or 25 mg/ml of a VEGF antagonist

  (Dix Table 9). Even if the composition in Wulff had the same native conformation as shown in

  Table 9 of Dix—a proposition for which Dr. Rabinow provides no support—the POSA would

  not have understood that a composition with a 60% higher protein concentration (i.e., increasing

  from 25 mg/ml to 40 mg/ml) would have the same native conformation after two months storage.

  To the contrary, the POSA would have understood that the substantial increase in protein

  concentration potentially could lead to increased aggregation, and thus a smaller percent native

  conformation. See Wang 1995 at 9 (“Increasing protein concentration generally increases

  protein aggregation.”); supra Section VIII.C.

                 2.      Claim 7

         254.    Claim 7 depends from claim 5, which depends from claim 2. In my opinion,

  Wulff does not anticipate claim 7 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

                 3.      Claim 9

         255.    Claim 9 depends from claim 5, which depends from claim 2. In my opinion,

  Wulff does not anticipate claim 9 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

                 4.      Claim 11

         256.    Claim 11 depends from claim 10, which depends from claim 5, which depends

  from claim 2. In my opinion, Wulff does not anticipate claim 11 for at least the same reasons

  that it does not anticipate claim 4 (which also depends from claim 2).



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                 5.      Claim 14

         257.    Claim 14 depends from claim 5, which depends from claim 2. In my opinion,

  Wulff does not anticipate claim 14 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

         258.    Claim 14 recites that “said VEGF antagonist fusion protein is glycosylated at

  asparagine residues corresponding to asparagine residues 62, 94, 149, 222 and 308 of SEQ ID

  NO: 4.” As explained above, supra Section XII.B.1.b, Wulff does not teach the amino acid

  sequence of VEGF TrapR1R2 or whether it is glycosylated. Accordingly, Wulff also does not

  teach the specific residues that are glycosylated according to the limitation of claim 14.

         259.    As explained above, I disagree with Dr. Rabinow’s anticipation theory that

  considers Wulff as having incorporated Papadopoulos by reference. Supra Section XII.B.1.b.

  And regardless, as explained above, supra VIII.J.6, Papadopoulos does not disclose whether any

  particular sites are glycosylated within amino acids 27-457 of SEQ ID NO:4—it discloses only

  the glycosylation of Flt1D2.Flk1D3.FcǻC1(a), which is a different protein from amino acids 27-

  457 of SEQ ID NO:4.

                 6.      Claim 15

         260.    Claim 15 depends from claim 5, which depends from claim 2. In my opinion,

  Wulff does not anticipate claim 15 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

         261.    Claim 15 recites that “said formulation is capable of providing a turbidity of 0.01

  or lower at OD405 after 2 month storage at 5° C.” A formulation’s turbidity generally results

  from the formation of insoluble aggregates. As with native conformation, Dr. Rabinow relies

  exclusively on data from Dix (Rabinow ¶ 241 (citing Rabinow ¶ 221)), which (as I explain

  above, supra Section XII.B.1.d) is not part of Wulff. In addition, the data from Dix on which Dr.

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  Rabinow relies does not include any turbidity data. The data cited by Dr. Rabinow comes from

  Table 9 of Dix, which is reproduced below:

                                                            'l .BLE 9

                                     tAbility and Act;vity of Liquid Fo.i:rnul:alion


                                          ' ''8.li, -e                                     l'rot.:in Contcnl
                         Monlll:!I     Co:nfigurs1ion    BiQ<lSsny     Binding ;       y        rn ml


                             (l             99.1            106                72                2 .0
                   :m                       99.9            119            4.4pM•                :?S.:?
                                 2          !19.6           102            5.4 pM•               2 .I
                                            99.6             91                                  2 J
                             6              99,6            lO.I             W6                  25.Q
                   2·        9              99.4              g<J            1.215               ;,>,   .4
                            li              99,                   s            95                :?S.2
                            l'              99.'l            99                                  2
                           24               99.)              7                9

                   30
                           ~6                               !09                19

          262.



         263.    Dix Table 9 reports data for native conformation, bioassay, binding assay, and

  protein content, but does not report turbidity. Dr. Rabinow asserts that the turbidity level recited

  in claim 15 is “inherent” based on the native conformation data in Table 9. But these are

  different measurements measuring different phenomena, and Dr. Rabinow does not offer

  evidence that a given formulation turbidity (measured at OD405) could be predicted with

  certainty from a size exclusion chromatography measurement. Thus, the POSA could not

  conclude based on data about a formulation’s native conformation measured by size exclusion

  chromatography what the formulation’s turbidity will be. Dr. Rabinow simply ignores the

  difference between the two measurements and asserts they would be the same, and cites no

  evidence in support.




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         264.    Moreover, and as above, the data in Dix on which Dr. Rabinow relies involved a

  much lower concentration of a VEGF antagonist (25 mg/ml) than the concentration claimed (40

  mg/ml), and the POSA would not assume that the levels of insoluble aggregates would remain

  unchanged despite an increase in protein concentration of 60%. To the contrary, the POSA

  would have understood that the substantial increase in protein concentration potentially could

  lead to increased aggregation, and thus a smaller percent native conformation and greater

  turbidity. Thus, even if the Dix disclosure were considered part of Wulff, and even if Dix did

  disclose turbidity data for the formulation on which Dr. Rabinow relies (it does not), Wulff still

  could not anticipate the claims. See Wang 1995 at 9 (“Increasing protein concentration generally

  increases protein aggregation.”); supra Section VIII.C.

                 7.      Claim 16

         265.    Claim 16 depends from claim 5, which depends from claim 2. In my opinion,

  Wulff does not anticipate claim 16 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

                 8.      Claim 17

         266.    Claim 17 depends from claim 5, which depends from claim 2. In my opinion,

  Wulff does not anticipate claim 17 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

                 9.      Claim 18

         267.    Claim 18 depends from claim 5, which depends from claim 2. In my opinion,

  Wulff does not anticipate claim 18 for at least the same reasons that it does not anticipate claim 4

  (which also depends from claim 2).

         268.    Claim 18 recites that “said formulation does not contain phosphate.” The

  “vehicle” composition in Wulff expressly contains phosphate, i.e., 5 mM phosphate, among

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  other substances. Wulff at 2798. Thus, Wulff does not teach a formulation that “does not

  contain phosphate” as recited in claim 18. Dr. Rabinow does not offer any contrary evidence and

  instead only cites to Dr. MacMichael’s report addressing written description and enablement

  (which I address below). Rabinow ¶ 244.

            C.     The ’226 Patent Does Not Anticipate the ’865 Asserted Claims

            269.   Dr. Rabinow argues that the ’226 Patent anticipates the ’865 Asserted Claims.

  Because the ’226 Patent does not teach each limitation of the ’865 Asserted Claims, I disagree.

            270.   As an initial matter, I disagree with Dr. Rabinow’s assertion that the ’226 Patent

  incorporates by reference four references—Fraser, Kaisheva ’316, Papadopoulos, and Liu—that

  the ’226 Patent simply lists in its opening pages under “Other Publications” cited during

  prosecution, among dozens of other references and without any discussion or context. Rabinow

  ¶ 245 (citing ’226 Patent at Page 2). As I explained above, I understand that merely citing a

  reference is not sufficient to meet the standard for incorporation by reference (either with respect

  to incorporating an entire reference or portions of a reference), but that is all Dr. Rabinow points

  to here. I thus disagree that any of these references are incorporated by reference in the ’226

  Patent.

                   1.     The Entirety of the ’226 Patent Is Not Prior Art To The ’865 Patent

            271.   As I explained above, the ophthalmic formulations recited in the ’865 Asserted

  Claims were invented no later than March 21, 2006. Supra Section X. The earliest patent

  application from which the ’226 Patent claims priority (U.S. Patent Application No. 11/387,256)

  was filed after that date, on March 22, 2006. ’226 Patent at 1:24-25. The ’226 Patent also

  claims priority to U.S. Provisional Application No. 60/665,125, dated March 25, 2005 (the “Dix

  Provisional”). ’226 Patent at 1:26-27. I understand that in order to rely on the provisional

  application filing date under 35 U.S.C. § 102(e), the patent challenger may rely only on

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  disclosures that are contained in the provisional application. Dr. Rabinow ignores the teachings

  of the Dix Provisional, which does not include all of the disclosures from the ’226 Patent. I do

  not understand Dr. Rabinow to advance any invalidity opinion on the basis of the Dix

  Provisional.

         272.    The Dix Provisional does not disclose any exemplary formulations containing a

  VEGF antagonist and thus does not disclose any data regarding whether “at least 98% of the

  VEGF antagonist is present in native conformation following storage at 5° C. for two months as

  measured by size exclusion chromatography.” Thus, the disclosures in the Dix Provisional fail

  to anticipate the ’865 Asserted Claims.

         273.    Furthermore, the Dix Provisional does not disclose whether any of the VEGF

  antagonists disclosed are glycosylated. Accordingly, the Dix Provisional does not teach that any

  VEGF antagonist “is glycosylated” as recited in the ’865 Asserted Claims.

         274.    In addition, the Dix Provisional does not disclose any formulation where the

  concentration of the VEGF antagonist is 40 mg/ml. The Dix Provisional thus fails to teach this

  limitation of the ’865 Asserted Claims as well.

         275.    Furthermore, I understand that to be prior art under 35 U.S.C. § 102(e), the

  reference must be “by another.” The ’226 Patent has overlapping inventors with the ’865 patent,

  i.e., Daniel Dix and Kelly Frye are named inventors on both patents. I understand that this

  overlap may result in the ’226 Patent not qualifying as “by another” and thus not qualifying as

  prior art under § 102(e). To the extent the ’226 Patent is not prior art, it cannot anticipate the

  ’865 Asserted Claims for that reason as well.




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                  2.     Claim 4

           276.   Even if the ’865 Patent could claim priority only to June 16, 2006, it is still not

  anticipated, because the ’226 Patent fails to teach numerous limitations of the claims, as set forth

  below.

                         a.      The ’226 Patent does not teach “wherein the concentration of
                                 said VEGF antagonist fusion protein is 40 mg/ml”

           277.   Claim 2, from which claim 4 depends, recites that “the concentration of said

  VEGF antagonist fusion protein is 40 mg/ml.” The ’226 Patent does not describe any

  embodiment that meets this limitation. The examples in the ’226 Patent have the following

  concentrations: 25 mg/ml (Example 5, Table 9), 50 mg/ml (Example 1), 75 mg/ml (Example 2),

  100 mg/ml (Example 3, Example 5 (Table 8, lyophilized and reconstituted)). Thus, the ’226

  Patent does not disclose any formulation with 40 mg/ml of the claimed VEGF antagonist fusion

  protein.

           278.   Dr. Rabinow cites to a more general disclosure in the ’226 Patent that discloses as

  follows:

                  In a specific embodiment, the stable liquid formulation of a VEGF-
                  specific fusion protein antagonist comprises 1-10 mM phosphate
                  buffer, 1-10 mM citrate, 25-150 mM NaCl, 5-30% sucrose, 10-50
                  mg/ml of the fusion protein, at a pH of about 6-6.5. In a more
                  specific embodiment, the stable liquid formulation comprises 5
                  mM phosphate buffer, 5 mM citrate buffer, 100 mM NaCl, 20%
                  sucrose, 25 mg/ml of the fusion protein, at a pH of about 6.0.
                  Additionally, polysorbate may be present, for example 0.05-0.15%
                  polysorbate 20. The stable liquid formulation of the VEGF-specific
                  fusion protein antagonist of the invention exhibits little or no
                  precipitation after storage of a 25 mg/ml VEGF formulation for
                  about 6 months at í80° C. and little or no precipitation after
                  storage for 6 months at 5° C.

  Rabinow ¶ 251 (citing ’226 Patent at 2:20-24). Dr. Rabinow suggests that the disclosure of “10-

  50 mg/ml” anticipates the limitation of claim 2 requiring 40 mg/ml. I disagree with Dr. Rabinow


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  for at least two reasons. First, this disclosure does not identify the sequence of the “VEGF-

  specific fusion protein antagonist,” and thus does not disclose every element of the VEGF

  antagonist as claimed in the ’865 Asserted Claims, including the amino acid sequence 27-457 of

  SEQ ID NO:4. Second, I understand that a genus, such as the range of 10-50 mg/ml, does not

  generally anticipate a species falling within that genus; and disclosure of a genus in the prior art

  is not generally a disclosure of every species within the genus. Accordingly, the disclosed range

  here does not anticipate every concentration within it, such as 29.3 mg/ml, 37.7 mg/ml, or 40

  mg/ml. Dr. Rabinow does not acknowledge this principle and does not explain how the

  disclosure above specifically teaches 40 mg/ml. Nor does Dr. Rabinow argue that the range of

  10-50 mg/ml is the type of very small genus that may, in some circumstances, permit the POSA

  to immediately envisage each member of the genus and may anticipate species within the genus.

         279.    Dr. Rabinow additionally cites to his prior footnote asserting that because a

  protein may be lyophilized and reconstituted at a higher concentration, a disclosure of one

  concentration also discloses, other, higher concentrations. Rabinow ¶ 251 (citing Rabinow ¶ 215

  n.12). On this view, Dr. Rabinow appears to assert that the ’226 Patent’s disclosure of a 25

  mg/ml formulation is also a disclosure of a 40 mg/ml formulation. I disagree with this opinion

  for at least the same reasons expressed previously. Supra XII.A.1.c. Furthermore, although the

  ’226 Patent does disclose lyophilization, it nowhere teaches reconstituting to a concentration of

  40 mg/ml, but rather teaches reconstituting to different concentrations. ’226 Patent at 3:53-4:2,

  Example 5.

                         b.      The ’226 Patent does not teach “wherein at least 98% of the
                                 VEGF antagonist is present in native conformation following
                                 storage at 5° C. for two months as measured by size exclusion
                                 chromatography”




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           280.   Dr. Rabinow contends that the ’226 Patent discloses formulations that resulted in

  98% native conformation following 2 months storage at 5°C. Rabinow ¶ 249. I disagree that

  this proposition, even were it true, meets the claim limitation regarding native conformation,

  which in the context of the claims must be achieved by a formulation that (unlike those of the

  ‘226 patent) meets the other limitations of the claims. I understand that to anticipate, a single

  reference must disclose every claimed element as arranged in the claim. Because the ’226 Patent

  does not disclose any formulation where the concentration of the VEGF antagonist is 40 mg/ml,

  it also does not inevitably show any such formulation where “at least 98% of the VEGF

  antagonist is present in native conformation following storage at 5° C. for two months as

  measured by size exclusion chromatography.” See Wang at 9.

           281.   In addition, the only disclosure in the ’226 Patent upon which Dr. Rabinow relies

  for a teaching of 40 mg/ml—the range from 10-50 mg/ml, Rabinow ¶ 251—does not recite a

  specific VEGF Trap fusion protein. This disclosure from the ’226 Patent (at 2:20-24) does not

  identify the sequence recited in the ’865 Asserted Claims, and instead refers more generally to “a

  VEGF-specific fusion protein antagonist.” Notably, SEQ ID NO:4 is not the only VEGF

  antagonist sequence identified in the ’226 Patent; it also discloses SEQ ID NO:2, which is

  different from SEQ ID NO:4, as illustrated by the sequence alignment below (where the “query”

  sequence is SEQ ID NO:4 from the ’865 patent, and the “sbjct” sequence is SEQ ID NO:2 from

  the ’226 Patent). See ’226 Patent at 2:13-15 (“In a more specific embodiment the fusion protein

  has the amino acid sequence of SEQ ID NO:2 or SEQ ID NO:4.”).

   Query


   Sbjct
            1


            1
                  MVSYWDTGVLLCALLSCLLLTGSSSG   --
                  MVSYWDTGVLLCALLSCLLLTGSSSGSDTGRPFVEMYSEIPEIIHMTEGRELVIPCRVTS
                                                   GRPFVEMYSEIPEIIHMTEGRELVIPCRVTS
                  MVSYWDTGVLLCALLSCLLLTGSSSG---GRPFVEMYSEIPEIIHMTEGRELVIPCRVTS
                                                                                         60


                                                                                         57


   Query    61    PNITVTLKKFPLDTLIPDGKRIIWDSRKGFIISNATYKEIGLLTCEATVNGHLYKTNYLT           120



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                  PNITVTLKKFPLDTLIPDGKRIIWDSRKGFIISNATYKEIGLLTCEATVNGHLYKTNYLT
   Sbjct    58    PNITVTLKKFPLDTLIPDGKRIIWDSRKGFIISNATYKEIGLLTCEATVNGHLYKTNYLT        117


   Query    121   HRQTNTIIDVVLSPSHGIELSVGEKLVLNCTARTELNVGIDFNWEYPSSKHQHKKLVNRD        180
                  HRQTNTIIDVVLSPSHGIELSVGEKLVLNCTARTELNVGIDFNWEYPSSKHQHKKLVNRD
   Sbjct    118   HRQTNTIIDVVLSPSHGIELSVGEKLVLNCTARTELNVGIDFNWEYPSSKHQHKKLVNRD        177


   Query


   Sbjct
            181


            178
                  LKTQSGSEMKKFLSTLTIDGVTRSDQGLYTCAASSGLMTKKNSTFVRVHEK    --
                  LKTQSGSEMKKFLSTLTIDGVTRSDQGLYTCAASSGLMTKKNSTFVRVHEK---DKTHTC
                                                                             DKTHTC
                  LKTQSGSEMKKFLSTLTIDGVTRSDQGLYTCAASSGLMTKKNSTFVRVHEKGPGDKTHTC
                                                                                      237


                                                                                      237


   Query    238   PPCPAPELLGGPSVFLFPPKPKDTLMISRTPEVTCVVVDVSHEDPEVKFNWYVDGVEVHN        297
                  PPCPAPELLGGPSVFLFPPKPKDTLMISRTPEVTCVVVDVSHEDPEVKFNWYVDGVEVHN
   Sbjct    238   PPCPAPELLGGPSVFLFPPKPKDTLMISRTPEVTCVVVDVSHEDPEVKFNWYVDGVEVHN        297


   Query    298   AKTKPREEQYNSTYRVVSVLTVLHQDWLNGKEYKCKVSNKALPAPIEKTISKAKGQPREP        357
                  AKTKPREEQYNSTYRVVSVLTVLHQDWLNGKEYKCKVSNKALPAPIEKTISKAKGQPREP
   Sbjct    298   AKTKPREEQYNSTYRVVSVLTVLHQDWLNGKEYKCKVSNKALPAPIEKTISKAKGQPREP        357


   Query    358   QVYTLPPSRDELTKNQVSLTCLVKGFYPSDIAVEWESNGQPENNYKTTPPVLDSDGSFFL        417
                  QVYTLPPSRDELTKNQVSLTCLVKGFYPSDIAVEWESNGQPENNYKTTPPVLDSDGSFFL
   Sbjct    358   QVYTLPPSRDELTKNQVSLTCLVKGFYPSDIAVEWESNGQPENNYKTTPPVLDSDGSFFL        417


   Query    418   YSKLTVDKSRWQQGNVFSCSVMHEALHNHYTQKSLSLSPGK     458
                  YSKLTVDKSRWQQGNVFSCSVMHEALHNHYTQKSLSLSPGK
   Sbjct    418   YSKLTVDKSRWQQGNVFSCSVMHEALHNHYTQKSLSLSPGK     458




  Thus, the ’226 Patent does not disclose each element of the claimed VEGF antagonist fusion

  protein as arranged in the ’865 Asserted Claims.

           282.   In summary, because the ’226 Patent did not disclose a formulation with 40

  mg/ml of the specific VEGF antagonist claimed in the ’865 Asserted Claims, and because the

  POSA would have understood that both a protein’s sequence and its concentration can affect

  whether “98% of the VEGF antagonist is present in native conformation following storage at 5°



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  C. for two months as measured by size exclusion chromatography,” supra Section XII.A.1.d, the

  ’226 Patent does not disclose this limitation.

                 3.      Claim 7

         283.    Claim 7 depends from claim 5, which depends from claim 2. In my opinion, the

  ’226 Patent does not anticipate claim 7 for at least the same reasons that it does not anticipate

  claim 4 (which also depends from claim 2).

                 4.      Claim 9

         284.    Claim 9 depends from claim 5, which depends from claim 2. In my opinion, the

  ’226 Patent does not anticipate claim 9 for at least the same reasons that it does not anticipate

  claim 4 (which also depends from claim 2).

                 5.      Claim 11

         285.    Claim 11 depends from claim 10, which depends from claim 5, which depends

  from claim 2. In my opinion, the ’226 Patent does not anticipate claim 11 for at least the same

  reasons that it does not anticipate claim 4 (which also depends from claim 2).

                 6.      Claim 14

         286.    Claim 14 depends from claim 5, which depends from claim 2. In my opinion, the

  ’226 Patent does not anticipate claim 14 for at least the same reasons that it does not anticipate

  claim 4 (which also depends from claim 2).

                 7.      Claim 15

         287.    Claim 15 depends from claim 5, which depends from claim 2. In my opinion, the

  ’226 Patent does not anticipate claim 15 for at least the same reasons that it does not anticipate

  claim 4 (which also depends from claim 2).

         288.    Claim 15 recites that “said formulation is capable of providing a turbidity of 0.01

  or lower at OD405 after 2 month storage at 5° C.” Dr. Rabinow contends that the ’226 Patent

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  “discloses a specific embodiment” that teaches this limitation. Rabinow ¶ 256 (citing ’226

  Patent at 2:20-24). But that cited portion of the ’226 Patent does not disclose any results with

  respect to turbidity, much less the specific measurement of turbidity claimed. Furthermore, I

  disagree with Dr. Rabinow’s suggestion that the cited portion discloses a “specific”

  formulation—the cited disclosure instead describes a genus of formulations, with ranges of

  concentrations, as set forth below:

                   In a specific embodiment, the stable liquid formulation of a VEGF-
                   specific fusion protein antagonist comprises 1-10 mM phosphate
                   buffer, 1-10 mM citrate, 25-150 mM NaCl, 5-30% sucrose, 10-50
                   mg/ml of the fusion protein, at a pH of about 6-6.5.

  ’226 Patent at 2:20-24.

          289.     Dr. Rabinow also points to the disclosure in the ’226 Patent regarding how

  turbidity was measured. Rabinow ¶ 256 (citing ’226 Patent at Example 1, Table 1). But

  Example 1 does not meet the limitations of the ’865 Asserted Claims, at least because the

  concentration of the VEGF antagonist in that Example is 50 mg/ml, not 40 mg/ml as claimed.

  ’226 Patent at 7:60-65. Thus, Example 1 does not teach every limitation of claim 15 as arranged

  in that claim.

                   8.     Claim 16

          290.     Claim 16 depends from claim 5, which depends from claim 2. In my opinion, the

  ’226 Patent does not anticipate claim 16 for at least the same reasons that it does not anticipate

  claim 4 (which also depends from claim 2).

                   9.     Claim 17

          291.     Claim 17 depends from claim 5, which depends from claim 2. In my opinion, the

  ’226 Patent does not anticipate claim 17 for at least the same reasons that it does not anticipate

  claim 4 (which also depends from claim 2).


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                 10.     Claim 18

         292.    Claim 18 depends from claim 5, which depends from claim 2. In my opinion, the

  ’226 Patent does not anticipate claim 18 for at least the same reasons that it does not anticipate

  claim 4 (which also depends from claim 2).

         293.    Claim 18 recites that “said formulation does not contain phosphate.” For this

  limitation, Dr. Rabinow cites only to the ’226 Patent’s disclosure of a disclosed formulation

  comprising “10 mM histidine, 50 mM NaCl, 5-20% sucrose, 50-100 mg/ml VEGF trap, and one

  of 0.1% polysorbate 20 or TYº [sic] PEG 3350.” Rabinow ¶ 259 (citing ’226 Patent at 10:27-

  40). Again, this genus of formulations does not teach every limitation of claim 18 as arranged in

  the claim. Specifically, the disclosure of “50-100 mg/ml VEGF Trap”—to the extent it discloses

  any individual concentration within that range—does not disclose 40 mg/ml of the specific

  VEGF antagonist recited in the ’865 Asserted Claims. Rather, 40 mg/ml is outside the scope of

  that range. I thus disagree with Dr. Rabinow’s assertion that “the 50-100 mg/ml VEGF trap

  express disclosure in this embodiment further inherently discloses a 40 mg/ml formulation.”

  Rabinow ¶ 259. Dr. Rabinow does not explain this theory and offers no evidence that a

  concentration of 40 mg/ml is inherently within 50-100 mg/ml.

  XIII. The ’865 Asserted Claims Would Not Have Been Obvious

         294.    Dr. Rabinow also argues that the ’865 Asserted Claims would have been obvious.

  Dr. Rabinow’s analysis largely focuses on claim 1 (Rabinow ¶¶ 260-288), and his opinions

  regarding the ’865 Asserted Claims are presented in tabular format with no explanation or

  analysis (Rabinow ¶¶ 289-302). For these claims, Dr. Rabinow lists scattered citations from a

  number of references but does not explain how they teach or suggest the claimed invention to the

  POSA, how or why the POSA would have been motivated or had reason to combine the

  disclosures he lists (and only the disclosures he lists) from the particular references he selected

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  (and only the particular references he selected), or how such disclosures would provide the

  POSA with a reasonable expectation of success of achieving the invention of the ’865 Asserted

  Claims. To the extent Dr. Rabinow seeks and is permitted to articulate an obviousness theory as

  to the ’865 Asserted Claims in a reply report beyond that set forth in his initial report, I reserve

  the right to respond to any such opinion or theory.

         295.    Furthermore, many of Dr. Rabinow’s purported grounds of obviousness cite to

  Dix or the ’226 Patent. Dr. Rabinow only asserts that Dix and the ’226 Patent are prior art under

  35 U.S.C. § 102(e). Rabinow ¶¶ 122, 128. However, I understand that under 35 U.S.C.

  § 103(c), a reference that is prior art only under § 102(e) and that is assigned to the same entity

  as the challenged patent does not qualify as an obviousness reference. Accordingly, because Dix

  and the ’266 Patent (like the ’865 patent) are assigned to Regeneron, I understand that they

  cannot be used as obviousness references.

         A.      Fraser Does Not Render The ’865 Asserted Claims Obvious

         296.     As I explained above, Fraser is an article that was not directed to developing a

  formulation of any VEGF Trap and does not teach numerous limitations of the claims. Supra

  Section XII.A. I incorporate in full my analysis of Fraser and its teachings here.

         297.    Dr. Rabinow contends that the ’865 Asserted Claims would have been obvious

  over Fraser, either alone or in combination with Dix and/or Liu and/or Andya ’801 (or Andya

  ’326). Rabinow ¶¶ 260, 290. Dr. Rabinow also cites to Holash. Rabinow ¶ 261. In my opinion,

  none of these references, either alone or in combination, renders obvious the ’865 Asserted

  Claims.




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                    1.     Fraser Would Not Have Motivated The POSA To Make An
                           Ophthalmic Formulation Suitable For Intravitreal Injection

         298.       The ’865 claims require an “ophthalmic formulation suitable for intravitreal

  injection.” As I explained above, Fraser was an academic study investigating the biological

  effects of VEGF TrapR1R2 on ovarian function in monkeys, and administered VEGF Trap R1R2

  systemically via intravenous injection. Fraser at 1114; supra Section XII.A.1.a. This study had

  nothing to do with the eye, and the POSA, reading Fraser, would not have been motivated or had

  reason to take the disclosed composition and use it as an ophthalmic formulation. Nor would the

  POSA have considered the composition in Fraser to have been “suitable for intravitreal

  injection,” because it contained excipients such as citrate and glycerol that, based on the

  information cited by Dr. Rabinow, had never been administered to the eye in a therapeutic.

  Fraser at 1115.

         299.       Dr. Rabinow also cites to Holash, but Holash would, if anything, have motivated

  the POSA to make a cancer therapeutic using one of the VEGF inhibitors disclosed in that

  reference, not an ophthalmic formulation suitable for intravitreal use. As Dr. Rabinow’s citation

  from Holash demonstrates, Holash disclosed “a very potent high-affinity VEGF blocker that has

  prolonged in vivo pharmacokinetics and pharmacodynamics, lacks nonspecific toxicities, and

  can effectively suppress the growth and vascularization of a number of different types of tumors

  in vivo.” Rabinow ¶ 261 (citing Holash at 11393). Dr. Rabinow does not explain why the POSA

  would reasonably expect the advantageous properties Holash described regarding cancer would

  translate to an ophthalmic administration.

         300.       As Dr. Rabinow notes (Rabinow ¶ 261), Holash states that “studies have shown

  that various versions of the VEGF-Trap can efficaciously treat a cancer-associated condition in

  mice similar to liver peliosis (33), as well as noncancer-associated disease models, such as


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  diabetic retinopathy (34-36) and psoriasis (. . . unpublished results).” Holash at 11397.

  However, the “various versions” of VEGF-Trap in the articles Holash cites as references 34-

  36—i.e., Joussen, Poulaki, and Qaum—used VEGF Traps with significantly different structures

  than the VEGF Trap on which Holash focused, and administered the molecules systemically.

  Qaum et al., VEGF-initiated Blood-Retinal Barrier Breakdown in Early Diabetes, 42 Invest.

  Opthalmol. Visual Sci. 2408, 2409 (2001) (using “VEGF TrapA 40,” comprising

  “immunoglobulin repeats 1 to 3 of the extracellular domain of human Flt-1 fused to the Fc

  portion of human IgG . . . The recombinant VEGF TrapA40 was then chemically modified to

  improve the pharmacokinetic profile of the parent molecule, without affecting its ability to bind

  VEGF with high affinity”); Poulaki et al., Acute Intensive Insulin Therapy Exacerbates Diabetic

  Blood-Retinal Barrier Breakdown Via Hypoxia-Inducible Factor, 109 J. Clin. Invest 805, 807

  (2002) (same); Joussen at 502 (same). Dr. Rabinow ignores these studies entirely, but they

  would have informed the POSA that if anything is potentially suitable for ophthalmic application

  it is the “versions” of VEGF Traps disclosed in those references and not the amino sequence

  claimed in the ’865 patent.

         301.    None of the other prior art on which Dr. Rabinow relies for purposes of his

  obviousness position even mentions ophthalmic formulations or intravitreal injections. Aside

  from Dr. Rabinow’s reference to Holash discussed above, none of the art on which he relies

  (including Dix, which may not be considered in an obviousness analysis, as well as Liu and

  Andya ’801) even arguably suggests treatment of any disease of the eye.

                 2.      Dr. Rabinow’s Cited Art Did Not Teach The Claimed Amino Acid
                         Sequence, And The POSA Would Not Have Been Motivated To Use It

         302.    The ’865 claims each are limited to a “VEGF antagonist fusion protein [that] is

  glycosylated and comprises amino acids 27-457 of SEQ ID NO:4.” Only Dix discloses SEQ ID


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  NO:4, and I understand that it may not be considered in an obviousness analysis as I noted

  above. Accordingly, Dr. Rabinow fails to establish that it would have been obvious to formulate

  the specific protein claimed in the ’865 Asserted Claims, as it is not taught in any of the prior art

  on which Dr. Rabinow may rely that are part of his purported ground of obviousness (i.e., Fraser,

  Holash, Liu, and Andya ’801).

         303.    Dr. Rabinow cites Holash and asserts that a “POSA reading Holash would have

  understood that SEQ ID NO:4 is encompassed by VEGF-Trap R1R2.” Rabinow ¶ 261. I disagree

  with Dr. Rabinow, who offers no rationale for his opinion. There are countless proteins that

  could meet the general structure identified in Holash but not comprise amino acids 27-457 of

  SEQ ID NO:4. To take just one example, Flt1D2.Flk1D3.FcǻC1(a) from Papadopoulos is

  assembled from “the second Ig domain of VEGFR1 with the third Ig domain of VEGFR2”

  (Rabinow ¶ 261; Holash at 11393-94) but does not comprise amino acids 27-457 of SEQ ID

  NO:4. Supra Section VIII.J.6. Other proteins that vary individual amino acids or different

  portions of VEGFR1 D2 or VEGFR2 D3 could fall within the genus identified in Holash but not

  contain amino acids 27-457 of SEQ ID NO:4, i.e., the specific amino acid sequence of the ’865

  Asserted Claims.

         304.    More fundamentally, I disagree with Dr. Rabinow that the POSA would have

  been motivated to proceed with Holash’s VEGF TrapR1R2 for an ophthalmic formulation. VEGF

  TrapR1R2 would have been only one among many options—even considering only VEGF

  inhibitors—and as I explain further below, other VEGF inhibitors were designed specifically for

  intravitreal applications and had specific advantages for that method of delivery.

         305.    The intended applications of VEGF antagonists in the eye at the time of the ’865

  invention were directed at the retina. See Rabinow ¶ 261; Gaudreault 2005 at 726 (administering



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  ranibizumab intravitreally, and noting that ranibizumab was developed to treat macular

  degeneration). In order for a drug to have therapeutic activity in the retina, it must reach the

  retina. See Gaudreault 2005 at 731 (“[P]enetration of ranibizumab into the retina is critical for

  tis clinical use.”). For an intravitreal injection, Gaudreault 2005 explained that, in addition to

  VEGF binding, a critical aspect of ranibizumab was that it “has also been shown to penetrate all

  layers of the rabbit retina—the first demonstration of retinal penetration of an anti-VEGF therapy

  intended for AMD.” Gaudreault 2005 at 726. And Gaudreault 2005 explained that

  ranibizumab’s “ability [to penetrate to the retina] has been attributed to the small molecule size

  (48 kDa), because a full-length antibody (trastuzumab, 148 kDa) was not able to penetrate all the

  retinal layers of rhesus monkeys.” Gaudreault 2005 at 726 (citing J. Mordenti et al.,

  Comparisons of the intraocular tissue distribution, pharmacokinetics, and safety of 1251-labeled

  full-length and Fab antibodies in rhesus monkeys following intravitreal administration, 27

  Toxicol Pathol. 536 (1999)). “The small molecular radius of ranibizumab probably also

  contributes to its demonstrated ability to penetrate the retina.” Gaudreault 2005 at 726. Thus,

  the prior art taught away from using significantly larger protein molecules for intravitreal

  injection. Papadopoulos, however, taught that proteins like VEGF TrapR1R2 (a fusion protein

  with a different structure than the antibody fragment ranibizumab) would have a molecular

  weight on the order of 113 kDa, Papadopoulos at 25:14-16—that is, over twice the molecular

  weight of ranibizumab of 48 kDa. Gaudreault 2005 at 726. Gaudreault 2005 taught away from

  using such a molecule. Furthermore, the POSA would not have been motivated to use such a

  large molecule for intravitreal injection to treat a retinal disease with a reasonable expectation of

  success.




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          306.    Notably, the POSA understood that ranibizumab was not the only therapeutic

  protein designed specifically for intravitreal injection as a lower-molecular weight protein.

  Regeneron also developed such a protein, called “mini-Trap,” that Daly described as having

  “optimized characteristics for local/intra-vitreal delivery, i.e., a shorter serum half life for faster

  clearance and minimizing unwanted systemic exposure.” Daly ¶ 43. Daly further explained that

  “due to its smaller size, the mini-trap has the ability to penetrate through the inner-limiting

  membrane (ILM) in the eye, and diffuse through the vitreous to the retina/retinal pigment

  epithelial (REP) layer which will help to treat retinal disease.” Daly ¶ 43. Furthermore, mini-

  Trap exhibited comparable binding affinity to the “full-sized parent trap.” Daly ¶ 63. The mini-

  Trap does not comprise amino acids 27-457 of SEQ ID NO:4 of the ’865 patent, and has a much

  lower molecular weight: approximately 46 kDa for the nonglycosylated version produced in E.

  Coli, Daly ¶ 74, and 64 kDa for the glycosylated version produced in CHO cells, Daly ¶ 79

  (these two versions had comparable affinity for VEGF, Daly ¶ 63). See also Shams at 31:21-25

  (Ranibizumab is produced by standard recombinant technology methods in Escherichia coli

  expression vector and bacterial fermentation. Ranibizumab is not glycosylated and has a

  molecular mass of ~48,000 daltons”). In contrast, the larger VEGF-TrapR1R2 protein led to

  greater suppression of vascularization when delivered subcutaneously as opposed to by

  intravitreal injection, suggesting difficulties in retinal penetration by VEGF-TrapR1R2. Y. Saishin

  et al., VEGF-TrapR1R2 suppresses choroidal neovascularization and VEG-induced breakdown of

  the blood-retinal barrier, 195 J. Cell. Physiol. 241, Figs. 1, 2 (2003); see infra XIII.F (discussing

  Ferrara 2006 (“Interestingly, these studies show that systemic administration of the VEGF-trap

  inhibits neovascularization by ~75%. However, intravitreal administration of the same agent

  resulted in ~25% inhibition.”)). That was consistent with teachings in the prior art that the



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  “retinal exclusion limit (REL),” i.e., the “maximum size of molecule capable of freely diffusing

  across human retina,” was around 76 kDa, substantially smaller than the size of VEGF Trap R1R2

  (approximately 113 kDa, Papadopoulos at 80:10). T.L. Jackson et al., Human Retinal Molecular

  Weight Exclusion Limit and Estimate of Species Variation, 44 IOVS 2141, 2141 (2003); see also

  Ghate at 281-82 (“The internal limiting membrane is impermeable to linear molecules > 40 kDa

  and globular molecules > 70 kDa. Thus, larger macromolecules will have a longer retention time,

  possibly weeks, but their effect on the retina after an intravitreal injection is limited.”).

          307.    In view of the results from Gaudreault 2005 and Daly, the POSA would have

  been motivated to develop an ophthalmic formulation of mini-Trap, not VEGF Trap R1R2, because

  the mini-Trap protein had comparable molecular weight to ranibizumab (approximately 46 kDa

  nonglycosylated, Daly ¶ 74, approximately 64 kDa glycosylated, Daly ¶ 79, compared to 48 kDa

  for ranibizumab, Shams at 31:21-25) and would have been expected to have a better probability

  of penetrating the retina to deliver a therapeutic effect.

          308.    Dr. Rabinow does not address these teachings of the prior art in his obviousness

  analysis and instead focuses exclusively on VEGF TrapR1R2. However, the POSA would have

  understood that the properties of VEGF TrapR1R2 identified in Holash—prolonged systemic half-

  life—that were considered advantageous for systemic treatment, would not have been considered

  clear advantages for an ophthalmic formulation suitable for intravitreal injection, since the

  motivation in that context is to ensure retinal access and minimize the time that the VEGF

  antagonist is systemically active. Gaudreault 2005 at 726; Daly ¶ 43.

          309.    Separately, the ’865 Asserted Claims each require that the VEGF antagonist

  fusion protein “is glycosylated.” The prior art also would have led the POSA away from using a

  glycosylated form of the claimed protein. First, Daly taught that “[a]ffinity measurements



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  showed that the non-glycosylated fusion polypeptides expressed in E. coli or the glycosylated

  polypeptides expressed in CHO cells had comparable binding affinity for VEGF as the full-sized

  parent trap.” Daly ¶ 63. This would have suggested to the POSA that the full-sized protein

  claimed would also exhibit similar affinity to VEGF if it was not glycosylated, since the removed

  portion of the mini-Trap is in the Fc region, not at the VEGF receptor domains where VEGF

  binding occurs. Second, the POSA would have understood that glycosylation necessarily

  increases the mass of the protein, which would have been expected to reduce the retinal

  penetration based on the prior art discussed above. See Daly ¶¶ 74, 79 (18 kDa difference

  between glycosylated and nonglycosylated mini-Trap); Gaudreault 2005 at 726. Accordingly, to

  the extent the POSA sought to use the claimed protein (contrary to my opinion set forth above),

  the POSA would not have been motivated to use a glycosylated form, due to the concerns

  regarding retinal penetration and the comparable VEGF affinity for glycosylated and

  nonglycosylated mini-Traps. Dr. Rabinow does not meaningfully address glycosylation in

  making his obviousness assertions and thus does not address these teachings in the prior art.

                 3.     The Prior Art Taught Away From Formulations With 40 mg/ml Of A
                        VEGF Antagonist

         310.    Each of the ’865 Asserted Claims requires that “the concentration of said VEGF

  antagonist fusion protein is 40 mg/ml.” Even assuming the POSA would seek to develop an

  intravitreal formulation of amino acids 27-457 of SEQ ID NO:4 of the ’865 patent and decided to

  use a glycosylated version of that protein, no prior art cited by Dr. Rabinow discloses using 40

  mg/ml of that protein. Nor does Dr. Rabinow offer any explanation as to why, or how, the

  POSA would have chosen to use that concentration. Rabinow ¶¶ 290-291. To the extent Dr.

  Rabinow seeks and is allowed to offer an explanation on reply, I reserve the right to respond.




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           311.   An important benefit of the VEGF Trap molecules invented by Regeneron

  scientists was their high affinity for VEGF. These properties were widely recognized, as shown

  below:

   Disclosure                                                   Reference
   “To determine binding affinity of the Traps for              Holash at 11395.
   VEGF, equilibrium binding assays were performed in
   which different concentrations of the Traps were incubated
   with VEGF165, and the amount of unbound VEGF165was
   measured, revealing that parental VEGF-Trap displays a
   kD of ~5 pM, whereas VEGF TrapR1R2 has a binding
   affinity of about 1 pM (Fig. 2A). Preliminary analyses
   show that VEGF-TrapR1R2 has a kD of 1-10 pM for
   VEGF121 and approximately 45 pM for placental growth
   factor 2 (not shown); other VEGF isoforms and relatives
   have not been analyzed.”

   “Using a metastasizing murine model of neuroblastoma         E.S. Kim et al., Potent VEGF
   (3), we tested the effects of anti-VEGF reagents with        blockade causes regression of
   differing targets. We evaluated NX1838, an RNA-based         coopted vessels in a model of
   fluoropyrimidine polyethylene glycol-conjugated aptamer,     neuroblastoma, 99 P.N.A.S.
   which has an estimated dissociation constant (Kd) for        11399, 11400 (2002)
   human VEGF165 of 200 pM (NeXstar) (13, 14); the
   monoclonal anti-VEGF antibody (A.4.6.1, Genentech) (11)
   that specifically binds to human VEGF with an affinity of
   0.1–10 nM but not murine VEGF; and VEGF-Trap, a
   soluble composite decoy receptor consisting of
   Ig-like domains of VEGFR-1 and VEGFR-2 fused to an Fc
   segment (VEGF-Trap, Regeneron Pharmaceuticals) (12),
   which binds with very high affinity (~1 pM) to multiple
   isoforms of VEGF from several species (including human
   and murine). The VEGF-Trap also binds to placental
   growth factor. Tumor weight was evaluated at 6 weeks.”

   “Flt1D2Flk1D3.FcAC1(a) or VEGFR1R2-FcAC1(a) at a             Papadopoulos at 24:1-11.
   concentration of 1nM (estimated to be 1000 times higher
   than the KD of the Flt1D2Flk1D3.FcǻC1(a) or
   VEGFR1R2-FcǻC1(a)/VEGF165
   interaction) were mixed with varied concentrations of
   VEGF165.”
   “An alternative anti-VEGF approach at early-stage clinical   N. Ferrara et al., Discovery and
   development is represented by the VEGF-trap (see             Development of Bevacizumab,
   previous discussion). It has been proposed that fusions      an Anti-VEGF Antibody for
   between the constant region of IgG and the extracellular     Treating Cancer, 3 Nature Rev.

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   domains of two distinct receptor components represent                                  Drug Discovery 391, 397 (2004)
   an advantage over antibodies because they can result in                                (“Ferrara 2004”).
   higher binding affinity.”


         312.        Thus, the POSA would have understood that amino acids 27-457 of SEQ ID NO:4

  would have had a binding affinity (KD) of around 1 pM, given the data in Papadopoulos and

  Holash. Ranibizumab, on the other hand, has a KD substantially higher than that of VEGF Trap,

  reporting KD values of between 20 pM and 190 pM. Y. Chen et al., Selection and analysis of an

  Optimized Anti-VEGF Antibody: Crystal Structure of an Affinity-matured Fab in Complex with

  Antigen, 293 J. Mol. Biol. 865, 870-71 (1999) (denoting ranibizumab as Y0317); see also Kim

  2002 at 11400 (noting increased affinity of VEGF TrapR1R2 compared to antibody A.4.6.1 from

  Genentech, i.e., bevacizumab, of which ranibizumab is a fragment). Furthermore, the POSA

  would have understood that VEGF TrapR1R2 bound “to multiple isoforms of VEGF.” Kim 2002

  at 11400.

         313.        Furthermore, the POSA would also have understood that Gaudreault 2005

  evaluated an intravitreal dose of ranibizumab at 40 mg/ml, among other doses, as shown below:

        TA__BlE l,   1-r;atm~nt Gr<.1up~     ~ignm nt

                      Number                                                                      Do:,~
                     per Group                       Dr                                     Con<.-entr1.1,ti'ons     Do.se
        Gro1ip         (M/F)         Ro11te      A.dm.i.J.usteNd         ~e                    (mg/m.L)            Volum -

           ]             3/3           ITV              l           500 p.g/eye                     10             50 ,µ[Jey
           2             3/3           rTV              l          2000 p.g/eye                     40              0 µL/e y
           3             212           rv               l          ] 000 J.1;.~llnimitl               l             I m1
           <}            2/2           N                l            000 p.wanim.:1l                                1 mL




         314.        Gaudreault 2005 at 727 Table 1. This is the sole teaching cited by Dr. Rabinow in

  the prior art of intravitreal administration of a 40 mg/ml composition of a VEGF antagonist

  composition, and it would have taught the POSA away from using a 40 mg/ml concentration.


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  Specifically, Gaudreault 2005 taught that administration of 40 mg/ml (2000 g/eye) resulted in

  “moderate to severe” ocular inflammation. Gaudreault 2005 at 727. In contrast, administering

  10 mg/ml (500 g/eye) resulted in “absent to moderate” ocular inflammation. Id. In addition to

  reduced inflammation, Gaudreault 2005 taught that the 10 mg/ml dose provided superior

  efficacy. Specifically, the authors explained that “[a]fter administration of 500 g/eye, retinal

  exposure to ranibizumab was >3000-fold larger than retinal exposure to VEGF, suggesting that

  this ranibizumab dose provides maximum inhibition of VEGF.” Gaudreault 2005 at 732; see also

  id. (“Ocular VEGF inhibition over time by ranibizumab ITV injection can be predicted using the

  inhibitory effect of ranibizumab on VEGF activity in a human umbilical vein endothelial cell

  assay, and its ocular t1/2 as determined in this study (Fig.4). This prediction indicates that

  ranibizumab concentrations, capable of inhibiting VEGF in the eyes of patients with AMD, are

  expected to be achieved after ITV doses of 300 to 500 g/mo.”). These findings would have

  discouraged the POSA from proceeding with a 40 mg/ml concentration and instead motivated

  the POSA to use a formulation that does not lead to potentially severe inflammation. Indeed,

  that is exactly what occurred when ranibizumab was ultimately administered to patients. And

  notably, Shams discloses an illustrative clinical trial using intravitreal administration of

  ranibizumab and used concentrations of 6 mg/ml and 10 mg/ml, not 40 mg/ml. Shams at 31:27-

  32.

         315.    Thus, the POSA would have understood that (1) VEGF Trap R1R2 had a much

  higher affinity than ranibizumab for VEGF, and bound to different forms of VEGF whereas such

  binding was unknown with respect to ranibizumab; (2) Gaudreault 2005, the closest prior art

  relied on by Dr. Rabinow with respect to the teaching of 40 mg/ml of a VEGF inhibitor delivered

  intravitreally, taught that delivering that concentration resulted in potentially severe



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  inflammation; and (3) Gaudreault 2005 taught that 10 mg/ml ranibizumab achieved the

  “maximum inhibition” of VEGF, and that dosage (along with an even lower dosage) was the one

  taught in Shams regarding clinical use. Considering the prior art as a whole, the POSA would

  have been motivated against formulating VEGF TrapR1R2 at 40 mg/ml. Given the much higher

  affinity (by a factor of at least 20) and long half-life of VEGF TrapR1R2, the POSA would have

  expected that a lower dose of VEGF TrapR1R2 was necessary for VEGF inhibition as compared to

  ranibizumab.2 Furthermore, given the increased inflammation that resulted from a higher dose of

  ranibizumab (i.e., “moderate to severe” inflammation, Gaudreault 2005 at 727), the POSA would

  have been taught against using 40 mg/ml of VEGF TrapR1R2, and indeed would have considered

  the 40 mg/ml dose undesirable and unsuitable.

         316.    The risk of complications would have been amplified with VEGF Trap R1R2

  because, unlike ranibizumab, VEGF TrapR1R2 is a chimeric fusion protein, not an antibody or

  antibody fragment. Supra Section VIII.B. Although ranibizumab did not result in an

  immunogenic response, Gaudreault 2005 at 728, the POSA would not have been assured that

  result would apply to VEGF TrapR1R2. That is because the POSA would have understood that

  fusion proteins like VEGF TrapR1R2 gave rise to the possibility “that the junctions between the

  various structural elements in such multi-component molecules can generate an immune

  response.” Ferrara 2004 at 397. Those concerns would be enhanced by exposure to a higher




  2
    Although VEGF TrapR1R2 has a higher molecular weight than ranibizumab (by a factor of about
  2.35), meaning that a greater mass is needed per mole, that difference is dwarfed by the higher
  affinity of VEGF TrapR1R2 as compared to ranibizumab (higher by a factor of 20). Even if the
  relativity affinity of the two proteins was ignored, the POSA sought only to replicate the
  preferred dosage of ranibizumab on a molar basis, that would still lead the POSA only to a
  dosage less than 23.5 mg/ml, substantially less than the 40 mg/ml dose claimed.

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  concentration, especially a higher concentration that was unnecessary or unhelpful with respect

  to efficacy.

          317.   In addition to these concerns that would discourage the POSA from developing

  the claimed protein as a 40 mg/ml intravitreal injection, the POSA would also have understood

  that an increased concentration of protein could also have an increased potential for aggregation

  as compared to a lower concentration. Supra Section VIII.C. Aggregation, in turn, could

  potentially increase the risk of inflammation, immunogenicity, and decreased efficacy. This

  would have further motivated the POSA against using 40 mg/ml.

          318.   Moreover, the POSA would also have understood that increased protein

  concentration can lead to increased viscosity. Liu ¶ 6. The prospect of increased viscosity

  would have dissuaded the POSA from increasing concentration, since a high viscosity could

  make it more difficult to inject the formulation into the eye, and, as taught by Liu, could lead to

  denaturation and inactivation of the protein. Liu ¶ 6.

                 4.      The Prior Art Did Not Teach Or Suggest A Formulation Of The
                         Claimed Protein at 40 mg/ml That Achieves 98% Native
                         Conformation

          319.   The ’865 Asserted Claims each require that “at least 98% of the VEGF antagonist

  is present in native conformation following storage at 5° C. for two months as measured by size

  exclusion chromatography.” Even if the POSA would have been motivated to proceed with an

  ophthalmic formulation for intravitreal injection of amino acids 27-457 of SEQ ID NO:4 of the

  ’865 patent, and even if the POSA selected a concentration of the protein of 40 mg/ml, Dr.

  Rabinow has failed to establish that the POSA would have reasonably expected to obtain 98%

  native conformation following storage at 5° C. for two months as measured by size exclusion

  chromatography.



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         320.    None of the prior art on which Dr. Rabinow can properly rely included any

  information regarding percent native conformation, following storage, of VEGF Trap R1R2. Dr.

  Rabinow argues that Holash’s disclosure that VEGF Trap molecules “were produced and

  purified from [CHO] cells” teaches the 98% native conformation limitation, but that is mistaken.

  Rabinow ¶ 261. First, this does not disclose the concentration of the protein, nor does it indicate

  that the protein was in formulation. Second, even ignoring those omissions, Holash’s disclosure

  would, at most, suggest to the POSA that the protein was pure when it was used in Holash’s

  assays—it would provide no information (let alone a reasonable expectation) as to whether and

  how much the protein would be in native conformation following two months of storage (as

  measured by size exclusion chromatography under the conditions claimed).

         321.    Second, Dr. Rabinow points to other references—Liu and Andya ’801—that

  evaluated other proteins by size exclusion chromatography. Rabinow ¶¶ 263-265. But the

  POSA would have no reasonable expectation that because one protein exhibits a certain level of

  aggregation, an entirely different protein—like the protein recited in the asserted claims, with

  amino acids 27-457 of SEQ ID NO:4—would exhibit the same level of aggregation if it were

  formulated with the same excipients. That is especially the case here, because Liu and Andya

  ’801 were directed to antibodies, supra Sections VIII.J.11, VIII.J.20, which have evolved

  naturally to be stable, supra Sections VIII.A, VIII.B. Fusion proteins, like those claimed here,

  are artificial and created in the laboratory, and the POSA would not expect them to exhibit high

  levels of native conformation ab initio. Nor has Dr. Rabinow demonstrated that, even if the

  POSA prepared a formulation containing the ingredients recited in the claims, it would

  necessarily and always achieve 98% native conformation (or 99% according to 16) as measured

  by size exclusion chromatography as set forth in the ’865 Asserted Claims.



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         B.      Wulff Does Not Render The ’865 Asserted Claims Obvious

         322.    Dr. Rabinow contends that the ’865 claims would have been obvious over Wulff

  for largely the same reasons as his obviousness ground over Fraser, relying on the same

  secondary references, i.e., Dix (which may not be referenced in an obviousness analysis), Liu,

  and/or Andya ’801. Rabinow ¶¶ 267-278. I disagree. I incorporate my analysis from XII.B

  here, which explains the multiple differences between Wulff and the inventions claimed in the

  ’865 claims.

         323.    Furthermore, Dr. Rabinow’s obviousness combination over Wulff suffers from

  the same defects I analyzed above with respect to Fraser. First, the POSA would not have been

  motivated to develop VEGF TrapR1R2 as an ophthalmic formulation suitable for intravitreal

  injection. Supra Section XIII.A.1. Second, neither Wulff nor the other prior art on which Dr.

  Rabinow relies teaches the amino acid sequence of the claimed protein, and even if the POSA

  did consider the sequence, the POSA would have been taught away from it in view of the prior

  art’s teachings. Supra Section XIII.A.2. Third, even if the POSA sought to use the claimed

  protein, the POSA would not have been motivated to formulate it at 40 mg/ml for an ophthalmic

  formulation. Supra Section XIII.A.3. Fourth, the POSA would not have had a reasonable

  expectation of success in achieving the claimed ophthalmic formulations wherein “at least 98%

  of the VEGF antagonist is present in native conformation following storage at 5° C. for two

  months as measured by size exclusion chromatography,” nor was that property inherent in the

  disclosed compositions. Supra Section XIII.A.4.

         324.    As with Dr. Rabinow’s analysis of Fraser, Dr. Rabinow suggests that the

  teachings of Andya ’801 and Liu would have taught the POSA to make compositions with the

  specific fusion protein claimed (or, presumably, any protein imaginable) because Andya ’801

  and Liu taught that certain antibodies compositions disclosed therein achieved high levels of
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  native conformation over time. Rabinow ¶¶ 272-277. As above, I disagree with Dr. Rabinow’s

  assumption that the POSA could so generalize the teachings of these references to the specific

  fusion protein claimed. Supra Section XIII.A.4.

         C.      Neither Dix Nor The ’226 Patent Renders The ’865 Asserted Claims Obvious

         325.    I understand that Dix may not be considered in an obviousness analysis under 35

  U.S.C. § 103. Accordingly, Dix cannot render the claims invalid as obvious. That alone is

  sufficient to dispense with Dr. Rabinow’s opinion with respect to Dix and the ’226 Patent.

  Rabinow ¶¶ 279-281.

         D.      LUCENTIS (ranibizumab) Does Not Render The ’865 Asserted Claims
                 Obvious

         326.    Dr. Rabinow also argues that the claims would have been obvious over

  “LUCENTIS (ranibizumab) formulations (as evidenced by Shams or Gaudreault [2005]).”

  Rabinow ¶¶ 282-288. As Dr. Rabinow concedes, LUCENTIS was not approved and its label

  was not published until June 30, 2006, after the latest priority date of the ’865 Patent. Rabinow

  ¶ 282 n.18. I again disagree with Dr. Rabinow that Gaudreault 2005 or Shams would have

  rendered the ’865 Asserted Claims obvious.

         327.    Dr. Rabinow’s obviousness combination over Gaudreault 2005 or Shams suffers

  from the same defects I analyzed above with respect to Fraser. First, the POSA would not have

  been motivated to develop VEGF TrapR1R2 as an ophthalmic formulation suitable for intravitreal

  injection. Supra Section XIII.A.1. Dr. Rabinow cites to the ’747 patent, Rabinow ¶ 285, but the

  ’747 patent disclosed clinical data showing efficacy of a VEGF Trap molecule using intravenous

  administration, but disclosed only a prophetic example (with no information or data) involving

  intravitreal administration in human patients. ’747 patent at 21:1-22:42 (intravenous), 20:20-67

  (discussing intravitreal). Further in view of other data showing that intravenous administration


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  of a VEGF Trap molecule resulted in greater efficacy than intravitreal administration, Saishin at

  244-45, infra XIII.F, the ’747 patent would not have motivated the POSA to use an ophthalmic

  formulation suitable for intravitreal injection.

         328.       Second, neither Wulff nor the other prior art on which Dr. Rabinow relies teaches

  the amino acid sequence of the claimed protein, and even if the POSA did consider the sequence,

  the POSA would have been taught away from it in view of the prior art’s teachings. Supra

  Section XIII.A.2. Again, Gaudreault 2005 taught that larger molecules like the claimed fusion

  protein likely would not penetrate the into the retinal tissue as desired, and the POSA would thus

  have been taught to use a molecule like ranibizumab (or other options, as set forth above) rather

  than the much larger claimed fusion protein. Gaudreault 2005 at 726. Furthermore, Genentech

  scientists taught against using chimeric fusion proteins such as the fusion protein claimed

  because of the possibility of an immunogenic response against the (non-natural) junctions

  between the fusion protein domains. Ferrara 2004 at 397. Thus, the POSA reading Gaudreault

  2005 and Shams would have been led towards using ranibizumab or mini-Trap, not the claimed

  fusion protein.

         329.       Third, even if the POSA sought to use the claimed protein, the POSA would not

  have been motivated to formulate it at 40 mg/ml for an ophthalmic formulation. Supra Section

  XIII.A.3. Gaudreault 2005 taught that using 40 mg/ml of ranibizumab resulted in moderate to

  severe inflammation, while 10 mg/ml resulted in maximum VEGF inhibition. Gaudreault 2005

  at 727, 732. Thus, Gaudreault 2005 taught away from using 40 mg/ml of the claimed fusion

  protein (to the extent the POSA would have considered it in the first place). In accordance with

  Gaudreault 2005’s teaching, Shams did not disclose a clinical trial using 40 mg/ml of

  ranibizumab and instead taught to use a dosage of 10 mg/ml or lower. Supra Section VIII.J.12.



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         330.      Fourth, the POSA would not have had a reasonable expectation of success in

  achieving the claimed ophthalmic formulations wherein “at least 98% of the VEGF antagonist is

  present in native conformation following storage at 5° C. for two months as measured by size

  exclusion chromatography” based on the teachings of Gaudreault 2005 or Shams. Supra Section

  XIII.A.4. Those studies do not even indicate whether the ranibizumab formulations achieved the

  claimed native conformation, let alone the distinct protein recited by the asserted claims. Dr.

  Rabinow cites to no specific teaching in Shams or Gaudreault 2005 indicating that the

  ranibizumab formulations disclosed therein achieved 98% native conformation as claimed.

  Rabinow ¶ 287; supra XIII.A.4. And contrary to Dr. Rabinow’s opinion, the POSA would have

  had no reasonable expectation that the same excipients would result in 98% native conformation

  as claimed for an entirely different protein with an entirely different structure, i.e., a chimeric

  fusion protein (amino acids 27-457 of SEQ ID NO:4) unlike an antibody fragment

  (ranibizumab).

         331.      Furthermore, claim 9 of the ’865 patent requires that “said buffer comprises a pH

  about 6.2-6.3.” Both Gaudreault 2005 and Shams taught a different pH: 5.0 in Gaudreault 2005

  (Gaudreault 2005 at 727), and 5.5 in Shams (Shams at 31:27-32). Dr. Rabinow offers no reason

  why the POSA would depart from the pH in these formulations and instead use a higher pH of

  about 6.2-6.3 as claimed. In my opinion, if the POSA sought to follow the formulation approach

  in either of these references with the claimed fusion protein, then the POSA would have used a

  pH taught in these references, not a pH of about 6.2-6.3.

         332.      In addition, Shams illustrated a clinical trial of ranibizumab formulated with

  0.01% polysorbate 20. Claim 4, however, requires a minimum of 0.03% polysorbate 20. The

  POSA would have sought to minimize the amount of polysorbate necessary in the formulation,



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  because polysorbates are animal-derived substances and had not previously been used in an

  approved intravitreal product. Supra Section VIII.G. Given Shams’ teaching, the POSA would

  have been motivated to use 0.01% polysorbate 20, not 0.03% or higher as recited in claim 4.

  Although Gaudreault 2005 used a higher amount of polysorbate (0.05%), Gaudreault 2005, like

  Fraser and Wulff, was a preclinical study not directed to stable formulations, while the

  illustrative composition in Shams contemplated clinical use. If, as Dr. Rabinow argues, the

  POSA were inclined to consider using polysorbate, then the POSA would have been led toward

  the amount of polysorbate 20 in Shams, not in Gaudreault 2005.

         E.      Dr. Rabinow’s Scattered Citations Fail to Establish Obviousness of the ’865
                 Asserted Claims

         333.    Dr. Rabinow’s opinions that the ’865 Asserted Claims would have been obvious

  lack any explanation. Instead, Dr. Rabinow includes a table of citations (Rabinow ¶ 290) and

  then proceeds to assert, without reference to evidence or explanation, that the POSA would have

  been motivated to make the claimed formulations in each of the ’865 Asserted Claims and would

  have had a reasonable expectation of success in achieving each limitation. I disagree, for the

  reasons expressed above and below, including because the prior art would not have motivated

  the POSA to select the disclosures cited by Dr. Rabinow, to combine those disclosures (and only

  those disclosures), or make formulations meeting the specific limitations of the ’865 Asserted

  Claims with a reasonable expectation of success.

         334.    Claim 4 recites that “said organic co-solvent comprises about 0.03% to about

  0.1% polysorbate 20.” No prior art cited by Dr. Rabinow teaches or suggests a formulation of

  the VEGF antagonist comprising amino acids 27-457 of SEQ ID NO:4 that achieves the claimed

  level of native conformation and that includes the claimed amount of polysorbate 20.




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  Accordingly, for at least these reasons and others set forth in this report, I disagree with Dr.

  Rabinow that claim 4 would have been obvious.

         335.    Claim 7 recites that “said buffer comprises 5-25 mM buffer.” No prior art cited

  by Dr. Rabinow teaches or suggests a formulation of the VEGF antagonist comprising amino

  acids 27-457 of SEQ ID NO:4 that achieves the claimed level of native conformation and that

  includes the claimed amount of buffer. Accordingly, for at least these reasons and others set

  forth in this report, I disagree with Dr. Rabinow that claim 7 would have been obvious.

         336.    Claim 9 (depending from claim 5) recites that “said buffer comprises a pH about

  6.2-6.3.” No prior art cited by Dr. Rabinow teaches or suggests a formulation of the VEGF

  antagonist comprising amino acids 27-457 of SEQ ID NO:4 that achieves the claimed level of

  native conformation and is formulated at the pH claimed. Accordingly, for at least these reasons

  and others set forth in this report, I disagree with Dr. Rabinow that claim 9 would have been

  obvious.

         337.    Claim 11 (depending from claims 10, which depends from claim 5) recites that

  “said sugar is selected from the group consisting of sucrose, sorbitol, glycerol, trehalose, and

  mannitol.” No prior art cited by Dr. Rabinow teaches or suggests a formulation of the VEGF

  antagonist comprising amino acids 27-457 of SEQ ID NO:4 that achieves the claimed level of

  native conformation and is formulated a sugar selected from the group recited in claim 11.

  Accordingly, for at least these reasons and others set forth in this report, I disagree with Dr.

  Rabinow that claim 11 would have been obvious.

         338.    Claim 14 (depending from claim 5) recites that “said VEGF antagonist fusion

  protein is glycosylated at asparagine residues corresponding to asparagine residues 62, 94, 149,

  222 and 308 of SEQ ID NO: 4.” No prior art cited by Dr. Rabinow teaches or suggests a



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  formulation of the VEGF antagonist comprising amino acids 27-457 of SEQ ID NO:4 that

  achieves the claimed level of native conformation and is glycosylated at these residues. As

  explained above, supra Section XIII.A.2, the POSA would not have been motivated to use a

  glycosylated fusion protein, including because the POSA would have understood that increased

  molecular mass could reduce retinal penetration. Accordingly, for at least these reasons and

  others set forth in this report, I disagree with Dr. Rabinow that claim 14 would have been

  obvious.

         339.    Claim 15 (depending from claim 5) recites that “said formulation is capable of

  providing a turbidity of 0.01 or lower at OD405 after 2 month storage at 5° C.” No prior art

  cited by Dr. Rabinow teaches or suggests a formulation of the VEGF antagonist comprising

  amino acids 27-457 of SEQ ID NO:4 that achieves the claimed level of native conformation and

  also achieves the claimed turbidity. Accordingly, for at least these reasons and others set forth in

  this report, I disagree with Dr. Rabinow that claim 15 would have been obvious.

         340.    Claim 16 (depending from claim 5) recites that “at least 99% of said VEGF

  antagonist fusion protein is present in native conformation after 2 month storage at 5° C. as

  measured by size exclusion chromatography.” No prior art cited by Dr. Rabinow teaches or

  suggests a formulation of the VEGF antagonist comprising amino acids 27-457 of SEQ ID NO:4

  that achieves the claimed level of native conformation. Accordingly, for at least these reasons

  and others set forth in this report, I disagree with Dr. Rabinow that claim 16 would have been

  obvious.

         341.    Claim 17 (depending from claim 5) recites that “at least 98% of said VEGF

  antagonist fusion protein is present in native conformation following storage at 5° C. for 24

  months as measured by size exclusion chromatography.” No prior art cited by Dr. Rabinow



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  teaches or suggests a formulation of the VEGF antagonist comprising amino acids 27-457 of

  SEQ ID NO:4 that achieves the claimed level of native conformation for 24 months.

  Accordingly, for at least these reasons and others set forth in this report, I disagree with Dr.

  Rabinow that claim 17 would have been obvious.

         342.    Claim 18 (depending from claim 5) recites that “said formulation does not contain

  phosphate.” No prior art cited by Dr. Rabinow teaches or suggests a formulation of the VEGF

  antagonist comprising amino acids 27-457 of SEQ ID NO:4 that achieves the claimed level of

  native conformation and that does not contain phosphate. Accordingly, for at least these reasons

  and others set forth in this report, I disagree with Dr. Rabinow that claim 18 would have been

  obvious.

         F.      Objective Evidence

         343.    I understand that the Court considers objective considerations of nonobviousness

  of challenged claims when determining whether the claims would have been obvious to a person

  of ordinary skill in the art. Such objective considerations, or objective indicia, may include, for

  example, unexpected results, praise, failures of others, industry skepticism and teaching away,

  satisfaction of a long-felt need, commercial success, licensing and copying.

         344.    There was significant industry skepticism both towards VEGF Trap molecules

  and using VEGF Trap molecules in the eye. Specifically, Ferrara 2004 disclosed that:

                 An alternative anti-VEGF approach at early-stage clinical
                 development is represented by the VEGF-trap (see previous
                 discussion). It has been proposed that fusions between the constant
                 region of IgG and the extracellular domains of two distinct
                 receptor components represent an advantage over antibodies
                 because they can result in higher binding affinity. This concept,
                 however, remains to be validated. It is also possible that the
                 junctions between the various structural elements in such
                 multicomponent molecules can generate an immune response.



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           345.   The lead author of Ferrara 2004 was Napoleone Ferrara, a scientist at Genentech.

  While at Genentech, Dr. Ferrara had an important contribution in discovering VEGF. N. Ferrara

  & W.J. Henzel, Pituitary follicular cells secrete a novel heparin-binding growth factor specific

  for vascular endothelial cells, 161 Biochem. Biophys. Res. Comm. 851 (1989) (“A growth factor

  for vascular endothelial cells was identified in the media conditioned by bovine pituitary

  follicular cells . . . . On the basis of its apparent target cell selectivity, we proposed to name this

  factor vascular endothelial growth factor (VEGF).”). He was later inducted into the National

  Academy of Sciences in 2006.3 Genentech is regarded as the world’s first biotechnology

  company, E. Russo, Special Report: The Birth of Biotechnology, 421 Nature 456 (2003), and

  developed the first drug targeting VEGF, Avastin, which is approved to treat cancer. The POSA

  would have understood that Genentech was an important part of the biotechnology industry, and

  would have considered its skepticism towards VEGF Trap—including the suggestion in Ferrara

  2004 that “multicomponent molecules” like VEGF Trap could lead to immunogenicity—

  seriously. Ferrara 2004 at 327. Notably, Ferrara 2004 was published in Nature Reviews Drug

  Discovery, a leading journal, and has been cited 2,976 times. That Regeneron elected to proceed

  with developing an intravitreal drug product containing a VEGF Trap molecule, despite

  skepticism by Dr. Ferrara and Genentech, leaders in the field of biotechnology in general and

  VEGF in particular, is important evidence supporting the nonobviousness of the composition.

           346.   In addition, in a later review article,4 Dr. Ferrara suggested that large molecules

  like VEGF Trap molecules were unable to penetrate the retina. N. Ferrara et al., Development



  3
      http://www.nasonline.org/member-directory/members/20012448.html
  4
    I understand that objective evidence of nonobviousness may be relevant even if published after
  the priority date of the patent.

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  of ranibizumab, an anti–vascular endothelial growth factor antigen binding fragment, as therapy

  for neovascular age-related macular degeneration, 26 Retina 859 (2006) (Ferrara 2006).

  Specifically, Ferrara 2006 explained, citing prior art to the ’865 patent:

                    Intravitreal administration of ranibizumab resulted in marked
                 suppression of neovascularization and leakage in a primate model
                 of CNV. In addition, the “VEGF-trap,” a chimeric soluble VEGF
                 receptor, has been reported to reduce neovascularization in a
                 murine model of CNV. Interestingly, these studies show that
                 systemic administration of the VEGF-trap inhibits
                 neovascularization by ~75%. However, intravitreal administration
                 of the same agent resulted in ~25% inhibition. This limited
                 efficacy occurred in spite of the high binding affinity of the VEGF-
                 trap for VEGF, and it may be due, at least in part, to the existence
                 of a barrier to the transretinal penetration of large molecules such
                 as the VEGF-trap.

  Ferrara 2006 at 862 (citing Saishin 2003; Jackson 2003). This provides further evidence of

  industry skepticism specifically directed at an intravitreal compositions comprising high

  molecular weight proteins such as VEGF Trap fusion proteins, and further supports

  nonobviousness.

         347.    The efficacy of EYLEA as an intravitreal injection demonstrated unexpected

  properties. Contrary to the industry skepticism that VEGF Trap fusion proteins could generate

  an immune response, or not be able to reach the retina due to their large size, EYLEA was

  ultimately found “to be a well-tolerated drug” with a similar safety profile to LUCENTIS. 5

  M. Thomas et al., Comparative Effectiveness of aflibercept for the treatment of patients with



  5
    There is no dispute that EYLEA is an embodiment of every claim but claim 18. Rabinow
  ¶ 314. EYLEA contains 40 mg/ml of the VEGF antagonist fusion protein comprising amino
  acids 27-457 of SEQ ID NO:4, a buffer (10 mM sodium phosphate), a stabilizing agent (5%
  sucrose), and an organic co-solvent (0.03% polysorbate 20, which falls within the ranges of both
  claim 4 and claim 5), along with 40 mM sodium chloride. E.g., MYL-AFL-BLA0002879, at -
  921. Dr. MacMichael recognizes the Example 3 is an embodiment of the claims, MacMichael
  ¶ 91, which contains the same components as EYLEA.

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  neovascular age-related macular degeneration, 7 Clin. Ophthal. 495, 498 (2013). “Side effects,

  either ocular or systemic, were similar across treatment groups, with no differences between

  aflibercept administered every 2 months and monthly ranibizumab.” Id. That safety profile

  coincided with a much longer half-life as compared to LUCENTIS, which proved to be an

  important feature contributing to EYLEA’s efficacy. Thomas noted specifically that

  aflibercept’s “large molecular weight of 115 Kd” contributed to the drug’s half-life, id. at 498,

  which in turn advantageously permits bimonthly dosing (as compared to LUCENTIS, which

  must be delivered monthly). Id. Thus, contrary to the industry’s skepticism regarding VEGF

  Trap proteins’ ability to penetrate the retina and risk of generating an immune response, and the

  prior art’s teachings that a 40 mg/ml dose of ranibizumab caused moderate to severe

  inflammation (Gaudreault 2005 at 727), EYLEA ultimately proved to be an unexpectedly safe

  and efficacious drug. This unexpected safety and efficacy holds both in comparison to the

  closest prior art relating to LUCENTIS (the 40 mg/mL dose tested in Gaudreault 2005) and in

  comparison to any of the other prior art cited by Dr. Rabinow (none of which demonstrated a

  safe and effective intravitreal formulation of aflibercept).

         348.    Furthermore, evidence of copying supports the nonobviousness of the ’865

  Asserted Claims. In developing its M710 product, Mylan investigated formulations without an

  organic co-solvent, as set forth below:




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                             Table 2: Formulation matrix for the accelerated stability study

                                                                                                              API
           Form .   Form.
                                        Buffer           pH             Tonicity Modifier     Surfa ctant   (mg/mL
            No.     Code
                                                                                                              )
             l      U6.2NS               NIA             6.2         40 mM NaCl, 5% Sucrnse     None          40
             2       UT                  NIA             NIA             l 0% Trehalose         None          40
             3       A5N         IO mM Sodium Acetate    5.0              150mMNaCI             None          40
             4       A5S         IO mM Sodium Acetate    5.0             JO% Trehalose          None          40
             5       H6N            JO mM Histidine      6.0              150mMNaCI             None          40
             6       J-I6S          10 mM Histidine       6.0           10% Treha\ose           None          40
                                     JOmMSodium
             7       P7N                                  7.0           150mM aCI               None          40
                                       Phosphate
                                     \O mMSodium
             8       P7S                                  7.0           10% Trehalose           None          40
                                       Phosphate
                                                  JO mM Sodium Phosphate, 40mM NaCl,
             9      CTRL                                                                                      40
                                                      5% Sucrose, 0.03% P20, pH 6.2



  Mylan’s efforts with respect to these formulations resulted in turbidity levels that were

  disfavored. See MYL-AFL0011219, at -235 (“After 4 hours of agitation at 1,000 RPM,

  formulations F1, F3, F4, F7, and F8 were all visibly turbid.”), -236. The results are shown

  below:

                                                 Black Background




  MYL-AFL0011219, at -236. As a result, it was recommended that “a surfactant may be

  necessary to stabilize M710 against agitation-induced shear stresses.” MYL-AFL0011219, at -

  237; see id. at -261-262 (“Although no surfactant was selected for this phase of the study, a

  surfactant is recommended to stabilize M710.”). The formulation F9 (i.e., EYLEA) did not

  exhibit turbidity, and instead had the lowest agitation-induced turbidity of Mylan’s tested




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  samples, as shown in the photograph above (where EYLEA is shown as the right-most

  formulation) and the data below (where EYLEA is at the bottom of the table):


          Table 9: Turbidity results for static and agitated formulations

          Form.#        Form. Code       Stade Samples (A-t; 50 )   Agitated Samples (A 650 )
            Fl            U6.2NS                0.004                        0.012
            F2             UT                   0.003                        0.005
            F3             A5N                  0.003                        0.016
             F4            ASS                  0.003                        0.009
             FS            H6N                  0.005                        0.006
             F6            H6S                  0.003                        0.006
             F7             P7N                 0.004                        0.010
             F8             P7S                 0.005                        0.025
             F9            CTRL                 0.006                        0.005


  MYL-AFL0011219, at -237. Rather than proceed with a formulation lacking an organic co-

  solvent, Mylan proceeded to seek approval of a formulation copying EYLEA’s polysorbate 20

  (at exactly the same concentration, 0.03%). This evidence further establishes the

  nonobviousness of the ’865 Asserted Claims, each of which requires an organic co-solvent

  comprising polysorbate 20.

         349.     In sum, each category of objective evidence discussed above supports the

  nonobviousness of the ’865 Asserted Claims, and I conclude that the evidence as a whole

  demonstrates that the ’865 Asserted Claims would not have been obvious to the POSA. I

  understand that another expert retained by Regeneron is providing an opinion that the

  formulations claimed in the ’865 Asserted Claims are associated with evidence of commercial

  success. Although my opinion does not rest on that evidence, a finding that the ’865 Asserted

  Claims are associated with evidence of commercial success would further support my conclusion

  that the ’865 Asserted Claims are nonobvious.


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  XIV. The ’865 Asserted Claims Are Not Invalid For Obviousness-Type Double Patenting

         350.    Dr. Rabinow asserts that the ’865 Asserted Claims are invalid for obviousness-

  type double patenting (“ODP”) over several references. However, Dr. Rabinow’s conclusions

  with respect to ODP lack any explanation: Dr. Rabinow simply asserts that he compared the

  ’865 Asserted Claims to the claims of several purported ODP references (all related patents

  sharing the same inventors and specification as the ’865 patent) and that his view is that they are

  invalid for ODP, without any analysis. To the extent Dr. Rabinow seeks and is allowed to

  articulate an analysis of ODP in his reply report, I reserve the right to respond.

         351.    Dr. Rabinow asserts ODP over four purported references: U.S. Patents

  (1) 11,066,458 (the “’458 patent”), claims 1-66; (2) 9,340,594 (the “’594 patent”), claims 1-9;

  (3) 9,580,489 (the “’489 patent”), claims 1-29; and (4) 7,608,261 (the “’261 patent”), claims 1-5.

  Rabinow ¶ 304. Each of these patents is related to the ’865 patent through continuation

  applications, and are what I understand to be “parent” patents of the ’865 patent. ’865 patent at

  page 1. Dr. Rabinow also relies on Papadopoulos for each ground. Dr. Rabinow asserts that

  each of these patents “expire no later than March 7, 2021,” but does not explain his basis for that

  opinion. I understand that the statutory term of a patent is 20 years from the earliest

  nonprovisional filing date, which here was June 14, 2007. Thus, the statutory term of each of

  these patents runs until June 14, 2027. Dr. Rabinow offers no explanation how patents sharing

  the same statutory term as the ’865 patent could be considered appropriate ODP references.

         352.    Dr. Rabinow first asserts ODP over the ’458 patent. Dr. Rabinow asserts that the

  66 claims of the ’458 patent on which he relies “recite a specific formulation that falls within the

  scope of” the ’865 claims. Rabinow ¶ 305. However, Dr. Rabinow does not provide any

  analysis to support that view, let alone on a claim by claim basis, which I understand to be the

  relevant inquiry. Instead, Dr. Rabinow addresses his opinion, such as it is, to 66 claims
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  generally, without any distinction between them, even though the 66 claims of the ’458 patent

  differ in many respects material to double patenting. Dr. Rabinow addresses none of them.

  Furthermore, Dr. Rabinow has not explained why the POSA would have been motivated or had

  reason to change the claims from the ’458 patent on which he relies (without differentiation) to

  arrive at the invention of one or more of the asserted claims of the ’865 patent, with a reasonable

  expectation of success. I disagree that the POSA would have had any such motivation or reason

  or any reasonable expectation of success. Supra XIII.A.

         353.    To the extent Dr. Rabinow’s opinions can be discerned, I disagree with them, at

  least because the ’458 claims do not recite the specific amino acid sequence claimed in the ’865

  patent, i.e., amino acids 27-457 of SEQ ID NO:4. I incorporate my analysis from Section XIII,

  supra, explaining why the ’865 Asserted Claims are not obvious over the prior art. Again, to the

  extent that Dr. Rabinow is allowed to provide an obviousness type double patenting analysis

  with respect to particular claims of the ’458 patent (something that, again, he did not do in his

  report), I reserve the right to respond to any such argument.

         354.    Dr. Rabinow next asserts ODP over the ’594 patent. Dr. Rabinow asserts that the

  9 claims of the ’594 patent on which he relies “recite a specific formulation that falls within the

  scope of” the ’865 claims. Rabinow ¶ 306. To the extent that Dr. Rabinow is allowed to provide

  an obviousness type double patenting analysis with respect to particular claims of the ’594 patent

  (something that, again, he did not do in his report), I reserve the right to respond to any such

  argument. To the extent Dr. Rabinow’s opinions can be discerned, I disagree, at least because:

     x   the ’594 claims each recite a “pre-filled syringe,” which has different properties than the

         vial claimed in the ’865 Asserted Claims, supra Section VIII.I;




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     x   the ’594 claims do not recite the structural features required by the ’865 claims, e.g., the

         specific amino acid sequence claimed in the ’865 patent, i.e., amino acids 27-457 of SEQ

         ID NO:4, that the VEGF antagonist is glycosylated (including, per claim 14, at specific

         residues), and that the concentration of the VEGF antagonist is 40 mg/ml, see supra

         XIII.A.2-3;

     x   the ’594 claims do not recite that the VEGF antagonist achieves 98% native conformation

         as recited in each of the ’865 claims, or the additional properties recited in claims 15-17,

         see supra XIII.A.4.

  Dr. Rabinow has not explained why the POSA would have been motivated or had reason to

  change the claims from the ’594 patent on which he relies (without differentiation) to arrive at

  the invention of one or more of the asserted claims of the ’865 patent, with a reasonable

  expectation of success. I disagree that the POSA would have had any such motivation or reason

  or any reasonable expectation of success. I incorporate my analysis from Section XIII, supra,

  explaining why the ’865 Asserted Claims are not obvious over the prior art.

         355.    Dr. Rabinow next asserts ODP over the ’489 patent. Dr. Rabinow asserts that the

  29 claims of the ’489 patent on which he relies “recite a specific formulation that falls within the

  scope of” the ’865 claims. Rabinow ¶ 307. To the extent that Dr. Rabinow is allowed to provide

  an obviousness type double patenting analysis with respect to particular claims of the ’489 patent

  (something that, again, he did not do in his report), I reserve the right to respond to any such

  argument. To the extent Dr. Rabinow’s opinions can be discerned, I disagree, at least because:

     x   the ’489 claims do not recite the specific amino acid sequence claimed in the ’865 patent,

         i.e., amino acids 27-457 of SEQ ID NO:4, and most of the claims do not recite that the

         (unspecified) VEGF antagonist is glycosylated, see supra XIII.A.2;


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     x   the ’489 claims do not recite that the concentration of the VEGF antagonist is 40 mg/ml,

         see supra XIII.A.3;

     x   the ’489 claims do not recite that the VEGF antagonist achieves 98% native conformation

         as recited in each of the ’865 claims, or the additional properties recited in claims 15-17,

         see supra XIII.A.4.

  Again, Dr. Rabinow has not explained why the POSA would have been motivated or had reason

  to change the claims from the ’489 patent on which he relies (without differentiation) to arrive at

  the invention of one or more of the asserted claims of the ’865 patent, with a reasonable

  expectation of success. I disagree that the POSA would have had any such motivation or reason

  or any reasonable expectation of success. I incorporate my analysis from Section XIII, supra,

  explaining why the ’865 Asserted Claims are not obvious over the prior art.

         356.    Dr. Rabinow next asserts ODP over the ’261 patent. Dr. Rabinow asserts that the

  5 claims of the ’261 patent on which he relies “recite a specific formulation that falls within the

  scope of” the ’865 claims. Rabinow ¶ 308. To the extent that Dr. Rabinow is allowed to provide

  an obviousness type double patenting analysis with respect to particular claims of the ’261 patent

  (something that, again, he did not do in his report), I reserve the right to respond to any such

  argument. To the extent Dr. Rabinow’s opinions can be discerned, I disagree, at least because:

     x   the ’261 claims do not recite the specific amino acid sequence claimed in the ’865 patent,

         i.e., amino acids 27-457 of SEQ ID NO:4, and the claims do not recite that the (different)

         VEGF antagonist is glycosylated, see supra XIII.A.2;

     x   the ’261 claims do not recite that the concentration of the VEGF antagonist is 40 mg/ml,

         see supra XIII.A.3;




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     x   the ’261 claims do not recite that the VEGF antagonist achieves 98% native conformation

         as recited in each of the ’865 claims, or the additional properties recited in claims 15-17,

         see supra XIII.A.4.

  Again, Dr. Rabinow has not explained why the POSA would have been motivated or had reason

  to change the claims from the ’261 patent on which he relies (without differentiation) to arrive at

  the invention of one or more of the asserted claims of the ’865 patent, with a reasonable

  expectation of success. I disagree that the POSA would have had any such motivation or reason

  or any reasonable expectation of success. I incorporate my analysis from Section XIII, supra,

  explaining why the ’865 Asserted Claims are not obvious over the prior art.

  XV.    The ’865 Asserted Claims Are Not Invalid Under Section 112

         A.      The ’865 Asserted Claims Are Enabled

         357.    Dr. MacMichael contends that the claims are not enabled, focusing largely on

  claim 1, which I understand is not one of the ’865 Asserted Claims asserted in this case by

  Regeneron against Mylan. MacMichael ¶¶ 104-143. I disagree with Dr. MacMichael that any of

  the claims that he addresses are not enabled.

         358.     I understand that in determining whether undue experimentation would be

  required, several factors (which I understand are referred to as the “Wands factors”) should be

  considered, including, but not necessarily limited to:

     x   the breadth of the claims;

     x   the nature of the invention;

     x   the state of the prior art;

     x   the level of one of ordinary skill in the art;

     x   the level of predictability in the art;


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     x   the amount of direction provided in the specification;

     x   the existence of working examples in the specification; and

     x   the quantity of experimentation needed to make or use the invention based on the content

         of the disclosure.

                 1.     The Breadth of the Claims

         359.    Dr. MacMichael characterizes that the claims are “broad” and cover a “large

  genera” of “near infinite” formulations. MacMichael ¶ 105. I disagree. In my opinion, the

  scope of the claims reasonably correlates to the scope of the disclosure of ophthalmic

  formulations in the ’865 patent specification. Those formulations, which Regeneron invented

  and described in the ’865 patent, uniformly achieved the claimed property recited in each of the

  ’865 Asserted Claims, i.e., “at least 98% of the VEGF antagonist is present in native

  conformation following storage at 5° C. for two months as measured by size exclusion

  chromatography.” Supra Section IX.A.

         360.    Dr. MacMichael asserts that the claims cover “any type of formulation that can be

  administered by intravitreal administration” and focuses specifically on liquid and lyophilized

  formulations. MacMichael ¶ 106. In my opinion, the POSA reading the specification and

  practicing the claims would proceed with a liquid formulation. As I explained above, “[f]or ease

  of preparation and cost containment by the manufacturer, and ease of handling by the end user,

  an aqueous therapeutic protein formulation usually is preferred.” Carpenter at 109; supra

  Section VIII.D. Because the specification taught multiple liquid formulations that achieved the

  claimed native conformation (see, e.g., Tables 1-6), the POSA would not seek to add the

  complexity, cost, and inconvenience of a lyophilized formulation. And to the extent the POSA

  did seek to make a lyophilized formulation, the POSA would follow the ’865 patent’s teachings,



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  including the disclosure of lyophilized formulations. ’865 patent at 11:1-12:23 (Examples 7 and

  8). I understand that the patent need not teach, and preferably omits, what is already known in

  the art, and the ’865 patent explains that “[t]he lyophilization process is well known to those of

  ordinary skill in the art, and typically includes sublimation of water from a frozen formulation

  under controlled conditions.” ’865 patent at 7:37-40.

         361.    Dr. MacMichael contends that Examples 7 and 8 are not within the scope of the

  ’865 Asserted Claims because, for these examples, the formulation is stored in lyophilized form

  at 20 mg/ml of the VEGF antagonist, rather than in a liquid, reconstituted form at the claimed

  concentration of 40 mg/ml, and thus there is no “storage” of the claimed VEGF antagonist for

  two months. MacMichael ¶ 90. I agree that Examples 7 and 8 do not contain data showing

  percent native conformation following storage of a liquid formulation at 5° C for two months.

  However, this further supports my view that the POSA would not use a lyophilized formulation

  to practice the claimed inventions. Examples 7 and 8 illustrate a practical use for a lyophilized

  formulation. Ordinarily, a formulation is lyophilized because the liquid formulation has

  unacceptable stability, and the formulation is kept in lyophilized form until its reconstitution at

  the time of use. Lee at 1745; Carpenter at 109-110. As in Examples 7 and 8, the formulation is

  stored in lyophilized form and not stored again as a liquid. But the claim specifies storing the

  formulation for a period of months in a liquid form—contrary to the very purpose of lyophilizing

  in the first place. I understand that the enablement inquiry requires that the POSA must be able

  to practice the invention without undue experimentation, but I also understand that the POSA

  practices the invention using common sense and ordinary skill in view of the specification’s

  teachings, and does not try to subvert the invention. Here, the POSA practicing the invention

  would not lyophilize a formulation, then reconstitute it and store it for a period of months.



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         362.    Dr. MacMichael also points to the possibility of using “suspensions” or

  “emulsions” to practice the claims. MacMichael ¶ 106. These applications are even further

  afield from the claimed invention, and are not what the POSA would use to practice the

  invention. Although the specification of the ’865 patent does refer generally to suspensions and

  emulsions, ’865 patent at 7:31-33, the claims do not recite either such dosage form, and the

  POSA would not understand them to be within the claims. First, Dr. Rabinow points to no

  evidence that a POSA would (or even could) measure the native conformation of a protein in a

  suspension or an emulsion “following storage at 5° C. for two months as measured by size

  exclusion chromatography.” In a suspension, the protein would be in an insoluble particulate

  form and would not ordinarily be detected by size exclusion chromatography. See Hollar et al.,

  Factors affecting the denaturation and aggregation of whey proteins in heated whey protein

  concentrate mixtures, 78 J. Dairy Sci. 260, 262 (1995) (using size exclusion chromatograph to

  detect “soluble aggregates”). An emulsion, on the other hand, involves the mixture of

  immiscible liquids. Dr. MacMichael points to no example where a protein formulation emulsion

  was evaluated by size exclusion chromatography, nor does Dr. MacMichael suggest any reason

  why a POSA would use an emulsion (or an example of a therapeutic protein formulation in an

  emulsion). Second, Dr. MacMichael also does not explain how a suspension or an emulsion

  could be an “ophthalmic formulation suitable for intravitreal injection” and he has not pointed to

  any such formulations as of the time of the ’865 patent.

         363.    Dr. MacMichael next asserts that claim 1 encompasses any concentration of the

  claimed VEGF antagonist fusion protein. MacMichael ¶ 107. The ’865 Asserted Claims,

  however, are each limited specifically to 40 mg/ml.




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         364.    The ’865 Claims recite a buffer. Claim 7 recites that “said buffer comprises 5-25

  mM buffer,” while claim 18 recites that “said formulation does not comprise phosphate.”

  Buffers were known excipients and have been used for decades to stabilize the pH of solutions,

  including in formulations. Certain embodiments of the ’865 patent use a phosphate buffer,

  which was a known buffer at the time. E.g., ’865 patent at 2:39-48, 9:19-30. The POSA would

  have understood that other buffers could be used in an ophthalmic formulation suitable for

  intravitreal injection, such as histidine. Shams at 31:27-32. The POSA would have understood

  that the role of a buffer in a formulation is to maintain a stable pH, and would have understood

  that buffers have suitable pH ranges at which they function.

         365.    Claim 2, from which each of the ’865 Claims depends, recites an organic co-

  solvent that “comprises polysorbate.” Claim 4 further recites that “said organic co-solvent

  comprises 0.03% to about 0.1% polysorbate 20,” while claim 5 recites that “said organic co-

  solvent comprises 0.01% to 3% polysorbate 20.” Polysorbate (and polysorbate 20) was a known

  excipient in protein formulations. MacMichael ¶ 61. Accordingly, Dr. MacMichael’s opinions

  as to the boundaries of the term “organic co-solvent” in isolation, MacMichael ¶ 109

  (considering whether substances such as dimethylformamide are organic co-solvents), are

  irrelevant because they do not address the ’865 Asserted Claims, each of which requires a

  specified amount of “polysorbate 20.”

         366.    The ’865 claims additionally recite that the claimed ophthalmic formulations

  comprise a “stabilizing agent.” The specification of the ’865 patent exemplifies several

  stabilizing agents, which include “sucrose, sorbitol, glycerol, trehalose, or mannitol.” ’865

  patent at 2:44-46. Claim 11 recites that the stabilizing agent is selected from one of those five

  disclosed stabilizing agents. As Dr. MacMichael’s citation illustrates (MacMichael ¶ 110),



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  sugars and sugar alcohols like those described in the ’865 patent have been known for over four

  decades to provide thermal stability to proteins. Back at 5193.

         367.    The ’865 Asserted Claims further require that “at least 98% of the VEGF

  antagonist is present in native conformation following storage at 5° C. for two months as

  measured by size exclusion chromatography.” Size exclusion chromatography was a known and

  routine assay that the POSA readily would have been able to perform. Supra Section VIII.H.

  The examples disclose several formulations that achieve the claimed level of native

  conformation as measured by size exclusion chromatography.

         368.    In summary, the ’865 patent identifies the claimed elements and provides multiple

  examples of formulations achieving the claimed native conformation. Accordingly, I disagree

  with Dr. MacMichael that the ’865 Asserted Claims are broad. This factor favors enablement.

                 2.     The Nature of the Invention

         369.    The ’865 patent explains that the “present invention is directed to pharmaceutical

  formulations suitable for intravitreal administration comprising agents capable of inhibiting

  [VEGF].” ’865 patent at 1:45-48. The patent further explains that the “invention includes liquid

  pharmaceutical formulations having increased stability.” ’865 patent at 1:49-50. The patent then

  describes multiple such formulations. ’865 patent at 8:5-12:24. The ’865 Claims set forth a

  specific agent that inhibits VEGF—i.e., a glycosylated VEGF antagonist fusion protein

  comprising amino acids 27-457 of SEQ ID NO:4—along with several recited excipients (an

  organic co-solvent, a buffer, and a stabilizing agent) that together make up an “ophthalmic

  formulation suitable for intravitreal administration.” Consistent with the examples, the ’865

  claims further recite that “at least 98% of the VEGF antagonist is present in native conformation

  following storage at 5° C. for two months as measured by size exclusion chromatography.”



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         370.    Dr. MacMichael asserts that “not all of the formulations with the claimed

  excipients would exhibit the claimed stability,” i.e., native conformation. MacMichael ¶ 112.

  However, Dr. MacMichael does not point to any concrete examples of formulations having the

  components recited in the ’865 Asserted Claims that do not achieve the claimed level of native

  conformation. Nor does Dr. MacMichael identify any formulation within the scope of the claims

  that would require undue experimentation to make and test. Accordingly, this factor favors

  enablement.

                 3.      The State of the Prior Art

         371.    Dr. MacMichael contends that the prior art “fails to remedy” unspecified

  “deficiencies” in the ’865 patent. MacMichael ¶ 128. I disagree with Dr. MacMichael that the

  ’865 patent is deficient.

         372.    The excipients used in the claimed ophthalmic formulations were known in the

  prior art, as explained above; the inventors did not invent any new excipients or classes of

  excipients. To the contrary, Dr. Furfine explained that the inventors selected phosphate for the

  ultimate formulation used in EYLEA (and described in the ’865 patent) because “[p]hosphate is

  a natural substance” and “one of the most common buffer[s],” and thus “seemed like something

  that would have a reasonable probability of being tolerated in the eye.” Furfine Dep. 60:6-13.

  Notably, the intravitreally administered product MACUGEN also used a phosphate buffer.

  MYL-AFL0007349 (“The [MACUGEN] product is a sterile, clear, preservative-free solution

  containing . . . sodium phosphate monohydrate, dibasic sodium phosphate heptahydrate.”). Dr.

  Furfine explained that was a “[r]ecurrent theme” in the inventors’ approach to formulation

  development. In addition, Dr. Furfine explained that other excipients listed in the ’865 patent

  (but not used in the examples) were known in the art. Dr. Furfine explained, for example, that

  “trehalose is a commonly used thermal stabilizer.” Furfine Dep. 186:10-11. And still others
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  would have been known to the POSA: as Dr. Furfine explained, “histidine is commonly thought

  of as a buffer if you’re a formulation scientist.” Furfine Dep. 190:6-7. The POSA would have

  shared this approach and these views.

         373.    In addition, as explained above, supra Section VIII.H, the test recited in the

  claims—size exclusion chromatography—was a known and routine method to measure native

  conformation of a protein. Dr. MacMichael criticizes the ’865 patent for not including

  parameters of size exclusion chromatography. MacMichael ¶ 129. However, as above, I

  understand that it is not required (or encouraged) to include details well known in the prior art in

  patent specifications, and is not required for enablement. Accordingly, multiple references cited

  by Drs. Rabinow and MacMichael describe size exclusion chromatography without providing the

  details of how the assay was performed. Arvinte at ¶ 162; Fyfe at 58:2-9. Indeed, Mylan itself

  has obtained patents with similar descriptions of size exclusion chromatography. See U.S. Patent

  11,058,768 at 34:1-6 (in patent assigned to Mylan GmbH, explaining that “the result drug

  substance was monitored via size exclusion chromatography (SEC) for any possible changes in

  the size variants distribution,” but providing no further details how that was done). The POSA

  knows how to obtain reliable data with SEC testing, without any recitation of the particular

  parameters to be used. I thus disagree with Dr. MacMichael that the absence of parameters

  favors nonenablement.

         374.    Although the prior art did not teach several limitations—for example, an

  ophthalmic formulation of the claimed VEGF antagonist fusion protein, that protein’s

  glycosylation, and the specific claimed dosage—the patent provides substantial and particular

  guidance regarding these limitations.

         375.    In summary, the prior art as a whole supports the enablement of the claims.



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                 4.     The Level of Ordinary Skill

         376.    Dr. MacMichael agrees that the level of ordinary skill is high. MacMichael ¶ 127;

  supra Section VI. Dr. MacMichael then points to the prosecution history of a different, unrelated

  patent in arguing that Regeneron took the position that the POSA would have to engage in

  significant trial-and-error experimentation. However, Dr. MacMichael omits that in his cited

  passage, Regeneron was discussing the teachings of Remington’s (which did not address the

  claimed VEGF antagonist fusion protein), not how the POSA would practice the claims in view

  of the examples and substantial guidance in the specification of the ’865 patent. The full

  quotation reads: “Thus, one of ordinary skill in the art upon reading Remington’s would expect

  to engage in significant non-routine experimentation to develop a successful formulation as

  claimed herein.” ’840 App. Dec. 6, 2016 Response to Office Action at 11, MYL-AFL0092893,

  at -909. Likewise, the statement of Dr. Dix (again, with reference to a different, unrelated

  patent) cited by Dr. MacMichael was also addressing whether it was “straightforward” to “apply

  a formulation for one drug to another.” MYL-AFL0092321, at -323-324. But that is irrelevant

  to the enablement inquiry here, because the claims are limited to a specific VEGF antagonist

  fusion protein, and examples in the specification likewise address formulations of that protein.

  Accordingly, this factor favors enablement.

                 5.     The Level of Predictability

         377.    Dr. MacMichael cites to the same evidence above with respect to the Wands

  factor regarding predictability. Compare MacMichael ¶ 113 with MacMichael ¶ 127. I disagree

  with Dr. MacMichael for the same reasons as above. Dr. MacMichael further points to other

  statements regarding the effect of certain PEG excipients, but again, the statements are from a

  different, unrelated patent application. MacMichael ¶ 114 (citing ’256 App Dix Declaration ¶¶

  5-10). Dr. Dix’s statements regarding the effect of certain types of PEG are also irrelevant

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  because the ’865 Asserted Claims recite that the organic co-solvent comprises polysorbate, not

  PEG. MYL-AFL0092325, at -326-327 (“This stabilizing effect of the organic cosolvents

  polysorbate 20 or PEG 3350, which is not shared by the organic cosolvent PEG 300, is an effect

  that could not be predicted by a [POSA] in light of the references cited by the Examiner.”). And

  regardless, the statements do not address the teachings of the ’865 patent specification.

         378.    There is no evidence that experimentation, with the specification of the ‘865

  patent specification in hand, would be unpredictable. On the contrary, the specification’s

  examples reflect that, despite changes in the formulations, the claimed level of native

  conformation can be achieved repeatedly and consistently in view of the specification’s

  teachings. The specification provides considerable guidance as to other excipients that may be

  used to obtain claimed formulations within the scope of the claims, e.g., ’865 patent at 2:39-52,

  and these formulations can be prepared and tested routinely, and that any experimentation to

  practice the full scope of the asserted claims, beginning with the examples and making

  modifications to make additional formulations, would not be undue. Accordingly, this factor

  favors enablement.

                 6.      The Direction and Working Examples in the Specification

         379.    Unlike the prior art, the ’865 patent disclosed ophthalmic formulations of the

  claimed VEGF antagonist fusion proteins. ’865 patent at 2:20-32. These disclosures and

  examples, supra Section IX.A, enabled the POSA to make and use the claimed ophthalmic

  formulations without undue experimentation.

         380.    Dr. MacMichael attempts to minimize the disclosures of the ’865 patent. Dr.

  MacMichael criticizes the patent for not setting forth “the order of addition of the excipients and

  VEGF antagonist, mixing times, concentrations, temperatures, etc.” MacMichael ¶ 115. These

  basic steps, however, were routine in the art, and Dr. MacMichael does not point to any undue
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  experimentation that would be required based on these factors (or unspecified others). For

  example, the ’865 patent cites to a patent disclosing ophthalmic formulations of a different

  VEGF-binding molecule, ’865 patent at 2:1-5 (citing U.S. Patent 6,676,941), which describes

  simply that an “ophthalmic preparation” may be “prepared in accordance with conventional

  pharmaceutical science.” ’941 patent at 99:60-65. Dr. MacMichael does not point to any undue

  experimentation that results from these supposed omissions, on topics distant from the subject of

  the claimed inventions. And in any event, the claims address temperature, requiring that storage

  take place for two months at 5°C (claim 1).

         381.    Dr. MacMichael next criticizes the patent regarding the concentration of the

  VEGF antagonist fusion protein and argues that it fails to teach “how to prepare a sufficient

  buffer system.” MacMichael ¶ 116. But the patent provides several examples, supra Section

  IX.A, and the POSA would have recognized that the invention was not limited to a single buffer.

  Dr. MacMichael cites to Gokarn, but the cited disclosure only teaches that proteins themselves

  have some buffering capacity. MacMichael ¶ 116 (citing Gokarn at 3:15-21). Again, Dr.

  MacMichael does not point to any experimentation that would be necessary to make or use the

  claimed invention with the disclosure of the ’865 patent in hand. Moreover, the ’865 Asserted

  Claims are each limited to a specific concentration of the claimed VEGF antagonist fusion

  protein, i.e., 40 mg/ml.

         382.    Dr. MacMichael next asserts that the scope of “organic co-solvents” is “extremely

  broad and diverse” and the “POSA would require undue experimentation to determine” how to

  prepare formulations with an organic co-solvent. MacMichael ¶ 117. However, Dr.

  MacMichael fails to explain what experimentation would be necessary to practice even the scope

  of (unasserted) claim 1. Again, the patent describes appropriate organic co-solvents, ’865 patent



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  at 3:28-31, and further describes examples of formulations with an organic co-solvent, supra

  Section IX.A. Furthermore, the ’865 Asserted Claims are each limited to an “organic co-solvent

  comprising polysorbate” (or polysorbate 20).

         383.      Similarly, Dr. MacMichael also does not identify any undue experimentation

  that would be necessary to make and use the claimed ophthalmic formulations with a stabilizing

  agent. The patent describes several stabilizing agents (“sucrose, sorbitol, glycerol, trehalose, and

  mannitol”), ’865 patent at 3:25-27, and further describes examples of formulations with a

  stabilizing agent, supra Section IX.A. Dr. MacMichael incorrectly asserts (at ¶ 118) that the

  specification discloses only “one stabilizing agent,” but it plainly discloses others.

         384.    Dr. MacMichael also does not point to any undue experimentation that would be

  necessary in view of the patent’s disclosure of a buffer. Although the patent’s examples use a

  phosphate buffer, MacMichael ¶ 119, the POSA would have understood that other buffers were

  known in the art. E.g., Shams at 31:27-32 (ranibizumab formulation with 10 mM histidine

  buffer). Although Dr. MacMichael asserts that “different buffers can have different effects on a

  formulation,” MacMichael ¶ 119, Dr. MacMichael does not demonstrate any undue

  experimentation that would result from testing different buffers. And importantly, the POSA

  would have understood from the specification that the preferred pH was 6.2-6.3. ’865 patent at

  2:57, 2:61, 2:67, 3:5, 3:10, 3:52, 4:2, 4:6, 4:35, 4:40, 4:44, 4:48, 4:53. The POSA would have

  understood that at this preferred pH, limited buffers would have been contemplated for an

  ophthalmic formulation suitable for intravitreal injection. Dr. MacMichael acknowledges that

  the POSA would select a buffer based on the desired pH. MacMichael ¶ 79 (describing buffers

  according to their pH ranges, citing Bontempo at 97).




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         385.    Dr. MacMichael faults the specification for not disclosing a histidine buffer.

  MacMichael ¶ 120. But as explained above, histidine was a well-known buffer at the time.

  Furfine Dep. 185:8-12. I understand that the specification need not list, and preferably omits,

  what was well known in the prior art. Dr. MacMichael does not point to any undue

  experimentation that would have been necessary in using a histidine buffer, which was known to

  serve as a buffer at the preferred pH range of 6.2-6.3 described in the ’865 patent (which Dr.

  MacMichael does not dispute).

         386.    Dr. MacMichael also cites to Regeneron’s disclaimer of a different patent (Dix

  ’231) that recited a histidine buffer. MacMichael ¶ 121; see also MacMichael ¶ 127. That patent

  is not related to, and has a different specification than, the ’865 patent, and there is no basis to

  believe that the disclaimer of that Dix ’231 patent had any relationship to enablement of the Dix

  ’231 patent (much less the ’865 patent). The statement by Regeneron cited by Dr. MacMichael

  refers to a “question whether the data presented in Table 7 of the Dix ’231 Patent corresponds to

  the formulation described in Example 4 at column 10, lines 27-38.” MacMichael ¶ 121. Neither

  that table nor the example appears in the ’865 patent. Accordingly, I disagree with Dr.

  MacMichael that the disclaimer has any relevance to the enablement of the ’865 patent.

         387.    Finally, Dr. MacMichael states that the “specification does not provide any

  guidance on how to make formulations with the claimed excipients that exhibit the claimed

  stability properties” (presumably referring to the native conformation limitation of claim 1).

  MacMichael ¶ 123. I disagree. As set forth above, supra Section IX.A, the specification

  provides multiple examples of formulations that meet this claimed property. The formulations in

  the ’865 patent’s examples are set forth below:




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                 Example 1        Example 2        Examples          Examples       Examples
                 (vial)           (vial)           3 (vial) & 4      5 (vial) & 6   7 (vial) & 8
                                                   (pre-filled       (pre-filled    (vial)
                                                   syringe)          syringe)
   VEGF       50 mg/ml            50 mg/ml         40 mg/ml          40 mg/ml       20 mg/ml
   Antagonist VEGF Trap,          VEGF Trap,       VEGF Trap,        VEGF Trap,     VEGF Trap,
              SEQ ID NO:4         SEQ ID NO:4      SEQ ID NO:4       SEQ ID NO:4    reconstituted
                                                                                    to 40 mg/ml,
                                                                                    SEQ ID NO:4
   Organic       0.1%             3%               0.03%             0.03%          0.015%
   co-solvent    polysorbate      polyethylene     polysorbate       polysorbate    polysorbate
                 20               glycol 3350      20                20             20

   Tonicity      50 mM NaCl       50 mM NaCl       40 mM NaCl        135 mM         20 mM NaCl
   agent                                                             NaCl
   Buffering     10 mM            10 mM            10 mM             10 mM          5 mM
   agent         phosphate        phosphate        phosphate         phosphate      phosphate
   Stabilizing   5% sucrose       5% sucrose       5% sucrose        None           2.5% sucrose
   agent
   pH            6.25             6.25             6.3               6.3            6.3


         388.    Each of these examples achieved 98% or greater native conformation when stored

  at 5°C over two months storage (in a liquid formulation for Examples 1-6, and in lyophilized

  form for Examples 7-8) as measured by size exclusion chromatography. Supra Section IX.A.

  Furthermore, each also achieved the claimed level of turbidity set forth in claim 15; Examples 3-

  7 met the 99% native conformation set forth in claim 16; and Examples 1 and 2 both met the 24-

  month native conformation limitation set forth in claim 17 (the other examples were not tested

  for that period of time; no example was tested for 24 months but did not achieve the claimed

  level of native conformation). Thus, the specification teaches the POSA that these formulations

  achieve the claimed properties, and the POSA would begin with these formulations in order to

  practice the invention and make and test others through routine experimentation that formulators

  practice without difficulty. This factor thus favors enablement.



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                 7.      Quantity of Experimentation

         389.    Dr. MacMichael asserts that the POSA would have to make and test tens of

  millions of formulations in order to practice the claimed invention. MacMichael ¶¶ 79, 124-126.

  I disagree. I understand that the test for undue experimentation does not require the POSA to

  exhaust a genus and test every conceivable embodiment. The ’865 patent describes a genus of

  formulations comprising the specific claimed VEGF antagonist fusion protein that is

  glycosylated, together with a buffer, a stabilizing agent, and an organic co-solvent. The patent

  then exemplifies multiple such formulations and discloses testing data demonstrating that they

  achieve the claimed level of native conformation set forth in claim 1. As Dr. Furfine explained,

  the patent provides a “recipe book,” Furfine Dep. 196:15-197:15. The specification, unlike the

  prior art, thus teaches the POSA how to make and use the claimed formulations without undue

  experimentation.

         390.    I disagree with Dr. MacMichael that the POSA would practice the claimed

  invention by making “over 35 million different formulations.” MacMichael ¶ 124. Among other

  problems with Dr. MacMichael’s calculation is that it assumes the POSA would make and test

  formulations within the claims at random and that each formulation would have to be tested to

  predict its properties with respect to native conformation, but that is not how the POSA would

  practice the claims. MacMichael ¶ 79. Rather, the POSA would begin with the patent’s

  examples and preferred embodiments. To the extent the POSA sought to deviate from the

  Examples, the POSA would turn to other excipients that would have been considered suitable for

  an “ophthalmic formulation suitable for intravitreal injection,” e.g., excipients that were tested or

  contemplated in other intravitreal drug products. See Shams at 31:27-32; Gaudreault 2005 at

  727. Furthermore, the POSA would understand that the concentration of excipients may have to

  be increased or decreased to maintain a desired osmolarity. Kaisheva ’316 ¶ 58. Then, the
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  POSA would confirm whether the formulation meets the property set forth in the claims, i.e., by

  performing size exclusion chromatography, a routine method known in the art that does not

  require undue experimentation to perform. Supra Section VIII.H. On the basis of those data, as

  well as the data in the patent, the POSA would understand what formulations would have the

  claimed native conformation, without the need to test every distinct formulation.

         391.    Dr. MacMichael presumes that the POSA would select and test concentrations

  and ranges of various excipients arbitrarily. MacMichael ¶ 79. For example, Dr. MacMichael

  asserts that, to practice claim 1, the POSA would evaluate 336 permutations of organic co-

  solvent and 210 permutations of a stabilizing agent. I disagree that the POSA would have any

  need to evaluate so many different options. To the contrary, the POSA would evaluate the

  particular options set forth in the specification, rather than evaluating every single option within

  a range. And, of course, the ’865 Asserted Claims further narrow the organic co-solvent (claims

  4, 5) along with the stabilizing agent (claim 11). Dr. Rabinow’s permutational analysis fails to

  account for these limitations. Under Dr. Rabinow’s approach, any genus could be made to

  appear massive. Notably, Mylan itself owns patents directed to formulations reciting both

  structural components and functional aspects. See U.S. Patent 7,052,717 (where claim 1 recites a

  “storage stable pharmaceutical composition in unit dosage form which comprises a

  therapeutically effective amount of a thyroxine active drug, an amount of an antioxidant

  sufficient to inhibit oxidative degradation of said drug,” and other classes of excipients such as

  “an alditol” and “a saccharide”).

         392.    Dr. MacMichael again points to the prospect of “suspensions” and “emulsions.”

  MacMichael ¶ 125. However, Dr. MacMichael provides no rationale for how such dosage forms




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  fall within the ’865 Claims, or, even if they did (they do not, supra Section XV.A.1), why a

  POSA would seek to use them in practicing the claims.

         393.    Dr. MacMichael asserts, without any rationale, that the POSA would need “years

  of additional experimentation” to evaluate the native conformation of the VEGF antagonist

  fusion protein as claimed. MacMichael ¶ 126. I disagree. For many formulations within the

  claims, the POSA would not have to undertake any experimentation at all. For example,

  Example 1 shows that a formulation with 0.1% polysorbate 20 results in greater than 98% native

  conformation following storage for over two months, and Examples 3 and 4 show the same with

  0.03% polysorbate 20. Given these teachings in the specification, the POSA would expect that

  formulations with amounts of polysorbate 20 in between those tested values would likewise

  result in over 98% native conformation after two months. To the extent the POSA sought to

  carry out the size exclusion chromatography testing to further establish that property, such

  experimentation would be routine and not undue.

         394.    Mylan’s own development of its proposed aflibercept biosimilar product

  underscores the absence of undue experimentation. When Mylan considered different

  formulations in developing M710, it did not evaluate tens of millions of formulations, as Dr.

  MacMichael hypothesizes. No skilled formulator would do so. Rather, the screening studies in

  Mylan’s BLA involved fewer than a dozen formulations, not millions. MYL-AFL-

  BLA0002879, at -886-899, -904. And as I explained in my opening report, Mylan’s testing of its

  ultimate formulation established that its formulation achieved 98% native conformation.

  Opening Rep. Appendix A.

         395.    Dr. MacMichael argues that “only one” example formulation falls within the ’865

  Asserted Claims. MacMichael ¶¶ 88-89, 124. Contrary to Dr. MacMichael’s argument,



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  however, the examples, whether within or without the claim scope, are not irrelevant to how the

  POSA would practice the claims. I understand that inventors may disclose to the public in the

  patent specification more than they claim, but the specification’s full guidance must be

  considered in the enablement inquiry. For example, although Example 1 has a higher VEGF

  antagonist fusion protein concentration (50 mg/ml) than what is claimed in the ’865 Asserted

  Claims (40 mg/ml), the POSA would expect, on the basis of all the data and information

  disclosed in the ‘865 patent specification, that the formulation in Example 1 would also have

  over 98% native conformation after two months as claimed if it had a lower concentration of 40

  mg/ml. Supra Section VIII.C. This factor thus favors enablement.

          B.      The ’865 Asserted Claims Are Described

          396.    Dr. MacMichael argues that the claims are invalid for lack of written description,

  for reasons that largely echo his non-enablement opinions. MacMichael ¶¶ 144-163. I disagree,

  for similar reasons set forth above with respect to enablement.

          397.    I understand that the test for written description is whether the disclosure

  reasonably conveys to those skilled in the art that the inventor had possession of the claimed

  subject matter as of the priority date of the patent, and that it is not necessary to disclose

  information that is already known and available to a POSA. I understand that the specification

  does not have to provide word-for-word support for the claimed subject matter, or describe every

  conceivable and possible future embodiment. Rather, I understand that it must disclose either a

  representative number of species falling within the scope of the genus or structural features

  common to the members of the genus so that the POSA can visualize or recognize the members

  of the genus. The genus here can be visualized easily, as the formulations must have the

  structural components set forth in the ’865 Asserted Claims and are thereby limited by structure.



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         398.    Dr. MacMichael asserts that “the specification does not describe anything more

  than was taught in the prior art or was known to a POSA at the time of the alleged invention.”

  MacMichael ¶ 144. I disagree.

         399.    Contrary to Dr. MacMichael’s opinion, unlike the prior art, the ’865 patent

  discloses formulations of the claimed VEGF antagonist fusion protein that achieve the claimed

  levels of native conformation as measured by size exclusion chromatography, both in exemplary

  form and in its disclosure of additional ingredients that may be used.

         400.    Dr. MacMichael argues that the claims recite only “functionally-defined genera”

  that are not described in the specification. I disagree.

         401.    Contrary to Dr. MacMichael’s opinion, the specification describes both common

  structural features of the claimed genus and representative species within the genus.

         402.    The claims are defined by common structural features recited in the claims and

  reflected in the specification, which inform the scope of the claimed invention. As recited in

  claim 1, these are: (1) a VEGF antagonist fusion protein that is glycosylated and comprises

  amino acids 27-457 of SEQ ID NO:4; (2) an organic co-solvent; (3) a buffer; and (4) a

  stabilizing agent. The ’865 Asserted Claims narrow these structures further by reciting

  additional structural limitations to the ophthalmic formulations. Supra Section IX.C. Dr.

  MacMichael asserts that such formulations “are not described anywhere,” but they are described

  plainly both through description (e.g., ’865 patent at 2:33-48) as well as the examples, as

  described above.

         403.    Dr. MacMichael criticizes the patent for not disclosing “all buffers,” “all

  stabilizing agents,” and “all organic co-solvents.” MacMichael ¶¶ 147-149.




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         404.    However, I understand that the specification does not need to include laundry lists

  of excipients known in the prior art. The patent describes suitable examples of these excipients,

  ’865 patent at 2:39-52, and the POSA would have understood that there were other options

  available within the art. In addition, as described above with respect to enablement, the ’865

  patent provides multiple examples of formulations that achieve the claimed functions.

         405.    The ’865 patent also describes species representative of the genus. The

  formulations in the Examples are set forth below:

                 Example 1        Example 2        Examples         Examples        Examples
                 (vial)           (vial)           3 (vial) & 4     5 (vial) & 6    7 (vial) & 8
                                                   (pre-filled      (pre-filled     (vial)
                                                   syringe)         syringe)
   VEGF       50 mg/ml            50 mg/ml         40 mg/ml         40 mg/ml        20 mg/ml
   Antagonist VEGF Trap,          VEGF Trap,       VEGF Trap,       VEGF Trap,      VEGF Trap,
              SEQ ID NO:4         SEQ ID NO:4      SEQ ID NO:4      SEQ ID NO:4     reconstituted
                                                                                    to 40 mg/ml,
                                                                                    SEQ ID NO:4
   Organic       0.1%             3%               0.03%            0.03%           0.015%
   co-solvent    polysorbate      polyethylene     polysorbate      polysorbate     polysorbate
                 20               glycol 3350      20               20              20

   Tonicity      50 mM NaCl       50 mM NaCl       40 mM NaCl       135 mM          20 mM NaCl
   agent                                                            NaCl
   Buffering     10 mM            10 mM            10 mM            10 mM           5 mM
   agent         phosphate        phosphate        phosphate        phosphate       phosphate
   Stabilizing   5% sucrose       5% sucrose       5% sucrose       None            2.5% sucrose
   agent
   pH            6.25             6.25             6.3              6.3             6.3


         406.    Each of these examples above achieved 98% or greater native conformation over

  two months storage as measured by size exclusion chromatography (in a liquid formulation for

  Examples 1-6, and in lyophilized form for Examples 7-8). Supra Section IX.A. Furthermore,

  each also achieved the claimed level of turbidity set forth in claim 15; Examples 3-7 met the

  99% native conformation set forth in claim 16; and Examples 1 and 2 both met the 24-month

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  native conformation limitation set forth in claim 17 (the other examples were not tested for that

  period of time; no example was tested for 24 months that did not achieve the claimed level of

  native conformation). Thus, the specification teaches the POSA representative formulations with

  the claimed elements and possession of the claimed genus.

         407.    With respect to the ’865 Asserted Claims, Dr. MacMichael again criticizes the

  examples that do not fall within the claims as irrelevant. MacMichael ¶¶ 150-163. I disagree for

  the same reasons as explained above.

         408.    Claim 4 recites that the “organic co-solvent comprises about 0.03% to about 0.1%

  polysorbate 20.” The ’865 patent specifically describes a range of 0.03% to 0.1% polysorbate.

  ’865 patent at 3:36-47. Further, the ’865 patent describes embodiments having 0.03% (Examples

  3-6) and 0.1% (Examples 1) polysorbate 20. With respect to claim 4, Dr. MacMichael argues

  that the word “comprising” renders the claim invalid, MacMichael ¶ 152, but I understand that

  the use of the open-ended word “comprising” does not render claims invalid. Rather, I

  understand that it simply means that a formulation that meets the claim limitations but also

  includes other components would still be within the claims.

         409.    Dr. MacMichael argues similarly with respect to claim 5. MacMichael ¶ 153.

  Claim 5 recites that the “organic co-solvent comprises 0.01% to 3% polysorbate 20.” The ’865

  patent describes this range as well and supports the claim limitation. ’865 patent at 2:53-57.

         410.    Claim 7 recites that the “buffer comprises 5-25 mM buffer.” Dr. MacMichael

  also argues that this limitation lacks support. MacMichael ¶ 154. Again, I disagree. The patent

  describes this range of buffer concentrations. ’865 patent at 4:15.

         411.    Claim 9 recites that the “buffer comprises a pH about 6.2-6.3.” The ’865 patent

  teaches repeatedly to use this pH range. E.g., ’865 patent at 2:57, 2:62, 2:67. Furthermore,



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  every Example in the specification uses a formulation within this pH range. I thus disagree with

  Dr. MacMichael that claim 9 lacks written description support.

         412.    Claim 10 recites that the “stabilizing agent comprises a sugar,” and claim 11

  recites that “said sugar is selected from the group consisting of sucrose, sorbitol, glycerol,

  trehalose, and mannitol.” These stabilizing agents are described expressly in the specification

  with respect to the claimed ophthalmic formulations. ’865 patent at 2:44-45. I disagree with Dr.

  MacMichael that the “specification contemplates the use of only sucrose.” MacMichael ¶ 158.

  Although the examples use sucrose, I understand that claims are not limited to the embodiments

  disclosed in the specification, and the specification’s guidance expressly contemplate other

  stabilizing agents, ’865 patent at 2:44-45. I disagree with Dr. MacMichael that claim 11 lacks

  written description support.

         413.    Dr. MacMichael does not address any arguments specifically to claims 14, 15, or

  16 of the ’865 Asserted Claims. MacMichael ¶¶ 159-160. Dr. MacMichael argues that the

  formulation in Example 3 does not include 24-month testing data and thus that the claim lacks

  written description support. I disagree.

         414.    The patent describes an embodiment with 50 mg/ml of the claimed VEGF

  antagonist fusion protein that achieved over 98% native conformation for 24 months as measured

  by size exclusion chromatography. ’865 patent at 8:33-57. In view of these findings, along with

  the other native conformation data disclosed in the patent, the POSA would have understood that

  the inventors possessed other formulations with over 98% native conformation for 24 months as

  measured by size exclusion chromatography.

         415.    Claim 18 recites that “said formulation does not contain phosphate.” The ’865

  patent describes “a buffering agent.” ’865 patent at 2:37. Because the examples each use



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  phosphate, Dr. MacMichael argues that the specification cannot support claims reciting a

  formulation that does not contain phosphate. MacMichael ¶¶ 161-162. I disagree that the

  specification is limited to phosphate-containing formulations.

         416.    To the contrary, the specification describes formulations with a “buffering agent”

  that “may be, for example, phosphate buffer,” ’865 patent at 2:45-46, which the POSA would

  understand teaches a phosphate buffer as well as known non-phosphate buffers suitable for

  intravitreal administration. E.g., Shams at 31:27-32. Thus, I disagree with Dr. MacMichael that

  the inventors were only in possession of formulations with phosphate.

         C.      The ’865 Asserted Claims Are Definite

                 1.     Organic Co-Solvent

         417.    Dr. MacMichael argues that under Regeneron’s claim construction, the term

  “organic co-solvent” is indefinite. MacMichael ¶ 164. I disagree. I understand that a claim is

  not indefinite if the claim may be given a reasonable meaning with enough particularity to

  inform a POSA as to the scope of the claims with reasonable certainty, even if the ultimate

  conclusion is one over which reasonable persons will disagree. Under Regeneron’s construction,

  there is no uncertainty: the POSA only needs to acknowledge the specification’s explicit

  teaching that polysorbates like polysorbate 20 are organic co-solvents. ’865 patent at 2:39-41,

  2:49-50. Dr. MacMichael postulates some “zone of uncertainty” as to the ’865 Asserted Claims,

  MacMichael ¶ 164, but I disagree. Claim 4 requires that the “organic co-solvent comprises about

  0.03% to about 0.1% polysorbate 20,” while claim 5 and the other ’865 Asserted Claims require

  that the “organic co-solvent comprises 0.01% to 3% polysorbate 20.” If a formulation has an

  amount of polysorbate 20 within the claimed range, then it meets the limitation. If the

  formulation does not have an amount of polysorbate 20 within the claimed range, then it does not

  meet the limitation. There is no ambiguity and “organic co-solvent” is thus not indefinite.

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         418.    Dr. MacMichael’s other argument appears to focus on the word “comprises,”

  which, according to Dr. MacMichael, renders the phrase “organic co-solvent comprises

  polysorbate” indefinite. MacMichael ¶ 165. I disagree that this phrase is indefinite—the word

  “comprises” means “includes” and there is thus no ambiguity in what the word means.

                 2.      Native Conformation

         419.    Dr. MacMichael also asserts that “native conformation” is indefinite under

  Regeneron’s construction. MacMichael ¶¶ 166-168. First. Dr. MacMichael appears to reiterate

  Mylan’s claim construction position, MacMichael ¶ 167, but Dr. MacMichael fails to point to

  any lack of reasonable certainty under Regeneron’s construction. Second, as with his

  enablement argument, Dr. MacMichael argues that the patent fails to identify the parameters for

  size exclusion chromatography. MacMichael ¶ 168. I disagree with Dr. MacMichael for the

  same reasons expressed above. Supra Section XV.A.3. Size exclusion chromatography was a

  well-known method used to evaluate proteins, and Dr. MacMichael does not provide any

  evidence that the different parameters would yield “different results.”

                 3.      An Ophthalmic Formulation Suitable for Intravitreal Injection

         420.    Dr. MacMichael argues that the POSA would not understand with reasonable

  certainty the scope of “ophthalmic formulation suitable for intravitreal injection” and criticizes

  the term as “purely subjective.” MacMichael ¶ 169. I disagree that the term is subjective. The

  POSA would know that a formulation was “suitable for intravitreal injection” if it contained

  excipients suitable for such use in view of the ’865 patent and the knowledge of the POSA

  (based on, e.g., others’ disclosures or relevant pharmacopeial standards). Notably, Mylan

  expressed to FDA that its “excipients comply with applicable pharmacopeial standards,” MYL-

  AFL-BLA0001654, at -1662, and they were also disclosed in ranibizumab intravitreal

  formulations, Shams at 31:27-32. Dr. MacMichael points to no difficulty in ascertaining that

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  such a formulation suitable for intravitreal injection, nor does Dr. MacMichael point to any

  examples of formulations that the POSA could not evaluate with reasonable certainty.

  Accordingly, I disagree that the term “ophthalmic formulation suitable for intravitreal injection”

  is indefinite.

         VALIDITY OPINIONS UNDER MYLAN’S PROPOSED CONSTRUCTIONS

          421.       Dr. Rabinow and Dr. MacMichael both submitted separate reports ostensibly

  applying Mylan’s proposed claim constructions. See generally Rabinow-M, MacMichael-M.

  However, the opinions expressed in those reports are largely identical to those expressed in their

  reports applying Regeneron’s claim constructions. I thus incorporate in full my analysis above

  under Regeneron’s proposed claim constructions here, and explain several additional responses

  under Mylan’s proposed claim constructions below.

          422.     Anticipation and Obviousness. I understand that Mylan has proposed that the

  term “organic co-solvent” be construed as “an organic substance added to a primary solvent to

  increase the solubility of said VEGF antagonist.” As I explained in my opening report,

  polysorbate 20 increased solubility of the VEGF antagonist in M710 by preventing the formation

  of insoluble aggregates. Opening Rep. ¶¶ 76-83. Dr. Rabinow appears to adopt this argument in

  asserting that the prior art disclosure of polysorbate teaches an organic co-solvent. Rabinow-M

  ¶ 210. However, I understand that invalidity must be proved by clear and convincing evidence,

  and inherency requires that the disclosure inevitably and necessarily includes the unstated

  limitation. Dr. Rabinow makes no showing under Mylan’s proposed claim construction that

  polysorbate in any prior art compositions serves to “increase the solubility of the VEGF

  antagonist.” Rabinow-M ¶ 210. Accordingly, Dr. Rabinow has failed to establish anticipation or

  obviousness under Mylan’s proposed construction.



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         423.    I understand that under Mylan’s proposed construction, “present in native

  conformation” means “present in a form that does not exhibit chemical or physical instability.”

  As with “organic co-solvent,” Dr. Rabinow ignores the requirements of Mylan’s proposed

  construction and instead relies only on size exclusion chromatography data and inherency.

  Rabinow-M ¶¶ 211-14. Dr. Rabinow fails to provide any evidence that formulations in the prior

  art exhibited the other types of stability required under Mylan’s proposed construction.

         424.    Section 112. Dr. MacMichael argues that under Mylan’s proposed construction,

  more than size exclusion chromatography would be necessary to determine if the claimed VEGF

  antagonist fusion protein is “present in native conformation.” MacMichael-M ¶ 125. However,

  as Dr. MacMichael acknowledges, “[t]echniques were known long before 2006 for how to

  detect, measure, and elucidate the various types of degradation in protein samples.”

  MacMichael-M ¶ 64; see ’865 patent at 7:8-19. Dr. MacMichael fails to identify what analytical

  techniques would be necessary under Mylan’s construction, nor does he point to any undue

  experimentation in performing techniques “known long before 2006” to which he refers. In my

  view, the POSA would be capable of performing techniques in addition to size exclusion

  chromatography for assessing protein stability without undue experimentation. Furthermore, for

  the same reasons, the inventors were in possession of ophthalmic formulations with the claimed

  native conformation.

         425.    Dr. MacMichael contends that under Mylan’s construction, polysorbate would not

  be considered an “organic co-solvent,” even though it is expressly recited as such in the claims

  and described as such in the specification. Regardless, as I explained above (¶ 422), the POSA

  would have expected that including polysorbate in a formulation would reduce the formation of

  insoluble aggregates and thus increase the solubility of the VEGF antagonist. Dr. MacMichael



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  has not pointed to any contrary evidence. Furthermore, in addition to polysorbates, the ’865

  patent describes other organic co-solvents such as PEG (e.g., PEG 3350) and propylene glycol,

  ’865 patent at 3:28-31, which Dr. MacMichael agrees could serve as organic co-solvents.

  MacMichael Dep. 62:12-17. The POSA could additionally have used these organic co-solvents

  in practicing the invention without undue experimentation. Likewise, the inventors were in

  possession of such formulations. ’865 patent at 2:53-57; Example 2.

         426.    Accordingly, for both the reasons explained under Regeneron’s proposed claim

  constructions and the reasons above, I disagree with Dr. Rabinow and Dr. MacMichael that the

  ’865 Asserted Claims are invalid under Mylan’s proposed claim constructions.

  XVI. The ’572 Claims Would Not Have Been Obvious

         A.      “Formulated as an Isotonic Solution”

         427.    Claims 6, 12, 18 and 22 of the ’572 patent recite that “aflibercept is formulated as

  an isotonic solution.” Dr. Rabinow acknowledges that no prior art specifically discloses that

  aflibercept was formulated as an isotonic solution. Rabinow ¶ 312 (citing J.A. Dixon et al.,

  VEGF Trap-Eye for the Treatment of Neovascular Age-Related Macular Degeneration, 18

  Expert Opin. Investig. Drugs 1573 (2009) (“Dixon”)). Accordingly, Dr. Rabinow relies on

  Hecht, but Hecht does not teach an isotonic aflibercept formulation either. Id. (citing G. Hecht,

  Ophthalmic Preparations, in 2 Remington: The Science & Practice of Pharmacy 1563 (19th ed.

  1995)). I disagree with Dr. Rabinow that the claim limitation would have been obvious.

         B.      “Formulated with a Nonionic Surfactant”

         428.    Claims 7, 13, 19, and 23 of the ’572 patent recite that “aflibercept is formulated

  with a nonionic surfactant.” Again, Dr. Rabinow relies on Dixon, but Dixon discloses only that

  aflibercept is “formulated with different buffers,” not a nonionic surfactant. Rabinow ¶ 313

  (citing Dixon at 1575). Dr. Rabinow thus cites to the use of surfactants in Randolph, id. (citing

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  Randolph & Jones, Surfactant-Protein Interactions, in Rational Design of Stable Protein

  Formulations 159 (J.F. Carpenter & M.C. Manning eds., 2002) (“Randolph”)), but fails to

  establish a motivation to use a nonionic surfactant in the methods claimed with a reasonable

  expectation of success. Hecht does note the class of nonionic surfactants but explains that they

  are typically used in “steroid suspensions,” not aflibercept, and warns that nonionic surfactants

  may react with preservatives and create other complications. Hecht at 1571. I thus disagree with

  Dr. Rabinow that the cited art renders the ’572 Claims obvious.

         429.    Dr. Rabinow also cites to U.S. Patent 7,608,261, which Dr. Rabinow argues

  corresponds to the EYLEA label. However, Dr. Rabinow does not argue that the EYLEA label

  was prior art, and Dr. Rabinow’s reference to the ’261 patent is thus guided by hindsight, which

  cannot render the ’572 Claims obvious.

  XVII. The ’572 Claims Are Described

         A.      “Formulated as an Isotonic Solution”

         430.    Dr. MacMichael asserts that claims 6, 12, 18, and 22 of the ’572 patent are invalid

  for lack of written description. MacMichael ¶ 173. I disagree. The ’572 patent describes what it

  claims: that pharmaceutical formulations for aflibercept include “physiological saline, an

  isotonic solution containing glucose and other auxiliary agents.” ’572 patent at 6:22-25. Dr.

  MacMichael offers no reason why this straightforward description is insufficient. Dr.

  MacMichael criticizes the ’572 patent for not disclosing examples, but I understand that written

  description does not require examples or reduction to practice. In my opinion, the ’572 patent’s

  description of isotonic solutions adequately supports the claim reciting an isotonic solution.

         B.      “Formulated with a Nonionic Surfactant”

         431.    Dr. MacMichael also argues lack of written description with respect to claims 7,

  13, 19, and 23 of the ’572 patent. MacMichael ¶ 176. The ’572 patent discloses that that the

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  pharmaceutical formulations may include a “nonionic surfactant” such as polysorbate 80 or

  “polyoxyethylene (50 mol) adduct of hydrogenated castor oil.” ’572 patent at 6:29-30. Again,

  Dr. MacMichael offers no reason why that is insufficient description. In my opinion, the ’572

  patent specification supports the claims reciting a nonionic surfactant by disclosing that this type

  of excipient may be used in pharmaceutical formulations of aflibercept and providing examples.

  XVIII. Conclusions

         432.    For the reasons set forth above, it is my opinion that the ’865 Asserted Claims and

  the ’572 Claims are not invalid.




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                                                                          EXHIBIT
                                                                          c ....., \M,p.....J
                                                                    I



                         Exhibit P




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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   AT CLARKSBURG



   REG ENERON PHARM ACEUTICALS, INC.,
                                            Case No. I :22-cv-00061-TSK
                Plaintiff.
        V.
                                            CONFIDENTIAL
  MYLAN PHARMACEUTICALS INC.,

                Defendant.




              REPLY EXPERT REPORT OF GREGORY MACMICHAEL PH.D.
             REGARDING THE INVALIDITY OF THE ASSERTED CLAIMS OF
                   U.S. PATENT NO. 11,084,865 UNDER 35 U.S.C. § 112



   REGARDING THE INVALIDITY OF CLAI MS 6, 7, 12, 13, 18, 192 222 AND 23, OF U.S.
                PATENT NO. 11 2253,572 UNDER 35 U.S.C. § 112




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 I.          INTRODUCTION.

             I.       I, Dr. Gregory MacMichael, having been retained to testify as an expert in this case

 on behalf of Mylan Pharmaceuticals Inc. ('·Mylan") in the above-captioned action submit this

 Reply Expert Report.

             2.      J am the same Gregory MacMichael that submitted Opening Expert Reports in thi s

 case dated February 2, 2023 ("MacMichael Opening Reports"), 1 and a Responsive Expert Report

 dated March 2, 2023 ("MacMichael Respo nsive Report" ). 2                I am also the same Gregory

 MacMichael that submitted a declaration entitled ·' Declaration of Gregory MacMichael, Ph.D. in

 Support of Defendant" s Claim Construction Brief' dated November 28, 2022 (" MacMichael

 Declaration'}         I incorporate by reference the MacMichael Opening Reports. MacMichael

 Responsive Report, and the MacMichael Declaration and all Exhibits to the extent relevant and

 necessary, and reserve the right to provide testimony on any issues or subject matter contained

 therein .

         3.          This Report discloses my opinions, and the bases and reasons supporting my

 opinions, regarding, among other things, issues that I understand relate to Regeneron

 Pharmaceuticals, Inc. ·s (" Plaintiff· or " Regeneron ') claims for alleged valid ity of U.S. Patent No.



 1
   My open ing reports are entitled: ·'Opening Expert Report of Gregory MacMichael, Ph.D.
 Regarding the Invalidity of T he Asserted C laims of U.S. Patent No. 11,084,865 Under 35 U.S.C.
 § 112 Assuming Mylan ' s Constructio n of the C la im Terms ' Organic Co-solvent' and ' Native
 Conformatio n' and Regarding the Invalidity of C laims 6, 7, 12, 13, 18, 19, 22, and 23, of U.S.
 Patent No. 11.253,572 Unde r 35 U .S.C. § 11 2"' and "Opening Expert Report of Gregory
 MacMichael, Ph.D. Regarding the Invalidity of The Asserted Claims of U.S. Patent No.
 11 ,084,865 Under 35 U.S.C. § I. 12 Assuming Regeneron 's C laim Construction Proposal of the
 Claim Terms ·Organic Co-Solvent' and 'Native Conformation' and Regarding the Invalidity of
 Claims 6, 7, 12. 13, 18, 19, 22, and 23, of U.S. Patent No. 11 ,253,572 Under35 U.S.C. § 112."
 2
  My responsive report is entitled: " Responsive Expert Report of Gregory MacMichael, Ph .D.
 Regarding the Non-infringement of the Asserted C laims of U.S. Patent No. 11,084,865."




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  I 1.084,865 ("the '865 patent") and U.S. Patent No. 11 ,253,572 ("the ' 572 patent"). inc luding in

  reply to the Opening Expert Report of Bernhardt L. Trout, Ph.D., dated February 2, 2023 ("Trout

  Open.") and the Responsive Expert Report of Bernhardt L. Trout, Ph.D., dated March 2, 2023

  ('Trout Resp.").

         4.      This Report sets forth the opinions I have fonned based on information available

  as of the date below. In the event Regeneron submits any expert report or other response to the

 subject matter addressed in this Report, I reserve the right to respond to such submission. I expect

 to be cal led to testify at trial in the above-captioned action.

 II.     PROFESSIONAL Q UALIFICATIONS AND BACKGRO UND.

         5.      Details regarding my background, education, and experience are summarized in

  paragraphs 2-14 of the MacMichael Opening Reports and are incorporated by reference herein.

 (See also MacMichael Declaration at 11 3- 14).

         6.      A copy of my current curriculum vitae is attached to this Report as Exhi bit A.

 Ill.    UNDERSTANDING OF THE LAW.

         7.      My understanding of the principles concerning patent law that have gu ided me in

 arriving at my stated conclusions in this report (as we ll as in my Opening Reports) is set forth in

 my Opening Expert Reports at paragraphs 16-36. (See also MacM ichael Declaration at 1 27-33).

  I incorporate by reference those portio ns of my prior reports and declaration.

         8.      While I am not an attorney, I understand and have appl ied these principles in

 reaching my opinions provided in this report.




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 IV.     TUTORJAL - BACKGROUND OF THE FIELD AND TECHNOLOGY.

         9.       The '865 patent is directed to stable formulations of vascular endothelial growth

 factor ("YEGF")-specific fusion proteins. As such, in order to frame my analysis and provide

 proper context for my opinions, I provided an overview in my Opening Expert Reports of some of

 the relevant technology at issue.      (See MacMichael Opening Reports at ,i 42-70; see also

 MacMichael Declaration at ,i,i 40-44). I incorporate by reference as fully set forth herein my prior

 technology background and tutorial opinions. I also reserve the right to expand on my prior

 technology background and tutorial opinions as needed to address any Regeneron expert opinions

 and/or testimony submitted in response to my Opening Expert Reports, my Responsive Report,

 and/or this Reply expert report.

         I0.      If L testify at trial in this case, l may rely on exhibits and/or visual aids to

 demonstrate the basis for my opinions. I have not yet prepared any such exhibits or visual aids. I

 also reserve the right to provide a tutorial relating to the general topics contained in either this

 report or any of my prior reports or declaration in this matter, which I incorporate herein by

 reference, including a d iscussion of the references discussed.

 V.     THE ASSERTED '865 PATENT.

        A.       Person of Ordinary Skill in the Art of the '865 Patent.

         11.     My definition of a person of ordinary skill in the art ("POSA") has not changed

 since my declaration and opening reports. (See MacMichael Declaration at ,i,i 34-38; MacMichael

 Opening Reports at ,i 37-41 ) .

        12.      I understand that Dr. Trout provided the following defi nition for a POSA for the

 Asserted Claims of the '865 patent:

                 In my opinion, based on my review of the '865 patent, its prosecution
                 history, and my research experience, the POSA would have held an


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                 advanced degree, such as a Master's in a biophannaceutical science, or
                 a related discipline, such as chemical engineering, and several years of
                 experience in the development of bio logics products. Alternatively, the
                 POSA could have a Ph.D. in such discipline and less experience. The
                 POSA may collaborate with others, including a medical docto r with
                 experience treating ophthalmic diseases.

 (Trout Open. at ,i 32; see also Tro ut Resp. at ,i 48).

          13.    In my opinion. there are no appreciable differences between the definition that I

 offered in m y opening reports and Dr. Trout's definition, tho ugh, in my opinion, it is easier for

 someone to meet Dr. Trout' s definitional standards as compared to mine in the context ofeducation

 status and level of experience. Nevertheless, r qualify (and qualified as of the priority date of the

  '865 patent) as at least a POSA under either definitio n and l am qualified to testify from the

 perspective of a POSA under either definition. Further, my o pinio ns regarding the '865 patent

 would not change even if one were to apply Dr. Trout's definition.

          B.     The '865 Patent Intrinsic Evidence.

          14.    I provided an overview of the '865 patent in my Opening Expert Repo rts, which I

 inco rporate by reference herein. (See MacMichael Opening Reports at ,i 71-97 ;3 MacMichael

 Declaration at ,i,i 45-50).

          C.     The Asserted Claims of the '865 Patent.

          15.    1 understand that Regeneron is asserting against Mylan claims 4, 7, 9, l l, and 14-

  18 of the ' 865 patent (i.e., the " Asserted C laims"). (MacMichael Opening Reports at ,i 98).

 VI.      SUMMARY OF MY OPINIONS.


 3 From  this point forward, any citation to the ·' MacMichael Opening Repo rts" refers to my
 statements to the report entitled "Opening Expert Report of Gregory MacMichael, Ph.D.
 Regarding the Invalidity of The Asserted Claims of U.S. Patent No. 11 ,084,865 Under 35 U.S.C.
 § 11 2 Assuming Regeneron' s Claim Construction Proposal of the Claim Terms 'Organic Co-
 Solvent' and ·Native Conformation' and Regarding the Invalidity of Claims 6, 7, 12, 13, 18, 19.
 22. and 23, of U.S. Patent No. I 1,253,572 Under 35 U.S.C . § 112" unless otherwise stated .



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         16.     As I set forth in more detail below, I disagree with Dr. Trout's validity analysis

 provided in his responsive report. In my opinion. Dr. Trout's opinions do not demonstrate that the

 Asserted Claims of the ' 865 patent are enabled, described, or definite under either Mylan 's

 Proposed Constructions or Regeneron ' s C laim Construction Proposals, and therefore, I stand by

 my opinions set forth in my Opening Reports and Declaration.         In forming my opinio ns in this

 Reply Report, the materials I have considered, in addition to my experience, education, and

 training, are identified herein in the MacMichael Opening Reports, MacMichael Responsive

 Report, the MacMichael Declaration, and/or in Exhibit B.

 VII.   THE '865 ASSERTED CLAIMS ARE INVALID UNDER SECTION 112.

         A.     The '865 Asserted Claims Are Not Enabled.

         17.    I disagree w ith Dr. Trout's opinions that the Asserted Claims are enabled. (Trout

 Resp. ,i,i 357-416). As I explained in my Opening Reports (il1 I 04-143), the specification and

 Asserted Claims do not provide a sufficient disclosure to enable a POSA to make and use the

 claimed formulations. In my opinion, a POSA. after reading the '865 patent specification, would

 be unable to make or use the form ulations of the Asserted C laims without undue experimentation.

 Dr. Trout' s assertions do not change any of my opinions.

         18.    As a threshold matter, Dr. Trout first complains that I focused my enablement

 analysis " largely on claim I" instead of the Asserted C laims w hich a ll depend from claim I of the

 '865 patent.   (Trout Resp. at 357).      Dr. Trout seems to m isunderstand my opinions but,

 notwithstanding, I did specifically address all the Asserted C la ims in my Opening Reports.

 (MacMichael Opening Reports at ,i,i 132-143). T herein, I set forth my conclusions that the added

 limitations of those dependent c laims do not sufficiently narrow the breadth of the claimed

 formulations to render them enabled to a POSA.




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          19.     For example, claim 11 (like claim I) is nearly unlimited in scope despite its added

  Iimitations. (Mac Michael Opening Repo rts at ,i,i 139). Specifically, the formulation of claim 11

  must only meet the fo llowing elements (in addition to those required under claim I):

      •   the concentratio n ofVEG F Trap-Eye/aflibercept is 40 mg/ml rrrom claim 2) ;

      •   an o rganic co-solvent that ·'comprises" 0.0 I% to 3% po lysorbate 20 [from claim
          5) 4; and

      •   a stabilizing agent that "comprises'' a sugar [from claim IO) selected from the
          group consisting o f sucrose. sorbitol, glycerol, trehalose, and mannitol [from claim
          llJ.
  Other than these require me nts, the claimed fo rmulation remains nearly un limited w ith respect to

  at least the following formulation characteristics:

      •   The type of formu latio n (e.g., liquid o r lyophilized). 5 C laim 11 (l ike all the
          Asserted Claims) only requires that the form ulatio n be in a vial and be suitable fo r
          intravitreal administration 6 ;

      •   The type or amount of ·'organ ic co-solvent." C laim 11 o nl y requires (via clai m 5)
          that the o rganic co-solvent " comprises" (i.e., includes) polysorbate 20 within a very
          wide percentage range (0.0 1% to 3%). The claim does not infonn a POSA as to
          what exactly the o rganic co-solvent is;




  4
    As I explain in mo re detail below (12 1), Dr. Trout seems to ignore the "comprises'' transitional
  language in each of the Asserted C la ims.

  5 As I explain in more detail below, it is my opinion that Dr. Trout is wrong in his opinion that
  lyophilized formulatio ns are not encompassed by the Asserted C laims. (See, e.g. , ,i 2 7).
  Lyophilized formulations are extensively discussed in the ' 865 patent specification and , in my
  o pinion, nothing in the Asserted Claims excludes lyophilized formulations. (See MacMichael
  Opening Reports at ,i,i 56, 88, 90, I 06, I 25).

  6
    It is my understanding that Regeneron did not ask the Court to construe the claim term "an
  o phthalm ic formulation suitable for intravitreal administration." In my opinio n, a POSA would
  understand that the full scope of that c laim term encompasses m ore than mere liquid formulatio ns,
  and therefore, I disag ree w ith Dr. Troufs attempt to exclude al l ·' no n-liquid" formulations from
  the scope of the Asserted Claim s.



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         •   The type 7 or amount of buffer8 ;

         •   The pH. Only claim 9 limits the pH to 6.2-6.3; the remaining Asserted C laims have
             no pH limitation however the specification explains that the claimed formulation
             pH is to be within the wide range of 5.8 and 7.0 9; and

         •   The type or amount of stabilizing agent. Claim 11 (which depends from c laim I 0)
             on ly requires that the sugar of claim IO (which does not otherwise limit the
             stabil izing agent) be selected from the group consisting of " sucrose, sorbitol,
             g lycerol, trehalose, and mannitol," but does not provide the amount or
             concentration, nor does it indicate whether the selected sugar is the stabilizing agent
             under claim IO o r whether the stabilizing agent of the formulation merely
             "comprises" the selected sugar of claim I I.

  (See also MacMichael Opening Reports at ,i,i 138-139).

             20.     Similarly, c laim 7 (like claims I and 11) is nearly unlimited in scope despite its

  added limitations. Specifically, the formulation of claim 7 must on ly meet the follow ing e lements

  (in addition to those set forth in claim I):

        •    The concentration of the VEGF Trap-Eye/atl ibercept is 40 mg/ml [from claim 21 ;

        •    an organ ic co-solvent that "comprises" 0.0 I% to 3% polysorbate 20 [from claim
             5]; and

        •    a buffer that " comprises" 5-25 mM buffer [from claim 7].

  Otherwise, much like claim 11 , the form ulation of claim 7 remains nearly unlimited with respect

  to at least the following e lements:

        •    The type of formu lation (e.g., liquid or lyophilized);

        •    The type or amount of '"organic co-solvent." C laim 7 on ly req uires (via claim 5)
             that the o rgan ic co-solvent "comprises" (i.e., includes) polysorbate 20 within a very


  7
    As I explain in more detail below (1 22), a POSA would have considered several buffers for a
  formu lation of the Asserted C laims,
  8
    By comparison, c laim 7 requires that the buffer must fall w ithin the very large range of 5-25mM;
  however, that also provides little guidance because it does not identify the buffer (or even narrow
  the list of acceptable buffers for the c laimed formulat ions).
  9
      See, e.g. , ' 865 patent at 2:33-38. 3:11 - 16, 4:11-18.



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          wide percentage range (0.0 I% to 3%). The claim does not inform a POSA as to
          what exactly the organic co-solvent is;

      •   The type or amount of buffer;

      •   The pH. The specification only limits the formulation pH to within the wide range
          of 5.8 and 7.0; and

      •   The type o r amount of stabi lizing agent.

  (See also MacMichael Opening Reports at ,i,i 135-136).

          21.    "Comprises" Transition. I have been informed that claims containing the word

  ·'comprising" are open-ended and provide broad coverage so long as the term is not used to remove

  or abrogate claim limitations that are otherwise required. I have been further informed that the use

  of the transitional phrase --comprising" ind icates that the body of the claim is open, creating a

  presumption that the claim does not exclude additional, unrecited elements. Applied to the '865

  patent, while claim 1 requires, for example, a very specific VEGF antagonist-namely, VEGF

  Trap-Eye/atlibercept- the claimed formulation is not lim ited to only one active ingredient.

  Dependent claim 2, from which all the Asserted C laims depend either directly or ind irectly,

  similarly does not limit the claimed formulation to only one active ingredient.         Accordingly,

  although the amount ofVEGF Trap-Eye/aflibercept of the Asserted Claims is limited to 40 mg/ml,

  a POSA would understand that the breadth of the claims encompasses formulations with one or

  more active ingredients- such additional ingredients dramatically increase the complexity of the

  possible form ulations covered by the Asserted Clai ms.

          22.    Buffers. As I explain in my Opening Reports, a POSA reading the claims and

  specification of the '865 patent would have considered at least the following buffers as suitable

  for the formulations of the Asserted Claims: succinate, c itrate, phosphate, and histidine, as well as

  combinations thereof. (See, e.g. MacMichael Opening Reports at ,i 79). The Asserted Claims in

  no way limit these options to a POSA. Moreover, I disagree with Dr. Trout's apparent contempt


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  for citrate as an acceptable buffer for the claimed formulations. (See, e.g. , Trout Resp. ,i,i 211 ,

  244, 298). Nothing in the Asserted Claims excludes citrate. In fact, Eric Furfine- the first named

  inventor of the '865 patent, vice president of preclinical development, and supervisor of the other

  named inventors (Drs. Dix and Graham)--refused to characterize citrate as a buffer that was "not

  suitable for intravitreal administration."   (Furfine Tr. at 93: 15-94:4 ("Q: So at this time, you

  considered that a solution containing citrate buffer wou ld not have been suitable for intravitreal

  administration? A: I would not say that ... it's possible also that [citrate] would have been fine. ")

  (emphasis added); see also Graham Tr. at 138:25-140:5 (·'[ would not have been able to deem a

  citrate-containing formulat ion as either suitable or not suitable .. .'')). Further to my point, an

  intravitreal formulation comprising citrate was disclosed in Marra, confirming its s uitability: "'The

  selected formulation consisted ofan isotonic solution comprised of[a VEGF inhibitor] in a citrate-

  buffered vehicle ... The selected formu lation exh ibited sufficient chemical stability upon storage

  with no precipitation, and acceptable potency and recovery through an intravitreal dosing syringe."

  (Marra at 362)

         23.       In short, all the Asserted Claims (not just claim I, from which the Asserted Claims

  depend) are nearly unlimited in scope because most characteristics of the claimed formulations are

  neither provided nor enabled, and thus are left to the POSA to figure them al I out through extensive

  experimentation. (See, e.g., MacMichael Opening Reports at ,i 78-79, 132, 150). In fact, the Q.!]J_y

  known component / concentration of the Asserted Claims' formulations is the 40 mg/ml VEGF

  Trap-Eye/aflibercept. and therefore. the o nly formulation described in the ' 865 patent that can

  purportedly meet any of the Asserted Claims is Example 3. (See id. at ,i,i 82, 91 , 133-1 49).

  Accordingly, as I previously explained, a POSA would be forced to engage in undue

  experimentation to make and use other formulations covered by the Asserted Claims (e.g., a




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  citrate-buffered or histidine-buffered formulation). (See id. at~~ 133-149). Specifically, a POSA

  would need to determine through extensive experimentation at least the fo llowing:

       •   Whether to use a liquid or lyophilized formulation? If lyophi lized, whether to use
           a reconstituted solution, suspension, or emulsion?

       •   What buffer to use (e.g., c itrate, succinate, phosphate, or histidine)? A lone or in
           combination? What concentration?

       •   What pH to target (l ike ly within the 5.8 to 7.0 range described in the specification)?

       •   What organic co-solvent to use? A lone or in combination? At what concentration?

       •   What stabiliz ing agent to use? A lone o r in combinatio n? At w hat concentration?

           24.    I further reply to Dr. Trout' s opinions regarding the Wands factors 10 as follows:

                  1.       Wands Factor No. 8: The Breadth of the Asserted Claims.

           25 .   Dr. Trout's enablement opinions hinge on his flawed assertion that "the scope of

  the claims reasonably correlates to the scope of the disclosure of ophtha lmic formu lations in the

  '865 patent specification." (Trout Resp. at~~ 359-68). A POSA can only identify Q!l£ formulation

  disclosed in the specification that may actually fall w ithin the scope of the Asserted Claims (ifone

  assumes that polysorbate 20 is an organic co-solvent): Example 3. 11 However, a POSA would

  a lso immediately recognize that the breadth of the Asserted Claims is far broader than what Dr.

  Trout suggests and that Example 3 does not inform a POSA how to make and use the countless

  other formu lations that fall w ithin the scope of the Asserted Claims.




  10 My understanding of the Wands factors is set forth in paragraphs 33-35 of my Opening Expert

  Reports. I specifically apply the Wands factors in paragraphs IO1-149.
  11
    All of the Asserted Claims depend on claim 2 (either directly or indirectly), and therefore it is
  my understand ing that the Asserted Claims all require 40 mg/ml of the VEGF antagonist required
  under independent claim I.



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                          a.     The added limitations of the dependent Asserted Claims do not
                                 exclude lyophilized formulations from the breadth of available
                                 formulations.

          26.     Dr. Trout' s enablement opinions rely on his incorrect conclusion that lyoph ilized

  formulations do not fall within the scope of the Asserted Claims. (See, e.g. , Trout Resp. at 1360

  ('·In my opinion, the POSA reading the specification and practicing the claims would proceed with

  a Iiquid formulation."); id. at 1 36 1 ("[T]he POSA would not use a lyophi lized formulation to

  practice the claimed inventions."). Dr. Trout also misstates my opinions regarding Examples 7

  and 8 to support his incorrect conclusion. (Id. at 361 ).

          27.     First, nothing in the Asserted Claims or the specification excludes or disclaims

  lyophilized formulations and Dr. Trout does not confirm or even suggest otherwise. As I explained

  in detail in my Opening Reports, (i) " [p]roteins are typically formulated as either a liquid

  formul ation or a lyophilized formulation'·; and (i i) the ' 865 patent express ly includes lyophilized

  formulations in its claimed invention:


                                 Ophthalmic Lyopb.ilized Formulations

                         In one aspect uf the invention, an oph1..halmically accept-
                      able formu lation comprising a VEGF antagonist is provided,
                      wherein the fonnulation is a lyophilizable formu lation.
                      Lyopbilizablc form uJations can be reconstituted in to solu-
                      tions, suspensions, emulsions, or any other suitable form for
                      adm inistration or use. Lyophiliza ble fonnulations are typi-
                      cally first prepared as liquids, then frozen and lyophilizcd.
                      ·1ue total liquid volume before lyophilization can be less,
                      equal to, or more than, the final reconstinned volume of the
                      lyoph.ilizcd formulation. The lyophilization process is well
                      known ro those of ordinary skill in the art, and typically
                      includes sublimation of water from a frozen fonnulation
                       under controlled conditions.


 (See MacMichael Open ing Reports at 188, 90, 106, 125; see also '865 patent at 7:26-4 1 (emphasis

 added); see also id. I :45-52 (" The invention includes liquid pharmaceutical formulations having



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  increased stability. as well as formulations that may be lyoph ilize and reconstituted for intravitreal

  administration.") (emphasis added); id. 5:32-38 ("The present invention is not limited to particular

  methods, and experimental conditions described, as such methods and conditions may vary. It is

  also to be understood that the terminology used herein is for the purpose of describing particular

  embodiments only, and is not intended to be limiting unless indicated, since the scope of the

  present invention will be limited only by the appended claims.") (emphasis added); id. at 8:7- I 0).

  Consequently, in my opinion, a POSA " reading the specificatio n and practicing the claims" of the

  '865 pate nt would necessarily conclude that lyophilized formulations are encompassed by the

  Asserted C laims.

         28.      Disregard ing the express inclusion of lyophilized formulations in " the invention"

  of the '865 patent, Dr. Trout declares (without any proof) that a POSA " would not use a lyophil ized

  form ulation to practice the claimed inventions" but would instead "proceed" with (or " prefer[)"

  (citing Carpenter)) a liquid formulation over a lyophilized formulation. (Trout Resp. at ,r 71 , 360-

  36 1). I disagree and find Dr. Trout's opinion irrelevant to establishing the breadth of the Asserted

  Claims. It is my understanding that claims are not to be limited by preferred embodiments absent

  a clear disavowal. (MacM ichael Declaration at         1 29-30). Here, Dr. Trout never contends that
  Regeneron disclaimed lyophilized formulations from the scope of the Asserted Claims, nor does

  he argue for a c laim construction that would exclude lyophilized form ulations. In fact, Dr. Trout

  separately agrees that lyophilized formulations are expressly contemplated throughout the ' 865

  patent specification. (See. e.g.. Trout Resp. at ,r,r 360-361, 388,406). In total, Dr. Trout's opinions

  actually concede that the Asserted Claims do, in fact, encompass lyophilized formu lations. Dr.




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  Tro ut, however, never attempts to explain how such form ulations are enabled. 12

          2 9.    Second, Dr. Tro ut misrepresents m y opinio ns regarding Examples 7 and 8.

  Specifically, after acknowledging that the Example 7 and 8 fo rmulatio ns do not reflect

  embodiments of the Asserted Claims, Dr. Tro ut c laims this fact somehow supports his opinion that

  a POSA " would not use a lyophilized formulati on to practice the claimed inventions." (Trout

  Res p. at 361 ). I disag ree. To be clear. I describe Examples 7 and 8 in my Opening Reports at

  paragraphs 86 and 87, and my actual opinions regarding w hether Examples 7 and 8 represent

  embodime nts of the Asserted Claims are at parag raphs 89 and 90. My disagreement with Dr. Trout

  is s imple: Dr. Trout, in my o pinion, conflates the questions of (i) enablement and (ii) breadth of

  the claims. It is D r. Trout's opinion that because lyophilized formulations meeting the e lements

  of the Asserted claims are not enabled, such formulations cannot be w ithin the breadth of the

  claims. In my opinion, Dr. Trout' s approach is the o pposite of the appropriate inquiry. In o ther

  words, it is my understanding that o ne should first identify the breadth of the c laims (read in view

  of the intrin sic record) and then determine w hether the claims are enabled by the disclosures. Here,

  in m y opinion, Examples 7 and 8 do not define the breadth of the claims one way or the other-

  lyophilized formulations (and reconstituted solutions, suspensions and emuls io ns thereof) are

  expressly (and undeniably) within the breadth of the Asserted C laims (see ,i 27 above).

         30.     Mo reover, I disagree w ith Dr. Trout's s4ggestion that the reconstituted liquid

  formulations of Example 7 cannot fal l with in the scope of the claims. (Trout Resp. at ,i 361 ).

  Here, Dr. Trout seems to conflate FDA requirements with patentability. Specifically, absolutely

  nothing in the claims o r specification would preclude a PO SA from reconstituting a lyophilized


  12
    To the extent Dr. Trout is asserting that the specificatio n does not need to enable lyophilized
 fonnulations because the POSA would " prefer" a liquid formulatio n (and thus no t use a lyophilized
 form ulation), I disagree w ith his opin io ns in that regard as well for all the same reasons.



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  form ulation in accordance with Example 7 and storing that reconstituted liquid fom,u lation at 5°

  C for two months (and subsequently testing it under size exclusion chromatography (" SEC")).

  While, yes, it may not be ·' practical" to do so for purposes of comply ing with FDA requirements

  to admin ister such a fom,ulation, Dr. Trout c ites nothing suggesting that such a formulation would

  be unsuitable in the context of the '865 patent s imply because it was stored at 5° C for two

  months-i.e., the '865 patent does not require an FDA-approved (or FDA-approvable)

  formulation. Consequently, I disagree with Dr. Trout' s conclusio n that Examples 7 and 8 (which

  are not embodiments of the Asserted C laims) support his opinion that lyoph ilized formu lations (or

  reconstituted solutions, suspensions o r emulsions thereof) are not with in the ·'breadth'. of the

  Asserted Claims-they are.

                         b.      The added limitations of the dependent, Asserted Claims do not
                                 exclude suspensions or emulsions from the breadth of available
                                 formulations.

         3 1.    Dr. Trout next asserts that suspensions and emulsions " are even further afield from

  the claimed invention [than lyophilized fom,u lations], and are not w hat the POSA would use to

  practice the invention.'· (Trout Resp. at 1362). I disagree. Dr. Trout' s opinions again contrad ict

  the express disclosures in the '865 patent speci ftcation.

         32.     As I explained above and in my Opening Reports ( 179, I 06, 125). the ·865 patent

  provides as exemplary formulations, lyophilized formulations that can be reconstituted as

  solutions, suspensions, or emulsions. ('865 patent at 7:31-34, 7:63-65).       In my opinion, the

  inventors fully intended to inform POSAs that the Asserted C laims encompassed such

  form ulations and Dr. Trout provides no opinion or argument that " lyophilized fom,ulat ions that

  can be reconstituted as solutions, suspensions. or emulsions" were somehow disclaimed or

  excluded from the Asserted Claims. Instead, Dr. Trout declares that such formulations are not

  encompassed by the Asserted Claims simply because they a re too difficult or impractical- but, in


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  my opinion, that does not overcome the simple fact the inventors chose to expressly include such

  formulations as part of the ir claimed invention. (See ,i 27 above). I further disagree with Dr.

  Trout' s suggestion that the " present in native conformation following storage at 5° C for two

  months" element somehow excludes lyophilized formulations (and reconstituted solutions,

  suspensions and emulsions thereof). 13 The purported difficulties and impracticalities of such

  formulations, in my opinion, only emphasize the lack of enablement in the '865 pate nt for the

  Asserted Claims.

                         c.      Dr. Trout reverses the "breadth of the claims" analysis.

         33.      Dr. Trout asserts that because formulations disclosed in the specification meet o ne

  claim element- i.e., the '·native conformation" wherein clause of claim I-the full scope of the

  Asserted Claims as a whole is somehow enabled. I disagree. In my o pinion, Dr. Trout is analyzing

  the " breadth of the c laims" Wands factor incorrectly. It is my understanding that this factor focuses

 o n determining claim scope-whereas the question of enablement is directed to determining

  whether that scope of the claims exceeds the embodiments enabled by the specification. Dr. Trout

 takes a reverse (spec ification ➔ claim s) approach, asserting that the ·' formulations, which

  Regeneron [purportedly] invented and described in the ' 865 patent, uniformly achieved the

 claimed pro perty recited in each of the ' 865 Asserted Claims, i.e .. ' at least 98% of the VEGF

 antagonist is present in native conformation fo llowing sto rage at 5° C. for two mo nths as measured

 by s ize exclusion chromatography.'" (Trout Resp. at ,i 359). l disagree.



  13
    It is my understanding that neither Regeneron nor Dr. Trout ever offered a pro posed construction
 (or argument) for the " native conformation" claim term that would exclude lyophi lized
 formulatio ns. Moreover. as I explain above, there is nothing in the claims or specificatio n that
 would preclude a POSA from reconstituting a lyophilized formulation in accordance with Example
 7 and sto ring that reconstituted liquid fonnulation at 5° C for two months (and subsequently testing
 it under SEC).



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         34.       Dr. Trout' s statement here is incorrect. Only one formulation described in the ' 865

  patent specification purportedly "achieved the claimed [98% native conformation] property recited

  in each of the ' 865 Asserted Claims." (Trout Resp. at ,i 359 (emphasis added)). As I explain in

  my Opening Report (ilil 80-91), Example 3 is the only formulation in the ' 865 patent that

  purportedly describes a vial formulation that both (i) comprises 40 mg/ml VEGF Trap-

  Eye/aflibercept "wherein at least 98% of the VEGF a ntagonist is present in native conformation

  following storage at 5° C. for two months as measured by size exclusion chromatography" and (ii)

  purportedly meets the other required e lements of the Asserted C laims (assuming polysorbate is an

  organic co-solvent as Regeneron argues). Dr. Trout's statement incorrectly implies that the patent

  describes multiple such formulations-i t does not. With that correction, l understand Dr. Trout' s

  opinion as asserting that because QE£ form ulation described in the specification purportedly

  satisfies the Asserted Claims, the " breadth of the claims" must be bound by that example. Stated

  another way, Dr. Trout is using a single, preferred embodiment to limit the ·' breadth ofthe claims"

  (i.e., reading the limitations of Exam ple 3 into the Asserted Claims). I disagree. For the reasons

  I explain above, the Asserted Claims are not so limited.

         35.       Dr. Trout also contends (again, from specification ➔ cla im s) that "the POSA

  reading the specification and practicing the claims would proceed with a liquid form ulation" and

  " would not use a lyophilized formulation to practice the claimed inventions ." (Trout Resp. at ,i

  360-361 ).     I again disagree.   The Asserted Claims very c learly cover many more poss ible

  embodiments. Dr. Trout asserts that the POSA would only proceed w ith a liquid formulation (Id.

  at ,i 360) but the POSA would understand from the Asserted Claims and the specification (as I

  explain above, ,i 27) that the inventors expressly intended to ensnare more than just Regeneron·s

  preferred embodiment. The claim language encompasses an y type of formulation (liquid or




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  lyophilized) in a vial that is '·suitable" for intravitreal administration-the specification expressly

  states that such formulations include both liquid and lyophilized formulations, where lyophilized

  formulations can be reconstituted as solutions, suspensions, or emulsions. (See. e.g., MacMichae l

  Opening Reports at 1 I 06 (citing'865 patent at 7:32-34)).

          36.    The heart of Dr. Trout's opinion is that' [a]lthough the specification o f the ' 865

  patent does refer generally to suspensions and emu lsions, ' 865 patent at 7:31-33, the claims do not

  recite e ither such dosage form, and the POSA would not understand them to be within the c laims."

  (Trout Resp. at   362). ( disagree. The preamble to the Asserted C laims recites an "ophthalmic

  formulation suitable for intravitreal administration" and the specification (likewise) expressly

  includes lyophilized formulations as embodiments o f that exact, purpo rted invention. (' 865 patent

  at 1:45-52 (Field of the Invention) ('' The present invention is directed to phann aceutical

  formulations suitable fo r intravitreal adm inistration . . .     The invention includes liquid

  pharmaceutical formulations having increased stability. as well as formulations that may be

  lyophilize and reconstituted for intravitreal administration.")). The specification also repeatedly

  tells the POSA that its claimed invention is no t limited by the disclosed embodiments. 14 Dr. Trout

  provides no opinion o r argument that there is anything unsuitable about a lyophilized formu lation

  (or a reconstituted solution, suspensio n or emulsion thereof), nor can he, in my opinion, given the

  express inc lusion of such formulations within the breadth of the Asserted Claims . In my opinion,

 !!.Q POSA would agree with Dr. Trout's conclusion that upon reading the specification-including

  the above-mentioned disclosures- a POSA would interpret the Asserted C laims as somehow


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   See. e.g., ' 865 patent at 5:32-38 ("The present invention is not limited to particular methods,
 and experimental conditions described, as such methods and conditions may vary. It is also to be
 understood that the termino logy used herein is for the purpose of describing particular
 embodiments o nly, and is not intended to be limiting unless indicated, s ince the scope of the
 present in vention will be limited only by the appended claims.") (emphasis added); id. at 8:7-10.


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  excluding lyoph il ized formulations.

                          d.      Dr. Trout offers conflicting, unsupported opinions regarding
                                  the excipien ts falling within the breadth of the Asserted Claims.

          37.     Buffers. The Asserted Claims require a buffer. Claim 7 limits only the amount of

  " buffer'' to "5-25 mM."      Claim 18 states that the claimed formu lation ·'does not contain

  phosphate," which would seem to e liminate at least a phosphate-buffered formulation. Other than

  those two claims, the Asserted Claims provide no specificity regard ing what buffers fall w ithin the

  breadth of the claimed formulation, or how much . Accordingly, it is my opinion that the Asserted

  Claims (including c la ims 7, and those depending from claim 7) are nearly unlimited with respect

  to the formulation buffer 15 and concentration thereof. (See. e.g. , MacM ichael Opening Reports at

  ,, I 05, I 08, 11 9). That said, the '865 patent specification does not provide a s ingle example,

  instruction, guidance or mention (much less an enabling disclosure) of a formulation using a buffer

  other than a phosphate buffer. 16 Therefore, to the extent any formulation (other than a phosphate-

  buffered formulat io n) is determined to be within the scope of the Asserted C laims, they are not

  (and cannot be) enabled in my opinion.

          38.     Dr. Trout, on the other hand, seems to pick and choose buffers without any support

  in the patent claims or specification for differentiating between those available to a POSA (e.g.,




  15 At minimum, a POSA would know that at least the following buffers fall with in the scope of the

  pH range discussed in the ' 865 patent specification (i.e., 5.8-7.0 (see ' 865 patent at 2:33-38; id. at
  claim 8)) and/or the Asserted Claims: acetate (pH 3.8-5.8), succinate (pH 3.2-6.6), citrate (pH 2.1-
  6.2), histidine (pH 5.5-6.5), phosphate (pH 6.2-8.2), and triethanolamine (pH 7.0-9.0). (See
  MacMichael Opening at, 79).
  16 By comparison, Regeneron ·s disclaimed ' 231        patent (with a priority date over I year before
  the '865 patent's earl iest priority date) disclosed at least phosphate, citrate and histidine buffers as
  being suitable for YEGF Trap-Eye/aflibercept form ulations . ft is my understanding that, before it
  was disclaimed, Regeneron believed that the ·231 patent " could reasonably be asserted" against
  Mylan 's intravitreal formulation.



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  acetate, succinate, citrate, histidine, phosphate, and triethanolamine). For example, Dr. Trout

  seems to favor phosphate and histidine buffers, but rejects citrate and succinate buffers. Dr. Trout

  provides no support for his opinion in this regard. Dr. Trout also erroneously states that "fc/ ertain

  embodimen~ of the ' 865 patent use a phosphate buffer"-presumably to suggest that the ' 865

  patent provides non-phosphate buffered formulations as embodiments. (Trout Resp. at 1 364

  (emphasis added)). This is incorrect. All embodiments of the '865 patent use a phosphate buffer.

  The "865 patent does not mention a single other buffer, much less disclose an embodiment using

  one. As I explain above ( 1 19-20, 36, 36 n.14), the inventors expressed an interest to not narrow

  or limit the scope of the claimed formulations. Therefore, in my opinion, there is no basis for Dr.

  Trout to cherry-pick certain buffers (phosphate and histidine) and eliminate others (e.g., succinate,

  c itrate, acetate and triethanolam ine). 17

          39.     Dr. Trout also contradicts his opin ions regarding what a POSA would have

  " understood" regarding the use of such buffers in intravitreal formulations. For example, when

  arguing against the prior art Dr. Rabinow asserts as rendering the claims invalid, Dr. Trout

  contends that the POSA would have been unable to use the prior art teachings to routinely achieve,

  for example, a histidine-buffered VEGF Trap-Eye/aflibercept formulation at pH 6.2-6.3. (See,

  e.g. , Trout Resp. at 1331 , 336). However, when replying to my opinions, Dr. Trout states that the

  POSA " would have understood that other [non-phosphate] buffers could be used in an ophthalmic

  formulation suitable for intravitreal injection. such as histidine" and " would have understood that

  the role of a buffer in a formu lation is to maintain a stable pH. and would have understood that

  buffers have suitable pH ranges at which they function" without undue experimentation. (Id. at 1


  17
    Tn my opinion, either the Asserted Claims must be limited to phosphate-buffered formulations
 (as those are the only embodiment disclosed in the ' 865 patent) or the .. breadth of the claims"
 covers a ll buffers within the 5.8-7.0 pH range available to a POSA.



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  364). I disagree with Dr. Trout's two-sided opinions here. In my view, if (as Dr. Trout alleges) a

  (e.g.) histidine-buffered formulation meeting the Asserted Claims was not obvious to a POSA,

  then the Asserted Claims cannot be enabled because the ' 865 patent specification provides no

  information regarding such formulations that wasn ' t already known to a POSA at the time the ' 865

  patent application was filed. Conversely, if the Asserted Claims are enabled with respect to a (e.g.)

  a histidine-buffered formulation meeting the Asserted Claims (as Dr. Trout also alleges), then the

  Asserted C laims must be invalid as obvious because, again, the ' 865 patent specificat ion provides

  no information regarding such formu lations that wasn't already known to a POSA at the time the

  ' 865 patent application was filed.

         40.     Organic Co-solvents. I disagree with Dr. Trout's opinions provided in paragraph

  365 of his Reply report. Like many of his other opinions regarding enablement, Dr. Trout does

  not acknowledge the fu ll scope of the Asserted C laims . Specifically, Dr. Trout points out that

  claim 2, from which all the Asserted Claims depend either directly or indirectly, " recites an organic

  co-solvent that 'comprises polysorbate .. ,, (Trout Resp. at ,i 365). However, Dr. Trout does not

  address the effect of the "comprises" transition on the breadth of the form ulation. As I explain

  above (,J,J 19-20), the added limitations of claims 2, 4, and 5 on ly require that polysorbate be

  included in the overall formulation (i.e., ·'wherein said organic co-solvent comprises polysorbate)

  and be within a w ide concentration range for claim 4 ("said organic co-solvent comprises about

  0.03% to about 0.1 % polysorbate 20") or claim 5 ("said o rganic co-solvent comprises 0.0 l % to

  3% polysorbate"). Accordingly, the added limitations of claims 2. 4. and 5 neither require that

  polysorbate is (or must be) the ·'organic co-solvent," nor inform a POSA as to what exactly the

  organic co-solvent is. In other words, the claims expressly do not limit the '·organic co-solvent"

  to polysorbate as Dr. Trout seems to suggest. Instead, a POSA reading claims 2, 4, and 5 would




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  know from the repeated disclosures in the ' 865 patent specification that formu lations within the

  scope of the Asserted Claims may consist of ·'o ne or more" o rgan ic co-solvents. 18 (See, e.g. , ' 865

  patent at 2:33-38 ('·In one aspect, a stable liquid ophthalm ic formu lation is provided that comprises

  ... 0.0 1-5% of one o r more organic co-solvent(s) ... ,·);id.at 3: 11-16 (same); 4: 11-22 (same); 3:28-

  3 1 (" ... the organic co-solvent is selected from one or more of... " ) (emphasis added)).

  Consequently, even assuming polysorbate is an organ ic co-solvent (as Regeneron argues, but I

  disagree), c laims 2, 4, and 5 are expressly open-ended with respect to the type and amount of

  "organic co-solvent" used in the c laimed formu lation and therefore are only slightly narrower in

  scope than claim I.

          41.     Stabilizing Agents.      The ' 865 c la ims recite that the claimed ophthalmic

  fonn ulations comprise a "stabiliz ing agent," with c laim 11 reciting that the stabi lizing agent is

  selected from "sucrose, sorb itol, glycerol, trehalose, and mannito l."     In my opinion, Dr. Trout

  offers confl icting opinions regarding the POSA's knowledge of stabi lizing agents in intravitreal

  formulations. Specifica lly, in response to Dr. Rabinow, Dr. Trout asserts that the prior art would

  not teach a POSA how to routinely achieve a formu lation of the Asserted Claims using a sugar

  stabilizing agent selected from the group consisting of sucrose, sorbitol, glycerol, trehalose, and

  mannitol. (Trout Resp. at 1 337). However, in response to my opinions regarding the lack of

  enablement of the Asserted Claims, Dr. Trout shifts gears and states that "sugars and sugar alcohols

  like those described in the ' 865 patent have been known for over four decades to provide thermal

  stability to proteins.'· (Id. at 1 366). I disagree with Dr. Trout's two-sided opin io ns here, as well.

  As I explained in my Opening Reports (11 11 0, 139), "each different sugar, has unique biochem ical



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    For example, a formulation of the Asserted C laims might comprise 3% polyethylene glycol (a
  known organic co-solvent) and 0.1% polysorbate 20.



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  and biophysical properties that can affect its ability to work as a stabilizer" and " [t]here is not a

  single example of a working formulation with a sugar stabilizing agent other than sucrose (in the

  ' 865 patent]." In my view, if (as Dr. Trout asserts) a (e.g.) trehalose-stabilized formulation meeting

  the Asserted Claims was not obvious to a POSA, then the Asserted Claims cannot be enabled

  because the ' 865 patent specification provides no information regarding such formulations that

  wasn' t already known to a POSA at the time the '865 patent application was filed. Conversely, if

  the Asserted Claims are enabled with respect to a (e.g.) a trehalose-stabilized formulation meeting

  the Asserted Claims (as Dr. Trout also asserts), then the Asserted Claims are invalid as obvious

  because, again, the '865 patent specification provides no information regarding such formulations

  that wasn ' t already known to a POSA at the time the ' 865 patent application was filed.

         42.      rn sum, the ' 865 patent identifies a broad set of claim elements and covers large

  genera of formulations defined by their function-that is, the form ulation·s ability to maintain " at

  least 98% of the VEGF antagonist'' in " native conformation" after the formulation is " stor[ed] at

  5° C. for two months." Accordingly, r d isagree with Dr. Trout that "the scope of the (Asserted

  Claims] reasonably correlates to the scope of the disclosure of ophthalmic formu lations in the ' 865

  patent spec ification." (Trout Resp. at ,r 359).

                 2.       Wands Factor No. 4: The Nature of the Invention.

         43.      As I stated above, a POSA would have understood that not all of the formu lations

  with the claimed excipients would exhibit the c laimed stability. Even with the disclosure in the

  '865 patent specification, (Trout Resp. at ,r 369-70), the POSA would understand that the breadth

  of the claims reveals that undue experimentation would be required to make and test a l I the

  formulations within the scope of the claims. For example, just consideri ng liquid formulations,

  the POSA would know that "with many proteins it is not possible-especially considering the time




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  constraints for product development-to develop sufficiently stable aqueous formulations.

  Unacceptable denaturation and aggregation can be induced readily by the numerous stresses to

  which a protein in aqueous solution is sensitive; e.g., heating, agitation, freezing, pH changes, and

  exposure to interfaces or denaturants." (Carpenter at I 09). The POSA would also understand that,

  " even under conditions that thermodynamically greatly favor the native state of proteins,

  aggregation can arise during months of storage in aqueous solution [and] several chemical

  degradation pathways (e.g., hydrolysis and deamidation) are mediated by water [and] the rates of

  these and other (e.g., oxidation) chemical degradation reactions can be unacceptably rapid on the

  time scale of storage (e.g., 18-24 months) for pharmaceutical products." (Id. at 110). As such, in

  my op inio n, Wands Factor No. 4 favors a lack of enablement.

                  3.      Wands Factor No. 5: The State of the Prior Art.

          44.     Excipients. Dr. Trout responds to my opening opinions regarding ·'the state of the

  art" by declaring that (i) the excipie nts used in the Asserted Claims were all known in the prior art

  and (ii) the '865 patent inventors did not invent any new excipients or classes of excipients. (Trout

  Resp. at 11 371-372). While I agree with Dr. Trout's first statement, I never offered an opinion

  related to his second statement. As I stated in my Opening Reports, (MacMichael Opening Reports

  at 11128-129). the prior art teachings do not fill the significant gaps in the ' 865 patent specification

  regarding how to make and use the broad scope of formu lations under the Asserted C laims - for

  example: What buffer to use? Alone or in combination? At what concentration? l presented my

  opinions in this regard in express anticipation of Dr. Trout opin ing that the prior art Dr. Rabi now

 asserted in his invalidity analyses do not teach a POSA how to achieve a formulation of the

  Asserted C laims, which Dr. Trout did. (See. e.g. , Trout Resp. at Sections Xll-XIII). As I state

 above and in my Opening Reports, (MacMichael Opening Reports at il1 128-129), the ' 865 patent




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  specification offers no infonnation or teaching that was not otherwise previously disclosed in the

  prior art (including the list of excipients). Therefore, it is my opinion that, if the prior art does not

  render the claims inval id in accordance with Dr. Rabinow's opinions. the Asserted Claims are not

  (and cannot be) sufficiently enabled, and thus, are invalid.

          45.     In apparent support of his opinion, Dr. Trout cites to the testimony of Dr. Furfine

  who stated at deposition that "histidi ne is commonly thought ofas a buffer if you' re a formulation

  scientist." (Trout Resp. at ,i 372 (citing Furfine Tr. at 190:6-7)). Whi le I agree with that statement,

  I strongly disagree with Dr. Troufs suggestion that this supports the ' 865 patent disclosing and

  enabling a histidine-buffered formulation that meets the Asserted Claims. Dr. Trout did not

  address the deposition testimony that confirms the named inventors of the ' 865 patent never

  considered histidine a viable option for their intravitreal formulation. 19 Dr. Graham explained that

  co-inventor on the ' 865 patent, Dr. Dan Dix (Director of Formulation Development Group),20

  "would never have a liquid fonnulation with histidine as a buffer.'· (Graham Oep. 107:9-16; id. at

  118: 10-20 (Q. What was Dr. Dix' s disfavor for histidine in a liquid formulation? A. He believed

  it would tum yellow. Q. Any other problems that Dr. Dix had with using histidine in a liquid

  formulation? A. Not that I recall at this time, no. Q. And would the fonnulation turning yellow

  be an undesirable property for an intravitreal administration? A. A change in color in a fonnulation

  is undesirable.")). Dr. Furfine described Or. Dix 's expertise and contributions to the ' 865 patent

  as fo llows:

                  Dan [Dix] was an experienced fonnulations scientist, and he would
                  have contributed very strongly to the kinds of excipients that could

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     Or. Furfine also testified that he could not recall Regeneron ever producing a histidi ne-buffered
  intravitreal fonnulation (Furfine Tr. at 129: 16-22, 130: 1-7, 192:6-22, 2 16: 17-21) and that he had
  not seen any documents reflecting such a formulation (Furtine Tr. at 130:8-19, 193: 1-8).

  io See RGN-EYLEA-MYLAN-00554962


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                      stabilize the VEGF-Trap to various types of stresses and would have
                      had a lot of strategic direction in choosing what we might try, analyzing
                      the results, and -- there's one other thing I was thinking of but has now
                      evaporated from my brain. Well, certainly, those -- those two aspects
                      he would have -- oh, and -- and also how to assess the -- the stability as
                      well, what -- what methods were used to understand the variety of
                      degradation pathways that a protein can undergo. He was an expert at
                      all of those things ...

      (Furfine Dep. at 237: I - I 6). Accordingly, Ors. Furfine and Graham's testimo ny confirms that

      Regeneron never possessed (and quite likely never even considered) a histidine-buffered solution

      that meets the Asserted Claims. (See also MacMichael Opening Reports at             136 ("There simply

      is no indication in the ' 865 patent that the inventors possessed anything but a phosphate-buffered

      / sucrose-stabilized formu lation.''): id. at 11137, 139. 140, 142).

              46.     Size Exclusion Chromatography. 1 disagree with Dr. Trout's response to my

      Opening Report at parag raph 129. Dr Trout claims that the absence of parameters from the

      specification somehow favors enablement, especially regarding the absence o f any parameters of

      SEC. (Trout Resp. at 1373). In the ' 865 patent, SEC is no t merely one test among many used to

      test the formulations, it is the only test that is cited in the claim s that all the formulations must

      satisfy. Jn my opinion, the POSA would understand that based on the importance of the SEC

      testing, details in the specifications would be required for enablement. Dr. Trout was able to find

      only two references to support his proposition that " multiple references cited by Drs. Rabi now and

      MacMichael describe size exclusion chromatography without providing the details of how the

      assay was performed. Arvinte at 1162; Fyfe at 58:2-9.'. (id.). Arvinte uses SEC as o ne o f many

      tests discussed in the specification, is not required by any of the c laims, and Dr. Trout's citation is

      to the one- and on ly-time SEC is mentioned in the Examples. Dr. Trout' s citation to Fyfe is also

      to the only place in the document that mentions SEC and it is not required by any of the claims

      that are directed to methods for treating cancer. As such, it is my o pinion that as SEC is a



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  cornerstone in the Asserted Claims of the '865 patent, the POSA, understanding that using

  different parameters would produce different results and in order to obtain reliable data with the

  SEC testing, would deem the claims lacking enablement without any recitation of the particular

  parameters to be used.

            47.    Dr. Trout claims that following guidance documents, such as the United States

  Pharmacopoeia, "assay validation protocols for SE-HPLC analysis for purity and protein

  concentration are easily developed." (Trout Resp. at~ 86). I disagree. As Dr. Trout and Allen

  19992 1 state, this ··assay validation protocol" is the second step after assay development. (Id.; see

  also Allen 1999 at 534-535). The first step, assay development, " produces a method that requires

  validation for the analysis and release of materials.'' (Allen 1999 at 534). In particular, Allen 1999

  discusses the varied parameters that must be considered in assay development:

            In the development of a SE-HPLC method the variables that may be manipulated
            and optimized are the column (matrix type, particle and pore size. and physical
            dimension), buffer system (type and ionic strength), pH, and solub ility additives
            (e.g., organic solvents, detergents). Once a column and mobile phase system have
            been selected the system parameters of protein load (amount of material and
            volume) and flow rate should also be optimized. A beneficial approach to the
            development of a SE-HPLC method is to optimize the multiple variables by the use
            of statistical experimental design. Also, information about the physical and
            chemical properties such as pH or ionic strength, solubility, and especially
            conditions that promote aggregation can be applied to the development of a SE-
            HPLC assay. T ypical problems e ncountered during the development of a SE-
            HPLC assay are protein insolubility and column stationary phase effects. These
            issues are best addressed by the manipulation and optimization of the column
            matrix type and mobile-phase parameters.

  (Id. at 534-535). Without including parameters for the SEC testing in the ' 865 patent specification,

  the POSA would be required to develop the parameters as outlined above in Allen 1999, which, in

  my opinion, would require undue experimentation. Further, in support of his opinion that "[a]s of


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       Dr. Trout relies on Allen 1999 at paragraphs 84-86 of this Responsive Report.



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  June 2006, size-exclusion chromatography was regularly used to detennine the degree of protein

  aggregation," Dr. Trout cites to Varley 1997. (Trout Resp. at ,i 88). I note that Varley 1997 clearly

  disclosed the parameters of the SEC analysis that was performed in the study.

          SEC analysis ,was performed using a Pharmacia Superdex G-75 HR I 0/30 column
          (Pharmacia, Uppsala, Sweden) pre-equilibrated in phosphate buffered saline ( PBS).
          50 µI of sample was loaded onto the column and eluted at I mL/min in PBS . The
          absorbance of the eluate was mo nitored at 280 nm. Where required mo lecular
          weight was estimated by comparison of the elution position to those of mo lecular
          weight markers (BioRad Laboratories, Herc ules CA, USA).

  (Varley 1997 at 438). Dr. Trout does not even address the simple fact that each of the various

  formulations need to be tested in accordance with the Asserted Claims, com po unding the

  enablement problem w ith the ' 865 patent. As such, in my opinion, the absence of any s uch

  parameters for the SEC testing that is required by the Asserted C laims favors lack of e nablernent.

          48.     In summary, the prior art as a whole does not support the enablement of the claims,

  especially as the prior art already discloses an ophthalmic formulation of the c laimed VEGF

  antagonist fusion protein. that prote in ' s glycosylation, and the specific c laimed dosage.

                 4.       Wands Factor No. 6: The Level of Ordinary Skill.

          49.     l disagree with Dr. Trout that I somehow misquoted Regenero n's arguments made

  to the U.S. Patent and Trademark Office ("USPTO") in support of the pate ntability of the '840

  application (the application that lead to the ' 546 patent). In fact, the additional language suppl ied

  by Dr. Trout further belies his opinion that the claims are enabled. Dr. Trout states that " [t)he full

  quotation reads: 'Thus, one of ordinary skill in the art upon reading Rem ington's would expect to

  engage in signifi cant no n-ro utine experimentation to develop a successful fo rmulatio n as c laimed

  here in.,., (Trout Resp. at~ 376). My opinion stand s - the POSA, now including a ll the knowledge

  of Remington 's, would still "expect to engage in significa nt non-routine experimentation to

  develop a successful fonnulation ." (See MacMichael Opening Reports at ,i 127). Further, my



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  citation to Dr. Dix that "(t]onn ulatio n of phannaceutical preparations and achieving a stable

  composition is no t a s imple or routine matter,'' in the prosecutio n of the European equivalent o f

  the ' 546 patent, EP459, bearing the specificatio n a nd c la ims as outlined above (and thus equivalent

  to the ' 865 pate nt), is clearly re le vant as the c la ims conta in fonnulatio ns of the same YEGF

  antagonist fu sion prote in, VEGF TrapR l R2, and the examples in the specificatio n likewise address

  formulatio ns of that prote in. (See id) . According ly, in my opinio n, Wands Facto r No. 6 favors a

  lack of enablement.

                  5.      Wands Factor No. 7: The Level of Predictability.

          50.     A Itho ugh Dr. Trout disagrees, (Trout Resp. at ,r 377), I stand by my o pin ions

  regarding my c itatio n to Dr. Dix. that "[f] o nnulation of pharmaceutical preparations and achieving

  a stable composition is not a simple o r routine matte r," as o utlined during the prosec ution of the

  European equivale nt of the '546 patent, EP459. (See also MacM ic hael Ope ning Reports at ,r 127).

  Dr. Trout states that the in ventors did not invent any new excipients o r classes ofexcipients, (Trout

  Resp. at ,r,r 371-372), so, in m y opinion, Dr. Dix was discussing that, w ith the excipients known at

  the time, fonnulating pharmaceutical preparations was unpredictable. (See EP459 Di x Declaratio n

  ,r I 0). As o utlined above, Dr. Furfine testifi ed tha t ·' [Dr. Dix] was an experienced formulations
  scientist, and he wou ld have contributed very strong ly to the kinds o f excipients that could stabilize

  the VEGF-Trap to various types of stresses and would have had a lot of strategic d irection in

  choosing w hat we might try, ana lyzing the results, and [] a lso how to assess the[] sta bi lity as well ,

  w hat [] methods were used to understand the variety of d egradat ion pathways that a protein can

  undergo. He was an expert at all o f those things." (Furfine T r. at 237: 1-16). The spec ification o f

  the '256 application is almost identica l to that of the ' 865 patent and the pro posed c la ims were to

  fo rmulatio ns sim ilar to those found in the ' 865 patent. Dr. Dix's statements to the USPTO to




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  obtain issuance of this related patent, in my opinion, are highly relevant. As such, I disagree with

  Dr. Trout that Dr. Dix's statements do not address the teachings of the ' 865 patent specification.

  (Tro ut Resp. at ,i 377). More importantly, as I outlined in my Opening Report (ii 114), Dr. Dix

  told the Examiner that even among the same family of excipients, the effects on stability of the

  formulatio n were unpredictable as one PEG excipient (e.g., PEG 3500) was able to provide a stable

  formulat io n, whereas another PEG excipient (PEG 300) was not. ('256 App Dix Declaration at ,i,i

  5-10). In addition, Dr. Dix a lso declared to the Examiner that different combinations, ratios, and

  ranges can impact the stability profile of a form ulation. (Id. at ,i 5).

          51.     From the above declaration of Dr. Dix based on the '256 application, the POSA

  would know that experimentation, even with the specification of the '865 patent specification in

  hand, would be unpredictable, as the '256 application is almost identical to the '865 patent

  specification. Based on this, I disagree w ith Dr. Trout that the '865 patent specification provides

  guidance. (Trout Resp. at ,i 378). Other than the excipients expressly used in the Examples and

  at the specific concentrations disclosed therein. the specification is lacking in guidance as to other

  excipients (e.g., citrate, succinate, histidine, trehalose, etc.) that may be used to obtain the

  formulations of the Asserted Claims.        Preparing and testing such formulations (including by

  running SEC experiments) as I outline in my Opening Report (iii! 79, 115-123), in order to practice

  any other formulation (much less the full scope) of the Asserted Claims, even beginning with the

 examples and making modificatio ns to make additional formulations, would be undue.

  Accordingly, in my opinion, Wands Factor No. 7 favors a lack of enablement.

                 6.       Wands Factor No. 2: The Direction and Working Examples in the
                          Specification.

         52.      I disagree with Dr. Trout that the disclosures and Examples in the ' 865 patent would

  enable the POSA to make and use the c laimed ophthalmic formulations without undue



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  experimentation.    (Trout Resp. at , 379).      I also disagree with Dr. Trout that the undue

  experimentation resulting from the lack of important details in making the claimed formulation

  (such as the order ofaddition of the excipients and VEGF antagonist, mixing times, concentrations,

  temperatures, etc.) are "topics distant from the subject of the claimed inventions." (Id. at, 380).

  The ' 865 patent is directed to pharmaceutical formulations having increased stability. ('865 patent

  at 1:49-50). The POSA would understand that determining these details (such as the o rder of

  addition) is important to the stability of a formulation. I note that the only step in making the

  claimed formulations that Dr. Trout could find in the ' 865 specification happens after the assembly

  of the formulation and concerns the storage temperature of the assembled formulation- namely,

  the second wherein clause of claim I. (Trout Resp. at    380).

         53.     Dr. Trout cites to Wang 2005 for the explanation that ·'protein aggregation is

  arguably the most common and troubling manifestation of protein instability, encountered in

  almost all stages of protein drug development." (Trout Resp., 64 (citing Wang 2005 at I)). Dr.

  Trout also states that "[t]he formation of soluble or insoluble aggregates can depend on the protein

  itself and its environmental conditions. (Id. at, 65 (citing Wang 2005 at 7)). As Wang 2005

  discusses, temperature, pH, ionic strength, protein concentration, and organic solvent are some of

  the external factors affecting protein aggregation.     (Wang 2005 at 8. Table I).        How the

  formulations are assembled, including order ofaddition, could expose the protein to various ranges

  of temperature, pH, ionic strength, protein concentration, and organic solvent that could lead to

  instability of the VEGF Trap RI R2. (See Chi at 1333 ("solution conditions need to be chosen not

  only to stabi lize the protein native conformation but also to stabilize protein against attracti ve

  intern,olecular forces" achieved through optimizing ·'ionic strength, pH, and buffer type [] to

  minimize precipitation and other adverse events (e.g., deamidation)."). Again, the ' 865 patent




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  provides no gu idance regarding the assembly or orde r of addition for the claimed formulations.

  Accordingly, in my opinion, Dr. Trout's own references confirm the lack of enablement of the

  Asserted Claims.

            54.   Buffer Systems. I disagree with Dr. Trout that the ' 865 patent teaches how to

  prepare a sufficient buffer system and that the POSA would have recogn ized that the invention

  was not limited to a single buffer. (Trout Resp. at 1381 ). I a lso disagree that Gokarn only teaches

  that proteins themselves have some buffering capacity. (Id.) . Gokam shows that not only does

  the POSA have to take into consideration the buffer system, but also the fact that the protein itself

  can act as a buffer. (See, e.g., Gokarn at 3: 15-21 ). The '865 patent does not provide any guidance

  for preparing a sufficient buffer system- even for the single buffer found in the specification,

  phosphate. Accordingly, in my opin ion, Gokam confirms the lack of enablement of the Asserted

  Claims.

         55.      Organic Co-solvents. In paragraph 382 of his Responsive Report, Dr. Trout repeats

  the same misinterpretation of the Asserted Claims I addressed above (see 1125-51 ) -specifically.

  Dr. Trout states that ·'the '865 Asserted C laims are each limited to an ·organic co-solvent

  comprising polysorbate' (or polysorbate 20)." This is incorrect. The Asserted C laims only require

  that the "organic co-solvent comprises polysorbate" -they neither require that polysorbate is (or

  must be) the ''organic co-solvent," nor inform a POSA as to what exactly the organic co-solvent

  is. Consequently, even assuming polysorbate is an organic co-solvent (as Regeneron argues, but

  I disagree), the Asserted Claims are expressly open-ended with respect to the type and amount of

  ·'organic co-solvent" used in the claimed formulation and therefore are nearly unlimited in scope,

  like claim I. Accordingly, in my opinion, a POSA would require undue (and indeed extensive)

 experimentation to practice any formulation (other than the Example 3 preferred embodim ent)




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  much less the full scope of the "organic co-solvent" element of the Asserted C laims .

         56.     Stabilizing Agents. I disagree with Dr. Trout that the patent describes several

  stabilizing agents . (Trout Resp. at 1 383). At best, the ' 865 patent only lists the following

  stabilizing agents: " sucrose, sorbitol, glycerol, trehalose, and mannitol." ('865 patent at 3:25-27).

  The '865 patent only describes examples of formu latio ns with a single stabilizing agent, sucrose.

  (MacM ichae l Opening Reports at ~1 118). The POSA would understand that the specification

  discloses only one stabiliz ing agent, as such, in my opinion, it would require undue

  experimentation for a POSA to develop working formulations using any stabil izing agent at any

  concentration as the claims purportedly cover. (Id.).

         57.     Buffers.    I disagree with Dr. Trout that I didn't demonstrate any undue

  experimentation that would result from testing different buffers. (Trout Resp. at 384). The entire

  ' 865 patent (specification, examples and claims) use o nly one buffer, phosphate. Dr. Trout

  (focusing on histidine) admits that other buffers were known in the art, but he fails to address (or

  even acknowledge) the different effects different buffers may have o n a formulation. (MacMichae l

  Opening Reports at 1 119). Instead, Dr. Trout again focuses his responsive opinions on the s ingle,

  preferred embodiment described in the patent that purportedly falls within the scope of the

  Asserted Claims, stating that the " POSA would have understood that at this preferred pH [6.2-6.3],

  limited buffers would have been contemplated for an ophthalmic form ulation suitable for

  intravitreal injection," but then doesn·t describe this limited list. (See Trout Resp. at       384).

  Neither does the ' 865 patent specification. I disagree with Dr. Trout that this single embodiment


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     Dr. Trout also accuses me of failing to explain the experimentat ion necessary to practice the
  scope of the Asserted Claims. (Trout Resp at 1382). This seems to turn to the enablement analysis
  on its head. In essence, Dr. Trout is placing the burden on the POSA to fill in all the gaps in
  the ' 865 patent specification. In my opinion, Dr. Trout's accusations against my opinions only
  emphasize that the Asserted Claims are not enabled.



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  either (i) narrows the scope (or breadth) of the Asserted Claims or (ii) enables their full scope. For

  example, the preferred pH range Dr. Trout keeps referencing (6.2-6.3) is required by only one

  Asserted Claim, c laim 9- al l the other Asserted Claims encompass at least the full pH range

  described in the specification (5.8-7.0).      As I explain above, several known buffers were

  commonly used in the prior art within that range: acetate (pH 3.8-5.8), succinate (pH 3.2-6.6),

  citrate (pH 2.1-6.2), histidine (pH 5.5-6.5), phosphate (pH 6.2-8.2), and triethanolam ine (pH 7.0-

  9.0). (See MacMichael Opening Reports at ,i 79).

          58.     Dr. Trout claims that histidine was "'preferably omit[ted]" from the specification of

  the ' 865 patent. (Trout Resp. at 385). I disagree. Although histidine was well known to a POSA,

  the named inventors of the ' 865 patent never possessed, developed, or even cons idered developing

  a histidine-buffered formulation that meets the Asserted Claims. (See ,i 45). As Drs . Furfine and

  Graham testified, the ir co-inventor, Dr. Dix, " would never have a liquid formulat ion w ith histidine

  as a buffe r." (See. e.g., Graham Tr. at I 07:9-16). Accordingly, histidine was never intended to be

  included in, much less enabled by, the ·865 patent specification.

         59.      I disagree with Dr. Trout that the Dix '23 1 patent disclaimer doesn ' t have any

  relevance to the enablement of the ' 865 patent. (Trout Resp. at ,i 386). The fact that Regeneron

  refused to use histidine in any of its liquid formulations prior to June 2006, (see Graham Tr. at

  118:4-23; id. at 107:5-16), that Dr. Dix had " things that you would never do, a nd one was you

  would never have a liquid fonnulation with histidine as a buffer ... he was resistant to that,"

  (Graham Tr. I 07:9-16), and that Regeneron had to disclaim histidine-buffered formulations of the

  same VEGF antagonist fusion protein in a similar patent, reflects the ' 865 patent' s lack of

  disclosure, description, o r enablement of such formulations.

         60.     I disagree with Dr. Trout that the specification provides multiple examples of




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  formulations that meet the "stability properties (presumably referring to the native conformation

  I imitation of claim I)." (Trout Resp. at 1 387). Despite his admonitions throughout his report that

  claim I is not being asserted, he bases his opinion in paragraph 387 on claim I when he states in

  the chart on page 157 that all of these formulations meet the claim limitations. Ln fact, as I outlined

  in my Opening Report, only Example 3 purportedly falls within the scope of the Asserted Claims.

  (MacMichael Opening Reports at 1188-91). As such, I disagree that ..the POSA would begin with

  these formulations in order to practice the invention." (Trout Resp. at 1388). In my opinion, there

  is only one example that purportedly falls within the scope of the Asserted Claims, and to make

  and test all the other claimed excipients based on one example would be undue. Thus, in my

  opinion, Wands Factor No. 2 favors a lack of enablement.

                 7.      Wands Factor No. 1: Quantity of Experimentation.

         61.     Dr. Trout states that the ·' '865 patent describes a genus of formulations comprising

  the specific claimed YEGF antagonist fusion protein that is glycosylated, together with a buffer, a

  stabilizing agent, and an organic co-solvent." (Trout Resp. at ,i 389). Although I agree that the

  "865 patent describes a broad genus of formulations, I disagree w ith Dr. Trout's assertion that the

  patent "then exemplifies multiple such formulations and discloses testing data demonstrating that

  they achieve the claimed level of native conformation set forth in claim I." (Id. (emphasis added)).

  As I explain above and in my Opening Reports, only Example 3 purportedly exemplifies a

  formulation meeting any of the Asserted Claims (assuming that polysorbate is an organic solvent

  in the formulation as Regeneron contends, to which I disagree). (MacMichael Opening Reports at

  ,i,i 88-91 ). Examples I, 2, and 7 purportedly exemplify unasserted claim I but do not meet the

  added limitation of claim 2, which I understand is incorporated by each of the Asserted Claims;

  Examples 4, 5, 6, and 8 all lack at least one required component of claim I and therefore also do




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      not embody any of the Asserted Claims. (Id.).

              62.     Moreover, Dr. Trout fails to mention that all of the '865 patent Examples are

      phosphate-buffered and are sucrose-stabilized (when containing a stabilizing agent). No other

      buffer or stabilizing agent is used in any formulation described in the "865 patent even though the

      Asserted C laims are nearly unlimited with respect to the type and amount of buffer or stabilizing

      agent used in the claimed fonnulations. Quoting Dr. Furtine (named inventor of the ' 865 patent)

      as support, Dr. Trout describes the '865 patent as providing a --recipe book," purportedly

      "teach(ing] the POSA how to make and use the claimed fonnulations without undue

      experimentation." (Trout Resp. at~ 389 (citing Furfine Tr. at 196: 15 - 197: 15)). I disagree. At

      best, the '865 patent is a book of only one recipe for the Asserted Claims. The POSA would

      require undue (and indeed extensive) experimentation to make and use any other formulation

      captured by the incredibly broad scope of the Asserted Claims. (See, e.g., MacMichael Opening

      Reports at~~ 130-131 ).

              63.     Over several paragraphs, 1390-95, Dr. Trout attempts to discredit my opinion that

      it would require a large amount of experimentation to make any formulat ion other than the one

      preferred embodiment of the Asserted Claims (much less the full scope of formulations

      encompassed by the '865 patent claims). (See MacMichael Opening Reports at~ 124). Dr. Trout

      states that my opinion "assumes the POSA would make and test fonnulations within the claims at

      random and that each formulation would have to be tested to predict its properties with respect to

      native conformation.'" (Trout Resp. at 390). Dr. Trout also states that '·the POSA would evaluate

      the particular options set forth in the specification, rather than evaluating every single option within

      a range." (Id. at~ 391). Further, Dr. Trout states that " [f]or many form ulations within the claims,

      the POSA wou ld not have to undertake any experimentation at all," citing in support Example I.




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  (Id. at ,r 393). Dr. Trout then states that the POSA can look at all the examples by just ignoring

  certain differences in the fonnulations. such as concentration of the VEGF antagonist. (Id. at ,r

  395). I disagree for at least the following reasons.

         64.     First, I never offered an opinion that '·the POSA wou ld practice the claimed

  invention by making ' over 35 million different fonnulations. "' (Trout Resp. at ,r 390 (emphasis

  added) (citing MacMichael Opening Reports at ,r 124). My calculations were very clearly directed

  toward ill ustrating the breadth of the ' 865 patent claims. (See MacMic hael Opening Reports at ,r

  79). Nor did I ever suggest that "the POSA would make and test formulations w ithin the c laims

  at random." (Trout Resp. at ,r 390 (emphasis added) (citing MacMichael Opening Reports at ,r

  79). As I explained in detail above and in my Opening Reports, the only form ulation described in

  the '865 patent that purported ly meets the Asserted Claims is phosphate-buffered, sucrose-

  stabi lized, and comprises polysorbate 20 (i.e., Example 3). Accordingly, the POSA has no other

  teaching to " begin with'' in her quest to make and use any other formulation covered by the

  Asserted C laims (e.g., a histidine-buffered and/or trehalose-stabi lized formu lation). My opinions

  expressly assume that a POSA would use the "examples and preferred embodiments" of the ' 865

  patent- the problem, which Dr. Trout does not mention, is that those disclosures can on ly teach

  how to make and use a very specific, narrow embodiment. 23 •24



  23 Examples I and 2 (which are not embodiments of the Asserted Claims) provide no meaningful

  teachings compared to Example 3 for a POSA to make and use any other formulation (e.g.,
  histidine-buffered and/or trehalose-stabilized formu lations) that falls w ithin the scope of the
  Asserted C laims.
  24 In my o pinion, Dr. Trout contradicts his opinions regarding "excipients that were tested or
  contemplated in other intravitreal drug products." (Trout Resp. at ,r 390). In response to my
  opinions, Dr. T rout asserts that the '865 patent would enable a POSA to use such excipients (which
  are not disclosed in the specification) to achieve a fo rmulation meeting the Asserted C laims (id.
  (citing S hams and Gaudreault 2005)); however, in response to Dr. Rabinow' s op inio ns. Dr. Trout
  states that those exact same prior art teachings would not teach a POSA to achieve such a


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          65.     Second, I never asserted ·'that, to practice claim I, the POSA would evaluate 336

  permutations oforgan ic cosolvent and 210 permutations of a stabi Iiz ing agent." (Trout Resp. at ,r

  39 1 (citing MacMichael Open ing Reports at ,r 79)). Again, my calculatio ns were very clearly

  directed toward illustrating the breadth of the ' 865 patent c laims. (See MacMichael Open ing

  Reports at ,r 79). I reject Dr. Trout's m isrepresentatio ns o f my opinio ns. Moreover, Dr. Trout' s

  respons ive o pinio ns are s ignifi cantly flawed in that he, again, igno res the fu ll scope of the Asserted

  C laims and exaggerates the teachings of the ' 865 patent specification. Specifically, Dr. T ro ut

  states: " the POSA would evaluate the particular options set forth in the specification, rather than

  evaluating every s ing le option within a range ." (Trout Resp. at ,r 39 I). As I explain in detai I above

  and in m y Opening Reports, the ·'options set forth in the specification" themselves are extremely

  broad-for example:


                          In one aspect, a stable liquid opbthalmic formu lation is
                       provided that comprises 1-100 mg/ml VEGF-specificJusion
                       protein antagonist, 0.01-5% of one or more organic co-
                       solwnt(s ). 30- I 50 mM.. of one or more tonicity agent(s),
                       5-40 mM of a butlering agent. and optionally, J .0-7.5% of
                       a stabili7ing. agent. pl I between abo ut 5.8-7.0.


  (' 865 patent at 2:33-38 (emphas is added); id. at 3: I 1-16 (same);


                          In another aspect, a lyophiliz.ablc ti.mnulation of a vas-
                       cular endotheliaJ growth factor (VEGF)-specific fttsion pro-
                       tein an tagonist is provided, comprising 5-50 mg/ml of the
                       VEGF antagonist, 5-25 mM butlcr, such as phosphate buffer,
                       0.0 I to 0.1 5% o f o ne or more of an organic co-solvent such
                       as polysorbate. propylene glycol and/or PEG, and optionally
                       1-10% of a stabilizing agent such as sucrose, sorbitol,
                       trehalose, glycerol, or manuitol, pH about 5.8-7 .0. 1n various




  formu latio n. (See, e.g. , id. at Sections X III.A.2., Xlll.D.). T his makes no sense. In my o pinio n,
  the Asserted Claim s cannot be both e nabled and non-obv ious.



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  id. at 4: 11-18 (emphasis added)). Likewise, the Asserted Claims are not reasonably limited to the

  single embodiment of those claims disclosed in the specification (Example 3).

         66.     Third, Dr. Trout again wrongly asserts that " the ' 865 Asserted C laims further

  narrow the organic co-solvent (claims 4, 5) along with the stabilizing agent (claim 11)." (Trout

  Resp. at ,r 39 1). As I explain above, (i) the added limitations of claims 2, 4, and 5, neither require

  that polysorbate is (or must be) the ·'organ ic co-solvent," nor inform a POSA as to what exactly

  the organic co-solvent is; and (i i) c laim 11 (which depends from claim I 0) on ly requires that the

  sugar of c la im IO(wh ich does not otherwise limit the stabiliz ing agent) be selected from the group

  consisting of"sucrose, sorbitol. glycerol, tre halose, and mannitol"'--c laim I I does not provide the

  amount or concentration, nor does it indicate whether the selected sugar is the stabilizing agent

  under c laim IO or whether the stabilizing agent of the fonnulation merely ·'comprises" the selected

  sugar of claim 11. In short, the Asserted Claims are only slightly less unlimited than claim I .

         67.     Fourth, Dr. Trout accuses me of " provid[ing] no rationale for how [lyoph il ized

  formulations reconstituted as suspensions and emulsions] fall with the ' 865 Claims, or, even if

  they did ... , why a POSA would seek to use them in practicing the c laims." (Trout Resp. at ,r 392).

  I d isagree with Dr. Trout's approach here. It is my understanding that the claims of a patent w ill

  not be read restrictively unless the patentee has demonstrated a clear intention to limit the c la im

  scope using words or expressions of manifest exclusion or restriction. Neither the ' 865 patent

  specification nor the Asserted Claims exclude lyophilized formulations (or reconstituted solutions,

  suspensions o r emulsions thereof).     To the contrary, the '865 patent specification expressly

  includes such formulations (as I explain above, see ,r,r 19. 19 n.5, 26-32). Accordingly, my

  " rationale'' for including such formulations comes directly from the '865 patent itself. Dr. Trout,

  however. (us ing his words) " provides no ratio nale for how such dosage forms" would be excluded




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  from the '865 Claim s, or how such formulat ions are enabled.

          68.     In 11393-395 of his report, Dr. Trout repeats the same assertions he makes in the

  previous paragraphs of his report. Therefore. for the same reasons I state above in reply to 11390-

  392 of Dr. Trout' s repo rt, I disagree with his opinions in 11393-395.

          B.     The '865 Asserted Claims Are Not Described.

          69.    Dr. Trout responds to my opin ions that the Asserted Claims are invalid for lack of

  written description "for s imilar reasons set forth above with respect to e nablement." (Trout Resp.

  at ,i 396). Although I disagree that my opinions regarding written description " largely echo" my

  opinio ns regarding enablement, my replies to Dr. Trout and disagreements with his opinions are

  consistent with reasons I've outlined herein (see ,i         17-68) and in my Opening Report,

  (MacMichael Opening Reports at ,i,i 144-163), all of wh ich I incorporate by reference.

          70.    Dr. Trout states that ..the '865 patent discloses formulations of the claimed VEGF

  antagonist fusion protein that achieve the claimed levels of native conformation as measured by

  size exclusion chromatography, both in exemplary form and in its disclosure of additional

  ingredients that may be used ... (Trout Resp. at ,i 399). l disagree. The Examples provide only

  one ( I) formulation that falls within the scope of the Asserted C laims. (MacMichael Opening

  Reports at ,i,i 80-91 ).   As such, the · 865 patent does not disclose a sufficient number of

  representative species to demonstrate the patentee invented or possessed the claimed genera of

  formulations. As there is only one example, the claims recite on ly " functiona lly-defined genera,"

  (Trout Resp. at~ 400), that are not described in the specification.

         71.     I disagree with Or. Trout that the "claims are defined by common structural features

  recited in the c laims and reflected in the specification, wh ich inform the scope of the claimed

  invention." (Trout Resp. at ,i 402). The one example that falls w ithi n the scope of the Asserted




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  Claims (see above) and Dr. Trout' s one instance in the specification that simply gives a laundry

  Iist of possible excipients, (Id. at~ 402 (citing ' 865 patent at 2 :33-48)), is not sufficient to convey

  to a POSA that the '865 patent inventors possessed the full scope of the claimed subject matter.

  The claims require some combination of (I) a YEGF antagonist fusion protein that is g lycosylated

  and comprises amino acids 27-457 of SEQ ID NO:4; (2) an organ ic co-solvent; (3) a buffer; and

  (4) a stabi liz ing agent. And, as I explain above, the Asserted C laims only slightly narrow that large

  scope. Further, there is no description in the ' 865 specification for all the possible buffers, organic

  co-solvents, and stabiliz ing agents that can be used in the Asserted C laims, o r the concentrations

  at which they can be used.

         72.      I disagree with Dr. Trout that the ' 865 patent describes species representative of the

  genus. (Trout Resp. at    1 405-407). As 1 discussed above and in my Opening Report, I disagree
  with Dr. Trout that the Examples provide more than one (l) formu lation that falls within the scope

  of the Asserted Claims. (MacM ichael Opening Reports at 11 80-91 ). As such, despite what Dr.

  Trout states in paragraph 406, based on the one example, Example 3, that allegedly falls within

  the scope of the Asserted Claims: (i) only Example 3 comprises the 40 mg/ml of the required

  YEGF antagonist and purports to achieve 98% or greater native conformation over two months·

  storage as measured by size exclusion chromatography, (ii) on ly Example 3 achieves the c laimed

  level of turbidity set forth in claim 15, (iii) only Example 3 purports to meet the 99% native

  conformation set forth in claim 16, and (iv) no example meets native conformation limitation set

  forth in claim 17. The specification fails to teach the POSA representative formulat ions with the

  claimed elements and fails to teach possession of the claimed genus.

         73.     Dr. Trout misrepresents my opinion regarding the lack of written description for

  claims 4-5. (Trout Resp. at 11 408-409 (citing MacMichael Opening Reports at 11 152-153). I




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  never stated "that the word ' comprising' renders the claim invalid." (Id.). My actual opinions are

  set forth in my Opening Reports, wherein I stated my understanding that the transitional term

  " comprises'' means " includes" and thus leaves the claim term (here, ·'organ ic co-solvent") open-

  ended. (MacMichael Opening Reports at ,r 152). The reason why claims 4 and 5 are invalid for a

  lack of written description, in my opinion, is that the ' 865 patent specification is completely devoid

  of any description as to what e lse may be included in the "organic co-solvent" of the claimed

  formu lation. For example, the specification repeatedly d iscloses that formulations w ithin the

  scope of the Asserted Claims may consist of " one or more" organic co-solvents. 25 (See, e.g. , ' 865

  patent at 2:33-38 (" In one aspect, a stable Iiquid o phthalmic formulation is provided that comprises

  ... 0.01-5% of one or more organic co-solvent(s) ... ");id.at 3: 11-16 (same); 4: 11-21 (same); 3:28-

  31 (" .. .the organic co-solvent is selected from one or more of. .. ") (emphasis added)). But that is

  it-no further description is provided and therefore, in my opin ion, a POSA would not have

  understood the inventors to be in possession of form ulations comprising the entire scope of claims

  4 and 5.

         74.     I disagree with Dr. Trout that the patent describes the 5-25 mM range of buffer

  concentrations listed in claim 7. (Trout Resp. at ,r 410). Dr. Trout points to one place, the only

  place, in the specification that lists a range of buffers but has no explanation for why the

  specification contemplates only phosphate buffer, (MacMichael Opening Reports at ,r 154), and

  that phosphate buffe r is only used in in concentrations of less than IO mM. (Id. at ,r 155). I stand

  by my opinion that a POSA would not have understood the inventors to be in possession of

  formulations comprising the entire scope of this excipient in view of the limited teachings of the



  25
    For example, a formulation of the Asserted Claims might comprise 3% polyethylene glycol (a
  known organic co-solvent) and 0.1 % polysorbate 20.



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                                           Reply.Add509
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  ' 865 patent.

          75.     I also disagree with Dr. Trout that claim 9 has written description support. (Trout

  Resp. at ,i 41 1). Dr. Trout c ites to three places in the '865 specification that lists the contemplated

  pH range. (/d. (citing ' 865 patent at 2:57, 2:62. 2:67)).        Dr. Trout fails to address that the

  specification only contemplates the use of a phosphate buffer, (MacMichae l Opening Reports at ,i

  156), and thus the specification does not convey to a POSA that the patentee possessed the entire

  range of working 40 mg/ml YEGF antagonist fusion protein formu lations with any buffer

  comprising a pH about 6.2-6.3.

          76.     I d isagree with Dr. T rout's opinion that the specification expressly contemplates

  other stabiliz ing agents. (Trout Resp. at ,i 41 2). The specification does not offer any '·guidance"

  on us ing any stabi liz ing agent other than sucrose. (MacMichael Opening Reports at ,i 158). In my

  opinion, a POSA would not consider a mere Iisting of sugars as ·'guidance" on how to use them in

  a formulation. Dr. Trout fai ls to explain how a POSA wou ld have understood the inventors to be

  in possession of formulations comprising any stabiliz ing agent other than sucrose, much less the

  entire scope of c laims IO or 11 , which inc lude non-sucrose sugars as wel l as non-sugar stabiliz ing

  agents. (See ,i,i 19-20, 41 , 56 above).

          77.     Based on the data in the '865 specification. I disagree with Dr. Trout that the POSA

  wou ld have understood that the inventors possessed other formulat ions w ith over 98% native

  conformation for 24 months as measured by size exclusio n chromatography. (Tro ut Resp. at ,i

  4 I 3-4 14). The only example, Example 3, that includes a YEGF antagonist fusion protein where

  the concentration is 40 mg/m l and contain 0.03% polysorbate 20. was o nly "tested at 0.5, I, 2, 3,

  and 4 months." ('865 patent at 9:27-28. 9:54-55). I disagree that a POSA would view the result

  at 4 months to support that this formulation would have over 98% native conformation for 24




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                                             Reply.Add510
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  months as measured by SEC as required by claim 17. Dr. Trout uses Example 1, a different

  formulation with different percentages of excipients and concentration of VEGF antagonist, to

  support his opinion that "the POSA would have understood that the inventors possessed other

  formu lations with over 98% native conformation for 24 months as measured by size exclusion

  chromatography." (Trout Resp. at 1414). The POSA, however, wou ld not understand that w ith

  only 4 months of data for Example 3, the o nly example that allegedly fa lls within the scope of the

  Asserted Claims, that the inventors possessed a fo rmulatio n w ith over 98% native conformation

  fo r 24 months as measured by SEC.

          78.         Dr. Trout states that the POSA wou ld understand that the ' 865 patent specificatio n

  teaches a phosphate buffer as well as known non-phosphate buffe rs suitable for intravitreal

  administratio n, based o n the language a " buffering agent" that " may be, for example, phosphate

  buffer." (Trout Resp. at ~ 415-416). I d isagree. The specification does not mention any other

  buffer than phosphate, and there is not a single example o f a working formu lation w ith a buffer

  other than phosphate. (MacM ichael Opening Reports at              161 ). Dr. Trout' s on ly explanatio n is

  to go outside of the '865 patent specificat ion and point to other art for other buffers. (Trout Resp.

              26
  at 1416).        Based o n the total absence of any other buffer being me ntio ned in the ' 865 patent, and

  Dr. T ro ut' s inability to identify intrinsic support fo r the same, a POSA wou ld not have understood

  the inventors to be in possession of formulations comprising the entire scope of this excipie nt in

  view of the lim ited teachings of the '865 patent.

         79.         For at least the reasons discussed above and in my Opening Reports, the '865 patent

  Asserted Clai ms are invalid for lack of written description because the '865 patent does not convey


  26
    As I explain above, Dr. Trout completely contradicts his own opinions in th is regard w ith his
  responses to Dr. Rabinow·s asse,ted prior art and obviousness opinions. (See ,i,i 22, 24, 38-39
  above).



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  to those skil led in the art that the named invento rs were in possession of the full scope o f the

  claims.

            C.    The '865 Asserted Claims Are Indefini te.

                  1.      O rganic Co-Solvent.

            80.   Or. T ro ut states that "[u]nder Regeneron's constructio n, there is no uncertainty: the

  POSA only needs to acknowledge the specification's explicit teaching that polysorbates like

  polysorbate 20 are o rganic co-solvents." (Trout Resp. at 1 4 17). I disagree. As I o utlined in my

  Opening Reports, the specification teaches neither (i) that polysorbates are o rganic co-solvents (in

  all formulatio ns at any concentration), nor (ii) that the cla ims are limited to formulatio ns that only

  include polysorbate. ( MacMichae l Open ing Reports at ~1 164-165). I note that Or. Trout does

  not deny that polysorbate is categorically known to a POSA as a surfactant. not as a co-solvent.

  (See Trout Resp. at 1 417 (failing to rebut MacMichael Opening Reports at 164, n.14); see also

  Wang 2007 at 2-4, Table I ("PS20" listed under column heading "Surfactant"); Nayar 2002 at 187,

  Table 2 ("'Tween 20"' listed under " Excipient C lass" column heading "Surfactants")). This is

  where the uncertainty lies: a POSA knows that although polysorbate may be used as a co-solvent

  under the correct conditions and at the correct concentration, it is categorically a surfactant, not a

  co-solvent. As the specificatio n and the claims do not notify a POSA as to the full scope of the

  c laimed formulatio n as to whether the polysorbate is acting as a co-solvent or whether the organic

  co-solvent includes a polysorbate, there is a zone of uncertainty around what constitutes

  infringement unde r the Asserted C laims. (MacMichael Opening Reports at~ 164-1 65).

                  2.      Native Conformation.

            81.   Native conformation, regardless of e ither Mylan's construction or Regeneron 's

  claim construction proposal, has meaning to a POSA. As such, I disagree with Dr. Trout that I




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  reiterated Mylan ' s claim construction position in determining that the term " native confonnation"

  is indefinite. (Trout Resp. at ,r 419). As I outlined above, the specification lacks important details

  in how the formulations are assembled, the details of which can affect the stabi lity of the VEGF

  antagonist. (See    ,r 46-48). In conjunction with the fact that the POSA would understand that
  "native con formation" concerns the fundamental chemical and/or physical instability of the VEGF

  antagonist and not just its size and shape, tbe POSA would have been aware that SE-HPLC merely

  measures certain types of instability products and does not account for many other forms of

  instability listed in the ' 865 patent. (See ' 865 patent at 5:53-60). Add to this the fact that the '865

  patent specification is devoid of all detai Is as to how the POSA is to test the formulations using

  SEC, it is still my opinion that the Asserted C laims are indefinite and nothing that Dr. Trout asserts

  convinces me otherwise.

                 3.       An Ophthalmic Formulation S uitable for Intravitreal Injection.

         82.      I disagree with Dr. Trout's opinion that the POSA would know that a formulation

  was ·'suitable for intravitreal injection" if it contained excipients suitable for such use in view of

  the '865 patent and the knowledge of the POSA (based on, e.g., others' disclosures or relevant

  pharmacopeial standards). (Trout Resp. at ,r 420). Dr. Trout fails to give any reason why this term

  is not subjective as it is merely based on the c laim requirement "at least 98% of the VEGF

  antagonist is present in native conformation following storage at 5° C. for two months as measured

  by size exclusion chromatography." Dr. Trout cites to Mylan 's documents, not the specification,

  in support. (Id.). I don ' t understand how Mylan's documents can help the POSA interpret the

  indefiniteness of the ' 865 patent.    I therefore disagree w ith Dr. Trout's reliance on Mylan' s

  documents.     I also disagree with Dr. Trout' s opinion that compl iance "with applicable

  pharmacopeial standards'' makes an excipient "suitable for intravitreal injection." (Id.). Dr. Trout




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  cites no authority for equating these two.

          83.     I also disagree w ith Dr. Trout's o pinion that disclosure "in ranibizumab intravitreal

  formu latio ns" makes an excipient '·suitable for intravitreal injection." (Trout Resp. at ,i 420). lf

  this was the criteria, then Regeneron 's phosphate buffer and sucrose in its Eylea form ulatio n would

  not be " suitable for intrav itrea l injection" as these were not used in Lucentis (which uses a histidine

  bufter and trehalose). (Shams at 31 :27-32). Accordi ng ly, the tenn "ophthalmic formulation

  suitable for intravitreal injection" is indefinite.

  VID. U.S. PATENT NO. 11,253,572 ("THE '572 PATENT").

          A.      Person of Ordinary Skill in the Art of the '572 Patent.

          84.     I unde rstand that Dr. Trout provided his o pinio ns " from the perspective of' the

  fo llowing, purported ·' [person of ordinary skill in the art]'" of the ·572 patent:

                  [T]he POSA would have an advanced degree, such as a Master·s in a
                  biophannaceutical science, or a related discipline, such as chem ical
                  engineering, and several years of experience in the development of
                  biologics products. Alternatively, the POSA could have a Ph.D. in
                  such discipline and less experience. The POSA may collaborate with
                  others, including a medical doctor w ith experience treating ophthalmic
                  diseases.

  (Trout Open. at 1) 32).

          85.     It is also my understanding that Regeneron has offered several other definitions fo r

  a person o r ordinary ski ll in the art of the ·572 patent. Specifically, I have been informed of the

  fol lowing, which I have listed in the chronological order that they were presented:

      •   2022-Feb-10: Regeneron and its expert w itness, Dr. Diana Do, offered the following

          defi nition for a person of ordinary skill in the art of the ' 338 patent, which I unde rstand is

          a parent of the ' 572 patent, and shares the same specificatio n:

                  [T]he skilled artisan is an ophthalmologist with experience in treating
                  ang iogenic eye disorders, including through the use of VEGF



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                 antagonists. ln the event that Mylan argues that the skilled artisan need
                 not be a licensed physician (ophthalmologist), whatever other
                 qualification they must possess, I disagree because only an
                 ophthalmologist would have the firsthand experience of diagnosing
                 and treating angiogenic eye d isorders to which the patent is plainly
                 directed.

  (Mylan Pharms. Inc. v. Regeneron Pharms., Inc. , IPR202 l-00881 , Ex.2051 at ,i 28 (P.T.A.B. Feb.

  I0, 2022) (emphasis added));

     •   2022-0ct-13: Regeneron did not dispute the following Mylan definition for a person of

         ordinary skill in the art of U.S. Patent No. 10,888,601 ("the '60 1 patent") and U.S. Patent

         No. 10, 130,681 ("the '681 patent"), which I understand are parents of the ·572 patent, and

         share the same specification:

                A [person of ordinary ski ll in the art] would have: (I) knowledge
                regarding the diagnosis and treatment of angiogenic eye disorders,
                including the administration oftherapies to treat said disorders; and (2)
                the ability to understand results and findings presented or published by
                others in the field, including the publications discussed herein.
                Typically, such a person would have an advanced degree, such as an
                M.D. or Ph.D. (or equivalent, or less education but considerable
                professional experience in the medical, biotechnological, or
                pharmaceutical field), with practical academic or medical experience
                in (i) developing treatments for angiogenic eye disorders (such as
                AMO), inc luding through the use of VEGF antagonists, or (ii) treating
                of same, including through the use ofVEGF antagonists.

  (See Mylan Pharms. Inc. v. Regeneron Pharms. , Inc., IPR2022-01226. Paper 2, 25-26 (P.T .A.B.

  July 1, 2022); id. , Paper 13, 1-5 (failing to define a POSA); Mylan Pharms. Inc. v. Regeneron

 Pharms., Inc. , IPR2022-01225, Paper 2, 28-29 (P.T.A. B. July I, 2022); id. , Paper 14, 1-4 (failing

  to define a POSA)); and

     •   2023-Feb-2: Regeneron and its expert witness, Dr. Karl Csaky, offered the fo llowing

         definition for a person of ordinary skill in the art of the ·572 patent in the Opening Expert

         Report of Karl G. Csaky, M.D. , Ph.D. Regarding Infringement of U.S. Patent Nos.

         11 ,253,572 and I 0,888,60 I ("Csaky Report''):


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                  [T]he POSA relevant to the Yancopoulos patents [which includes the
                  572 patent] is an ophthalmologist with experience in treating
                  angiogenic eye disorders, including through the use of VEGF
                  antagonists, and would have access to individuals with experience with
                  intravitreal injection fonnulations.

  (Csaky Report at 60).

          86.     It is a lso my understanding that the Patent Trial and Appeal Board ("PTAB'') for

  the United States Patent and Trademark Office ("PTO") adopted Mylan·s definition of the person

  for ordinary ski ll in the art as " reasonable and consistent with the '338 patent and the prior art."

  (Mylan ?harms. Inc. v. Regeneron Pharms., Inc. , IPR202 l-0088 I, Paper 21 , 15-16 (P.T.A. B. Nov.

  I 0, 2021 )). That definition reads as follows:

                  A [person of ordinary skill in the art] would have(:] (I) knowledge
                  regarding the diagnosis and treatment of angiogenic eye disorders,
                  including the administration of therapies to treat said d isorders; and (2)
                  the ability to understand results and findings presented or published by
                  others in the field, including the publications discussed herein.
                  Typically, such a person would have an advanced degree, such as an
                  M.D. or Ph.D. (or equivalent, or less education but considerable
                  professional experience in the medical, biotechnological, or
                  phannaceutical field), with practical academic or medical experience
                  in (i) developing treatments for angiogenic eye disorders (such as
                  AMD), including through the use of VEGF antagonists, or (i i) treating
                  of same, including through the use of VEGF antagonists.

  (Id. at 15).   I understand that the PTAB also adopted this definition in IPR2022-01226 and

  IPR2022-01225 regarding the '601 and ' 681 patents, respectively. (See Dkt. No. 254-2 at 15-16

  C60 I Institution Decis ion); Dkt. No. 254-1 at 20-21 ('681 Institution Decision)) .
          87.     In my opinion, the " perspective" Dr. Trout applied to form his opinions regard ing

  the '572 patent is not consistent with the education and experience for the person of ordinary skill

  in the art that Regeneron and the PTAB have respectively applied to the parent patents of the ·572

  patent. Dr. Troufs perspective is also inconsistent with Dr. Csaky's definition of a person of

  ordinary skill in the art for the ' 572 patent. Nevertheless. I qualify (and qualified as of the earliest



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  priority date of the '572 patent) as at least a person of o rd inary skill in the art unde r Dr. Trout ' s

  de finition . Furthe r, my o pinions regard ing the ' 572 patent would not change even if one were to

  apply Dr. Trout's definiti o n.

          B.       Claims 6, 12, 18, and 22 of the "572 Patent Are Not Adequately Described.

                   1.      "Formulated as an Isotonic Solution"

          88.      l d isagree w ith Dr. Trout's complaint that I offered " no reason" w hy the language

  in the '572 patent regarding " form ulated as a n isotonic solutio n" is insuffic ient. (Trout Resp. at 1

  430).   r clearly did. 1 e mphasized in my Opening Repo rt that " [t]he o nly mention in the '572
  specification of ·an isoto nic solution· is in an exemplary statement that ·[a]s the aqueous medium

  for injectio ns, there are,for example, physio logical sal ine, an isotonic solutio n conta ining g lucose

  and o the r auxiliary agents, etc ." " ('572 patent at 6:22-25 (emphasis added))."          (MacMichael

  Opening Re po rts at    173). T hat' s all that is found in the '572 patent regarding isoto nic solutio ns.

  This is a hypothe tical - a POSA would not have unde rstood the inventors to be in possession of

  ''an isoto nic solution" (much less the fu ll varie ty of isotonic solutio ns covered by the c laims) based

  on this one exemplary statement. ln m y opinio n, the ' 572 patent' s o ne exemplary use of " isotonic

  solutio n'· fa ils to adeq uately support the c laim reciting an isoto nic solution.

                  2.       "Formulated with a Nonionic Surfactant"

          89.     I a lso d isagree w ith Dr. Trout's compla int that I offered " no reason" why the

  language in the ' 572 pate nt regarding ..formulated with a nonionic surfactant" is insuffic ient.

  (Trout R esp. at 1 43 1). I c learly d id. I emphasized in my Ope ning Report that " [t]he o nly mentio n

  in the ' 572 specification of" a nonionic surfactant" is in an exemplary and prophetic statement that

  ... for example, [] an app ropriate [] nonionic surfactant [e.g., polysorbate 80, HCO-50

 (polyoxyethylene (50 mo l) adduct of hydrogenated castor oi l)], etc.' (' 572 patent at 6:22-30




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  (emphasis added ))". (MacMic hael Opening Reports at 11 176). T hat's a ll that is fo und in the ·572

  patent regard ing a non ion ic s urfactant. This is a hypothetical - a POSA would not have understood

  the invento rs to be in possession of" a no nionic surfactant" (much less the fu ll variety of no nio nic

  surfacta nts covered by the c laims) based on th is one exemplary statement. In my o pinion. the ' 572

  patent' s o ne exem plary use of·'a non io nic surfactant" fa i Is to adequate ly suppo rt the c la im reciting

  an isotonic sol utio n.

  IX.     THE PRIOR ART DISCLOSED VEGF TRAP-EYE/AFLIBERCEPT

          90.      [ have been asked to review statements that Regenero n made to the US PTO in

  connection w ith Regeneron ' s efforts to o btain patent term extension for some of the ir prior art

  patents. Based on my rev iew of those applicatio ns for patent term extens io n, I understand that

  Regeneron represented to the US PTO that multiple prio r art Regene ro n pate nts disclosed the exact

  sequence of VEG F Trap-Eye/atl ibercept. In my o pinion, the representations by Regeneron to the

  USPTO leave no do ubt that the VEGF Trap-Eye/a fl ibercept seq uences were set forth in the prior

  art to the ' 865, ' 60 1 and ' 572 patents.

          9 I.     I have reviewed Regeneron · s submissions to the US PTO with respect to U.S. Pate nt

  No. 7,374,758 ("'758 pate nt") and U.S. Patent No. 7,070,959 ("''959 patent"), inc luding

  Regeneron·s Applications for Extension of Patent Term Under 35 U.S.C. § 156. ("' 758 Fl-I,

  12/22/20 I I PTE" and ··' 959 FH. 12/22/20 11 PTE").

          92.      Regeneron states that ·'[a]t least the following c laims of the ·758 patent c la im a

  method of using the approved product: c la ims I a nd 2 ." ('758 FH, 12/22/20 1 I PTE at 4). Cla ims

  I and 2 of the ' 758 patent read as fo llows:




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                                             We claim:
                                            1. A method of inhibiting vascular endothelial growth
                                          factor (VEGF) activity in a mammal, comprising:
                                            administe ring a pbannaccutical composition to the mam-
                                                mal. wherein the pharmact?utical composi1iort com-
                                                prises
                                            (a) a VEGF antagonist, and
                                            (b) a pbanruiceutically accepiable carrier
                                            wherein the VEGF antagonis1comprises a dimeric fusion
                                                polypeptide comprising two fusion polypeptides, each
                                               fusion polypeptide comprising:
                                            (j) a VEGF receptor component consisting of an immu-
                                               noglobulin-like (lg) domain 2 of a first VEGF receptor
                                               hwnan FltI and lg domain 3 of a second VEGF
                                               receptor human Flkl or human F114; and
                                            (ii) a multiruerizing component.
                                            wherein VEGF activity is inhibikd.
                                            2. The me1hod of claim I. wherein the mammal is a
                                          human.


                    ("758 patent at 97: I 0-28).

                            93.     In the ·959 patent PT E Application, Regeneron states that " [a]t least the following

                    claim of the ' 959 patent claims a method of manufac turing the approved product: c laim I I." ('959

                    FH, 12/22/20 11 PT E at 4). Claim 11, and the c laim that it incorporates, c laim 8, from the ·959

                    patent, are set fo rth below:




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                           8. A host-vector system for the production of a fusion
                         polypeptide comprising an expression vector encoding a
                        fus ion protein capable of binding vascular endothe lial
                        growth factor (VEGF). wherein the fusion protein consists
                        o f immunoglo bulin-like (lg) domain 2 of VEGf recepto r
                        human Fill. lg domain 3 ofVEG F recepto r human Flkl . and
                        a multimerizing. component. In a suitable isolated host cell.
                           9. The host-vector system o f claim 8, wherein the host cell
                        is a bacte rial cell. yeast cell, insect cell, or mammalian cell.
                            10. The host-vector system of claim 9. wherein the host
                        cell is selectt..'<.I from lhe group consisting o f E. coli an<l
                        CHO.
                           11. A method of producin~ a fusion polypeptide. com-
                        prising growing cells of the host-vector system of c.laim 8.
                        under conditions permitting production of the fusion
                        polypeptide and recovering the fus ion polypeptide so pro-
                        duced.


  ('959 patent at 40:5-23).

  X.      REGENERON'S PRIOR ART PATENTS.

          94.      I have also been asked to offer my opin ion as to how certain patents, spec ifically

  patents assigned to Regeneron, wou ld have influenced the development of the subject matter

  claimed by the '60 I and ' 572 patents as of January 13, 20 I I, the patents' earliest priority date; and

  (2) the subj ect matter claimed by the ·865 patent as of June 16, 2006, the '865 patent"s earliest

  priority date.

          95.      In my opinion. a POSA would have been aware that numerous patents assigned to

  Regeneron include claims directed to certain VEGF antagonists, which include claims directed to

  the VEGF Trap-Eye/aflibercept molecule, the coding sequences, and methods for manufacturing

  VEGF Trap-Eye/atlibercept. A POSA would appreciate that the practice of the method, or even

  the commercial manufacture of the molecule claimed in the '60 I/'572 patents would infringe such

  patents. A POSA therefore would have been discouraged from developing the subject matter

  claimed by the '60 1/'572 patents by at least January 201 1.



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                             96.   For example, I have been informed that several versions of the EYLEA label

                   expIicitly recite numerous ·'Regeneron U.S. Patents" that Regeneron itself purports cover EYLEA.

                   I have been informed that these include, but are not limited to, U.S. Patent Nos. 7,070,959 ("'959

                   patent") (MYL-AFL00046894); 7,303,746 ('" 746 patent") (MYL-AFL0002670); 7,303,747

                   ("' 747 patent") (MYL-AFL0002727); 7,306,799 ('·'799 patent") (MYL-AFL0003406); 7,374,757

                   ('" 757 patent") (MYL-AFL0002760); 7,374,758 (MYL-AFL0003263); and 7,531 , 173 ("' 173

                   patent") (MYL-AFL0000455).

                             97.   The ·959 patent is drawn to isolated nucleic acids, expression vectors, and methods

                   of producing VEGF Trap-Eye/aflibercept. As I discuss above, Regeneron informed the Patent

                   Office that the '959 patent covered a method of manufacturing afl ibercept, the active ingredient in

                   EYLEA. Aflibercept would also be the active ingredient in any biosimilar version of EYLEA.

                   Accordingly, a POSA would have known that the claims of the ' 959 patent would prevent one

                   from commercially manufacturing aflibercept while the '959 patent is in force.

                             98.   I understand the '959 patent issued from U.S. Appl ication No. 10/009,852, which

                   was published on Dec. 14, 2000, as international patent application number WO 00/75319 ("WO

                   319") .    (MYL-AFL0007832 to 7990).         The cover page states that WO 3 19 is assigned to

                   Regeneron. Regeneron claimed isolated nucleic acids. (MYL-AFL0007923 to 7931 ) . These

                   claims ultimately issued in the '959 patent and, consistent with the publicly available WO 319,

                   cover VEGF Trap-Eye/aflibercept. Furthermore, I understand the ' 959 patent notice of a llowance

                   was issued by the PTO on Nov. 25, 2005. (RGN-EYLEA-MYLAN-00048126 to -00048132). As

                   a result, before the earliest priority date of the ' 865 patent, it was known by persons of skill in the

                   art that Regeneron was seeking and, per the notice of a llowance, was obtaining patent protection

                   covering VEGF Trap-Eye/atlibercept and that would prevent one from commercially




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  manufacturing the protein while the '959 patent is in force.

         99.     The '746, '747, ·799, and '758 patents are drawn to therapeutic methods. I have

  not been asked to provide an opinion on the methods themselves, but I have been asked whether

  the amino acid sequences claimed in those patents match the amino acid sequence claimed in the

  '601/'572 patents (i.e., whether the sequences correspond to VEGF Trap-Eye/atlibercept). Based

  on an alignment of the sequences, I can state that yes. the amino acid sequences- SEQ ID NO: 16

  in claims I, 3, 4 and 5 of the ' 746 patent; SEQ ID NO:6 in claims I and 3 of the ·747 patent; and

  SEQ fD NO:6 in claims 2 and 11 of the '799 patent-match the amino acid sequence set forth in

  claim I of the '601/'572 patents. The '799 patent at claims I and 4 and the ' 758 patent at claims

  I and 3 do not have specific sequences set forth , but those claims recite the domain architecture of

  the VEGF Trap-Eye/atl ibercept.

          100.   The application from which the '746 patent issued was published and publicly

  available on Aug. 11, 2005 as US 2005/0175610. The application from which the '747 patent

  issued was published and publicly available on Feb. 9, 2006 as US 2006/0030529. The application

  from which the '799 patent issued was published and publicly available on Nov. 24, 2005 as US

  2005/0260203. The application from which the '758 patent issued was published and publicly

  available on Nov. 3, 2005 as US 2005/0245447. The cover pages for each of these published

  patents applications recite that Regeneron is the assignee. These published applications, like their

  corresponding issued '746, ·747, '799, and ' 758 patents, include claims that cover amino acid

  sequences that correspond to VEGF Trap-Eye/atlibercept.

          IOI.   The '757 patent and ' 173 patent claim the VEGF Trap-Eye/atlibercept molecule

  and a composition comprising the molecule, respectively. For example. claims 6 and 7 of the ' 757

  patent claim the nucleotide and amino acid sequences of VEGF Trap-Eye/aflibercept. Claim I of




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  the ' 173 patent is drawn to a n ophthalmic composition com prising a VEGF antagonist called

  VEG FR I R2-Fc~C I (a), which a POSA wou ld have known was VEGF Trap-Eye/atlibercept. The

  application from w hich the ' 757 patent issued was published and publicly available o n July 28,

  2005 as US 2005/0163798. The '798 application cover page recites that Regeneron is the assignee,

  and the published claims are directed to amino acid sequences that correspond to VEGF Trap-

  Eye/atlibercept.

          I 02.   A POSA would have understood that the subject matter clai med by the '757 and

  ' 959 patents is required to practice the subject matter c laimed by the ' 865 patent. A POSA could

  not practice the claims of the ' 865 patent w ithout necessarily infringing the claims of the '959 and

  ·757 patents. Consequently, it is my o pinion that one would not have been able to practice the

  formu latio ns claimed in the "865 pate nt without a lso practicing the c laimed inventions in the '959

  and ' 757 patents. Furthen11ore, prior to the prio rity date of the "865 patent, the published ' 798

  application and WO 319 application, as well as the no tice of a llowance for the ' 959 patent,

  informed persons of skill in the art of the '865 patent that Regeneron was seeking claims - and in

  fact had secured claims -- directed to VEGF Trap-Eye/atlibercept. This public knowledge acts as

  deterre nt for others to develop the fonnulatio ns of the ' 865 patent.

          103.    Moreover, the published applications that eventually issued as the ' 746, '747, '799,

  and '758 patents further put persons of o rdinary skill in the art of the ' 865 pate nt on notice before

  the priority date of the ' 865 patent that Regeneron was seeking c laims directed to methods of

  treatment using aflibercept. This further wou ld discourage persons of o rdinary skill in the art from

  developing the subject matter c laimed by e ither the ' 865 patent or the ' 601 /'572 patents.

          I 04.   Consequently, it is my opinion that one would not have been ab le to practice the

  invention claimed in the "601 /' 572 patents without also practicing the inventions claimed in the




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  above patents (assuming the therapeutic methods of the ·146, ·747, ·799, and '758 patents also

  would have foreclosed practicing the '601 /'572 patents, which I have not provided an opinion on).

  XI.    CONCLUSION.

          I 05.   For the reasons set forth above and in m y Opening Report, it is m y opinion that the

  ' 865 Asserted Claims and the ' 572 C laims are invalid.

          I 06.   This Report sets forth the opinions I have formed based o n information available

  as of the date of this report. Because other as yet unknown and unidentified material may be

  introduced during this litigation, which may fall within my area of expertise, I may have relevant

  and important opinions regarding such as yet unknown and unidentified material. I reserve the

  rig ht to be able to offer such opinions if they may become relevant o r important as such materia l

  becomes known. I further reserve the rig ht and intend to testify and offer additional opinions in

  response to any opinio ns offered by Regeneron or its purported experts.

          I 07.   I further reserve the right to supplement or amend this Report based on additiona l

  in formation made available to me, including in light o f ongoing fact discovery (including third

  party discovery) and any expert reports su bmitted o n beha lf of Regeneron, or in order to clarify

  the information provided herein.    r also reserve the right to supplement o r amend this Report in
  lig ht of any claim interpretations (or changes o r supplements thereto) made by the Court.

  XII.   TRIAL EXHIBITS/TUTORIAL.

          I 08.   If I testify at trial in this case. I may re ly o n exhibits and/o r visual aids to

  demonstrate the basis for my opinions. I have not yet prepared any such exhibits or visual aids. I

  also reserve the right to provide a tutorial relating to the general topics contained in this report,

  inc luding a discussion of the prior art references discussed herein.




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       XIII. REQUIRED DISCLOSURES.

              I09.   The terms of my retention, compensation, or the matters in which I have given

       testimony over the last four years, have not changed since the MacMichael Opening Reports.




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   Dated: March 30, 2023                               A7f.Jr)L
                                                     Gregor;l:!Michael , Ph.D.




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From:            Trask, Andrew
To:              MGB-Amgen-ABP938; ABP938; Ashley Hardesty Odell; Kaitlyn McKitrick
Cc:              Eylea; Eylea.Biosimilars@weil.com; REGENERONPATENT@lists.kellogghansen.com; Steve Ruby; David Pogue
Subject:         Regeneron v. Amgen, 1:24-cv-00039-TSK-JPM (N.D.W. Va.)
Date:            Thursday, June 27, 2024 7:34:41 PM
Attachments:     Formycon proposed redactions_2024-06-21 D241 SEALED Order Granting Mot for Prelim Inj against
                 Formycon_Redactions Applied.pdf


Counsel for Amgen,

The Court recently issued a decision granting Regeneron’s preliminary injunction motion against
Formycon. Regeneron and Formycon have not yet agreed on a version of the decision that redacts
all confidential information. Formycon, however, has provided Regeneron with a copy of the
decision that redacts information that Formycon contends is confidential, and Formycon consented
today to Regeneron’s production of this version of the decision to Amgen. Regeneron therefore
provides this version of the decision as an attachment to this email. Please note that this version of
the decision contains unredacted Regeneron confidential information, and therefore it should be
treated as Confidential under the Protective Order governing this litigation.

Best,
Andrew

Andrew Trask | Williams & Connolly LLP | 202-434-5023 | atrask@wc.com




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                       CERTIFICATE OF SERVICE

      I certify that today, October 4, 2024, I electronically filed the foregoing

Reply with the Clerk of the Court for the U.S. Court of Appeals for the Federal

Circuit using the appellate CM/ECF system. Counsel of record for all parties

will be served by the appellate CM/ECF system.



OCTOBER 4, 2024                               /s/ David I. Berl
                                              DAVID I. BERL

                                              Attorney for Plaintiff-Appellant
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                 CERTIFICATE OF COMPLIANCE
          WITH TYPEFACE LIMITATION AND WORD-COUNT
     1.     This reply complies with the type-volume limitation of Federal

Rule of Appellate Procedure 27(d)(2)(C). This reply contains 2,599 words,

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Procedure 32(f) and Federal Circuit Rule 32(b).

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Rule of Appellate Procedure 32(a)(5) and the type-style requirements of

Federal Rule of Appellate Procedure 32(a)(6). This reply has been prepared

in a proportionally-spaced typeface using Microsoft Word in fourteen-point

CenturyExpd BT style.

                                         /s/ David I. Berl
OCTOBER 4, 2024                          DAVID I. BERL

                                         Attorney for Plaintiff-Appellant


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     The foregoing document contains 11 unique words (including numbers)

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exceed the maximum of 15 words permitted by Fed. Cir. R. 25.1(d)(1)(A).

                                         /s/ David I. Berl
OCTOBER 4, 2024                          DAVID I. BERL

                                         Attorney for Plaintiff-Appellee
